Case 3:20-cv-06754-WHA   Document 862-34   Filed 09/04/23   Page 1 of 139




                EXHIBIT 16
             Filed Under Seal
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 2 of 139
            +!  &%!'$!&&!$ +%O+%! +

      
    #,%-%.43%4(2/"%24334!4%"!2./ 
      @OL?BOQP LOOF@H@LJ                                       
    "!3$%",!.+34!4%"!2./                      
      ?>PAB?I>KH LOOF@H@LJ                                   
    !,933!#!2)$)334!4%"!2./                    
      >@>OFAFP LOOF@H@LJ
    %6!.$"2%7%234!4%"!2./                    
      B?OBTBO LOOF@H@LJ                                                    
    /22)#+ (%22).'4/.354#,)&&%,,0
      4EB/OOF@H"RFIAFKD
    (LT>OA3QOBBQ
      3>K&O>K@FP@L #! 
    4BIBMELKB     
      &>@PFJFIB     
    
      3%!.-35,,)6!.9;81*,?2,. 
    PRIIFS>K IPFM@LJ
      #/,%2)#(4%29;81*,?2,. 
   OF@EQBO IPFM@LJ
      ,%%35,,)6!.3(%!3-)4(,,0
   72>KALIME3Q &ILLO7
      #EF@>DL ),
   4BIBMELKB     
      &>@PFJFIB     
   
      ==8;7.B</8;./.7-*7=!878<7,
   
                              5.)4%$34!4%3$)342)#4#/524
                               ./24(%2.$)342)#4/&#!,)&/2.)!
                                   3!.&2!.#)3#/$)6)3)/._

   '//',%,,#                               #>PB.L @S  7(!
                                                 2BI>QBAQL#>PB.L @S  7(!
          0I>FKQFCC>KA#LRKQBO ABCBKA>KQ 
                                                 $'&&*"$&$"!$&!
          S                                 $( $!&
   3/./3 ).#                               
          $BCBKA>KQ>KA#LRKQBO @I>FJ>KQ






      
   









      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 3 of 139
            +!  &%!'$!&&!$ +%O+%! +


                  =A3743ABG:3 %GAB3;

                           <B@=2C1B7=<=4@%16=<43:2OAL=A3743ABG:3M$343@3<13

             )KEFP/MBKFKD2BMLOQ $O3@ELKCBIAOBIFBPLK>K>IIBDBAMOFLO>OQPVPQBJ@>IIBA

    QEB^"LPB,FCBPQVIB3VPQBJ _TEF@E$O3@ELKCBIAOBCBOPQL>P^"LPB,FCBPQVIB_CLOPELOQ!..

    3@ELKCBIA/M2BMLOQ>QY

             !IQELRDERK@IB>O $O3@ELKCBIA>MMB>OPQL?B>PPBOQFKDQE>QQEB"LPB,FCBPQVIB

    3VPQBJFPPVPQBJMOFLO>OQQE>Q^T>PMR?IF@IV>S>FI>?IB LKP>IB LCCBOBACLOP>IB >KAABP@OF?BAFK

    MOFKQBAMR?IF@>QFLKP?LQE?BCLOBQEB@OFQF@>IA>QBFB MOFLOQL3BMQBJ?BO  ?BCLOBQEB

    >IIBDBA@LK@BMQFLKA>QBFB MOFLOQL$B@BJ?BO  >KAMOFLOQLQEBM>QBKQCFIFKDA>QBLK

   3BMQBJ?BO _-$BPMFQB>MMB>OFKDQLOBIVLKQEB"LPB,FCBPQVIB3VPQBJ>PPVPQBJ

   MOFLO>OQ $O3@ELKCBIAALBPKLQMOLSFAB>KV>K>IVPFPLOQBPQFKDLC>K>@QR>I"LPB,FCBPQVIB

   3VPQBJ

            )K>PPBOQFKDQE>QQEB"LPB,FCBPQVIB3VPQBJFKS>IFA>QBP@I>FJLCQEBLCQEBa

   0>QBKQ  $O 3@ELKCBIA OBIFBP LK S>OFLRP AFP@ILPROBP OBI>QBA QL AFCCBOBKQ "LPB MOLAR@QP  PLJB LC

   TEF@EE>SBKLOBI>QFLKQL>KA>OBFK@LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJ4EBPB

   S>OFLRP"LPBMOLAR@QPFK@IRAB

           •       "LPB,FCBPQVIB3VPQBJ

           •       "LPB,FCBPQVIB3! >KA3! !JMIFCFBOP>KAQEBFO>?FIFQVQL?B>AABAQL>"LPB

   IFKH JBAF> @BKQBO LC > "LPB ,FCBPQVIBZ  PBOFBP ))   PBOFBP ))   LO  ELJB BKQBOQ>FKJBKQ

   PVPQBJ

           •       "LPBIFKH@LJJRKF@>QFLKMOLQL@LI>KA

           •       "LPB&OBB3M>@B%&3BOFBP))"RPFKBPP-RPF@3VPQBJ

   "BILT)MOLSFAB>PRJJ>OVLCB>@ELCQEBPB"LPBMOLAR@QP

                            7      !D3@D73E=4B63=A3743ABG:3 %GAB3;

            !PABP@OF?BAFKQEB^"LPB,FCBPQVIB3VPQBJ/TKBOaP'RFAB_OBCBOOBAQLEBOBFK

   >P^"LPB,FCBPQVIB'RFAB_ A>QBA/@QL?BO  QEB"LPB,FCBPQVIB3VPQBJFK@IRABP>

   ^JRIQF OLLJFKQBOC>@B _LKBLOJLOB^!@LRPQFJ>PPJLARIBP_LOLQEBO"LPBMLTBOBAPMB>HBOP 

   QE>Q>OBB>@ETFOBAQLQEB-RIQF 2LLJ)KQBOC>@BSF>OBPMB@QFSB^>RAFLFKMRQ@>?IBP _>KA^*BTBI

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 4 of 139
            +!  &%!'$!&&!$ +%O+%! +


    #R?B PMB>HBOP_ QE>Q >OB TFOBA QL QEB ^!@LRPQFJ>PP JLARIB_ SF> ^PMB>HBO @>?IBP_  !..

    "/3%=35"  >Q  !KBU>JMIB"LPB,FCBPQVIB3VPQBJ@LKCFDRO>QFLKTFQE>

    PFKDIB!@LRPQFJ>PPJLARIBFPPELTKFKQEBCFDROB?BILT

    

 

 

 

 

 













   "/3%=35"  >Q

           4EB "LPB ,FCBPQVIB  'RFAB >IPL AFP@ILPBP QE>Q QEB @BKQO>IFWBA -RIQF 2LLJ

   )KQBOC>@BFK@IRABPS>OFLRP>RAFLFKMRQPQL@LKKB@QS>OFLRP>RAFLPLRO@BPBD &- !- #$ $6$ 

   6#2 BQ@ !...0 "/3%=35"  >Q <..*5<82->Q^0I>@BQEBJRIQF OLLJ

   FKQBOC>@B@ILPBBKLRDEQLQEBPLRKAPLRO@BP46 6#2 $6$ BQ@ QL>IILTCLO@>?IBIBKDQE_ )K

   QEFPOBPMB@Q QEB^JRIQF OLLJFKQBOC>@B_LCQEB"LPB,FCBPQVIB3VPQBJMOLSFABP>RAFLPLRO@BP

   ^IL@>IIV_LOCOLJ>^@BKQO>IFWBAIL@>QFLK _PFJFI>OQLQEB@LKSBKQFLK>I>RAFLPVPQBJPAFP@ILPBAFK

   QEB">@HDOLRKALCQEBa0>QBKQ!...0 a0>QBKQ>Q 

           4EB^JRIQF OLLJFKQBOC>@B_>IPL@LJMOFPBPCLROAFCCBOBKQ>RAFLLRQMRQ@LKKB@QLOP

   I>?BIBA2//-! $QL@LKKB@QRMQLCLRO!@LRPQFJ>PPJLARIBPFKCLROAFCCBOBKQOLLJP!...0 

   "/3%=35"   >Q   )K QEFP OBD>OA  ) RKABOPQ>KA QE>Q B>@E @LKKB@QBA !@LRPQFJ>PP

   JLARIB@>KOB@BFSBFQPLTKOBPMB@QFSB>RAFLPFDK>ICOLJ>DFSBKLKBLCQEBCLRO>RAFLLRQMRQPLC

   QEB -RIQF 2LLJ )KQBOC>@B  4EB "LPB ,FCBPQVIB  'RFAB >IPL AFP@ILPBP QE>Q QEB @LKKB@QBA

                                                      
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 5 of 139
            +!  &%!'$!&&!$ +%O+%! +


    !@LRPQFJ>PP JLARIBP @>K B>@E MI>V > AFCCBOBKQ >RAFL PLRO@B LO @>K ^PE>OB_ >K >RAFL PLRO@B

    ABMBKAFKDLKQEBABPFOBA@LKCFDRO>QFLK>KAABMBKAFKDLKQEBKRJ?BOLCPLRO@BP@LKKB@QBAQLQEB

    >RAFLFKMRQ@LKKB@QLOPLCQEB-RIQF 2LLJ)KQBOC>@B->Q 4EBFKMRQ>KALRQMRQ@LKKB@QLOP

    LCQEB-RIQF 2LLJ)KQBOC>@B>OBFIIRPQO>QBAFKQEBCFDROB?BILT

 

 

 

 

 


      ->Q

               4L EBIM C>@FIFQ>QB @LKQOLI LC QEB "LPB ,FCBPQVIB  3VPQBJ  > ^0BOPLK>I JRPF@

      @BKQBO_FPMOLSFABA->Q4EB0BOPLK>I-RPF@#BKQBOFP>MLOQ>?IBE>KAEBIAABSF@BTFQE>

      QLR@E P@OBBKAFPMI>VQE>QMOLSFABPFKCLOJ>QFLK>?LRQQEB"LPB,FCBPQVIB3VPQBJ>KABK>?IBP>

      RPBOQLPBIB@Q>RAFLPLRO@BP>KA@LKQOLIMI>V?>@HLC>RAFLPLRO@BPLK!@LRPQFJ>PPJLARIBPFKLKB

      LO JLOB OLLJP  - >Q    "BILT FP > CFDROB LC QEB 0BOPLK>I -RPF@ #BKQBO COLJ QEB "LPB

      ,FCBPQVIB'RFAB
















   ->Q

            )KLOABOQL@LKQOLIQEB"LPB,FCBPQVIB3VPQBJ QEB0BOPLK>I-RPF@#BKQBOJRPQ

   ^PBQ RM > O>AFL COBNRBK@V IFKH_ QL BPQ>?IFPE @LJJRKF@>QFLKP TFQE QEB @BKQO>IFWBA -RIQF 2LLJ

   )KQBOC>@B->Q^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEB0BOPLK>IJRPF@@BKQBOFQPBQPRM>

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 6 of 139
            +!  &%!'$!&&!$ +%O+%! +


    O>AFL COBNRBK@V IFKH TFQE QEB @ILPBPQ JRIQF OLLJ FKQBOC>@B[ )C QEB 0BOPLK>I JRPF@ @BKQBO

    @LKQFKRLRPIVAFPMI>VP./2%30/.3% VLRKBBAQLQOVQLBPQ>?IFPEFQPIFKHTFQEQEBJRIQF OLLJ

    FKQBOC>@B >D>FK_   ^4L >AA > KBT 0BOPLK>I JRPF@ @BKQBO QL VLRO PVPQBJ  CLIILT QEB PBQRM

    FKPQOR@QFLKPLKM>DB"BPROBQLFKPQ>IIQEB?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEB

    JRIQF OLLJFKQBOC>@BQL>IILTQEBKBT0BOPLK>IJRPF@@BKQBOQLPBQRM>O>AFLCOBNRBK@VIFKHTFQE

    VLROPVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBAFKLOQEB0BOPLK>IJRPF@@BKQBOFPLRQLC

    O>KDB QEBAFPMI>VFKAF@>QBP./2%30/.3%_ 

             4EB0BOPLK>I-RPF@#BKQBO>KAQEB^JRIQF OLLJFKQBOC>@B_@LJJRKF@>QBRPFKD>

    MOLMOFBQ>OVO>AFLCOBNRBK@V@LJJRKF@>QFLKMOLQL@LIQE>QT>PPMB@FCF@>IIVABSBILMBACLOQEB"LPB

   ,FCBPQVIB3VPQBJ>KAQE>QFP^KLQ@LJM>QF?IB_TFQEMOLQL@LIPRPBAFKLQEBO"LPBPVPQBJP!..

   "/3%=35"  >Q^4EB@LJJRKF@>QFLKMOLQL@LIRPBAFKQEB,FCBPQVIBZPVPQBJ

   FPKLQ@LJM>QF?IBTFQEQEBMOLQL@LI@ROOBKQIVRPBAFKLQEBO,FCBPQVIBZPVPQBJP_ 

            .LQ>?IV QEBOBFPKLAFP@ILPROBFKQEB"LPB,FCBPQVIB'RFABLO>KVLQEBOBSFABK@B

   )E>SBPBBKQE>QQEB0BOPLK>I-RPF@#BKQBO@>K@LJJRKF@>QBTFQE!@LRPQFJ>PPJLARIBP>KALO

   *BTBI#R?BPMB>HBOPRPFKD"LPBaPMOLMOFBQV@LJJRKF@>QFLKMOLQL@LILOLQEBOTFPB)KPQB>A QEB

   BSFABK@B ) E>SB PBBK PELTP QE>Q 0BOPLK>I -RPF@ #BKQBO RPBP "LPBaP MOLMOFBQV @LJJRKF@>QFLK

   MOLQL@LIQL@LJJRKF@>QBLKIVTFQEQEB-RIQF 2LLJ)KQBOC>@B TEF@EFKQROKAFPQOF?RQBP>RAFLQL

   QEB!@LRPQFJ>PPJLARIBP!.."/3%=35"  >Q^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBA

   FK QEB ;0BOPLK>I< JRPF@ @BKQBO FQ PBQP RM > O>AFL COBNRBK@V IFKH TFQE QEB @ILPBPQ JRIQF OLLJ

   FKQBOC>@B_ 

            4EB "LPB ,FCBPQVIB  'RFAB >IPL AFP@ILPBP QE>Q ^;F<C QTL LO JLOB OLLJP >OB

   @LKKB@QBA QL ;QEB "LPB ,FCBPQVIB  3VPQBJ<  QEB 0BOPLK>I -RPF@ #BKQBO AFPMI>VP 2//- >KA

   (/53%?RQQLKP >KAOLLJFKAF@>QLOP! " # >KALO$ _!.."/3%=35"  >Q

   4EBPB 2//- >KA (/53% ?RQQLKP BK>?IB > RPBO QL @LKCFDROB QEB -RIQF 2LLJ )KQBOC>@B QL

   AFPQOF?RQB>RAFLCOLJAFCCBOBKQ>RAFLPLRO@BPQLAFCCBOBKQOLLJPLOQLAFPQOF?RQBQEBP>JB>RAFL

   COLJQEBP>JB>RAFLPLRO@BQLJRIQFMIBOLLJP>QQEBP>JBQFJB3MB@FCF@>IIV QEB"LPB,FCBPQVIB

   'RFABAFP@ILPBPQE>Q^;Q<EB2//-?RQQLK>IILTPVLRQLPBIB@Q>KV@LKKB@QBAOLLJ>KA@LKQOLI

   >KVPLRKAPLRO@BVLRT>KQQLEB>OFKQE>QOLLJ_->Q4EB"LPB,FCBPQVIB'RFAB>IPL

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 7 of 139
            +!  &%!'$!&&!$ +%O+%! +


    MOLSFABPQEBCLIILTFKDFKPQOR@QFLKPCLOELTQLRPBQEB2//-?RQQLKQLPBQRM>^PE>OBAPLRO@B_

    FKJRIQFMIBOLLJP

 

 

 

 

 

 

 


      -

               4EB"LPB,FCBPQVIB'RFABAFP@ILPBPQE>QQEB(/53%?RQQLKBK>?IBP>RPBOQL

      ^IFKH>IIOLLJPQLDBQEBO>KA@LKQOLIQEBJ>PLKB _PR@EQE>Q^;><KV?RQQLKMOBPPBA>CQBOQE>Q>KV

      PLRO@B?RQQLK 6/,5-% -54% LO3,%%0 >CCB@QPBSBOVOLLJ_











      ->Q)KQEFPT>V >RPBO@>KRPBQEB(/53%?RQQLKCLIILTBA?V>PLRO@B?RQQLKQLPBQRM>

      PE>OBAPLRO@BCLO>IIOLLJP! $FKQEBFOELJB

               .LQ>?IV KBFQEBOQEB"LPB,FCBPQVIB'RFABKLO>KVLCQEBLQEBOBSFABK@B)E>SB

      OBSFBTBA AFP@ILPBP >KVQEFKD >?LRQ TE>Q PMB@FCF@ FKCLOJ>QFLK FP QO>KPJFQQBA COLJ QEB 0BOPLK>I

      -RPF@#BKQBOQLQEB-RIQF 2LLJ)KQBOC>@B>P>OBPRIQLC^IFKH;FKD<_OLLJPQLDBQEBO>KAPBQQFKDRM

      >^PE>OBAPLRO@B_(LTBSBO ?>PBALKQEBBSFABK@B)E>SBOBSFBTBA FQ>MMB>OPQE>QKLFKCLOJ>QFLK

      TLRIA?BPBKQCOLJQEB0BOPLK>I-RPF@#BKQBOQLQEB-RIQF 2LLJ)KQBOC>@BRKQFI>QIB>PQQEBRPBO

      PBIB@QPQEBPLRO@B>QTEF@EMLFKQQEB0BOPLK>I-RPF@#BKQBOTLRIAPBKAPLJBPLOQLCFKCLOJ>QFLK

      QLQEB-RIQF 2LLJ)KQBOC>@BQL@>RPBQEB-RIQF 2LLJ)KQBOC>@BQL@LKCFDROBFQPBICQLAFPQOF?RQB


                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 8 of 139
            +!  &%!'$!&&!$ +%O+%! +


    >RAFLCOLJQEBPBIB@QBA>RAFLPLRO@BQLQEBPBIB@QBAOLLJP !...0"/3%=35"  

    >Q^4EB"LPBJRIQF OLLJFKQBOC>@B TFQECLROFKABMBKABKQ>RAFLLRQMRQPQE>Q>IILTVLRQLBKGLV

    "LPBPLRKAQEOLRDELRQVLROELJB_ FIIRPQO>QFKD>"LPB,FCBPQVIB3VPQBJ@LKCFDRO>QFLK

    TFQE > #$ MI>VBO >KA >K !@LRPQFJ>PP JLARIB @LKKB@QBA QEB -RIQF 2LLJ )KQBOC>@B  

    FIIRPQO>QFKDS>OFLRP>RAFLPLRO@BP@LKKB@QBAQL-RIQF 2LLJ)KQBOC>@BSF>>RAFLFKMRQ@>?IBP 

    ^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@@BKQBOFQPBQPRM>O>AFL COBNRBK@VIFKHTFQEQEB

    @ILPBPQJRIQF OLLJFKQBOC>@B_  BUMI>FKFKDELTQLRPB2//->KA(/53%?RQQLKPQLPBQ

    RM>K>RAFLPLRO@BCLOLKBLOJLOBOLLJP 

             ">PBALKJVOBSFBTLCQEB"LPB,FCBPQVIB'RFAB FQFPJVLMFKFLKQE>QQEB"LPB

   ,FCBPQVIB  3VPQBJ FP > QVMB LC @LKSBKQFLK>I >RAFL PVPQBJ TFQE > @BKQO>IFWBA -RIQF 2LLJ

   )KQBOC>@BQE>QFPE>OA TFOBAQLLKBLOJLOB!@LRPQFJ>PPJLARIBPPLQE>Q>RAFL@LRIA?BAFPQOF?RQBA

   COLJQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@BQLQEB^!@LRPQFJ>PPJLARIBP _>KAQEBKQLQEBTFOBA

   *BTBI@R?B3MB>HBOP!.."/3%=35"  >Q !0/3)4!TLRIAKLQ@LKPFABOQEB

   -RIQF 2LLJ)KQBOC>@B>KAQEB!@LRPQFJ>PPJLARIBPQL?BLMBO>QFKDLK>A>Q>KBQTLOH?B@>RPBQEB

   E>OA TFOBA@LKKB@QFLKABP@OF?BAFKQEB"LPB,FCBPQVIB'RFABFPKLQ>JBAFRJQE>QFKQBO@LKKB@QP

   ABSF@BP BK>?IFKDQEBJQLPBKAAFDFQ>IA>Q>M>@HBQPQL>KAOB@BFSBAFDFQ>IA>Q>M>@HBQPCOLJB>@E

   LQEBO)K@LKQO>PQ QEBa0>QBKQFPPMB@FCF@>IIVAFOB@QBAQL7.=@8;4.-JRIQFJBAF>PVPQBJPQE>Q

   LMBO>QBLKIL@>I>KATFAB>OB>-*=*7.=@8;4< TEF@E>OBAFPQFK@QIVAFCCBOBKQCOLJ@LKSBKQFLK>I

   JRIQFJBAF>PVPQBJPPR@E>PQEB"LPB,FCBPQVIB3VPQBJ869*;.a0>QBKQ>Q  &FD

   @2=1 

            ,FHBTFPB  >MMIVFKD 3LKLPaP @LKPQOR@QFLKP LC ^WLKB MI>VBO_ >KA ^A>Q> KBQTLOH _

   KBFQEBO>*BTBI#R?BPMB>HBO KLO>K!@LRPQFJ>PPJLARIB KLO>K3! LO3! >JMIFCFBOFP>

   ^CFOPQWLKBMI>VBO_?B@>RPBQEBPBABSF@BPF >OBKLQA>Q>KBQTLOHABSF@BPQE>Q@>KPBKAAFDFQ>IA>Q>

   M>@HBQP QL >KA OB@BFSB AFDFQ>I A>Q> M>@HBQP COLJ >KLQEBO ABSF@B >KA FF  >OB KLQ @>M>?IB LC

   MBOCLOJFKD>KVAFDFQ>IA>Q>MOL@BPPFKDLKQEB>RAFL?BCLOBLRQMRQQFKDFQ)KPQB>A QEBBSFABK@B)

   E>SBOBSFBTBAPELTPQE>Q>*BTBI#R?BPMB>HBOJBOBIVOB@BFSBP>K>RAFLPFDK>ILSBO>K>RAFL

   @>?IB COLJ >K !@LRPQFJ>PP JLARIB LO 3!  LO 3!  >JMIFCFBO >KA LRQMRQP >RAFL  >KA QE>Q >K

   !@LRPQFJ>PPJLARIBLO3! LO3! >JMIFCFBOOB@BFSBP>K>RAFLPFDK>ILSBO>K>RAFL@>?IBCOLJ

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 9 of 139
            +!  &%!'$!&&!$ +%O+%! +


    QEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJ>KALRQMRQP>RAFL!.."/3%=35"

     >Q     "/3%=35"  >Q4EBOBFPKLBSFABK@BLC

    QTL T>VAFDFQ>IA>Q>M>@HBQ@LJJRKF@>QFLK?BQTBBK>*BTBI#R?BPMB>HBO>KA>K!@LRPQFJ>PP

    JLARIBLO3! LO3! >JMIFCFBO LO?BQTBBK>K!@LRPQFJ>PPJLARIBLO3! LO3! >JMIFCFBO

    >KAQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJ4EBOBFP>IPLKLBSFABK@BLC>KV

    @LJJRKF@>QFLK TE>QPLBSBO ?BQTBBK *BTBI #R?B PMB>HBOP LO ?BQTBBK !@LRPQFJ>PP JLARIBP LO

    3! LO3! >JMIFCFBOPTEBKQEBPBMOLAR@QP>OBRPBATFQE>-RIQF 2LLJ)KQBOC>@BLCQEB"LPB

    ,FCBPQVIBPVPQBJ >P$O3@ELKCBIA>MMB>OPQL?B>PPBOQFKD!KAI>PQIV QEBOBFPKLBSFABK@BQE>Q

    QEBPBABSF@BPMBOCLOJ>KVAFDFQ>IA>Q>MOL@BPPFKD?BCLOBLRQMRQQFKDQEB>RAFL

                          77    !D3@D73E=4B63=A3743ABG:3% /<2% %B3@3=;>:7473@A

           !P ABP@OF?BA FK ^4EB "LPB ,FCBPQVIB 3!  >KA 3!  3QBOBL !JMIFCFBO /TKBOaP

   'RFAB_^3! >KA3! /TKBOaP'RFAB_ A>QBA QEB"LPB3! >KA3! PQBOBL>JMIFCFBOP

   @>K?BRPBATFQE@BOQ>FK"LPB,FCBPQVIBPVPQBJPQL^BUM>KA_PR@EPVPQBJP?V>AAFKDKLK MLTBOBA

   PMB>HBOP QE>Q @>K ?B @LKKB@QBA QL QEB 3!  >KA 3!  >JMIFCFBOP SF> PMB>HBO TFOB  !..

   "/3%=35"  >Q  

           !IQELRDEQEB"LPB,FCBPQVIB3VPQBJFPKLQBUMOBPPIVOBCBOBK@BAFKQEB3! >KA

   3! /TKBOaP'RFAB FQALBP>MMB>OQE>Q3! >KA3! >JMIFCFBOP@>K?B@LKKB@QBAQLQEB-RIQF

   2LLJ)KQBOC>@BLC>"LPB,FCBPQVIB3VPQBJ >PPELTKFKQEBCLIILTFKDFJ>DB





















                                                      
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 10 of 139
             +!  &%!'$!&&!$ +%O+%! +


            

    !.."/3%=35"  >Q(LTBSBO >PPELTK RKIFHB>K3! LO3! >JMIFCFBO QEB

    -RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJALBPKLQE>SB>^"LPBIFKH_@LKKB@QLOPL

    >K^ QL  MFK$).>A>MQBOJRPQ?BRPBAFKLOABOQL@LKKB@Q>K3! LO3! >JMIFCFBOQLQEB

    "LPB ,FCBPQVIB  3VPQBJ RPFKD QEB ^"LPB IFKH ! @>?IB_ QE>Q @LJBP TFQE QEB 3!  LO 3! 

    >JMIFCFBO  )K QEFP OBD>OA  >K 3!  LO 3!  >JMIFCFBO @LRIA ?B @LKKB@QBA QL QEB >RAFL LRQMRQ

    @LKKB@QLOCLO2//-" # LO$-^)KPBOQQEB QL  MFK>A>MQBOFKQLLKBLCQEBRKRPBA2//-

    LRQMRQ @LKKB@QLOP "  #  LO $  LK QEB OB>O LC QEB JRIQF OLLJ FKQBOC>@B[_   4EBOB>CQBO  )

    RKABOPQ>KAQE>QQEB0BOPLK>I-RPF@#BKQBO@LRIA?BRPBAQL@LKQOLIQEB3! LO3! >JMIFCFBOSF>

   -RIQF 2LLJ)KQBOC>@B >P)BUMI>FKBA>?LSBFK@LKKB@QFLKTFQEQEB"LPB,FCBPQVIB3VPQBJ-

   >Q!PLKBBUBJMI>OV@LKCFDRO>QFLK >K!@LRPQFJ>PPJLARIB@LRIA?B@LKKB@QBAQLQEB2//-

   !LRQMRQ@LKKB@QLOTEFIB>K3! LO3! >JMIFCFBO@LRIA?B@LKKB@QBAQLB>@ELCQEB2//-"

   $LRQMRQ@LKKB@QLOP)KQEFP>OO>KDBJBKQ FQ>MMB>OPQE>QQEB3! 3! >JMIFCFBOPTLRIALMBO>QB

   FKQEB"LPB,FCBPQVIBPVPQBJ>PFCQEBVTBOB>KLQEBO!@LRPQFJ>PPJLARIB

            !IQBOK>QFSBIV QEB3! >KA3! >JMIFCFBOP@>K?B@LKKB@QBAQLLQEBOKBTBO"LPB

   ,FCBPQVIBPVPQBJPQE>QALE>SB>"LPBIFKH@LKKB@QLO>KAFKPR@E>@LKCFDRO>QFLKKL>A>MQBOFP

   KBBABA >PPELTK?BILT


















              

      ->Q


                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 11 of 139
             +!  &%!'$!&&!$ +%O+%! +


               &LO QEBPB KBTBO "LPB ,FCBPQVIB PVPQBJP  ) RKABOPQ>KA QE>Q QEBOB FP LKIV > PFKDIB

    "LPBIFKH@LKKB@QLOLKQEB@BKQO>IFWBA"LPBIFKHBK>?IBAJBAF>@BKQBO>KAQERPLKIV>PFKDIB3!

    LO3! >JMIFCFBO@>K?B@LKKB@QBAAFOB@QIVQLQEB@BKQO>IFWBAJBAF>@BKQBOCLOQEB"LPB,FCBPQVIB

    PVPQBJ  -  -LOBLSBO  FK PR@E > @LKCFDRO>QFLK  ^;C<LO QEB ,FCBPQVIBZ PQBOBL >JMIFCFBO QL TLOH

    MOLMBOIVTFQEVLROELJBBKQBOQ>FKJBKQPVPQBJ QEBBUM>KPFLKMOLQL@LIJBKRFQBJJRPQ?BPBQQL

    "LPBZIFKH_->Q

               !PBUMI>FKBAFKQEB^3BQRMDRFABIFKBPCLO>AAFQFLK>IOLLJP_PB@QFLKLCQEB3! 

    >KA3! /TKBOaP'RFAB FC>RPBOTFPEBPQLFKPQ>IILKBLOJLOB>AAFQFLK>I3! LO3! >JMIFCFBOP

    FKLQEBOOLLJPLCQEBFOELJB QEFP@>K?BALKBQEOLRDE>PBOFBPLC"LPBIFKH@LKKB@QFLKP >PPELTK

   ?BILT





































                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 12 of 139
             +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

 

 


















      

      ->Q

               .LQ>?IV QEB^3BQRMDRFABIFKBPCLO>AAFQFLK>IOLLJP_PB@QFLKLCQEB3! >KA3!

      /TKBOaP'RFABPQ>QBPQE>QFQLKIV>MMIFBPQL^>,FCBPQVIBZPBOFBP)) PBOFBP)) LOELJB

      BKQBOQ>FKJBKQPVPQBJ_\KLQ>"LPB,FCBPQVIB3VPQBJ-!AAFQFLK>IIV QEBLKIV@LJM>QF?IB

      @LKQOLIIBOP PELTK CLO QEBPB ^>AAFQFLK>I OLLJP_ >OB QEB 2# 3  2# 3  >KA 0BOPLK>I -RPF@

      #BKQBO )) \ KLQ QEB 0BOPLK>I -RPF@ #BKQBO QE>Q @LJBP TFQE QEB "LPB ,FCBPQVIB  3VPQBJ

      -LOBLSBO FKPR@E>@LKCFDRO>QFLKTFQE^>AAFQFLK>IOLLJP _>PBM>O>QBOBJLQBJRPQ?BABAF@>QBA

      QLB>@EOLLJ TEF@EFPALKB?VPBQQFKDQEBOLLJPTFQ@EBPLKQEBOBJLQB@LKQOLI>KAQEBOLLJ

      PTFQ@EBPLKQEB3! LO3! >JMIFCFBOQLJ>Q@EB>@ELQEBO->Q ^2BJLQB@LKQOLIPCLO


                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 13 of 139
             +!  &%!'$!&&!$ +%O+%! +


    LQEBOOLLJPJRPQ?BPBQQLQEBP>JBELRPB@LAB>PQEBJ>FKOLLJOBJLQB ?RQB>@EOBJLQBJRPQ

    ?BPBQQL>AFCCBOBKQOLLJ@LAB4EB,FCBPQVIBZ>JMIFCFBO>KAFQPOBJLQB@LKQOLIJRPQ?BPBQQL

    QEB P>JB OLLJ @LAB_   )K QEFP OBD>OA  FQ FP JV RKABOPQ>KAFKD QE>Q  RKIFHB QEB 0BOPLK>I -RPF@

    #BKQBOLCQEB"LPB,FCBPQVIB3VPQBJ TEF@E>IILTBACLOQEB@LKQOLILCJRIQFMIBOLLJP@LKKB@QBA

    QLQEB-RIQF 2LLJ)KQBOC>@B QEBABAF@>QBAOBJLQB@LKQOLIPRPBATFQE>"LPBIFKH@LKCFDRO>QFLKLC

    ^>,FCBPQVIBZPBOFBP)) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ_@LRIALKIV@LKQOLI>

    PFKDIBOLLJ>Q>QFJB

                             777   !D3@D73E=4B63=A37<9=;;C<71/B7=<"@=B=1=:

             !PABP@OF?BAFKQEBRKA>QBA FKQBOK>I"LPBAL@RJBKQQFQIBA^5KABOPQ>KAFKD"LPB

   IFKH _^"LPBIFKHFP>@LJJRKF@>QFLKMOLQL@LI_>KA^;Q<L@LJJRKF@>QBQEBOBJRPQ?B>QIB>PQQTL

   M>OQF@FM>KQPQE>QPMB>HQEBP>JBI>KDR>DB_"/3%=35"  >Q!P>IPLBUMI>FKBA

   ^&LO > "LPB IFKH PBQRM QL TLOH QEB PVPQBJ JRPQ FK@IRAB > "LPB IFKH BK>?IBA JBAF> @BKQBO >

   @LKQOLIIBO >"LPBIFKHBUM>KPFLKMOLAR@Q >KA>KBUM>KPFLKOBJLQB@LKQOLI"LQEQEBBUM>KPFLK

   MOLAR@Q >KA QEB OBJLQB JRPQ ?B @LKCFDROBA QL LMBO>QB LK QEB P>JB OLLJ_  -  )Q FP JV

   RKABOPQ>KAFKDQE>Q"LPBaP3! >KA3! >JMIFCFBOP>OB"LPBIFKHBUM>KPFLKMOLAR@QP->Q

   "/3%=35"  >Q(LTBSBO MBOQEB^5KABOPQ>KAFKD"LPBIFKH_AL@RJBKQ >K3!

   LO3! >JMIFCFBOTLRIALKIVRPBQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LIFCFQT>P@LKKB@QBAQL

   >"LPBIFKHBK>?IBAJBAF>@BKQBO>KA@LKQOLIIBA?V>KBUM>KPFLKOBJLQB@LKQOLI

            !P >IPL BUMI>FKBA FK QEB ^5KABOPQ>KAFKD "LPB IFKH_ AL@RJBKQ  QEB "LPB IFKH

   @LJJRKF@>QFLKMOLQL@LIFPLKIVRPBAQLQO>KPJFQ@BOQ>FKQVMBPLCFKCLOJ>QFLK?BQTBBK"LPBIFKH

   BK>?IBAABSF@BP
             

              !"LPBIFKH@LKKB@QFLKFPBPPBKQF>IIV>@LKSBOP>QFLK?BQTBBKQEBJBAF>@BKQBO>KA

              QEBBUM>KPFLKABSF@B4EBJBAF>@BKQBOPBKAPLKLCC SLIRJB>KAPLRO@B@E>KDB
           @LJJ>KAP >ILKD TFQE >RAFL QL QEB BUM>KPFLK MOLAR@Q 4EB BUM>KPFLK MOLAR@Q
              OBPMLKAP?VPBKAFKDFKCLOJ>QFLK?>@HQLQEBJBAF>@BKQBOQLIBQFQHKLTQE>QFQFP
           PQFIILKLOLCC >KAFKQEBP>JBOLLJ4EFPFKCLOJ>QFLKBU@E>KDBL@@ROPB>@EQFJB
              >MLTBOLOPLRO@B@E>KDB@LJJ>KAFPFPPRBA?VQEBBUM>KPFLKOBJLQB

              7EBKQEBJBAF>@BKQBOOB@BFSBP>K/.@LJJ>KACOLJ>KBUM>KPFLKOBJLQBQEB
           PVPQBJQROKPLK>KA@EB@HPCLO>KV"LPBIFKHMOLAR@QPQE>QJFDEQ?B@LKKB@QBA ?RQ


                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 14 of 139
             +!  &%!'$!&&!$ +%O+%! +

              FQTFIILKIVILLHCLO"LPBIFKHMOLAR@QPQE>Q>OB>PPFDKBAQLQEBP>JBOLLJ>PQEB
            OBJLQB
 
              )CQEBJBAF>@BKQBOOB@BFSBP>@LJJ>KACOLJ>OBJLQB@LKCFDROBACLOOLLJ" CLO
            BU>JMIB  QEB JBAF> @BKQBO @>IIP LRQ QL LQEBO "LPB IFKH MOLAR@QP TEF@E JFDEQ ?B
              >PPFDKBAQLOLLJ")C>@LKKB@QBABUM>KPFLKMOLAR@QFP>PPFDKBAQLOLLJ"FQTFII
            OBPMLKAQLQEBJBAF>@BKQBO>KA>"LPBIFKH@LKKB@QFLKTFII?BJ>AB4EBJBAF>
              @BKQBOTFIIKLQ>@HKLTIBADB>OBPMLKPBCOLJ>KVQEFKDKLQ>PPFDKBAQLOLLJ"
 
              4EB JBAF> @BKQBO TFII KLQ >@HKLTIBADB JLOB QE>K LKB OBPMLKPB COLJ QEB P>JB
            OLLJ BFQEBO!PTFQE>KVMOLAR@QFSB@LKSBOP>QFLK QEBOB@>KLKIV?BLKBMBOPLK
            PMB>HFKD>Q>QFJB)CJLOBQE>KLKBMOLAR@QFP>PPFDKBAQLOLLJ"QEBJBAF>@BKQBO
              TLKQHKLTTEF@ELKBQLIFPQBKQL)CQEBJBAF>@BKQBO@>KQRKABOPQ>KAQEBOBPMLKPB
            COLJQEBBUM>KPFLKMOLAR@QP LOFCQEBOBFPKLOBPMLKPB>Q>II QEBJBAF>@BKQBOTFII
              QROKFQPBICLCC>KAQEB"LPBIFKH@LKKB@QFLKTFIIKLQ?BPR@@BPPCRI
 

   "/3%=35"  >Q )KQEFPOBD>OA )RKABOPQ>KAQE>QFC>RPBOT>KQBAQLQROKLK

   JRIQFMIB "LPB IFKH BUM>KPFLK MOLAR@QP FK AFCCBOBKQ OLLJP LC QEBFO ELJB RPFKD QEB "LPB IFKH

   @LJJRKF@>QFLK MOLQL@LI  QEB RPBO TLRIA E>SB QL MOBPP QEB MLTBO LK ?RQQLK LK > ABAF@>QBA

   BUM>KPFLKOBJLQB@LKQOLICLOB>@EOLLJ TEF@ETLRIAQEBK@>RPBQEB"LPBIFKHBK>?IBAJBAF>

   @BKQBOQL@EB@HCLO>"LPBIFKHBK>?IBABUM>KPFLKMOLAR@Q>PPFDKBAQLQE>QOLLJ>KA FCLKBFP

   CLRKA >"LPBIFKH@LKKB@QFLKTLRIA?BJ>AB)E>SBKLQPBBK>KVBSFABK@BQE>QQEB"LPBIFKH

   @LJJRKF@>QFLKMOLQL@LI@>K?BRPBAQLQROKLKJRIQFMIB"LPBIFKHBUM>KPFLKMOLAR@QPFKAFCCBOBKQ

   OLLJPSF>>PFKDIBOBJLQB@LKQOLI

            .LQ>?IV  QEBOB FP KL AFP@ILPROB FK QEB ^5KABOPQ>KAFKD "LPB IFKH_ LC > "LPB

   BUM>KPFLK OBJLQB @LKQOLI QO>KPJFQQFKD FKCLOJ>QFLK AFOB@QIV QL > "LPB IFKH BK>?IBA BUM>KPFLK

   MOLAR@Q  )KPQB>A  ?>PBA LK QEB J>QBOF>IP ) E>SB OBSFBTBA  > "LPB BUM>KPFLK OBJLQB @LKQOLI

   QO>KPJFQPFKCLOJ>QFLKQL>"LPBIFKHBK>?IBAJBAF>@BKQBO TEF@EFKQROKQO>KPJFQPFKCLOJ>QFLKQL

   >"LPBIFKHBK>?IBABUM>KPFLKMOLAR@Q!...0 "/3%=35"  >Q 

            4EB^5KABOPQ>KAFKD"LPBIFKH_AL@RJBKQ>IPLBUMI>FKPELT^!"LPBIFKHBK>?IBA

   JBAF> @BKQBO FP >IPL @>M>?IB LC J>K>DFKD QTL PBM>O>QB PLRO@BP >Q QEB P>JB QFJB_ RPFKD QTL

   AFCCBOBKQ>RAFLPQOB>JP K>JBIV PQOB>J>KAPQOB>J->Q7EFIB^;Q<EBJ>FKOLLJ LO

   OLLJ! @>KLKIVLMBO>QBLKPQOB>J _^>KVLCQEBBUM>KPFLKOLLJP@>K?B@LKCFDROBAQLLMBO>QB

   LKBFQEBOPQOB>JLOPQOB>J_-4EBCLIILTFKDBU>JMIBFP>IPLMOLSFABA



                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 15 of 139
             +!  &%!'$!&&!$ +%O+%! +

                 )C>KBUM>KPFLKOBJLQB@LKCFDROBACLOPQOB>JPBKAP>K/.@LJJ>KAQLQEBJBAF>
               @BKQBO QEBJBAF>@BKQBOTFII>@QFS>QBQEBMFKPQE>Q@>OOVPQOB>JFKCLOJ>QFLK4EB
               JBAF>@BKQBOTFII>IPL@>IILRQQL>KV"LPBIFKHMOLAR@QPBQQLQEBP>JBOLLJ@LAB
                 >PQEBOBJLQB)CQEBJBAF>@BKQBODBQP>K>KPTBOFQ@>KRKABOPQ>KA FQTFIIOBPMLKA
               ?VQBIIFKDQEBBUM>KPFLKMOLAR@QQLQROKLK>KAIFPQBKQLFQPPQOB>JFKMRQP)CQEB
                 JBAF>@BKQBOALBPKLQDBQ>OBPMLKPBCOLJ>KBUM>KPFLKMOLAR@QPBQQLQEBP>JB
               OLLJ>PQEBOBJLQBFQTFIIPFJMIVQROKFQPBICLCC
    -
 
                  )KQEFPOBD>OA )RKABOPQ>KAQE>QQEBPQOB>JCLOB>@E"LPBIFKHBK>?IBABUM>KPFLK
 
      MOLAR@Q FP PBQ >Q QEB ABAF@>QBA BUM>KPFLK OBJLQB @LKQOLI CLO QEB OLLJ FK TEF@E QE>Q BUM>KPFLK
 
      MOLAR@QFPIL@>QBA!@@LOAFKDIV FC>RPBOT>KQBAQLIFPQBKQLPQOB>JFK2LLJ" QEBRPBO@LRIA
 
      PBQ QEB ABAF@>QBA 2LLJ " BUM>KPFLK OBJLQB QL PQOB>J  >KA QEBK RPB QE>Q ABAF@>QBA 2LLJ "

      BUM>KPFLKOBJLQBQLQROKLKQEB"LPBIFKHBK>?IBABUM>KPFLKMOLAR@QFK2LLJ">KAQEBOB>CQBO

      @LKQOLIMI>V?>@HLCPQOB>JLKQEB"LPBIFKHBK>?IBABUM>KPFLKMOLAR@QFK2LLJ"4LIFPQBKQL

      QE>QP>JBPQOB>JFK>AFCCBOBKQOLLJ PR@E>P2LLJ# QEBRPBO@LRIAPBQQEBABAF@>QBA2LLJ#

      BUM>KPFLKOBJLQBQLPQOB>J>KAQEBKRPBQE>QABAF@>QBA2LLJ#BUM>KPFLKOBJLQBQLQROKLKQEB

      "LPBIFKHBK>?IBABUM>KPFLKMOLAR@QFK2LLJ">KAQEBOB>CQBO@LKQOLIMI>V?>@HLCPQOB>JLK

      QEB"LPBIFKHBK>?IBABUM>KPFLKMOLAR@QFK2LLJ#

                  ">PBA LK QEB J>QBOF>IP ) OBSFBTBA  FQ FP JV LMFKFLK QE>Q QEB "LPB IFKH

      @LJJRKF@>QFLK MOLQL@LI T>P KLQ RQFIFWBA ?V LO @LJM>QF?IB TFQE QEB "LPB ,FCBPQVIB  3VPQBJ 

      FK@IRAFKDQEB-RIQF 2LLJ)KQBOC>@B>KAQEB0BOPLK>IJBAF>@BKQBO-VLMFKFLKFPPRMMLOQBA?V

      QEBC>@QQE>QQEB"LPB,FCBPQVIB'RFABFPA>QBA/@QL?BO TEFIBQEBCFOPQOBCBOBK@B)E>SB

      PBBKQLQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LIFPFKQEB3! >KA3! /TKBOaP'RFAB!..

      "/3%=35"  >Q)KLQEBOTLOAP QEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI>MMB>OP

      QL E>SB ?BBK ABSBILMBA VB>OP >CQBO QEB "LPB ,FCBPQVIB  3VPQBJ  !AAFQFLK>IIV  QEB

      ^5KABOPQ>KAFKD"LPBIFKH_AL@RJBKQALBPKLQOBCBOBK@BQEB"LPB,FCBPQVIB3VPQBJ>KASF@B

      SBOP>

                  -V LMFKFLK QE>Q QEB "LPB IFKH @LJJRKF@>QFLK MOLQL@LI T>P KLQ RQFIFWBA ?V LO

      @LJM>QF?IB TFQE QEB "LPB ,FCBPQVIB  3VPQBJ FP >IPL PRMMLOQBA ?V QEB C>@Q QE>Q QEB ^3BQRM

      DRFABIFKBPCLO>AAFQFLK>IOLLJP_PB@QFLKLCQEB3! >KA3! /TKBOaP'RFABABP@OF?BPELTQL


                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 16 of 139
             +!  &%!'$!&&!$ +%O+%! +


    RPBQEB"LPBIFKHQB@EKLILDVQL>AARMQLOLLJPQL>"LPB,FCBPQVIBPVPQBJ ?RQQEBLKIV"LPB

    ,FCBPQVIB PVPQBJP QE>Q >OB IFPQBA >OB QEB ^,FCBPQVIBZ  PBOFBP ))   PBOFBP ))   LO  ELJB

    BKQBOQ>FKJBKQPVPQBJ;P<_\KLQ>"LPB,FCBPQVIB3VPQBJ!.."/3%=35"  >Q

    <..*5<8"/3%=35"  >QBUMI>FKFKDELTQEB"LPBIFKHQB@EKLILDV>IILTPQEB

    >AAFQFLK LC  OLLJP ^" /_ RPFKD ^"LPB IFKH BUM>KPFLK MOLAR@Q;P<_   !AAFQFLK>IIV  QEB LKIV

    @LJM>QF?IBBUM>KPFLKOBJLQB@LKQOLIPPELTKCLOQEBPB^>AAFQFLK>IOLLJP_>OBQEB2# 3 2#

    3  >KA 0BOPLK>I -RPF@ #BKQBO )) \ KLQ QEB 0BOPLK>I -RPF@ #BKQBO QE>Q @LJBP TFQE QEB "LPB

    ,FCBPQVIB  3VPQBJ 4EFP J>HBP PBKPB ?B@>RPB  RKIFHB QEB "LPB ,FCBPQVIB  3VPQBJ  TEF@E

    >MMB>OPQLE>SB?BBKABSBILMBAFK>KAAFP@LKQFKRBAFK<.."/3%=35"  

   3/./3 36' 

   EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

   JB=QEB>QBO=PRMMLOQIPEQJI  QEB ^,FCBPQVIBZ  PBOFBP ))   PBOFBP ))   LO  ELJB

   BKQBOQ>FKJBKQPVPQBJ;P<_>MMB>OQLE>SB>II?BBKABSBILMBAFK>OLRKAQEBQFJBQE>QQEB"LPB

   IFKH @LJJRKF@>QFLK MOLQL@LI >MMB>OP QL E>SB ?BBK ABSBILMBA <.. 3/./3 36' 

   EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

   JB=QEB>QBO=PRMMLOQIP=PBOFBPEQJI                                            3/./3 36' 

   EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

   JB=QEB>QBO=PRMMLOQIP=PBOFBPEQJI                                            3/./3 36' 

   EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

   JB=QEB>QBO=PRMMLOQIP=PBOFBPEQJI                                            3/./3 36' 

   EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

   JB=QEB>QBO=PRMMLOQIP=PBOFBPEQJI 

            -V LMFKFLK QE>Q QEB "LPB IFKH @LJJRKF@>QFLK MOLQL@LI T>P KLQ RQFIFWBA ?V LO

   @LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJFPCROQEBOPRMMLOQBA?VQEBC>@QQE>QQEB-RIQF 2LLJ

   )KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJALBPKLQE>SB>"LPBIFKH@LKKB@QLO>KAQERP>PMB@F>I

   ^ QL  MFK$).>A>MQBO_JRPQ?BRPBAQL@LKKB@Q>"LPBIFKHBUM>KPFLKMOLAR@QIFHB>K3! LO

   3! >JMIFCFBOQLQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJRPFKD>"LPBIFKH

   @>?IB)KJVLMFKFLK TEBKQEB^ QL  MFK$).>A>MQBO_FPRPBAQL@LKKB@Q>K3! LO3! 

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 17 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >JMIFCFBO QL QEB -RIQF 2LLJ )KQBOC>@B  QEB 3!  LO 3!  >JMIFCFBO TLRIA KLQ ?B >?IB QL

    @LJJRKF@>QBTFQEQEB-RIQF 2LLJ)KQBOC>@BRPFKDQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI?B@>RPB

    ) E>SB PBBK KL BSFABK@B QE>Q QEB -RIQF 2LLJ )KQBOC>@B FP > "LPB IFKH BK>?IBA JBAF> @BKQBO

    )KPQB>A  FQ FP JV LMFKFLK QE>Q QEB 3!  LO 3!  >JMIFCFBO TLRIA LMBO>QB IFHB QEB !@LRPQFJ>PP

    JLARIBLCQEB"LPB,FCBPQVIB3VPQBJ.LQ>?IV )E>SBKLQPBBK>KVBSFABK@BQE>QQEB-RIQF

    2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ@LRIA?BRMA>QBAQLLMBO>QBFK>@@LOA>K@BQEB

    "LPBIFKH@LJJRKF@>QFLKMOLQL@LI

             -V LMFKFLK QE>Q QEB "LPB IFKH @LJJRKF@>QFLK MOLQL@LI T>P KLQ RQFIFWBA ?V LO

    @LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJFPCROQEBOPRMMLOQBA?VQEBC>@QQE>QQEB0BOPLK>I

   -RPF@#BKQBO>KAQEB^JRIQF OLLJFKQBOC>@B_@LJJRKF@>QBRPFKD>MOLMOFBQ>OVO>AFLCOBNRBK@V

   @LJJRKF@>QFLKMOLQL@LIQE>QT>PPMB@FCF@>IIVABSBILMBACLOQEB"LPB,FCBPQVIB3VPQBJ>KAQE>Q

   FP^KLQ@LJM>QF?IB_TFQEMOLQL@LIPRPBAFKLQEBO"LPBPVPQBJP!.."/3%=35"  >Q

   ^4EB@LJJRKF@>QFLKMOLQL@LIRPBAFKQEB,FCBPQVIBZPVPQBJFPKLQ@LJM>QF?IBTFQEQEB

   MOLQL@LI@ROOBKQIVRPBAFKLQEBO,FCBPQVIBZPVPQBJP_ 

                           7D     !D3@D73E =4 B63 =A3 @33%>/13   %3@73A  CA7<3AA CA71

                                    %GAB3;

            !@@LOAFKDQLQEB^"LPB&OBB3M>@B%3BOFBP))"RPFKBPP-RPF@3VPQBJ/TKBOaP

   'RFAB_^"LPB&OBBPM>@B/TKBOaP'RFAB_ A>QBA*RIV  "LPB&OBB3M>@B^FP>KFKQBDO>QBA

   CLRO@E>KKBIAFDFQ>IPFDK>IMOL@BPPLO>KA T>QQMLTBO>JMIFCFBOCLO$/6?RPFKBPPJRPF@

   >MMIF@>QFLKP_QE>Q^MOLSFABP>IILCQEBMOL@BPPFKD>KA@LKQOLICB>QROBPOBNRFOBACLOLKB QL CLROWLKB

   ?RPFKBPPJRPF@>MMIF@>QFLKP_FK>^PFKDIB@E>PPFP_"/3%=35"  >Q4EB"LPB

   &OBB3M>@B % MOLAR@Q ^>IILT;P< CLO >K FKMRQ PLRO@B QL ?B OLRQBA QL >KV LC QEB CLRO >JMIFCFBO

   LRQMRQP _TEF@E>IILTPCLO>RAFLAFPQOF?RQFLKCLORMQLCLROAFCCBOBKQ^WLKBP_-!PPELTK>KA

   ABP@OF?BAFKQEB"LPB&OBBPM>@B/TKBOaP'RFAB ^;P<MB>HBOPVPQBJPFKRMQLCLROWLKBP@>K?B

   @LKKB@QBAQLQEB:/.%/54>JMIFCFBOLRQMRQP_RPFKD^QEBPMB>HBO@>?IBCOLJB>@EWLKB_->Q

   )E>SBKLQPBBK>KVBSFABK@BQE>QQEBCLROFKAFSFAR>I^WLKBP_@>K?B@LJ?FKBA>KALOE>SB

   >KVLSBOI>MMFKDPMB>HBOPVPQBJP4LQEB@LKQO>OV QEB"LPB&OBB3M>@B'RFABFKAF@>QBPQE>QRMQL

   CLRO AFCCBOBKQ PMB>HBO PVPQBJP @>K ?B E>OATFOBA QL QEB CLRO AFCCBOBKQ ^WLKB_ LRQMRQP LK QEB

                                                          
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 18 of 139
              +!  &%!'$!&&!$ +%O+%! +


    @BKQO>IFWBA"LPB&OBB3M>@BMOLAR@QQEBOB?VMOLEF?FQFKD>KVLSBOI>M-!MF@QROBLCQEB"LPB

    &OBB3M>@B%MOLAR@QFPPELTK?BILT

 

 

 

 

 

 

 






      

      ->Q

               ! 0F@QROB LC QEB CLRO ^:/.% /54 LRQMRQP_ >P TBII >P QEB ^PMB>HBO @>?IB_ >KA

      ^PMB>HBO@>?IB@LKKB@QLOP_RQFIFWBA?VQEB"LPB&OBB3M>@B%MOLAR@QFPPELTK?BILT


























                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 19 of 139
             +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

 

 






































                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 20 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ->Q

             !K BU>JMIB CLRO ^WLKB_ @LKCFDRO>QFLK RPFKD QEB "LPB &OBB3M>@B % MOLAR@Q FP

    PELTKFKQEBFJ>DB?BILT

 

 

 

 

 

 













   ->Q
            ">PBA LK QEFP AFP@ILPROB  FQ FP JV LMFKFLK QE>Q > PVPQBJ @LJMOFPFKD QEB "LPB
   &OBB3M>@B % MOLAR@Q @LKKB@QBA QL AFCCBOBKQ M>PPFSB PMB>HBOP PVPQBJP FK AFCCBOBKQ WLKBP SF>
   PMB>HBO@>?IBFP>@LKSBKQFLK>I@BKQO>IFWBA E>OA TFOBA>RAFLPVPQBJPR@E>PQE>QABP@OF?BAFKQEB
   ">@HDOLRKA PB@QFLK LC QEB a 0>QBKQ  TEBOB >RAFL COLJ >RAFL PLRO@BP @LKKB@QBA QL QEB
   @BKQO>IFWBA "LPB &OBB3M>@B % MOLAR@Q FP AFPQOF?RQBA QL @LKKB@QBA PMB>HBO PVPQBJP  !.. a
   0>QBKQ>Q !0/3)4!TLRIAKLQ@LKPFABOQEB@BKQO>IFWBA"LPB&OBB3M>@B%MOLAR@Q
   >KA @LKKB@QBA PMB>HBO PVPQBJP QL ?B LMBO>QFKD LK > A>Q> KBQTLOH ?B@>RPB QEB E>OA TFOBA
   @LKKB@QFLKABP@OF?BAFKQEB"LPB&OBBPM>@B/TKBOaP'RFABFPKLQ>JBAFRJQE>QFKQBO@LKKB@QP
   ABSF@BP BK>?IFKDQEBJQLPBKAAFDFQ>IA>Q>M>@HBQPQL>KAOB@BFSBAFDFQ>IA>Q>M>@HBQPCOLJB>@E
   LQEBO  -LOBLSBO  >P BUMI>FKBA ?BILT  M>PPFSB PMB>HBOP IFHB QEB LKBP QE>Q >OB E>OA TFOBA SF>
   PMB>HBO@>?IBQLQEB@BKQO>IFWBA"LPB&OBB3M>@B%MOLAR@Q>OBKLQ^WLKBMI>VBOP _>POBNRFOBA?V
   QEB!PPBOQBA#I>FJPLCQEBa0>QBKQ ?B@>RPBQEBV>OBKLQA>Q>KBQTLOHABSF@BP>KA>OBKLQ

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 21 of 139
             +!  &%!'$!&&!$ +%O+%! +


    @LKCFDROBAQLMOL@BPP>KALRQMRQ>RAFL

            4EB "LPB &OBBPM>@B /TKBOaP 'RFAB >IPL BUMI>FKP QE>Q > RPBO @>K @LKKB@Q >

    @LJMRQBO QL QEB "LPB &OBB3M>@B % MOLAR@Q >KA RPB QEB ^3BQ 5M 3@EBARIB JLAB_ LK QEB

    ^&OBB3M>@B )KPQ>IIBO 3LCQT>OB_ QL ^>RQLJ>QB > PVPQBJ ?V @OB>QFKD RM QL  BSBKQP_  !..

    "/3%=35"  >Q^%SBKQP_@>K?BPBQRMCLOB>@ELCQEBCLROFKAFSFAR>IWLKBPLK

    QEB"LPB&OBB3M>@B%MOLAR@Q>KA@>KFK@IRAB^BSBKQP_PR@E>P^/K/CC -RQB 6LIRJB 3LRO@B 

    >KA!RAFL6LIRJB_-)E>SBKLQPBBK>KVBSFABK@BQE>Q>K^BSBKQ_@>K?BPBQRMCLOJRIQFMIB

    WLKBP2>QEBO FQ>MMB>OPQE>Q^BSBKQP_>OBLKIV?BPBQRMCLO>PFKDIBWLKB >PPELTKFKQEBFJ>DB

    ?BILTTEBOBQEBIFPQLC^BSBKQP_FPPMB@FCF@QL^:/.%_
































      

      -

              3R@EBSBKQP^>OBLKIVP>SBAQLQEB%RKFQ_FQPBIC>KAQEBOBFPKLAFP@ILPROBQE>Q


                                                      
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 22 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FKCLOJ>QFLK>?LRQQEBBSBKQPFPQO>KPJFQQBAQL>KVLQEBOABSF@BPR@E>P>PMB>HBOPVPQBJFK>WLKB

    QLTEF@EQEBBSBKQMBOQ>FKP->Q^0OLDO>JJBOaP.LQB%SBKQP>OBLKIVP>SBAQLQEB%RKFQ

    TEBKVLR@IF@HQEB[&I>PE(>OAT>OB#LKCFDRO>QFLK?RQQLK_ )KLQEBOTLOAP BSBKQP>OBJBOBIV

    PBQRMLKQEB"LPB&OBB3M>@B%MOLAR@Q>KAKLQ@LJJRKF@>QBATFQE>KVLQEBOABSF@B >KAQEBK

    >RAFLFPAFPQOF?RQBACOLJQEB@BKQO>IFWBA%"LPB&OBB3M>@BMOLAR@QQL@LKKB@QBAPMB>HBOPVPQBJP

    FK>@@LOA>K@BTFQEQEBBSBKQP

             4EB "LPB &OBBPM>@B /TKBOaP 'RFAB >IPL AFP@ILPBP ELT QE>Q ^4EB :LKB 3BQRM

    @LKQOLIM>KBI>IILTPVLRQLPBIB@QQEB%1CLOQEBPMB>HBOPRPBAFK>WLKB>KAQLAL@RJBKQLMQFLK>I 

    QEBKRJ?BOLCPMB>HBOPFK>PR?WLKB>KAQEBFOQ>MPBQQFKDP _>PPELTKFKQEBFJ>DBP?BILT

   



























   ->Q 
            !PBUMI>FKBA ^;Q<EB3R?WLKBPQ>?IB>IILTPVLRQLAL@RJBKQQEBPMB>HBOPRPBAFK>
   WLKB_>KA^PBIB@Q>Q>MPBQQFKD_CLOQELPBPMB>HBOP TEBOB>^WLKBFPDOLRMLCPMB>HBOPQE>Q>OB
   AOFSBK?VQEBP>JB>JMIFCFBOLRQMRQ@E>KKBI_>KA^;><PR?WLKBFP>DOLRMLCPMB>HBOPTFQEFK>WLKB


                                                      
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 23 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QE>QRPB>@LJJLKQ>MLO>OBLC>@LJJLKQVMB_->Q^&LOBU>JMIB VLRJ>VE>SBFKPQ>IIBA

    QBK-LABIPMB>HBOPFK>AFKFKDOLLJ>KAPBQFQRM>P>WLKBQL?BAOFSBK?V@E>KKBI)KQEFP

    WLKBVLRJ>VE>SBBPQ>?IFPEBAQTLPR?WLKBP LKBTFQECFSB-LABIPMB>HBOPQ>MMBA>Q7>KA

    QEBLQEBOTFQECFSBQ>MMBA>Q7_-)KQEFPOBD>OA )RKABOPQ>KAQE>Q>IIPMB>HBOPFK>^WLKB_

    TFIIMI>VQEBP>JB>RAFLQE>QQEB^WLKB_OB@BFSBPCOLJQEB@BKQO>IFWBA"LPB&OBB3M>@B%MOLAR@Q

    OBD>OAIBPPLCTEBQEBOLOKLQ>KV^PR?WLKBP_BUFPQ)E>SBPBBKKLBSFABK@BQE>QQEB^PR?WLKBP_

    >OB>PBM>O>QBDOLRMLCPMB>HBOPQE>Q@>KMI>V>RAFLLKQEBFOLTKPBM>O>QB>KA>M>OQCOLJQEBLQEBO

    PMB>HBOPFKQEB^WLKB_,FHBTFPB )E>SBPBBKKLBSFABK@BQE>Q>K^BSBKQ_@>K?BPBQCLOGRPQ>

    ^PR?WLKB_

           -LOBLSBO  ) E>SB KLQ PBBK >KV BSFABK@B LC >KVQEFKD LQEBO QE>K >RAFL ?BFKD

   QO>KPJFQQBACOLJQEB@BKQO>IFWBA"LPB&OBB3M>@BMOLAR@QQLQEB@LKKB@QBAPMB>HBOPVPQBJP

           &ROQEBO )E>SBKLQPBBK>KVBSFABK@BQE>QQEBPMB>HBOPVPQBJPQE>Q>OB@LKKB@QBA

   QLQEB@BKQO>IFWBA"LPB&OBB3M>@B%MOLAR@Q@>K@LJJRKF@>QBTFQEB>@ELQEBOCLO>KVMROMLPB

           )KSFBTLCQEB>?LSB >"LPB&OBB3M>@BPVPQBJALBPKLQJBBQQEB^WLKBP@BKBP_

   2BNRFOBJBKQPLCQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ

           .LQ>?IV QEBOBFPKLAFP@ILPROBFKQEB"LPB&OBBPM>@B/TKBOaP'RFABLO>KVLCQEB

   LQEBO "LPB &OBB3M>@B J>QBOF>IP @FQBA ?V $O 3@ELKCBIA QB>@EFKD LO PRDDBPQFKD QE>Q QEB "LPB

   &OBB3M>@BPVPQBJFPOBI>QBAQLLOPLJBELT@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJ4LQEB

   @LKQO>OV ?>PBALKQEBJ>QBOF>IP)E>SBOBSFBTBA FQFPJVLMFKFLKQE>QQEB"LPB&OBB3M>@BMOLAR@Q

   >KAQEB"LPB,FCBPQVIB3VPQBJ>OBKLQOBI>QBALO@LJM>QF?IB!...0"/3%=35" 

   >Q^4EB@LJJRKF@>QFLKMOLQL@LIRPBAFKQEB,FCBPQVIBZPVPQBJFPKLQ@LJM>QF?IBTFQE

   QEBMOLQL@LI@ROOBKQIVRPBAFKLQEBO,FCBPQVIBZPVPQBJP_ )KABBA )E>SBPBBKKLBSFABK@BQE>Q>

   "LPB&OBB3M>@BMOLAR@Q@LRIAPLJBELT?B@LKKB@QBAQL>"LPB,FCBPQVIB3VPQBJ)KPQB>A 

   QEBPVPQBJP>MMB>OQL?B>IQBOK>QFSBPCLOAFPQOF?RQFKD>RAFLCOLJ>@BKQO>IIL@>QFLKQLLKBLOJLOB

   OLLJPLOWLKBPSF>>K>RAFL@>?IB >I?BFQTFQESBOVAFCCBOBKQ@>M>?FIFQFBP >PABP@OF?BA>?LSB

                        @%16=<43:2OAL=A3743ABG:3M$343@3<13=3A =B#C/:74G/A"@7=@

                          @B

           &LOQEBOB>PLKPBUMI>FKBA?BILT FQFPJVLMFKFLKQE>Q$O3@ELKCBIAaP>IIBDBA"LPB

                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 24 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ,FCBPQVIB3VPQBJALBPKLQNR>IFCV>PMOFLO>OQ

             !PKLQBA>?LSB QEBS>OFLRPAL@RJBKQPQE>Q$O3@ELKCBIA@FQBPQLFKEFP/MBKFKD

    2BMLOQABP@OF?B>QIB>PQCLROAFCCBOBKQ"LPBMOLAR@QP>KAQERPALKLQBSFABK@BQEBCRK@QFLK>IFQVLC

    >PFKDIBMOFLO>OQPVPQBJ

             -LOBLSBO  $O 3@ELKCBIA E>P KLQ BSBK >IIBDBA  IBQ >ILKB BUMI>FKBA ELT LO TEV 

    QEBPB AFCCBOBKQ "LPB MOLAR@QP TLRIA ?B @LJ?FKBA FKQL > PFKDIB PVPQBJ >KALO QE>Q PR@E >

    @LJ?FK>QFLKT>P@LKQBJMI>QBALO>@QR>IIVJ>AB>Q>A>QBMOFLOQLQEB$B@BJ?BO FKSBKQFLK

    A>QB>KALOQEB3BMQBJ?BO MOFLOFQVA>QBLCQEBa>KAa0>QBKQP)KC>@Q QEBPB"LPB

    MOLAR@QP>KALO@BOQ>FKCB>QROBPLCQEBPBMOLAR@QPTBOBKLQBSBK@LJM>QF?IBTFQELKB>KLQEBO&LO

   QEBPBOB>PLKP $O3@ELKCBIAaP^"LPB,FCBPQVIB_ALBPKLQNR>IFCV>PMOFLO>OQ

            -LOBLSBO  > 0/3)4! TLRIA KLQ ?B JLQFS>QBA QL @LJ?FKB QEBPB AFCCBOBKQ "LPB

   MOLAR@QP>QIB>PQ?B@>RPBLCQEBFOFK@LJM>QF?FIFQV)KABBA QEB"LPB,FCBPQVIB3VPQBJRPBP>

   MOLMOFBQ>OVO>AFLCOBNRBK@V@LJJRKF@>QFLKMOLQL@LIQE>QT>PPMB@FCF@>IIVABSBILMBACLOQEB"LPB

   ,FCBPQVIB3VPQBJ>KAQE>QFP^KLQ@LJM>QF?IB_TFQEMOLQL@LIPRPBAFKLQEBO"LPBPVPQBJP!..

   "/3%=35"  >Q

            /KB LC QEB MOFJ>OV AL@RJBKQP RMLK TEF@E $O 3@ELKCBIA OBIFBP QL PRMMLOQ EFP

   LMFKFLKP\>KAQEBLKIVAL@RJBKQPMB@FCF@>IIVAFOB@QBAQLQEB"LPB,FCBPQVIB3VPQBJ\FPQEB

   ^"LPB ,FCBPQVIB  3VPQBJ /TKBOaP 'RFAB_ OBCBOOBA QL EBOBFK >P ^"LPB ,FCBPQVIB  'RFAB_ 

   TEF@E?B>OP>A>QBLC/@QL?BO !.."/3%=35"  >Q7EFIB$O3@ELKCBIA

   @E>O>@QBOFWBPQEB/@QL?BO A>QB>P>^MR?IF@>QFLKA>QB _$O3@ELKCBIAE>PKLQBPQ>?IFPEBA

   QE>Q QEB "LPB ,FCBPQVIB  'RFAB T>P MR?IF@IV >S>FI>?IB LK QE>Q A>QB LO >KV A>QB MOFLO QL QEB

   $B@BJ?BO FKSBKQFLKA>QB>KALO3BMQBJ?BO MOFLOFQVA>QBLCQEBa>KAa

   0>QBKQP$O3@ELKCBIA>IPLE>PKLQBPQ>?IFPEBAQE>QQEBAFP@ILPROBPFKQEB"LPB,FCBPQVIB'RFAB

   TBOBBJ?LAFBAFK>PVPQBJQE>QT>PMR?IF@IV>S>FI>?IBFKQEB5KFQBA3Q>QBP>Q>QFJBQE>QTLRIA

   NR>IFCVQEBPVPQBJ>PMOFLO>OQ

            $O3@ELKCBIA>IPL>MMB>OPQL>PPBOQQE>QQEB"LPB,FCBPQVIB3VPQBJFQPBICT>P

   ^MR?IF@IV>S>FI>?IB>QIB>PQ>PLC_!..3@ELKCBIA/M2BMLOQ>QY$O3@ELKCBIA@FQBP

   QLQTLAFCCBOBKQTB?PFQBPQLPRMMLOQQEFP>PPBOQFLK4EBCFOPQFPQEB"LPBTB?PFQB TEF@EPQ>QBPQE>Q

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 25 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEB "LPB ,FCBPQVIB  3VPQBJ T>P ^;P<LIA COLJ  _ 3/./3 36' 

    EQQMPTTT?LPB@LJBK=RPPRMMLOQMOLAR@QP?LPB=ELJB=QEB>QBO=PRMMLOQ?LPB==PMB>HBO=EL

    JB=QEB>QBO=PRMMLOQIPEQJI   (LTBSBO  QEFP TB?PFQB ALBP KLQ FKAF@>QB TEBQEBO QEB "LPB

    ,FCBPQVIB3VPQBJT>P^MR?IF@IV>S>FI>?IB_FKQEB5KFQBA3Q>QBP>QIB>PQ>PLC!Q?BPQ QEFP

    TB?PFQBPRDDBPQPQE>QTEBOBSBOQEB"LPB,FCBPQVIB3VPQBJT>P>S>FI>?IB FQT>PAFP@LKQFKRBAFK

    )>IPLKLQBQE>QQEBFKCLOJ>QFLKLKQEFPTB?M>DBALBPKLQ>MMB>OQL?B>@@RO>QB>P)E>SB

    PBBKKLBSFABK@BQE>QQEB"LPB,FCBPQVIB3VPQBJT>PPLIA>PC>O?>@H>P4LQEB@LKQO>OV 

    QEB"LPB,FCBPQVIB'RFABOBCBOBK@BP>#$MI>VBO>KAFQFPJVRKABOPQ>KAFKDQE>QQEBCFOPQ#$

    MI>VBO T>P KLQ @LJJBO@F>IIV OBIB>PBA RKQFI   3BB 3/./3 36' 

   EQQMPBKTFHFMBAF>LODTFHF3LKV=#$0  3FJFI>OIV QEBQEFOAM>OQV^>RAFLOBSFBT_TB?PFQB

   @FQBA?V$O3@ELKCBIA>IPLALBPKLQBPQ>?IFPEQE>QQEB"LPB,FCBPQVIB3VPQBJT>P^MR?IF@IV

   >S>FI>?IB_FKQEB5KFQBA3Q>QBP>QIB>PQ>PLC4LQEB@LKQO>OV QTLLCQEB OBSFBTP

   OBCBOBK@B CLOBFDK @ROOBK@V PRDDBPQFKD QE>Q QEB OBSFBTP >MMIV QL PVPQBJP QE>Q J>V E>SB ?BBK

   MR?IF@IV      >S>FI>?IB      LRQPFAB       LC          QEB   5KFQBA      3Q>QBP            -

   EQQMTTT>RAFLOBSFBT@LJMOLAR@QLQEBOJFKF PVPQBJP?LPBIFCBPQVIB EQJI

           #LKCRPFKDIV FKABP@OF?FKDQEB"LPB,FCBPQVIB3VPQBJ $O3@ELKCBIA>IPLOBIFBP

   LKAFP@ILPROBFKS>OFLRPJ>QBOF>IPOBI>QBAQLLQEBO"LPBMOLAR@QP K>JBIV "LPB,FCBPQVIB3! >KA

   3! !JMIFCFBOP>KAQEBFO>?FIFQVQL?B>AABAQL>"LPBIFKHJBAF>@BKQBOLC>"LPB,FCBPQVIBZ

   PBOFBP)) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ"LPBIFKH@LJJRKF@>QFLKMOLQL@LI>KA

   "LPB&OBB3M>@B%&3BOFBP))"RPFKBPP-RPF@3VPQBJ$O3@ELKCBIAE>PKLQBUMI>FKBAELTPR@E

   AFP@ILPROBFPOBIBS>KQQLQEBLMBO>QFLKLCQEB>@QR>I"LPB,FCBPQVIB3VPQBJRMLKTEF@EEB@I>FJP

   QLOBIVCLOFKS>IFAFQV-LOBLSBO $O3@ELKCBIAE>PKLQBSBK>IIBDBA IBQ>ILKBBUMI>FKBAELTLO

   TEV QEBPBAFCCBOBKQ"LPBMOLAR@QPTLRIA?B@LJ?FKBATFQEQEB"LPB,FCBPQVIB3VPQBJ>KALO

   QE>QPR@E>@LJ?FK>QFLKT>P@LKQBJMI>QBALO>@QR>IIVJ>AB>Q>A>QBMOFLOQLQEB$B@BJ?BO 

   FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO MOFLOFQVA>QBLCQEBa>KAa0>QBKQP

           &LOBU>JMIB FKABP@OF?FKDQEB"LPB,FCBPQVIB3VPQBJ $O3@ELKCBIAOBIFBPLK

   AFP@ILPROBFKJ>QBOF>IPOBI>QBAQLQEB"LPB&OBB3M>@B%&3BOFBP))"RPFKBPP-RPF@3VPQBJ^"LPB

   &OBB3M>@B3VPQBJ_ !...03@ELKCBIA/M2BMLOQ>QY@FQFKD"/3%=35"  >Q

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 26 of 139
             +!  &%!'$!&&!$ +%O+%! +


     Y@FQFKD"/3%=35"  >Q"/3%=35"  >Q  Y

    @FQFKD"/3%=35"  >Q "/3%=35"  >Q /KBLCQEBMOFJ>OV

    AL@RJBKQPRMLKTEF@E$O3@ELKCBIAOBIFBPQLPRMMLOQEFPLMFKFLKPOBD>OAFKDQEB"LPB&OBB3M>@B

    3VPQBJ FP QEB ^"LPB &OBB3M>@B %& 3BOFBP )) "RPFKBPP -RPF@ 3VPQBJ /TKBOaP 'RFAB_ ^"LPB

    &OBB3M>@B/TKBOaP'RFAB_ TEF@E?B>OP>A>QBLC*RIV !.."/3%=35"  

    7EFIB$O3@ELKCBIA@E>O>@QBOFWBPQEB*RIV A>QB>P>^MR?IF@>QFLKA>QB _$O3@ELKCBIA

    E>PKLQBPQ>?IFPEBAQE>QQEB"LPB&OBB3M>@B/TKBOaP'RFABT>PMR?IF@IV>S>FI>?IBLKQE>QA>QBLO

    >KVA>QBMOFLOQLQEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO MOFLOFQV

    A>QBLCQEBa>KAa0>QBKQP$O3@ELKCBIA>IPLE>PKLQBPQ>?IFPEBAQE>QQEBAFP@ILPROBPFKQEB

   "LPB &OBB3M>@B /TKBOaP 'RFAB TBOB BJ?LAFBA FK > PVPQBJ QE>Q T>P MR?IF@IV >S>FI>?IB FK QEB

   5KFQBA3Q>QBP>Q>QFJBQE>QTLRIANR>IFCVQEBPVPQBJ>PMOFLO>OQ

            $O3@ELKCBIA>IPL>MMB>OPQL>PPBOQQE>QQEB"LPB&OBBPM>@BMOLAR@QT>P^MR?IF@IV

   >S>FI>?IB>QIB>PQ>PLC->V _!..3@ELKCBIA/M2BMLOQ>QY(LTBSBO $O3@ELKCBIA

   AFAKLQ@FQBQL>KVBSFABK@BPRMMLOQFKDQEFP>PPBOQFLK>KAQEBOBCLOBE>PKLQMOLSBKQE>QQEB"LPB

   &OBB3M>@BMOLAR@QT>P^MR?IF@IV>S>FI>?IB_>QIB>PQ>PLC->V !AAFQFLK>IIV )KLQBQE>Q

   ->V    FP >CQBO QEB $B@BJ?BO    FKSBKQFLK A>QB LC QEB a >KA a 0>QBKQP >KA

   QEBOBCLOB BSBKFCQEB"LPB&OBB3M>@BT>P^MR?IF@IV>S>FI>?IB_>PLC->V  FQTLRIAKLQ

   NR>IFCV>PMOFLO>OQQLQEBaLOa0>QBKQP

            2BI>QBAIV  ) >IPL KLQB QE>Q LKB LC QEB "LPB &OBB3M>@B AL@RJBKQP @FQBA ?V $O

   3@ELKCBIAE>P>@LMVOFDEQA>QBLC^ _TEF@EFP>CQBOQEB$B@BJ?BO FKSBKQFLKA>QBLC

   QEB a >KA a 0>QBKQP >KA FP KLQ @IB>OIV ?BCLOB QEB 3BMQBJ?BO    MOFLOFQV A>QB  !..

   "/3%=35"  -LOBLSBO TEFIBPLJBLCQEB"LPB&OBB3M>@BJ>QBOF>IP@FQBA?V$O

   3@ELKCBIA>MMB>OQL?BA>QBAMOFLOQLQEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO

    MOFLOFQVA>QBLCQEBa>KAa0>QBKQP $O3@ELKCBIAE>PKLQMOLSBKQE>Q>KVLCQEB

   J>QBOF>IP TBOB >@QR>IIV MR?IFPEBA FK > J>KKBO QE>Q TLRIA NR>IFCV QEBJ >P MOFLO >OQ LO QE>Q QEB

   AFP@ILPROBPQEBOBFKTBOBBJ?LAFBAFK>PVPQBJQE>QT>PMR?IF@IV>S>FI>?IBFKQEB5KFQBA3Q>QBP>Q

   >QFJBQE>QTLRIANR>IFCVQEBPVPQBJ>PMOFLO>OQ

            !PBUMI>FKBA>?LSB QEBOBFPKLAFP@ILPROBFKQEB"LPB&OBBPM>@B/TKBOaP'RFABLO

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 27 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >KVLCQEBLQEBO"LPB&OBB3M>@BJ>QBOF>IP@FQBA?V$O3@ELKCBIAQB>@EFKDLOPRDDBPQFKDQE>QQEB

    "LPB&OBB3M>@BPVPQBJFPOBI>QBAQLLOPLJBELT@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJ

    4LQEB@LKQO>OV ?>PBALKQEBBSFABK@B)E>SBOBSFBTBA FQFPJVLMFKFLKQE>QQEB"LPB&OBB3M>@B

    MOLAR@Q>KAQEB"LPB,FCBPQVIB3VPQBJ>OBKLQOBI>QBALO@LJM>QF?IB-LOBLSBO $O3@ELKCBIA

    E>P KLQ BSBK >IIBDBA  IBQ >ILKB BUMI>FKBA ELT LO TEV QEB "LPB &OBB3M>@B MOLAR@Q TLRIA ?B

    @LJ?FKBATFQEQEB"LPB,FCBPQVIB3VPQBJ>KALOQE>QPR@E>@LJ?FK>QFLKT>P@LKQBJMI>QBALO

    >@QR>IIVJ>AB>Q>A>QBMOFLOQLQEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO 

    MOFLOFQVA>QBLCQEBa>KAa0>QBKQP

             !P >KLQEBO BU>JMIB  FK ABP@OF?FKD QEB "LPB ,FCBPQVIB  3VPQBJ  $O 3@ELKCBIA

   OBIFBPLKAFP@ILPROBFK>AL@RJBKQQFQIBA^5KABOPQ>KAFKD"LPBIFKH _TEF@EOBI>QBPQLQEB"LPBIFKH

   @LJJRKF@>QFLKMOLQL@LI!...03@ELKCBIA/M2BMLOQ>QY@FQFKD>Q"/3%=35" 

   >Q  (LTBSBO QEFPAL@RJBKQFPKLQA>QBA>KA$O3@ELKCBIAE>PKLQMOLSBKQE>QFQ

   T>P>@QR>IIVMR?IFPEBAFK>J>KKBOQE>QTLRIANR>IFCVFQ>PMOFLO>OQLOQE>QQEBAFP@ILPROBPQEBOBFK

   TBOBBJ?LAFBAFK>PVPQBJQE>QT>PMR?IF@IV>S>FI>?IBFKQEB5KFQBA3Q>QBP>Q>QFJBQE>QTLRIA

   NR>IFCVQEBPVPQBJ>PMOFLO>OQ7FQEOBPMB@QQLQEBMR?IF@>QFLKLCQEBAL@RJBKQ QEBAL@RJBKQ

   FQPBIC>MMB>OPQL?B>KFKQBOK>I"LPBAL@RJBKQQE>QT>PKLQMR?IFPEBA>PFQFK@IRABP>^#LJM>KV

   #LKCFABKQF>I_ABPFDK>QFLK

            !PBUMI>FKBA>?LSB ?>PBALKQEBJ>QBOF>IP)OBSFBTBA FQFPJVLMFKFLKQE>QQEB

   "LPBIFKH@LJJRKF@>QFLKMOLQL@LIT>PKLQRQFIFWBA?VLO@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB

   3VPQBJ FK@IRAFKDQEB-RIQF 2LLJ)KQBOC>@B>KAQEB0BOPLK>IJBAF>@BKQBO&ROQEBO $O3@ELKCBIA

   E>PKLQBUMI>FKBAELTLOTEVQEB"LPB,FKH@LJJRKF@>QFLKMOLQL@LITLRIA?B@LJ?FKBATFQE

   QEB"LPB,FCBPQVIB3VPQBJ>KALOQE>QPR@E>@LJ?FK>QFLKT>P@LKQBJMI>QBALO>@QR>IIVJ>AB

   >Q>A>QBMOFLOQLQEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO MOFLOFQV

   A>QBLCQEBa>KAa0>QBKQP

            !P >KLQEBO BU>JMIB  FK ABP@OF?FKD QEB "LPB ,FCBPQVIB  3VPQBJ  $O 3@ELKCBIA

   OBIFBP LK AFP@ILPROB FK QEOBB AL@RJBKQP OBI>QBA QL QEB "LPB ,FCBPQVIB 3!  >KA 3!  3QBOBL

   !JMIFCFBOMOLAR@QP!...03@ELKCBIA/M2BMLOQ>QY@FQFKD"/3%=35"  >Q

      Y@FQFKD"/3%=35"  >Q  Y@FQFKD"/3%=35"

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 28 of 139
             +!  &%!'$!&&!$ +%O+%! +


     >Q  

             /KBLCQEB3! >KA3! !JMIFCFBOAL@RJBKQPQE>Q$O3@ELKCBIAOBIFBPRMLKFP

    A>QBA TEF@EFPTBII>CQBOQEB$B@BJ?BO FKSBKQFLKA>QB>KAQEB3BMQBJ?BO 

    MOFLOFQVA>QBLCQEBa>KAa0>QBKQP!.."/3%=35"  4ERP QEFPAL@RJBKQ

    ALBPKLQNR>IFCV>PMOFLO>OQ!KLQEBOLKBLCQEB3! >KA3! !JMIFCFBOAL@RJBKQPQE>Q$O

    3@ELKCBIAOBIFBPLKFPKLQA>QBA>Q>II>KA$O3@ELKCBIAE>PKLQMOLSBKQE>QFQ>@QR>IIVMR?IFPEBA

    FK>J>KKBOQE>QTLRIANR>IFCVFQ>PMOFLO>OQLOQE>QQEBAFP@ILPROBPQEBOBFKTBOBBJ?LAFBAFK>

    PVPQBJQE>QT>PMR?IF@IV>S>FI>?IBFKQEB5KFQBA3Q>QBP>Q>QFJBQE>QTLRIANR>IFCVQEBPVPQBJ>P

    MOFLO>OQ!.."/3%=35"  

            4EBQEFOA3! >KA3! !JMIFCFBOAL@RJBKQOBIFBALK?V$O3@ELKCBIAFPQFQIBA

   ^4EB"LPB,FCBPQVIB3! >KA3! 3QBOBL!JMIFCFBO/TKBOaP'RFAB_^3! >KA3! !JMIFCFBO

   'RFAB_ TEF@EFPA>QBA!.."/3%=35"  (LTBSBO $O3@ELKCBIAAFAKLQ

   BPQ>?IFPEQE>QQEB3! >KA3! !JMIFCFBO'RFABT>PMR?IF@IV>S>FI>?IBFKLO>KVA>QBMOFLO

   QLQEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO MOFLOFQVA>QBLCQEBa

   >KAa0>QBKQP$O3@ELKCBIA>IPLAFAKLQBPQ>?IFPEQE>QQEBAFP@ILPROBPFKQEB3! >KA3! 

   !JMIFCFBO'RFABTBOBBJ?LAFBAFK>PVPQBJQE>QT>PMR?IF@IV>S>FI>?IBFKQEB5KFQBA3Q>QBP>Q>

   QFJBQE>QTLRIANR>IFCVQEBPVPQBJ>PMOFLO>OQ

            !P BUMI>FKBA >?LSB  RKIFHB QEB "LPB ,FCBPQVIB  3VPQBJ  QEB 3!  >KA 3! 

   !JMIFCFBOMOLAR@QP>MMB>OQLE>SB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI@>M>?FIFQV!.."/3%=35"

    >Q3MB@FCF@>IIV QEB3! >KA3! !JMIFCFBOMOLAR@QP>MMB>OQL?B^"LPBIFKH

   BUM>KPFLKMOLAR@QP_!.."/3%=35"  >Q (LTBSBO FKLOABOQLRQFIFWBQEB

   "LPBIFKH@LJJRKF@>QFLKMOLQL@LI QEB3! >KA3! !JMIFCFBOMOLAR@QPKBBAQL?B@LKKB@QBA

   QL>^"LPBIFKHBK>?IBAJBAF>@BKQBO_->Q^&LO>"LPBIFKHPBQRMQLTLOHQEBPVPQBJJRPQ

   FK@IRAB>"LPBIFKHBK>?IBAJBAF>@BKQBO>@LKQOLIIBO >"LPBIFKHBUM>KPFLKMOLAR@Q >KA>K

   BUM>KPFLK OBJLQB @LKQOLI_   !P BUMI>FKBA >?LSB  ?>PBA LK QEB BSFABK@B ) E>SB OBSFBTBA  QEB

   -RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJAFAKLQRQFIFWBQEB"LPBIFKH@LJJRKF@>QFLK

   MOLQL@LI >KA QEBOBCLOB FP KLQ > ^"LPB IFKH BK>?IBA JBAF> @BKQBO_  4ERP  FC >K 3!  LO 3! 

   !JMIFCFBOMOLAR@QTBOB@LKKB@QBAQLQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ 

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 29 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI@LRIAKLQ?BRPBA-^4L@LJJRKF@>QB;RPFKDQEB"LPB

    IFKH @LJJRKF@>QFLK MOLQL@LI< QEBOB JRPQ ?B >Q IB>PQ QTL M>OQF@FM>KQP QE>Q PMB>H QEB P>JB

    I>KDR>DB_ 

                !AAFQFLK>IIV $O3@ELKCBIAE>PKLQ>IIBDBA IBQ>ILKBMOLSBKQE>QQEB3! >KA3!

    !JMIFCFBOMOLAR@QPTBOB>@QR>IIV@LJ?FKBATFQE>"LPB,FCBPQVIB3VPQBJ>Q>A>QBMOFLOQL

    QEB$B@BJ?BO FKSBKQFLKA>QB>KALOQEB3BMQBJ?BO MOFLOFQVA>QBLCQEBa>KA

    a0>QBKQP

                &LO>QIB>PQQEBOB>PLKP>?LSB $O3@ELKCBIAE>PKLQMOLSBKQE>QQEB>@QR>I"LPB

    ,FCBPQVIB3VPQBJLOQEB@LJ?FK>QFLKLCQEBS>OFLRP"LPBMOLAR@QPEBOBIFBPLKNR>IFCFBP>PMOFLO

   >OQ

                  7::7<5B=<

               /KBLCQEBPB@LKA>OVOBCBOBK@BPQE>Q$O3@ELKCBIAOBIFBPLKFKEFP/MBKFKD2BMLOQ

   FP#>K>AF>K0>QBKQ.L TEF@EFP>#>K>AF>KM>QBKQ>MMIF@>QFLKQE>QIFPQP-O-FIIFKDQLK

   >P FKSBKQLO  $O 3@ELKCBIA OBCBOP QL QEFP OBCBOBK@B FK EFP /MBKFKD 2BMLOQ >P QEB ^-FIIFKDQLK_

   OBCBOBK@B >KA)TFIIALQEBP>JB

               )RKABOPQ>KAQE>Q-FIIFKDQLKT>PMR?IFPEBALK&B?OR>OV $O3@ELKCBIA

   MOLSFABP>?OFBCLSBOSFBTLC-FIIFKDQLKFKEFPOBMLOQ!..3@ELKCBIA/M2BMLOQ>QYY 

               -FIIFKDQLK AFP@ILPBP > ^KBQTLOH >RAFL PVPQBJ_ QE>Q FK@IRABP F  ^WLKB MI>VBOP _

   TEF@E >OB A>Q> KBQTLOH ABSF@BP QE>Q >OB @LKCFDROBA QL MOL@BPP >KA LRQMRQ >RAFL  >KA FF  ^RPBO

   FKQBOC>@BJLARIBP_QE>Q>OB@LKCFDROBAQL@LKQOLIQEB^WLKBMI>VBOP_FB @LKQOLIIBOP !...0 

   -FIIFKDQLK>Q &)'P /KBBU>JMIBLCQEB^KBQTLOH>RAFLPVPQBJ_AFP@ILPBAFK-FIIFKDQLKFP

   FIIRPQO>QBAFK&)'













                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 30 of 139
             +!  &%!'$!&&!$ +%O+%! +


    %U>JFKBO>PFKAF@>QBA?VQEB%U>JFKBOaPPQ>QBJBKQQE>Q^!,,2%&%2%.#%3#/.3)$%2%$

    %8#%047(%2%,).%$4(2/5'( _CLIILTBA?VQEB%U>JFKBOaPPFDK>QROB4ERP FQFPJV

    RKABOPQ>KAFKDQE>QQEB%U>JFKBOAFA@LKPFABOQEBOBCBOBK@BPFABKQFCFBA>?LSB>KAABQBOJFKBAQE>Q

    QEB@I>FJBAFKSBKQFLKPLCQEBa0>QBKQTBOBKLSBI>KAKLK L?SFLRPLSBOQELPBOBCBOBK@BP

             !CQBOPRDDBPQFKDQE>QQEB5304/AFAKLQ@LKPFABOQEB>?LSB FABKQFCFBAOBCBOBK@BP 

    $O 3@ELKCBIA QEBK PQ>QBP QE>Q ^QEB 5304/ AFA KLQ E>SB QEB ?BKBCFQ LC QEB #LROQaP @I>FJ

    @LKPQOR@QFLKCLO`WLKBP@BKBa_3@ELKCBIA/M2BMLOQ>QY(LTBSBO $O3@ELKCBIAALBPKLQ

    BUMI>FKELTQEFP>PPBOQFLKFPOBI>QBAQLTEBQEBOLOKLQQEB5304/@LKPFABOBAQEBOBCBOBK@BPLO

    ELT^E>S;FKD<QEB?BKBCFQLCQEB#LROQaP@I>FJ@LKPQOR@QFLKCLO`WLKBP@BKBa_TLRIAE>SBE>A>KV

   FJM>@QLKQEB5304/aPAB@FPFLKQLDO>KQQEBa0>QBKQ2BD>OAIBPP CLOQEBOB>PLKPBUMI>FKBA

   ?BILT  FQ FP JV LMFKFLK QE>Q QEB 5304/aP AB@FPFLK QL DO>KQ QEB ` 0>QBKQ LSBO QEB >?LSB

   FABKQFCFBAOBCBOBK@BPT>P@LOOB@Q ?B@>RPBQELPBOBCBOBK@BPC>FIQL>KQF@FM>QBLOOBKABOL?SFLRP>KV

   LCQEB!PPBOQBA#I>FJPLCQEB0>QBKQ

            )KQEBPR? PB@QFLKP?BILT )E>SBMOLSFABA>PRJJ>OVLCQEB?>PBPCLOJVLMFKFLKP 

   >PTBII>POBPMLKPBPQL$O3@ELKCBIAaPLMFKFLKP

                          AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<&63=A3743ABG:3

                             %GAB3;

            &LOQEBOB>PLKPAFP@RPPBA?BILT FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQ

   FPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC^;D<BKBO>IHKLTIBADBLC>

   0/3)4! QEB3LKLP&LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK_

                            7      @ %16=<43:2 /7:A B= /> 67A ::3532 L=A3 743ABG:3  

                                     %GAB3;M$343@3<13B=B63:/7;323D713A=4:/7; 

            !PPBOQBA#I>FJLCQEBa0>QBKQOBNRFOBP>MEVPF@>I^@LJMRQFKDABSF@B_QE>QFP

   @LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ_@LJMOFPFKD>QIB>PQ

   QEOBBAFCCBOBKQMEVPF@>I^WLKBMI>VBOP_

            )K$O3@ELKCBIAaP/MBKFKD2BMLOQ EBC>FIPQLPBQCLOQE>KV>K>IVPFPLCQEB"LPB

   ,FCBPQVIB3VPQBJFK@LKKB@QFLKTFQE!PPBOQBA#I>FJLCQEBa0>QBKQ >KAFKPQB>AJBOBIV

   @FQBP ?>@H QL @BOQ>FK >PMB@QP LC EFP >K>IVPFP LC QEB "LPB ,FCBPQVIB  3VPQBJ FK QEB @LKQBUQ LC

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 31 of 139
             +!  &%!'$!&&!$ +%O+%! +


    !PPBOQBA#I>FJLCQEB`0>QBKQ3@ELKCBIA/M2BMLOQ>QYY 4ERP $O3@ELKCBIA

    C>FIP QL >OQF@RI>QB TE>Q EB @LKPFABOP QL ?B QEB ^@LJMRQFKD ABSF@B _ QEB ^WLKB MI>VBOP _ >KA QEB

    ^KBQTLOHBAJBAF>MI>V?>@HPVPQBJ_LC!PPBOQBA#I>FJLCQEBa0>QBKQFKEFP^"LPB,FCBPQVIB

    3VPQBJ_OBCBOBK@B

             -LOBLSBO $O3@ELKCBIAaP>K>IVPFPFKEFP/MBKFKD2BMLOQLCQEB"LPB,FCBPQVIB

    3VPQBJFK@LKKB@QFLKTFQE!PPBOQBA#I>FJLCQEBa0>QBKQALBPKLQMOLSFAB>KV@I>OFQVLK

    QEBPBFPPRB>PFQFPRK@IB>OTE>QABSF@BPFKQEB"LPB,FCBPQVIB3VPQBJ$O3@ELKCBIAFPJ>MMFKD

    QL QEB ^KBQTLOH ABSF@B _ QEB ^WLKB MI>VBOP _ >KA QEB ^KBQTLOHBA JBAF> MI>V?>@H PVPQBJ_ LC

    !PPBOQBA#I>FJLCQEBa0>QBKQ!..3@ELKCBIA/M2BMLOQ>QYY 

            4L QEB BUQBKQ $O 3@ELKCBIA FP MBOJFQQBA QL I>QBO MOLSFAB >K>IVPFP >KALO KBT

   LMFKFLKP OBD>OAFKD QEB !PPBOQBA #I>FJP LC QEB a 0>QBKQ  ) OBPBOSB JV OFDEQ QL >AAOBPP PR@E

   >K>IVPFP>KALOLMFKFLKPFK>PRMMIBJBKQ>IOBMLOQ>KALO>QQOF>I

                            77    &63=A3743ABG:3 %GAB3;272<=B6/D3L,=<3":/G3@AM

            !PPBOQBA #I>FJ  LC QEB a 0>QBKQ OBNRFOBP > ^@LJMRQFKD ABSF@B_ QE>Q FP

   MOLDO>JJBATFQE@BOQ>FKCRK@QFLK>I@>M>?FIFQVFK@IRAFKD^PBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBA

   JBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>CFOPQWLKBMI>VBO>KA>QIB>PQQTLLQEBOWLKBMI>VBOP_!P

   KLQBA>?LSB 3LKLPaPMOLMLPBA@LKPQOR@QFLKLC^WLKBMI>VBO_>PQE>QQBOJFPRPBAFKQEBa0>QBKQ

   FP>^A>Q>KBQTLOHABSF@B@LKCFDROBAQLMOL@BPP>KALRQMRQ>RAFL_!>9;*3B@QFLK8"!KAOBI>QBA

   QLQEFPMOLMLPBA@LKPQOR@QFLK 3LKLPaPFKQBOMOBQ>QFLKLCQEBMI>FK>KALOAFK>OVJB>KFKDLCQEBQBOJ

   ^A>Q>KBQTLOH_FP^>JBAFRJQE>QFKQBO@LKKB@QPABSF@BP BK>?IFKDQEBJQLPBKAAFDFQ>IA>Q>M>@HBQP

   QL>KAOB@BFSBAFDFQ>IA>Q>M>@HBQPCOLJB>@ELQEBO_-

            !P>KFKFQF>IJ>QQBO FQFPKLQ@IB>OTE>QABSF@BPFKQEB"LPB,FCBPQVIB3VPQBJ$O

   3@ELKCBIAFP>IIBDFKDQL?BQEB@I>FJBA^WLKBMI>VBOP_!..3@ELKCBIA/M2BMLOQ>QYY 

   )KPQB>A EFP>K>IVPFPLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa

   0>QBKQ  $O 3@ELKCBIA JBOBIV PQ>QBP QE>Q QEB ^"LPB ,FCBPQVIB MI>VBO @LOOBPMLKAP QL QEB @I>FJBA

   :LKB0I>VBO>KAFQMOLSFABPQEB>?FIFQVQLPQOB>JJRPF@COLJ>@LKQOLIIBOLSBO>7F &FLOBQEBOKBQ

   KBQTLOH_->Q)>JRK>T>OBLC>KVABSF@BFKQEB"LPB,FCBPQVIB3VPQBJ@>IIBAQEB^"LPB

   ,FCBPQVIBMI>VBO_&LOQEFPOB>PLK>ILKB $O3@ELKCBIAE>PC>FIBAQLMOLSBQE>QQEB"LPB,FCBPQVIB

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 32 of 139
             +!  &%!'$!&&!$ +%O+%! +


    3VPQBJAFP@ILPBPQEB^WLKBMI>VBOP_LC!PPBOQBA#I>FJLCQEBa0>QBKQ

             2BD>OAIBPP  FK JV LMFKFLK  QEB "LPB ,FCBPQVIB  3VPQBJ C>FIP QL AFP@ILPB ^WLKB

    MI>VBOP_CLO>QIB>PQQEBCLIILTFKDOB>PLKP

             &FOPQ QLQEBBUQBKQ$O3@ELKCBIAFP>ODRFKDQE>QBFQEBO>*BTBI#R?BPMB>HBO >K

    !@LRPQFJ>PP JLARIB  LO >K 3!  LO 3!  >JMIFCFBO >P > ^WLKB MI>VBO _ ) AFP>DOBB  !MMIVFKD

    3LKLPaP@LKPQOR@QFLKPLC^WLKBMI>VBO_>KA^A>Q>KBQTLOH _KBFQEBO>*BTBI#R?BPMB>HBO KLO>K

    !@LRPQFJ>PPJLARIB KLO>K3! LO3! >JMIFCFBOFP>^CFOPQWLKBMI>VBO_?B@>RPBQEBPBABSF@BP

    F >OBKLQA>Q>KBQTLOHABSF@BPQE>Q@>KPBKAAFDFQ>IA>Q>M>@HBQPQL>KAOB@BFSBAFDFQ>IA>Q>M>@HBQP

    COLJ>KLQEBOABSF@B>KAFF >OBKLQ@>M>?IBLCMBOCLOJFKD>KVAFDFQ>IA>Q>MOL@BPPFKDLKQEB>RAFL

   ?BCLOBLRQMRQQFKDFQ)KPQB>A QEBBSFABK@B)E>SBOBSFBTBAPELTPQE>Q>*BTBI#R?BPMB>HBOJBOBIV

   OB@BFSBP >K >RAFL PFDK>I LSBO >K >RAFL @>?IB COLJ >K !@LRPQFJ>PP JLARIB LO 3!  LO 3! 

   >JMIFCFBO>KALRQMRQP>RAFL >KAQE>Q>K!@LRPQFJ>PPJLARIBLO3! LO3! >JMIFCFBOOB@BFSBP

   >K>RAFLPFDK>ILSBO>K>RAFL@>?IBCOLJQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJ

   >KALRQMRQP>RAFL!.."/3%=35"  >Q     "/3%=35" 

   >Q4EBOBFPKLBSFABK@BLCQTL T>VAFDFQ>IA>Q>M>@HBQ@LJJRKF@>QFLK?BQTBBK>*BTBI

   #R?BPMB>HBO>KA>K!@LRPQFJ>PPJLARIBLO3! LO3! >JMIFCFBO LO?BQTBBK>K!@LRPQFJ>PP

   JLARIBLO3! LO3! >JMIFCFBO>KAQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJ

   4EBOB FP >IPL KL BSFABK@B LC >KV @LJJRKF@>QFLK TE>QPLBSBO ?BQTBBK *BTBI #R?B PMB>HBOP LO

   ?BQTBBK!@LRPQFJ>PPJLARIBPLO3! LO3! >JMIFCFBOPTEBKQEBPBMOLAR@QP>OBRPBATFQE>

   -RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJ >P$O3@ELKCBIA>MMB>OPQL?B>PPBOQFKD

   !KA I>PQIV  QEBOB FP KL BSFABK@B QE>Q QEBPB ABSF@BP MBOCLOJ >KV AFDFQ>I A>Q> MOL@BPPFKD ?BCLOB

   LRQMRQQFKDQEB>RAFL













                                                          
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 33 of 139
              +!  &%!'$!&&!$ +%O+%! +


             3B@LKA QLQEBBUQBKQ$O3@ELKCBIAFP>ODRFKDQE>Q>*BTBI#R?BPMB>HBOLCQEB

    "LPB,FCBPQVIB3VPQBJFPQEB^CFOPQWLKBMI>VBO _)AFP>DOBB?B@>RPB>*BTBI#R?BPMB>HBOFPKLQ

    @LKCFDROBAQL9;8,.<<>KALRQMRQ>RAFL)KPQB>A >*BTBI#R?BPMB>HBOFP>M>PPFSBPMB>HBOQE>QFP

    E>OA TFOBA QL >K !@LRPQFJ>PP JLARIB >KA PFJMIV LRQMRQP >RAFL FK QEB CLOJ LC PLRKA LK@B >K

    >K>ILDPFDK>IFPOB@BFSBASF>>K>RAFL@>?IB!.."/3%=35"  >Q  

 

 

 

 


















      




















                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 34 of 139
             +!  &%!'$!&&!$ +%O+%! +


    

 

 

 

 

 

 

 

 



   

           4EFOA QLQEBBUQBKQ$O3@ELKCBIAFP>ODRFKDQE>Q>K3! LO3! >JMIFCFBOFP>

   ^WLKBMI>VBO _)CROQEBOAFP>DOBBLKQEB?>PFPQE>Q>K3! LO3! >JMIFCFBOFPKLQM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ TEF@EFPPELTK?BILT

   





















   "/3%=35"  >Q

           2BD>OAIBPP  FC >K 3!  LO 3!  >JMIFCFBO TBOB >@QR>IIV @LKKB@QBA QL QEB -RIQF

   2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ FQ>MMB>OPQLJBQE>QFQTLRIALMBO>QBIFHB>K

                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 35 of 139
             +!  &%!'$!&&!$ +%O+%! +


    !@LRPQFJ>PPJLARIBFKQEBPBKPBQE>QFQTLRIAOB@BFSB>K>RAFLPFDK>ILSBO>K>RAFL@>?IBCOLJ

    QEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIBPVPQBJTFQEKLQTL T>VAFDFQ>IA>Q>M>@HBQ

    @LJJRKF@>QFLK?BQTBBK>K3! LO3! >JMIFCFBO>KAQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB

    ,FCBPQVIBPVPQBJ!.."/3%=35"  >Q  "/3%=35"  >Q

             &ROQEBO  KBFQEBO > *BTBI #R?B 3MB>HBO  !@LRPFQJ>PP JLARIB  LO 3!  LO 3! 

    >JMIFCFBOFP>^WLKBMI>VBO_>POBNRFOBA?VQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ?B@>RPBQEBVAFA

    KLQE>SBQEB@>M>?FIFQVQL@E>KDBQEBFO^@LKCFDRO;>QFLK<_>PFQOBI>QBAQL>RAFLMI>V?>@HFKLOABOQL

    QO>KPFQFLK?BQTBBK^PQ>KA>ILKBJLAB_>KADOLRMBAJLAB

             (BOBFK )PLJBQFJBPOBCBOQL>ABSF@BQE>Q@>K?BRPBAFK>"LPB,FCBPQVIB3VPQBJ

   QLLRQMRQ>RAFL\FK@IRAFKD>K!@LRPQFJ>PPJLARIB >K3! LO3! >JMIFCFBO >KALO>@LKKB@QBA

   PMB>HBOBD *BTBI#R?B3MB>HBO >P>^,FCBPQVIBMI>VBO_

                           777   &63 =A3 743ABG:3   %GAB3; 272 <=B 6/D3 L,=<3 %13<3AM

                                   C<1B7=</:7BG

            !PPBOQBA #I>FJ  LC QEB a 0>QBKQ OBNRFOBP > ^@LJMRQFKD ABSF@B_ QE>Q FP

   MOLDO>JJBATFQE@BOQ>FKCRK@QFLK>I@>M>?FIFQVCLO@OB>QFKD>KAFKSLHFKD>^WLKBP@BKB _TEF@EFP

   >RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIB

   OBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>RPBOPLQE>QQEBDOLRM@>K?BFKSLHBAI>QBOLKABJ>KACLO

   PVK@EOLKLRP MI>V?>@H  !KA JLOB PMB@FCF@>IIV  !PPBOQBA #I>FJ  LC QEB a 0>QBKQ OBNRFOBP >

   ^@LJMRQFKD ABSF@B_ QE>Q FP MOLDO>JJBA TFQE CRK@QFLK>I @>M>?FIFQV CLO @OB>QFKD JRIQFMIB ^WLKB

   P@BKBP_E>SFKD>KLSBOI>MMFKD^WLKBMI>VBO_>KAQEBKI>QBOFKSLHFKDLKBLCQEB^WLKBP@BKBP_

            !PBUMI>FKBA>?LSBFK3B@QFLKP)8>KA86!F QEBOB>PBSBO>IHBVAFPQFK@QFLKP

   ?BQTBBK>^WLKBP@BKB_>KAQEBQVMBPLCQBJMLO>OV >A EL@DOLRMPQE>Q@LRIA?B@OB>QBA?V>RPBO

   FKMOFLO>OQPVPQBJPPR@E>PQEB"LPB,FCBPQVIB3VPQBJ

            ">PBALKQEBBSFABK@B)E>SBOBSFBTBAOBD>OAFKD$O3@ELKCBIAaP^"LPB,FCBPQVIB

   3VPQBJ_OBCBOBK@B FQFPJVLMFKFLKQE>QKBFQEBOQEB0BOPLK>I-RPF@#BKQBOTEF@EPBOSBP>P>

   TFOBIBPPOBJLQB@LKQOLICLOQEB>@QR>I"LPB,FCBPQVIB3VPQBJ KLOQEB0BOPLK>I-RPF@#BKQBO

   FK@LJ?FK>QFLKTFQEQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ KLO

   >KVLCQEBLQEBO"LPB@LKQOLIIBOP>ILKBLOFK@LJ?FK>QFLKTFQELQEBO@BKQO>IFWBA>RAFLAFPQOF?RQFLK

                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 36 of 139
              +!  &%!'$!&&!$ +%O+%! +


    ABSF@BPFKQEBS>OFLRP"LPBAL@RJBKQPOBIFBALK?V$O3@ELKCBIAE>A(2CRK@QFLK>I@>M>?FIFQV

    CLO@OB>QFKDLOFKSLHFKD>^WLKBP@BKB_\IBQ>ILKBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL@>RPBQEB

    @OB>QFLKLCQTLAFCCBOBKQ LSBOI>MMFKD^WLKBP@BKBP_QE>Q>OB?LQE>S>FI>?IBCLOPBIB@QFLK?V>RPBO

    >KAQEBKI>QBO@>RPB>PBIB@QBALKBLCQEBQTLAFCCBOBKQ^WLKBP@BKBP_QL?BFKSLHBA >POBNRFOBA

    ?V!PPBOQBA#I>FJLCQEBa0>QBKQ

             !P BUMI>FKBA >?LSB  QEB BSFABK@B ) OBSFBTBA FKAF@>QBP QE>Q QEB 0BOPLK>I -RPF@

    #BKQBOLCQEB"LPB,FCBPQVIB3VPQBJBK>?IBA>RPBOQLPBQRM>^PE>OBAPLRO@B_LC>RAFLQE>Q

    @LRIA ?B AFPQOF?RQBA SF> >RAFL @>?IBP COLJ QEB @BKQO>IFWBA -RIQF 2LLJ )KQBOC>@B QL ,FCBPQVIB

    MI>VBOPFKRMQLCLROOLLJPOLLJP! " # >KA$ PLQE>QQEBP>JB>RAFL@LRIA?BMI>VBA?>@H

   PFJRIQ>KBLRPIV SF> QEB ,FCBPQVIB MI>VBOP >KA QEBFO @LKKB@QBA PMB>HBOP BD  QEB *BTBI #R?B

   PMB>HBOPLCQEB"LPB,FCBPQVIB3VPQBJ "/3%=35"  >Q ">PBALKQEB"LPB

   ,FCBPQVIB3VPQBJBSFABK@B)OBSFBTBA PBQQFKDRM>^PE>OBAPLRO@B_T>PQEBLKIVT>VQL@OB>QB

   >KV PLOQ LC ^DOLRM_ LC ,FCBPQVIB MI>VBOP QE>Q TBOB @>M>?IB LC MI>VFKD ?>@H QEB P>JB >RAFL

   PFJRIQ>KBLRPIV(BOBFK)PLJBQFJBPOBCBOQLPR@E>DOLRMLC,FCBPQVIBMI>VBOP>P>^PE>OBAPLRO@B

   DOLRM_

            !P>KBU>JMIB QLPBQRM>^PE>OBAPLRO@BDOLRM_FKQTLOLLJP!>KA" >RPBO

   @LRIA RPBQEB2//-?RQQLKLKQEB0BOPLK>I-RPF@#BKQBOQLPBIB@QOLLJ!>KAQEBKRPB>

   PLRO@B?RQQLKQLPBQ>K>RAFLPLRO@BCLOOLLJ!>KA RPBQEB2//-?RQQLKLKQEB0BOPLK>I

   -RPF@#BKQBOQLPBIB@QOLLJ">KAQEBKRPBQEBP>JBPLRO@B?RQQLKQLPBQQEBP>JB>RAFLPLRO@B

   CLOOLLJ"4EBOB>CQBO QEBRPBO@LRIARPBQEB2//-?RQQLK>D>FKQLPBIB@Q?LQEOLLJP!>KA"

   QLDBQEBOPR@EQE>Q?LQEOLLJP@LRIA?B@LKQOLIIBAQLDBQEBO







                                   
      
      .LQ>?IV  QEB /TKBOaP 'RFAB CLO QEB "LPB ,FCBPQVIB  3VPQBJ ALBP KLQ ABP@OF?B > DOLRM LC
      ,FCBPQVIBMI>VBOP>PLRQMRQQFKD>RAFLFK^PVK@EOLKV _>KAFQFPJVLMFKFLKQE>QQEFP@LKCFDRO>QFLK
   TLRIAKLQE>SBMOLSFABA^PVK@EOLKLRPMI>V?>@HLCJBAF>_>PQE>QMEO>PBFPRPBAFKQEB@LKQBUQLC
      QEBa0>QBKQ ?B@>RPBPR@E>@LKCFDRO>QFLKTLRIAKLQE>SBFKSLISBA>KV@LLOAFK>QFLK?BQTBBK
   QEB,FCBPQVIBMI>VBOPLOQEBFO@LKKB@QBAPMB>HBOPQE>QE>A?BBKDOLRMBA

                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 37 of 139
              +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

 
      "/3%=35"  >Q
 
               !IQBOK>QFSBIV >RPBO@LRIAPBQRM>^PE>OBAPLRO@BDOLRM_CLO>IIQEB>S>FI>?IBOLLJP

      ! $?VMOBPPFKDQEB(/53%?RQQLKLKQEB0BOPLK>I-RPF@#BKQBOCLIILTBA?VMOBPPFKD>PLRO@B

      ?RQQLKQLPBIB@QQEB>RAFLPLRO@BQE>QQEBRPBOT>KQBAQLIFPQBKQLFK>IIOLLJP












   

   "/3%=35"  >Q

            !PBUMI>FKBA>?LSB TEBK>RPBOPBQRM>^PE>OBAPLRO@BDOLRM_FKLKBLCQEBT>VP

   ABP@OF?BA>?LSB QEBBSFABK@B)E>SBOBSFBTBAFKAF@>QBPQE>QQEB0BOPLK>I-RPF@#BKQBOTLRIA

   @LJJRKF@>QBTFQEQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@B>KAQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@B

   TLRIA@LKCFDROBFQPBICQLAFPQOF?RQBQEBP>JB>RAFLCOLJQEBP>JB>RAFLPLRO@BQLB>@ELCQEBOLLJP

   PE>OFKDQEBPLRO@BPLQE>QQEBP>JB>RAFL@LRIA?BMI>VBA?>@HPFJRIQ>KBLRPIVSF>QEB,FCBPQVIB

   MI>VBOP  !.. .0 "/3%=35"   >Q  ^4EB "LPB -RIQF 2LLJ )KQBOC>@B  TFQE CLRO

                                       
      
         )Q FP TLOQE KLQFKD QE>Q MOBPPFKD QEB (/53% ?RQQLK FQPBIC ALBP KLQ @>RPB  >KA FP KLQ RPBA QL
   @LKCFDROB >IIQEBMI>VBOPQLMI>V>RAFLFKPVK@EOLKV&LOBU>JMIB QL@LKQOLIJRIQFMIBMI>VBOPQE>Q
      >OBB>@EMI>VFKDAFCCBOBKQ>RAFL >RPBO@LRIAMOBPPQEB(/53%?RQQLKCLIILTBA?VMOBPPFKDQEB
   JRQB?RQQLKQLJRQB>IIQEBMI>VBOP!.."/3%=35"  >Q

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 38 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FKABMBKABKQ >RAFL LRQMRQP QE>Q >IILT VLR QL BKGLV "LPB PLRKA QEOLRDELRQ VLRO ELJB_  

    FIIRPQO>QFKD > "LPB ,FCBPQVIB  3VPQBJ @LKCFDRO>QFLK TFQE > #$ MI>VBO >KA >K !@LRPQFJ>PP

    JLARIB@LKKB@QBAQEB-RIQF 2LLJ)KQBOC>@B FIIRPQO>QFKDS>OFLRP>RAFLPLRO@BP@LKKB@QBAQL

    -RIQF 2LLJ)KQBOC>@BSF>>RAFLFKMRQ@>?IBP ^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@

    @BKQBOFQPBQPRM>O>AFL COBNRBK@VIFKHTFQEQEB@ILPBPQJRIQF OLLJFKQBOC>@B[)CQEBJRPF@@BKQBO

    @LKQFKRLRPIVAFPMI>VP./2%30/.3% VLRKBBAQLQOVQLBPQ>?IFPEFQPIFKHTFQEQEBJRIQF OLLJ

    FKQBOC>@B >D>FK_   &FDROB  PELTFKD ^!5$)/ /54054_ G>@HP CLO B>@E OLLJ   

    BUMI>FKFKDELTQLRPB2//->KA(/53%?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOQLPBQRM>K

    >RAFLPLRO@BCLOLKBLOJLOBOLLJP@LKKB@QBAQLQEB-RIQF 2LLJ)KQBOC>@B ^4L>AA>KBT

   JRPF@ @BKQBO QL VLRO PVPQBJ  CLIILT QEB PBQRM FKPQOR@QFLKP LK M>DB  "B PROB QL FKPQ>II QEB

   ?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEBJRIQF OLLJFKQBOC>@BQL>IILTQEBKBTJRPF@

   @BKQBOQLPBQRM>O>AFLCOBNRBK@VIFKHTFQEVLROPVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBA

   FKLOQEBJRPF@@BKQBOFPLRQLCO>KDB QEBAFPMI>VFKAF@>QBP./2%30/.3%_ )KQEFPOBD>OA QEB

   PFJRIQ>KBLRP>RAFLMI>V?>@HFKJRIQFMIBOLLJPPE>OFKD>PLRO@BT>P@LKQOLIIBABU@IRPFSBIV?VQEB

   @BKQO>IFWBA -RIQF 2LLJ )KQBOC>@B >KA FQP >?FIFQV QL LRQMRQ QEB P>JB PLRO@B SF> QEB ^!5$)/

   /54054_G>@HPQLB>@EOLLJFKQEB^PE>OBAPLRO@BDOLRM_)KLQEBOTLOAP TEBK>^PE>OBAPLRO@B

   DOLRM_T>P>@QFS>QBA KBFQEBOQEB,FCBPQVIBMI>VBOPKLOQEBFO@LKKB@QBAPMB>HBOPTLRIA@E>KDBQEBFO

   @LKCFDRO>QFLK>PFQOBI>QBPQL>RAFLMI>V?>@H)KPQB>A QEBVTLRIAGRPQMI>V?>@HQEB>RAFLQE>QQEBV

   OB@BFSBACOLJQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@BFKQEBP>JBJ>KKBOQE>QTLRIAE>SBMI>VBA

   >RAFLOB@BFSBACOLJQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@BE>AQEBVKLQ?BBK>AABAQL>^PE>OBA

   PLRO@BDOLRM_!PPR@E QEBOBTLRIA?BKL@LLOAFK>QFLK?BQTBBKQEB,FCBPQVIBMI>VBOPFK>^PE>OBA

   PLRO@BDOLRM_>KAQEB,FCBPQVIBMI>VBOPTLRIAKLQE>SBE>A>KV>T>OBKBPPLCTEBQEBOLOKLQQEBV

   TBOBM>OQLC>^PE>OBAPLRO@BDOLRM_

            &ROQEBO QEBBSFABK@B)E>SBOBSFBTBAFKAF@>QBPQE>QLK@B>^PE>OBAPLRO@BDOLRM_

   T>PPBQRM >,FCBPQVIBMI>VBOPE>OFKDQEB>RAFLPLRO@B@LRIAKLQQEBOB>CQBO?BRPBACLOFKAFSFAR>I

   >RAFL MI>V?>@H RKQFI > RPBO RPBA QEB 2//- ?RQQLK LC QEB 0BOPLK>I -RPF@ #BKQBO QL PBIB@Q QEB

   ,FCBPQVIBMI>VBO>KAQEBKRPBA>PLRO@B?RQQLKQLPBQQEB>RAFLPLRO@BCLOQEB,FCBPQVIBMI>VBOQL>

   AFCCBOBKQ>RAFLPLRO@BPR@EQE>QFQKLILKDBOPE>OBP>K>RAFLPLRO@BTFQELQEBO,FCBPQVIBMI>VBOP

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 39 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ->Q^2BQROKFKDQLPFKDIB OLLJ@LKQOLI;<!CQBOVLRE>SBD>FKBA@LKQOLILCJRIQFMIBOLLJP

    RPFKDQEB2//-?RQQLK VLR@>KRPBQEB2//-?RQQLK>D>FKQLD>FK@LKQOLILC>PFKDIBOLLJ

    0OBPP 2//- RKQFI QEB OLLJ VLR T>KQ FP AFPMI>VBA                       #LKQOLI QE>Q OLLJ >P

    ABPFOBA_ )KQEFPT>V >DOLRMLC,FCBPQVIBMI>VBOPE>SFKD>^PE>OBAPLRO@B_LC>RAFLTLRIAE>SB

    QL?BABPQOLVBA?BCLOB>KVLKBLCQEB,FCBPQVIBMI>VBOPFKQEBDOLRM@LRIA?BRPBACLOFKAFSFAR>I

    >RAFLMI>V?>@H

             ">PBALKQEBCLOBDLFKDBSFABK@B FQFP@IB>OQE>Q>^PE>OBAPLRO@BDOLRM_LC,FCBPQVIB

    MI>VBOP LKIV BUFPQBA QBJMLO>OFIV AROFKD QEB IFJFQBA QFJB QE>Q QEB ^PE>OBA PLRO@B DOLRM_ T>P

    >@QFS>QBACLOMI>V?>@H >KA>PPLLK>P>RPBOT>KQBAQLRPB>,FCBPQVIBMI>VBOFK>KBUFPQFKD^PE>OBA

   PLRO@B DOLRM_ CLO FKAFSFAR>I MI>V?>@H LO T>KQBA QL @OB>QB > KBT ^PE>OBA PLRO@B DOLRM_ QE>Q

   FK@IRABALKBLOJLOBLCQEB,FCBPQVIBMI>VBOPFKQEBBUFPQFKD^PE>OBAPLRO@BDOLRM_ QEBBUFPQFKD

   ^PE>OBAPLRO@BDOLRM_TLRIAKBBAQL?BABPQOLVBA?VOBJLSFKDQEBLKBLOJLOB,FCBPQVIBMI>VBOP

   QE>QQEBRPBOT>KQBAQLRPBCLOFKAFSFAR>IMI>V?>@HLOT>KQBAQLFK@IRABFK>KBT^PE>OBAPLRO@B

   DOLRM_LC,FCBPQVIBMI>VBOP!P>OBPRIQ QEBLKIVT>V>RPBO@LRIARPB>^PE>OBAPLRO@BDOLRM_

   E>SFKD QE>Q P>JB DOLRM JBJ?BOPEFM >D>FK FK QEB CRQROB T>P ?V OB @OB>QFKD > KBT QBJMLO>OV

   ^PE>OBAPLRO@BDOLRM_QE>QFK@IRABAQEBP>JBJBJ?BOP>PQEBMOBSFLRPIV BUFPQFKD^PE>OBAPLRO@B

   DOLRM_!KA>PBUMI>FKBA>?LSB PR@E>QBJMLO>OV >A EL@DOLRMQE>QT>P>RQLJ>QF@>IIV>@QFS>QBA

   >QQEBQFJBLC@OB>QFLK>KAQEBKLKIVOBJ>FKBAFKBUFPQBK@BAROFKDQEBIFJFQBAQFJBFQT>P>@QFS>QBA

   FPAFPQFK@QIVAFCCBOBKQCOLJ>^WLKBP@BKB _TEF@EOBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRMLC

   ^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>

   RPBOPLQE>QFQ@>KI>QBO?BFKSLHBALKABJ>KACLOPVK@EOLKLRPMI>V?>@H

            )KABBA >P>KFKFQF>IJ>QQBO >^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPT>PKLQ>

   MOB P>SBADOLRMQE>QT>P>S>FI>?IBQL?B5*=.;27?84.-87-.6*7-CLOPVK@EOLKLRPMI>V?>@H>Q

   PLJBQFJB>CQBOQEB@OB>QFLKLCQEB^PE>OBAPLRO@BDOLRM_ TEF@EFP>CRKA>JBKQ>IOBNRFOBJBKQLC

   QEB @I>FJBA ^WLKB P@BKBP_  4L QEB @LKQO>OV  QEB "LPB ,FCBPQVIB  3VPQBJ BSFABK@B ) E>SB

   OBSFBTBAJ>HBP@IB>OQE>Q>^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPT>P>QBJMLO>OV >A EL@

   DOLRM QE>Q T>P >RQLJ>QF@>IIV >@QFS>QBA >Q QEB QFJB FQ T>P @OB>QBA >KA QEBK LKIV OBJ>FKBA FK

   BUFPQBK@BRKQFIQEBQFJBQE>QQEB^PE>OBAPLRO@BDOLRM_T>PAB>@QFS>QBA >QTEF@EQFJBQEB^PE>OBA

                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 40 of 139
              +!  &%!'$!&&!$ +%O+%! +


    PLRO@B DOLRM_ TLRIA ?B >RQLJ>QF@>IIV ABPQOLVBA PR@E QE>Q QEB ^PE>OBA PLRO@B DOLRM_ T>P KLQ

    >S>FI>?IB QL ?B 5*=.; 27?84.- 87 -.6*7- CLO PVK@EOLKLRP MI>V?>@H  !.. .0 "/3%=35"

     >Q^!PE>OBAPLRO@BFPLKBQE>QFPMI>VFKDFKQEB@LKQOLIIBAOLLJ>PTBII>PFKRM

    QLQEOBB>AAFQFLK>IOLLJP_ ^3BQQFKDRM>PE>OBAPLRO@B;<[0OBPPQEB2//-?RQQLK>D>FK

    4EB      FKAF@>QLOP>MMB>OLKQEBAFPMI>VFKAF@>QFKDQE>QVLR@>K@LKQOLIQEBPBQTLOLLJPQLDBQEBO

    !KV?RQQLK@LJJ>KADFSBKKLT3/52#% 6/,5-% -54% /./&& 3,%%0 FP>MMIFBAQL

    ?LQEOLLJP_ ^2BQROKFKDQLPFKDIB OLLJ@LKQOLI;<!CQBOVLRE>SBD>FKBA@LKQOLILCJRIQFMIB

    OLLJPRPFKDQEB2//-?RQQLK VLR@>KRPBQEB2//-?RQQLK>D>FKQLD>FK@LKQOLILC>PFKDIB

    OLLJ0OBPP2//-RKQFIQEBOLLJVLRT>KQFPAFPMI>VBA                         #LKQOLIQE>QOLLJ>P

   ABPFOBA_   ^0OBPP QEB (/53% ?RQQLK ?BCLOB B>@E @LJJ>KA QL >MMIV QEB @LJJ>KA QL >II

   OLLJP0OBPP[(/53%QEBK>PLRO@B;QL<;M<I>VQEBPBIB@QBAPLRO@BFK>II@LKKB@QBAOLLJP_ 

            &ROQEBO >^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPT>PKLQ>MOB P>SBADOLRMQE>Q

   T>P*+5.=8.A2<=27*727*,=2?.<=*=.FKTEF@EQEBMOB P>SBADOLRMT>P>S>FI>?IBCLOPBIB@QFLK?V>

   RPBO?RQQEB^WLKBMI>VBOP_FKQEBMOB P>SBADOLRM@LRIAPQFII?BRPBACLOFKAFSFAR>I>RAFLMI>V?>@H 

   TEF@EFP>KLQEBOCRKA>JBKQ>IOBNRFOBJBKQLCQEB@I>FJBA^WLKBP@BKBP_4LQEB@LKQO>OV QEB"LPB

   ,FCBPQVIB  3VPQBJ BSFABK@B ) E>SB OBSFBTBA J>HBP @IB>O QE>Q > ^PE>OBA PLRO@B DOLRM_ LC

   ,FCBPQVIBMI>VBOPT>PLKIV>?IBQLBUFPQFK>K>@QFSBPQ>QBAROFKDTEF@EQFJBFQT>PKLQMLPPF?IBCLO

   >RPBOQLRPB>KVLCQEB,FCBPQVIBMI>VBOP>AABAQLQEB^PE>OBAPLRO@BDOLRM_CLOFKAFSFAR>I>RAFL

   MI>V?>@H >KALK@B>^PE>OBAPLRO@BDOLRM_T>PAB>@QFS>QBA FQTLRIA?B>RQLJ>QF@>IIVABPQOLVBA

   PR@EQE>QFQT>PKLILKDBO>S>FI>?IBCLOPBIB@QFLK?V>RPBO!...0"/3%=35"  >Q

   ^2BQROKFKDQLPFKDIB OLLJ@LKQOLI;<!CQBOVLRE>SBD>FKBA@LKQOLILCJRIQFMIBOLLJPRPFKD

   QEB2//-?RQQLK VLR@>KRPBQEB2//-?RQQLK>D>FKQLD>FK@LKQOLILC>PFKDIBOLLJ0OBPP

   2//-RKQFIQEBOLLJVLRT>KQFPAFPMI>VBA                      #LKQOLIQE>QOLLJ>PABPFOBA_ 

            &ROQEBOVBQ >^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPT>PKLQ>MOB P>SBADOLRM

   LC^WLKBMI>VBOP_QE>Q>OB^=8+.,87/20>;.-/8;<B7,1;878><95*B+*,48/6.-2*_TEBKQEBMOB

                                  
      
         ,FHB 3NRBBWB?LU  QEB "LPB ,FCBPQVIB  3VPQBJ RQFIFWBP QBJMLO>OV  >A EL@ DOLRMFKD QE>Q FP
   @LKQOLIIBA?V>@BKQO>IFWBAABSF@B\QEB3IFJ3BOSBOLC3NRBBWB?LU>KAQEB-RIQF 2LLJ)KQBOC>@B
      LCQEB"LPB,FCBPQVIB3VPQBJ!PPR@E QEB"LPB,FCBPQVIB3VPQBJPRCCBOPCOLJJ>KVLCQEB
   P>JBABCB@QPTFQEOBPMB@QQL!PPBOQBA#I>FJLCQEBa0>QBKQ>P3NRBBWB?LU

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 41 of 139
             +!  &%!'$!&&!$ +%O+%! +


    P>SBADOLRMFP^FKSLHBA_CLOQEB>AAFQFLK>IOB>PLKQE>QQEBFKSL@>QFLKLC>^PE>OBAPLRO@BDOLRM_

    \ TEF@E QLLH MI>@B >RQLJ>QF@>IIV >Q QEB QFJB QEB ^PE>OBA PLRO@B DOLRM_ T>P @OB>QBA \ AFA KLQ

    FKSLISB>KV@E>KDBQLQEB,87/20>;*=287LCQEB,FCBPQVIBMI>VBOP>PFQPOBI>QBPQL>RAFLMI>V?>@H 

    TEF@EFP>KLQEBOOBNRFOBJBKQLCQEB@I>FJBA^WLKBP@BKB_4LQEB@LKQO>OV QEB"LPB,FCBPQVIB

    3VPQBJBSFABK@B)E>SBOBSFBTBAFKAF@>QBPQE>Q>,FCBPQVIBMI>VBO>AABAQL>^PE>OBAPLRO@BDOLRM_

    TLRIAE>SBE>AQEBP>JB@LKCFDRO>QFLKCLO>RAFLMI>V?>@H?LQE?BCLOB>KA>CQBOQEB^PE>OBAPLRO@B

    DOLRM_T>PFKSLHBA"/3%=35"  >Q^4EB"LPB-RIQF 2LLJ)KQBOC>@B TFQECLRO

    FKABMBKABKQ >RAFL LRQMRQP QE>Q >IILT VLR QL BKGLV "LPB PLRKA QEOLRDELRQ VLRO ELJB_  

    FIIRPQO>QFKD > "LPB ,FCBPQVIB  3VPQBJ @LKCFDRO>QFLK TFQE > #$ MI>VBO >KA >K !@LRPQFJ>PP

   JLARIB@LKKB@QBAQEB-RIQF 2LLJ)KQBOC>@B FIIRPQO>QFKDS>OFLRP>RAFLPLRO@BP@LKKB@QBAQL

   -RIQF 2LLJ)KQBOC>@BSF>>RAFLFKMRQ@>?IBP ^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@

   @BKQBOFQPBQPRM>O>AFL COBNRBK@VIFKHTFQEQEB@ILPBPQJRIQF OLLJFKQBOC>@B[)CQEBJRPF@@BKQBO

   @LKQFKRLRPIVAFPMI>VP./2%30/.3% VLRKBBAQLQOVQLBPQ>?IFPEFQPIFKHTFQEQEBJRIQF OLLJ

   FKQBOC>@B >D>FK_   &FDROB  PELTFKD ^!5$)/ /54054_ G>@HP CLO B>@E OLLJ   

   BUMI>FKFKDELTQLRPB2//->KA(/53%?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOQLPBQRM>K

   >RAFLPLRO@BCLOLKBLOJLOBOLLJP@LKKB@QBAQLQEB-RIQF 2LLJ)KQBOC>@B ^4L>AA>KBT

   JRPF@ @BKQBO QL VLRO PVPQBJ  CLIILT QEB PBQRM FKPQOR@QFLKP LK M>DB  "B PROB QL FKPQ>II QEB

   ?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEBJRIQF OLLJFKQBOC>@BQL>IILTQEBKBTJRPF@

   @BKQBOQLPBQRM>O>AFLCOBNRBK@VIFKHTFQEVLROPVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBA

   FK LO QEB JRPF@ @BKQBO FP LRQ LC O>KDB  QEB AFPMI>V FKAF@>QBP ./ 2%30/.3%_  "/3%=35"

    >Q )KC>@Q ?>PBALKJVOBSFBTLCQEB"LPB,FCBPQVIB3VPQBJBSFABK@B 

   FQ>MMB>OPQE>Q>,FCBPQVIBMI>VBO>KALOFQP@LKKB@QBAPMB>HBOPTLRIAKLQE>SBE>A>KV>T>OBKBPP

   QE>QFQE>A?BBK>AABAQL>^PE>OBAPLRO@BDOLRM_QE>QTLRIAE>SBMOLJMQBAQEB,FCBPQVIBMI>VBO

   QL@E>KDBFQP@LKCFDRO>QFLKCLO>RAFLMI>V?>@H\QEBFKCLOJ>QFLK>?LRQ>^PE>OBAPLRO@BDOLRM_

   TLRIAE>SB?BBKBU@IRPFSBIVJ>FKQ>FKBA?VQEB-RIQF 2LLJ)KQBOC>@B

            &ROQEBOVBQ >^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPT>PKLQ@>M>?IBLCE>SFKD

   >DOLRMJBJ?BOQE>QT>P>IPL>JBJ?BOLC>AFCCBOBKQ^PE>OBAPLRO@BDOLRM_>S>FI>?IBCLOPBIB@QFLK

   ?V>RPBO TEF@EFP>KLQEBOOBNRFOBJBKQLCQEB@I>FJBA^WLKBP@BKBP_4LQEB@LKQO>OV >,FCBPQVIB

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 42 of 139
             +!  &%!'$!&&!$ +%O+%! +


    MI>VBO@LRIALKIV?B>JBJ?BOLCLKB^PE>OBAPLRO@BDOLRM_QE>QT>PFKBUFPQBK@B>Q>KVDFSBK

    QFJB >KAQEBLKIVT>V>,FCBPQVIBMI>VBOFK>CFOPQ^PE>OBAPLRO@BDOLRM_@LRIAE>SB?BBK>AABA

    QL>PB@LKA^PE>OBAPLRO@BDOLRM_T>PQLABPQOLVQEBCFOPQ^PE>OBAPLRO@BDOLRM_

             &ROQEBOVBQ QEB"LPB,FCBPQVIB3VPQBJBSFABK@B)E>SBOBSFBTBA@LKCFOJPQE>Q

    QEBOBT>PKL>?FIFQVCLO>RPBOQL>PPFDK>QEBJ>QF@K>JBQL>^PE>OBAPLRO@BDOLRM _TEF@EC>FIPQL

    JBBQ QEB >AAFQFLK>I ^>@@LOAFKD QL > @LJJLK QEBJB_ OBNRFOBJBKQ LC 'LLDIBP MOLMLPBA

    @LKPQOR@QFLKLC>^WLKBP@BKB _>PFKQBOMOBQBA?VQEB#LROQ

             &ROQEBO VBQ  > ^PE>OBA PLRO@B DOLRM_ ALBP KLQ @LJMOFPB > RPBO @RPQLJFWBA  MOB

    P>SBA DOLRM LC ^WLKB MI>VBOP_ >P OBNRFOBA ?V > ^WLKB P@BKB _ ?B@>RPB QEB *BTBI PMB>HBOP 

   !@LRPQFJ>PP-LARIBP >KALO3!LO3!>JMIFCFBOP>OBKLQ^WLKBMI>VBOP _>PABP@OF?BA>?LSB

            &FK>IIV QEB"LPB,FCBPQVIB3VPQBJFPQEBQVMBLC^@LKSBKQFLK>IJRIQF WLKB>RAFL

   PVPQBJ_QE>QQEBa0>QBKQABP@OF?BP>PE>SFKDIFJFQ>QFLKPTFQEOBD>OAQLDOLRMFKD>KAQE>QQEB

   ^WLKBP@BKBP_CRK@QFLK>IFQVLCQEBa0>QBKQAFPQFKDRFPEBA>KAFJMOLSBARMLK!..a0>QBKQ

   >Q <..*5<8#>PB.L  $)>Q  

            4ERP CLO>QIB>PQQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q>^PE>OBAPLRO@BDOLRM_LC

   ,FCBPQVIBMI>VBOPFK>"LPB,FCBPQVIB3VPQBJALBPKLQ@LKPQFQRQB>^WLKBP@BKB_

            &ROQEBO  TFQE OBPMB@Q QL @OB>QFKD > ^PE>OBA PLRO@B DOLRM_ RPFKD QEB ^(/53%_

   ?RQQLKQL@>RPBQEB-RIQF 2LLJ)KQBOC>@BQLLRQMRQQEBP>JB>RAFLQL>IIOLLJPFK>ELJB QEFP

   ^(/53%_LMQFLK>MMB>OPQL?BE>OA @LABAFKQLQEB0BOPLK>I-RPF@#BKQBO)QT>PKLQ>RPBO

   @OB>QBA @RPQLJFWBADOLRMQE>QT>PMOBABCFKBA>KAMOB P>SBA>Q>RPBOaPOBNRBPQ>PM>OQLC>KFKFQF>I

   ^PBQRM_ME>PB TEF@EFP>OBNRFOBA>PMB@QLCQEB@I>FJBA^WLKBP@BKBP_!..#>PB.L  

   $)>QQEB#LROQCFKAFKDQE>Q3LKLPaPM>QBKQBA^WLKBP@BKB_QB@EKLILDV^^>IILTP>><.;=8

   ,><=862C.*7-<*?.JRIQFMIBDOLRMPLCPJ>OQPMB>HBOPLOLQEBOMI>VBOP>KAQEBKI>QBO`>@QFS>QB

   >,><=862C.-DOLRM @>IIBA>`WLKBP@BKB aLKABJ>KA QEB#LROQKLQFKDQE>QQEB^?>PF@MROMLPB

   LCQEBFKSBKQFLKFPQL>IILT><.;<=89;.<*?.,><=862C.-<9.*4.;0;8>9<>KAI>QBO`FKSLHBaQEB

   K>JBADOLRMLKABJ>KA_ QEB#LROQCFKAFKDQE>QD(=)1.,5*26.-*+252=B=8,><=862C.*7-<*?.

   8?.;5*99270 <9.*4.; 0;8>9< >KA B>PFIV @LKQOLI DOLRM MI>V?>@H OBMOBPBKQP > @IB>O QB@EKLILDF@>I

   FJMOLSBJBKQ LSBO QEB `@LKSBKQFLK>I JRIQF WLKB >RAFL PVPQBJ a TEF@E  >P QEB PMB@FCF@>QFLK

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 43 of 139
             +!  &%!'$!&&!$ +%O+%! +


    BUMI>FKBA MOBPBKQPPFDKFCF@>KQQB@EKLILDF@>I>KAMEVPF@>IL?PQ>@IBPQLCLOJFKDPMB>HBODOLRMP_ 

             &ROQEBO ?B@>RPBQEB^(/53%_LMQFLK>MMB>OPQL?BE>OA @LABAFKQLQEB0BOPLK>I

    -RPF@#BKQBO\>KAQERPT>PKLQ>RPBO @OB>QBA @RPQLJFWBADOLRMQE>QT>PMOBABCFKBA>KAMOB

    P>SBA>Q>RPBOaPOBNRBPQ>PM>OQLC>KFKFQF>I^PBQRM_ME>PB\QEB^(/53%_LMQFLKLCQEB"LPB

    ,FCBPQVIB3VPQBJ>IPLC>FIPQLJBBQPBSBO>ILQEBOIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa

    0>QBKQ&LOFKPQ>K@B >0BOPLK>I-RPF@#BKQBOKBSBOOB@BFSBA^>OBNRBPQQL@OB>QB_QEB^(/53%_

    LMQFLK KBSBO^@>RP;BA<@OB>QFLKLC_QEB^(/53%_LMQFLK KBSBO^@>RP;BA<>KFKAF@>QFLKLC_QEB

    ^(/53%_LMQFLKQL?BQO>KPJFQQBAQL>,FCBPQVIBMI>VBO?>PBALK>^OBNRBPQQL@OB>QB_QE>QLMQFLK 

    >KAKBSBO^@>RP;BA<PQLO>DBLC_QEB^(/53%_LMQFLK?>PBALK>^OBNRBPQQL@OB>QB_QE>QLMQFLK

            &ROQEBO VBQ  QEBOB T>P KL >?FIFQV CLO > RPBO QL >PPFDK > QEBJ>QF@ K>JB QL QEB

   ^(/53%_LMQFLK TEF@EC>FIPQLJBBQQEB>AAFQFLK>I^>@@LOAFKDQL>@LJJLKQEBJB_OBNRFOBJBKQ

   LC'LLDIBPMOLMLPBA@LKPQOR@QFLKLC>^WLKBP@BKB _>PFKQBOMOBQBA?VQEB#LROQ

            4ERP CLO>QIB>PQQEBPBOB>PLKP FQFPJVLMFKFLKQE>QQEB^(/53%_LMQFLKMOLSFABA

   ?VQEB"LPB,FCBPQVIB3VPQBJT>PJBOBIVGRPQ>AFCCBOBKQT>VQL@OB>QB>K>A EL@^PE>OBAPLRO@B

   DOLRM _ >KA >IPL ALBP KLQ @LKPQFQRQB > ^WLKB P@BKB_  !.. *5<8 3/./3 36'   >Q

   3/./3 36' BUMI>FKFKDQE>QQEB^:LKB3@BKBCB>QROB_FP^PFJFI>OQLQEB@ROOBKQ0>OQV

   -LAB PBQQFKD QE>Q FP >S>FI>?IB_ ?RQ QE>Q ^=1. '87. !,.7.< /.*=>;. 2< 6>,1 68;. /5.A2+5. *7-

   98@.;/>5_ 

            )CROQEBOKLQBQE>QQEBKLKBLCQEB"LPB,FCBPQVIB3VPQBJBSFABK@BQE>Q)E>SB

   OBSFBTBA RPBP QEB QBOJ ^WLKB P@BKBP_ LO LQEBOTFPB ABP@OF?BP >KV QB@EKLILDV QE>Q TLRIA E>SB

   BK>?IBA>RPBOQL@OB>QB>RPBO @RPQLJFWBA MOB P>SBADOLRMLC,FCBPQVIBMI>VBOPQE>QT>P>?IBQL

   BUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>RPBOPLQE>QFQ@LRIAI>QBO?B

   FKSLHBALKABJ>KACLOPVK@EOLKLRPMI>V?>@H TEF@ECROQEBO@LKCFOJPQE>QQEB"LPB,FCBPQVIB

   3VPQBJAFAKLQE>SB>KVCRK@QFLK>I@>M>?FIFQVCLO@OB>QFKDLOFKSLHFKD>^WLKBP@BKB_

            4ROKFKDQLQEB>AAFQFLK>IOBNRFOBJBKQLCQEB!PPBOQBA#I>FJLCQEBa0>QBKQ

   QE>QQEB@I>FJBA^@LJMRQFKDABSF@B_?BMOLDO>JJBATFQECRK@QFLK>I@>M>?FIFQVCLO@>RPFKDQEB

   @OB>QFLKLCQTLLSBOI>MMFKD^WLKBP@BKBP_QE>Q@L BUFPQTFQELKB>KLQEBO>KA>OB?LQE>S>FI>?IB

   CLO PBIB@QFLK ?V > RPBO >Q QEB P>JB QFJB  QEFP CRK@QFLK>IFQV FP >IPL KLQ MLPPF?IB TFQE QEB "LPB

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 44 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ,FCBPQVIB  3VPQBJ  )KABBA  BSBK PBQQFKD >PFAB QEB >?LSB ABP@OF?BA CRKA>JBKQ>I AFCCBOBK@BP

    ?BQTBBK > ^PE>OBA PLRO@B DOLRM_ LC ,FCBPQVIB MI>VBOP >KA > ^WLKB P@BKB _ QEB 0BOPLK>I -RPF@

    #BKQBOAFAKLQE>SBQEBMLPPF?FIFQVQL@OB>QBQTLLSBOI>MMFKD^PE>OBAPLRO@BDOLRMP_QE>Q@L BUFPQ

    FKQEFPJ>KKBO4LQEB@LKQO>OV QEB"LPB,FCBPQVIB3VPQBJBSFABK@B)E>SBOBSFBTBABPQ>?IFPEBP

    QE>Q>,FCBPQVIBMI>VBO@LRIALKIV?B>JBJ?BOLCLKB^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOP

    QE>QT>PFKBUFPQBK@B>Q>KVDFSBKQFJB >KAQE>QQEBLKIVT>V>,FCBPQVIBMI>VBOFK>CFOPQ^PE>OBA

    PLRO@BDOLRMP_@LRIAE>SB?BBK>AABAQL>PB@LKA^PE>OBAPLRO@BDOLRMP_T>PQLABPQOLVQEBCFOPQ

    DOLRM?V@E>KDFKDQEB>RAFLPLRO@BCLOQEB,FCBPQVIBMI>VBOQLJ>Q@EQEB^PE>OBAPLRO@B_LC>RAFL

    CLOQEBPB@LKADOLRM!...0"/3%=35"  >Q BUMI>FKFKDELTQLRPB2//-

   >KA(/53%?RQQLKPQLPBQRM>K>RAFLPLRO@BCLOLKBLOJLOBOLLJP 

            $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO QEB-RIQF

   2LLJ)KQBOC>@B >KAQEB,FCBPQVIBMI>VBOPFK>"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KV^WLKB

   P@BKB_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>QQEB^WLKBP@BKB_IFJFQ>QFLKPOBNRFOBA?V

   QEB !PPBOQBA #I>FJP LC QEB a 0>QBKQ TBOB BFQEBO AFP@ILPBA LO OBKABOBA L?SFLRP ?V QEB "LPB

   ,FCBPQVIB3VPQBJ!..3@ELKCBIA/M2BMLOQ>QYY (LTBSBO )CFKA$O3@ELKCBIAaP

   LMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KAQEB^WLKBP@BKB_IFJFQ>QFLKPLCQEB!PPBOQBA

   #I>FJPLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO $O3@ELKCBIAC>FIPQLPBQCLOQE>KV?>PFPLOOB>PLKFKDCLOEFP

   LMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KAQEB^WLKBP@BKB_IFJFQ>QFLKPLCQEB!PPBOQBA

   #I>FJPLCQEBa0>QBKQ)KPQB>A $O3@ELKCBIAJBOBIVOBCBOP?>@HQLEFPAFP@RPPFLKLC@BOQ>FK

   @I>FJ IFJFQ>QFLKP LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ >KA J>HBP QEB CLIILTFKD @LK@IRPLOV

   PQ>QBJBKQ













                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 45 of 139
              +!  &%!'$!&&!$ +%O+%! +


    

             (LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLC

    ABSF@BQE>K!PPBOQBA#I>FJLCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P

    >@LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ QEB!PPBOQBA#I>FJPLCQEB`0>QBKQRPBAFCCBOBKQ

    @I>FJI>KDR>DBQE>K!PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KV

    CROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQ

    LCQEBWLKBP@BKB_IFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB`0>QBKQ>MMIFBPQLQEB^WLKBP@BKB_

    IFJFQ>QFLKPLCQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ)KC>@Q $O3@ELKCBIAC>FIPQLBSBKPQ>QB

    TEBQEBOEFPLMFKFLKFPQE>QQEB^WLKBP@BKB_IFJFQ>QFLKPLCQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ

   TBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRPTEBQEBOEFPLMFKFLKFPQE>QQEB

   ^WLKBP@BKB_IFJFQ>QFLKPLCQEB!PPBOQBA#I>FJPLCQEB`0>QBKQTBOBLKIV;.7-.;.-8+?28><?V

   QEB "LPB ,FCBPQVIB  3VPQBJ  &LO QEBPB OB>PLKP  ) AFP>DOBB QE>Q $O 3@ELKCBIAaP ?>OB?LKBP

   AFP@RPPFLKLCQEB^WLKBP@BKB_IFJFQ>QFLKPLCQEBa0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQB

   PQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL

   ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q ?>OB?LKBP AFP@RPPFLK E>P MOBGRAF@BA JV

   >?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKPOBD>OAFKDQEB^WLKBP@BKB_IFJFQ>QFLKP

   LCQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ

            -LOBLSBO )E>SBOBSFBTBAQEBPB@QFLKLC$O3@ELKCBIAaP/MBKFKD2BMLOQTEBOB

   EBAFP@RPPBPQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJ

    LC QEB a 0>QBKQ  >KA KLQEFKD FK QE>Q PB@QFLK LC $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV

   LMFKFLKQE>QQEB"LPB,FCBPQVIB3VPQBJAFAKLQFK@IRABQEB^WLKBP@BKBP_@>M>?FIFQVOBNRFOBA?V

   QEB!PPBOQBA#I>FJPLCQEBa0>QBKQ

            )KABBA $O3@ELKCBIAaPQEBLOFBP>KALMFKFLKPOBD>OAFKDQEB>IIBDBABUFPQBK@BLC

   ^WLKB P@BKBP_ @>M>?FIFQV FK QEB "LPB ,FCBPQVIB  3VPQBJ >OB >II MOBJFPBA LK $O 3@ELKCBIAaP

   FK@LOOB@QFKQBOMOBQ>QFLKLCTE>QFPOBNRFOBAQLNR>IFCV>^WLKBP@BKB _>KA>OB>IPLMOBJFPBALK

   PBSBO>IFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKPLC"LPB,FCBPQVIB3VPQBJ>KAQEBBSFABK@B

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 46 of 139
             +!  &%!'$!&&!$ +%O+%! +


    OBI>QBAQEBOBQL

             !P >K FKFQF>I J>QQBO  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ

    AFP@ILPBP > ^WLKB P@BKB_ FP ?>PBA FK M>OQ LK CRK@QFLK>IFQV QE>Q FP KLQ OBI>QBA QL QEB >@QR>I "LPB

    ,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ>QYY )KABBA FK>AAFQFLKQLOBIVFKD

    LKPBQQFKDRM>^PE>OBAPLRO@BDOLRM_RPFKDQEB^2//-_>KA^(/53%_?RQQLKPLCQEB0BOPLK>I

    -RPF@#BKQBOLCQEB"LPB,FCBPQVIB3VPQBJ2->QY@FQFKD"/3%=35" >Q 

      TEF@E ) BUMI>FKBA >?LSB  $O 3@ELKCBIA >IPL OBIFBP LK AFP@ILPROB OBI>QBA QL F  QEB "LPB

    &OBBPM>@B%PVPQBJ2->QY@FQFKD"/3%=35" >Q>KA"/3%=35" 

    >Q  TEF@E >PBUMI>FKBA>?LSB FPKLQRQFIFWBA?VLO@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB

   3VPQBJ  FF  PBQQFKD RM 3!  >KALO 3!  !JMIFCFBOP FK ^>AAFQFLK>I OLLJP_ RPFKD "LPB IFKH

   QB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP)) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ_2-

   >QY@FQFKD"/3%=35"  >Q  >KA"/3%=35"  >Q

    \KLQ>"LPB,FCBPQVIB3VPQBJQE>QALBPKLQE>SB"LPBIFKH@>M>?FIFQV>KAFFF QEB"LPB

   IFKH@LJJRKF@>QFLKMOLQL@LI2->QY@FQFKD"/3%=35"  >Q  \TEF@E 

   >PBUMI>FKBA>?LSB FPKLQRQFIFWBA?VLO@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJ&LOQEBPB

   OB>PLKP>ILKB $O3@ELKCBIAaPQEBLOVFPCI>TBA>KAEBE>PC>FIBAQLMOLSBQE>QQEB>@QR>I"LPB

   ,FCBPQVIB3VPQBJAFP@ILPBPQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV

            2BD>OAIBPP  KLKB LC QEB AFP@ILPROBP QE>Q $O 3@ELKCBIA FABKQFCFBP QB>@E > ^WLKB

   P@BKB_

            4L PQ>OQ  $O 3@ELKCBIA ALBP KLQ BSBK >QQBJMQ QL BUMI>FK ELT TE>Q EB MLFKQP QL

   JBBQP QEB >@QR>I OBNRFOBJBKQP LC > ^WLKB P@BKB _ TEF@E OBNRFOBP > RPBO @RPQLJFWBA  MOB P>SBA

   DOLRM LC ^WLKB MI>VBOP_ QE>Q FP >?IB QL BUFPQ FK >K FK>@QFSB PQ>QB TEFIB OBJ>FKFKD >S>FI>?IB CLO

   PBIB@QFLK ?V > RPBO PL QE>Q FQ @>K I>QBO ?B FKSLHBA LK ABJ>KA CLO PVK@EOLKLRP MI>V?>@H  !..

   3@ELKCBIA/M2BMLOQ>QYY &LOBU>JMIB TFQEOBPMB@QQLQEB>@QR>I"LPB,FCBPQVIB

   3VPQBJ $O3@ELKCBIAJBOBIVPQ>QBPQE>Q^"LPB,FCB3QVIB>IILTPCLOQEB>AAFQFLKLCJRIQFMIBOLLJP

   >KAWLKBPQLQEB?B>AABAQLQEB,FCBPQVIBB@LPVPQBJ >KAMOLSFABPCLOQEB>?FIFQVQLLMBO>QBFK

   JRIQFMIBOLLJP_>KAQEBKMLFKQPQLS>OFLRPAFP@ILPROBFKQEB/TKBOaP'RFABOBI>QBAQLPBQQFKDRM>

   ^PE>OBAPLRO@BDOLRM_RPFKDQEB^2//-_>KA^(/53%_?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOLC

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 47 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEB"LPB,FCBPQVIB3VPQBJ->QY$O3@ELKCBIAaP>PPBOQFLKEBOBALBPKLQBUMI>FKELT

    QEBAFP@ILPROBEB@FQBPQLJBBQPQEB>@QR>IOBNRFOBJBKQPLC>^WLKBP@BKB _TEF@EOBNRFOBP>RPBO

    @RPQLJFWBA  MOB P>SBA DOLRM LC ^WLKB MI>VBOP_ QE>Q FP >?IB QL BUFPQ FK >K FK>@QFSB PQ>QB TEFIB

    OBJ>FKFKD >S>FI>?IB CLO PBIB@QFLK ?V > RPBO PL QE>Q FQ @>K I>QBO ?B FKSLHBA LK ABJ>KA CLO

    PVK@EOLKLRPMI>V?>@H2BD>OAIBPP )E>SB>IOB>AVBUMI>FKBA>?LSBTEV>^PE>OBAPLRO@BDOLRM_

    FKQEB"LPB,FCBPQVIB3VPQBJFPKLQ>^WLKBP@BKB_

             4ROKFKDQLEFPOBIF>K@BLK>"LPB&OBBPM>@BPVPQBJ $O3@ELKCBIAJBOBIVPQ>QBP

    QE>Q^"LPB,FCBPQVIBBUMIF@FQIV>IILTPCLOJRIQFMIBWLKBP>KALMBO>QFLK_>KAQEBKMLFKQPQLS>OFLRP

    AFP@ILPROBOBI>QBAQLQEBCLRO^WLKBP_LC>"LPB&OBBPM>@BPVPQBJ3@ELKCBIA/M2BMLOQ>QY

   -BOBIV ^>IILT;FKD< CLO JRIQFMIB WLKBP >KA LMBO>QFLK_ ALBP KLQ QB>@E > ^WLKB P@BKB _ TEF@E

   OBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSB

   PQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>RPBOPLQE>QFQ@>KI>QBO?BFKSLHBALKABJ>KA

   CLO PVK@EOLKLRP MI>V?>@H  -LOBLSBO  >P ) BUMI>FKBA >?LSB  QEB "LPB &OBB3M>@B % MOLAR@Q

   ^>IILT;P<CLO>KFKMRQPLRO@BQL?BOLRQBAQL>KVLCQEBCLRO>JMIFCFBOLRQMRQP _TEF@E>IILTPCLO

   >RAFLAFPQOF?RQFLKCLORMQLCLROAFCCBOBKQ^WLKBP_"/3%=35"  >Q!PPELTK

   >KAABP@OF?BAFKQEB"LPB&OBBPM>@B/TKBOaP'RFAB ^;P<MB>HBOPVPQBJPFKRMQLCLROWLKBP@>K

   ?B@LKKB@QBAQLQEB:/.%/54>JMIFCFBOLRQMRQP_RPFKD^QEBPMB>HBO@>?IBCOLJB>@EWLKB_-

   >Q)E>SBKLQPBBK>KVBSFABK@BQE>QQEBCLROFKAFSFAR>I^WLKBP_@>K?B@LJ?FKBAQLDBQEBO

   >KALOE>SB>KVLSBOI>MMFKDPMB>HBOPVPQBJP

            7FQEOBPMB@QQLQEB^-RIQF WLKBM>DFKD_AFP@ILPROBFKQEB@FQBA?V$O3@ELKCBIA )

   C>FIQLPBBELTQEFPQB>@EBP>^WLKBP@BKB _TEF@EOBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRMLC

   ^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>

   RPBOPLQE>QFQ@>KI>QBO?BFKSLHBALKABJ>KACLOPVK@EOLKLRPMI>V?>@H"/3%=35" 

   >Q

            !Q ?BPQ  QEB ^!,,_ M>DFKD ?RQQLK MOLSFABA LK QEB ^-RIQF WLKB M>DFKD RPBO

   FKQBOC>@B_>MMB>OPQL?BPFJFI>OQLQEBE>OA @LABA(/53%?RQQLKLCQEB0BOPLK>I-RPF@#BKQBO

   4ERP CLOQEBP>JBOB>PLKP)BUMI>FKBA>?LSBTFQEOBPMB@QQLQEB(/53%?RQQLK QEB^!,,_M>DFKD

   ?RQQLKFK>"LPB&OBBPM>@BPVPQBJALBPKLQQB>@E>^WLKBP@BKB_&ROQEBO QEBOBFPKLQEFKDFKQEFP

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 48 of 139
             +!  &%!'$!&&!$ +%O+%! +


    AFP@ILPROBQE>QTLRIA>IILT>RPBOQLDOLRM>KVLCQEBLQEBOCLRO^M>DFKDWLKBP_QLDBQEBO4ERP 

    BSBKFCQEB^!,,_M>DFKD?RQQLKTBOB>^WLKBP@BKB_FQFPKLQ QEBOBTLRIA?BKLT>VQL@OB>QB

    QTLAFCCBOBKQ LSBOI>MMFKDDOLRMPLC^WLKBP@BKBP _>POBNRFOBA?V!PPBOQBA#I>FJLCQEBa

    0>QBKQ

             ) >IPL C>FI QL PBB ELT QEB ^4TL :LKB 3VPQBJ_ >KA ^&LRO :LKB 3VPQBJ_ CFDROBP

    @FQBA?V$O3@ELKCBIAQB>@E>^WLKBP@BKB _TEF@EOBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRM

    LC^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK

    ?V > RPBO PL QE>Q FQ @>K I>QBO ?B FKSLHBA LK ABJ>KA CLO PVK@EOLKLRP MI>V?>@H  "/3%=35"

    >Q )KPQB>A QEBPBCFDROBPJBOBIVBUMI>FKELTAFCCBOBKQ^PLRO@BP_>OBOLRQBAQL

   AFCCBOBKQ^WLKBP_FK>QTL LOCLRO WLKBPVPQBJ

            4ROKFKDQL$O3@ELKCBIAaPOBIF>K@BLKQEB3! >KA3! !JMIFCFBO'RFAB $O

   3@ELKCBIA JBOBIV PQ>QBP QE>Q ^"LPB ,FCB3QVIB >IPL >IILTP CLO MI>VFKD FK JRIQFMIB OLLJP_  !..

   3@ELKCBIA/M2BMLOQ>QY-BOBIV^>IILT;FKD<CLOMI>VFKDFKJRIQFMIBOLLJP_ALBPKLQQB>@E

   >^WLKBP@BKB _TEF@EOBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_QE>QFP>?IB

   QLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>RPBOPLQE>QFQ@>KI>QBO?B

   FKSLHBALKABJ>KACLOPVK@EOLKLRPMI>V?>@H7EFIBFPFQRK@IB>OTE>QBU>@QIV$O3@ELKCBIAFP

   OBIVFKD LK FK QEB 3!  >KA 3!  !JMIFCFBO 'RFAB  FQ >MMB>OP QE>Q EB J>V ?B OBIVFKD LK QEB

   CLIILTFKDAFP@ILPROBOBI>QBAQLQEB>?FIFQVQL>AA>AAFQFLK>IOLLJP





















                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 49 of 139
             +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

 

 



































   

   3@ELKCBIA/M2BMLOQ>QY@FQFKD>Q"/3%=35"  >Q <..*5<82->QY

                                                  
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 50 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ^;4<EB "LPB ,FKH @LJJRKF@>QFLK MOLQL@LI >IILTP CLO >K FKAF@>QFLK QE>Q >AAFQFLK>I OLLJP  CLO

    BU>JMIB E>SB?BBK>AABAQLQEBJBAF>@BKQBO_ 

             !IQELRDERK@IB>O FKQEFPOBD>OA$O3@ELKCBIA>MMB>OPQL?B>PPBOQFKDQE>QJ>KR>IIV

    E>OATFOFKD>AAFQFLK>I3! LO3! >JMIFCFBOPFK>AAFQFLK>IOLLJPQL>"LPBIFKHBK>?IBA,FCBPQVIB

    JBAF> @BKQBO QB>@EBP > ^WLKB P@BKB_  -  ) AFP>DOBB  4EB JBOB C>@Q QE>Q > RPBO @>K J>KR>IIV

    E>OATFOB>AAFQFLK>I3! LO3! >JMIFCFBOPFK>AAFQFLK>IOLLJPQL>"LPBIFKHBK>?IBA,FCBPQVIB

    JBAF>@BKQBOALBPKLQQB>@E>^WLKBP@BKB _TEF@EOBNRFOBP>RPBO @RPQLJFWBA MOB P>SBADOLRMLC

    ^WLKBMI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>

    RPBOPLQE>QFQ@>KI>QBO?BFKSLHBALKABJ>KACLOPVK@EOLKLRPMI>V?>@H3R@E>QEBLOVFPCI>TBA

   CLOKRJBOLRPOB>PLKP

            &FOPQ J>KR>IIVE>OATFOFKD3! LO3! >JMIFCFBOPQL>"LPBIFKHBK>?IBA,FCBPQVIB

   JBAF> @BKQBO ALBP KLQ FKSLISB > RPBO @OB>QFKD > DOLRM LC 3!  LO 3!  >JMIFCFBOP RPFKD >

   ^@LJMRQFKD ABSF@B_ TEBOB?V QEB DOLRM FP RPBO @RPQLJFWBA >KA MOB P>SBA DOLRM >Q QEB RPBOaP

   OBNRBPQ TEF@EFP>OBNRFOBA>PMB@QLC>^WLKBP@BKB_

            3B@LKA  J>KR>IIV E>OATFOFKD 3!  LO 3!  >JMIFCFBOP QL > "LPB IFKH BK>?IBA

   ,FCBPQVIB JBAF> @BKQBO ALBP KLQ OBPRIQ FK > DOLRM LC 3!  LO 3!  >JMIFCFBOP QE>Q >OB ^QL ?B

   @LKCFDROBACLOPVK@EOLKLRP;JBAF><MI>V?>@H_>Q>CRQROBQFJBTEBKQEBDOLRMFPFKSLHBA TEF@E

   FP>KLQEBOOBNRFOBA>PMB@QLC>^WLKBP@BKB_)KPQB>A QEBBSFABK@B)OBSFBTBAFKAF@>QBPQE>Q3! 

   LO3! >JMIFCFBOPQE>Q>OBE>OATFOBAFKPBOFBPQL>"LPBIFKH@LKKB@QLO@>KMI>VAFCCBOBKQ>RAFL

   PQOB>JLOPQOB>J ABMBKAFKDLKQEB@LKCFDRO>QFLKLCQEBFO@LOOBPMLKAFKDABAF@>QBAOBJLQB

   @LKQOLIP"/3%=35"  >QBUMI>FKFKDQE>Q^;><"LPBIFKHBK>?IBAJBAF>@BKQBO

   FP>IPL@>M>?IBLCJ>K>DFKDQTLPBM>O>QBPLRO@BP>QQEBP>JBQFJB _^>KVLCQEBBUM>KPFLKOLLJP

   @>K ?B @LKCFDROBA QL LMBO>QB LK BFQEBO PQOB>J  LO PQOB>J  _ >KA ^;F<C >K BUM>KPFLK OBJLQB

   @LKCFDROBACLOPQOB>JPBKAP>K/.@LJJ>KAQLQEBJBAF>@BKQBO QEBJBAF>@BKQBOTFII>@QFS>QB

   QEBMFKPQE>Q@>OOVPQOB>JFKCLOJ>QFLK_ 

            4EFOA ?B@>RPB>K3! LO3! >JMIFCFBO@>KLKIV?BPBIB@QBAFKAFSFAR>IIVSF>FQP

   LTKABAF@>QBAOBJLQB@LKQOLI FQT>PKLQMLPPF?IBCLO>DOLRMLCJRIQFMIB3! LO3! >JMIFCFBOP

   FKAFCCBOBKQOLLJPQL?BPBIB@QBACLOFKSL@>QFLK TEF@EFP>KLQEBOOBNRFOBA>PMB@QLC>^WLKBP@BKB_

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 51 of 139
             +!  &%!'$!&&!$ +%O+%! +


    !PBUMI>FKBA>?LSB QEBBSFABK@B)OBSFBTBAFKAF@>QBPQE>QB>@EPR@E3! LO3! >JMIFCFBO@LRIA

    LKIV?B@LKQOLIIBA?VFQPLTKABAF@>QBA"LPBIFKHBK>?IBAOBJLQB@LKQOLIQE>QT>PPBQQLQEBP>JB

    OLLJ@LAB>PQEB3! LO3! >JMIFCFBO!.."/3%=35"  >Q ^2BJLQB

    @LKQOLIPCLOLQEBOOLLJPJRPQ?BPBQQLQEBP>JBELRPB@LAB>PQEBJ>FKOLLJOBJLQB ?RQB>@E

    OBJLQBJRPQ?BPBQQL>AFCCBOBKQOLLJ@LAB[4EB,FCBPQVIBZ>JMIFCFBO>KAFQPOBJLQB@LKQOLI

    JRPQ?BPBQQLQEBP>JBOLLJ@LAB_ "B@>RPBB>@EABAF@>QBAOBJLQB@LKQOLIFP@LABAQLLKIV>

    <2705. >JMIFCFBO  QEBOB FP KL OBJLQB @LKQOLI QE>Q BK>?IBP QEB PBIB@QFLK LC > DOLRM LC 6>5=295.

    >JMIFCFBOPCLOFKSL@>QFLK!KA)E>SBPBBKKLBSFABK@BQE>QJRIQFMIB3! LO3! >JMIFCFBOPQE>Q

    >OBE>OATFOBAQL>"LPBIFKHBK>?IBA,FCBPQVIBJBAF>@BKQBO@LRIA?B@LKQOLIIBAQLDBQEBOTFQE>

   PFKDIB"LPBIFKHBK>?IBAOBJLQB@LKQOLI.LQ>?IV >PBUMI>FKBA>?LSB ?>PBALKQEBBSFABK@B)

   OBSFBTBA QEB0BOPLK>I-RPF@#BKQBOLCQEB"LPB,FCBPQVIB3VPQBJT>PKLQ"LPBIFKHBK>?IBA

   >KAQEBOBCLOB@LRIAKLQ?BRPBAQL@LKQOLIJRIQFMIB3! LO3! >JMIFCFBOPQE>Q>OBE>OATFOBAQL

   >"LPBIFKHBK>?IBA,FCBPQVIBJBAF>@BKQBO4LQEB@LKQO>OV QEB0BOPLK>I-RPF@#BKQBO>KA-RIQF

   2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ@LJJRKF@>QBRPFKD>MOLMOFBQ>OVO>AFLCOBNRBK@V

   @LJJRKF@>QFLKMOLQL@LIQE>QT>PPMB@FCF@>IIVABSBILMBACLOQEB"LPB,FCBPQVIB3VPQBJ>KAQE>Q

   FP^KLQ@LJM>QF?IB_TFQEMOLQL@LIPRPBAFKLQEBO"LPBPVPQBJP!.."/3%=35"  >Q

   

            )>IPLKLQBQE>Q$O3@ELKCBIA@FQBPQL>AFP@ILPROBLCQEB0BOPLK>I-RPF@#BKQBOFK

   QEB  3!  >KA 3!  !JMIFCFBO 'RFAB  3@ELKCBIA /M 2BMLOQ >Q Y  @FQFKD >Q "/3%=35"

    >Q 4L?B@IB>O QEFPAFP@ILPROBOBI>QBAQLRPFKDQEB0BOPLK>I-RPF@#BKQBOTFQE

   >-RIQF 2LLJ)KQBOC>@BQE>QALBPKLQE>SB>"LPBIFKH@LKKB@QLO\KLQRPFKDQEB0BOPLK>I-RPF@

   #BKQBOTFQE>^"LPBIFKHBK>?IBAJBAF>@BKQBO_

            -LOBLSBO  >P BUMI>FKBA >?LSB  FK LOABO CLO 3!  >KA 3!  >JMIFCFBOP QE>Q >OB

   E>OATFOBAQL>"LPBIFKHBK>?IBA,FCBPQVIBJBAF>@BKQBOQL?B>?IBQLMI>V?>@HQEBP>JB>RAFL

   PFJRIQ>KBLRPIV  QEB 3!  >KA 3!  >JMIFCFBOP KBBA QL CFOPQ ?B PBQ QL QEB P>JB PQOB>J LC >RAFL

   PQOB>JLOPQOB>J !...0"/3%=35"  >Q)KQEFPOBD>OA QEB3! >KA

   3! >JMIFCFBOPQE>Q>OBE>OATFOBAQL>"LPBIFKHBK>?IBA,FCBPQVIBJBAF>@BKQBOPE>OB>^PQOB>J_

   LC>RAFL>KAQERPOBIVRMLKQEBP>JB^PE>OBAPLRO@B_CLOJLCDOLRMFKD>PQEB"LPB,FCB3QVIB

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 52 of 139
             +!  &%!'$!&&!$ +%O+%! +


    3VPQBJ4ERP CLOQEBP>JBOB>PLKPQE>QQEB^PE>OBAPLRO@B_CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB

    3VPQBJC>FIPQLQB>@EQEB^WLKBP@BKBP_@>M>?FIFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQ 

    QEFP "LPB IFKH @LKCFDRO>QFLK OBIFBA LK ?V $O 3@ELKCBIA >IPL C>FIP QL QB>@E QEB ^WLKB P@BKBP_

    @>M>?FIFQV

             4ROKFKDQLQEB>AAFQFLK>IOBNRFOBJBKQLCQEB!PPBOQBA#I>FJLCQEBa0>QBKQ

    QE>QQEB@I>FJBA^@LJMRQFKDABSF@B_?BMOLDO>JJBATFQECRK@QFLK>I@>M>?FIFQVCLO@>RPFKDQEB

    @OB>QFLKLCQTLLSBOI>MMFKD^WLKBP@BKBP_QE>Q@L BUFPQTFQELKB>KLQEBO>KA>OB?LQE>S>FI>?IB

    CLOPBIB@QFLK?V>RPBO>QQEBP>JBQFJB $O3@ELKCBIALMFKBPQE>Q>,FCBPQVIBMI>VBOCLO>"LPB

    ,FCBPQVIB3VPQBJTLRIAE>SBJBQQEFPOBNRFOBJBKQ>PTBII ?>PBABU@IRPFSBIVLKQEBCLIILTFKD

   QEBLOV^;4<EB"LPB,FCBPQVIBBUMOBPPIVQB>@EBPJ>K>DFKDQTLPBM>O>QBPQOB>JFKDPLRO@BP>QLKB

   QFJB PR@EQE>QOLLJ!@>KLMBO>QBLKPQOB>J >KAOLLJ"@>KLMBO>QBPQOB>J CLOBU>JMIB_

   3@ELKCBIA/M2BMLOQ>QY(LTBSBO QEFPQEBLOVFPCI>TBACLO>KRJ?BOLCOB>PLKP

            &FOPQ  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ AFP@ILPBP QTL

   AFCCBOBKQ LSBOI>MMFKD^WLKBP@BKBP_B>@E@LJMOFPFKD>RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKB

   MI>VBOP_QE>QFP>?IBQLBUFPQFK>KFK>@QFSBPQ>QBTEFIBOBJ>FKFKD>S>FI>?IBCLOPBIB@QFLK?V>RPBO

   PL QE>Q FQ @>K I>QBO ?B FKSLHBA LK ABJ>KA CLO PVK@EOLKLRP MI>V?>@H FP KLQ ?>PBA LK >KV

   CRK@QFLK>IFQVLCQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ>QY

   )KPQB>A  $O 3@ELKCBIA OBIFBP BU@IRPFSBIV LK AFP@ILPROB OBI>QBA QL QEB "LPB IFKH @LJJRKF@>QFLK

   MOLQL@LI2->QY@FQFKD"/3%=35"  >Q \TEF@E >PBUMI>FKBA>?LSB FPKLQ

   RQFIFWBA ?V LO FK@LJM>QF?IB TFQE QEB "LPB ,FCBPQVIB  3VPQBJ  &LO QEFP OB>PLK >ILKB  $O

   3@ELKCBIAaPQEBLOVFPJBOFQIBPP

            3B@LKA  ) C>FI QL PBB ELT $O 3@ELKCBIAaP QEBLOV E>P >KV OBIBS>K@B QL QEB

   OBNRFOBJBKQQE>Q>^@LJMRQFKDABSF@B_?BMOLDO>JJBATFQECRK@QFLK>I@>M>?FIFQVCLO@>RPFKDQEB

   @OB>QFLKLCQTLLSBOI>MMFKD^WLKBP@BKBP_QE>Q@L BUFPQTFQELKB>KLQEBO>KA>OB?LQE>S>FI>?IB

   CLO PBIB@QFLK ?V > RPBO >Q QEB P>JB QFJB  QEFP CRK@QFLK>IFQV FP >IPL KLQ MLPPF?IB TFQE QEB "LPB

   ,FCBPQVIB3VPQBJ)KPQB>A MBO$O3@ELKCBIAaPLTKTLOAP EFPQEBLOVFP?>PBALKQEB"LPBIFKH

   @LJJRKF@>QFLKMOLQL@LIBK>?IFKD>PFKDIBOLLJ!KLQ>DOLRMLCOLLJP ?BFKD>?IBQLMI>V>RAFL

   MOLSFABASF>PQOB>J>KA>PFKDIBOLLJ"KLQ>DOLRMLCOLLJP ?BFKD>?IBQLMI>V>RAFLMOLSFABA

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 53 of 139
             +!  &%!'$!&&!$ +%O+%! +


    SF> PQOB>J   4EFP E>P KLQEFKD QL AL TFQE DOLRMP LC ,FCBPQVIB MI>VBOP MBOFLA  IBQ >ILKB QTL

    LSBOI>MMFKD^WLKBP@BKBP_QE>Q@L BUFPQTFQELKB>KLQEBO>KA>OB?LQE>S>FI>?IBCLOPBIB@QFLK?V>

    RPBO>QQEBP>JBQFJB)KPQB>A TE>Q$O3@ELKCBIAABP@OF?BPFPGRPQQTLPBM>O>QBOLLJP?BFKD>?IB

    QLMI>VQTLPBM>O>QBPQOB>JPLC>RAFL

             4EFOA FC$O3@ELKCBIAFPPRDDBPQFKDQE>QQEB"LPBIFKHQB@EKLILDV>IILTP>DOLRM

    LC ,FCBPQVIB MI>VBOP QL ?B ABCFKBA ?V QEB PQOB>J LC >RAFL PQOB>J  LO PQOB>J   QE>Q QEBV >OB

    @LKCFDROBAQLMI>V >KVDFSBK,FCBPQVIBMI>VBO@>KLKIV?B@LKCFDROBAQLMI>V>PFKDIBPQOB>JLC

    >RAFL >Q > DFSBK QFJB  4ERP  > ,FCBPQVIB MI>VBO @LRIA KBSBO ?B > JBJ?BO LC QTL AFCCBOBKQ @L

    BUFPQFKD DOLRMP QE>Q >OB ABCFKBA ?V AFCCBOBKQ PQOB>JP LC >RAFL   &LO BU>JMIB  QEB LKIV T>V >

   ,FCBPQVIBMI>VBOFK>CFOPQDOLRMLC,FCBPQVIBMI>VBOP@LKCFDROBACLOPQOB>J@LRIAE>SB?BBK>AABA

   QL>PB@LKADOLRMLC,FCBPQVIBMI>VBOP@LKCFDROBACLOPQOB>JTLRIA?BQLABPQOLVQEBCFOPQDOLRM

   ?V@E>KDFKDQEB>RAFLPQOB>JCLOQEB,FCBPQVIBMI>VBOCOLJPQOB>JQLPQOB>JRPFKDQEB,FCBPQVIB

   MI>VBOaPABAF@>QBAOBJLQB@LKQOLI!...0 "/3%=35"  >Q)C>KBUM>KPFLK

   OBJLQB@LKCFDROBACLOPQOB>JPBKAP>K/.@LJJ>KAQLQEBJBAF>@BKQBO QEBJBAF>@BKQBOTFII

   >@QFS>QB QEB MFKP QE>Q @>OOV PQOB>J  FKCLOJ>QFLK_  "/3%=35"   >Q  

   ^2BJLQB@LKQOLIPCLOLQEBOOLLJPJRPQ?BPBQQLQEBP>JBELRPB@LAB>PQEBJ>FKOLLJOBJLQB 

   ?RQB>@EOBJLQBJRPQ?BPBQQL>AFCCBOBKQOLLJ@LAB4EB,FCBPQVIBZ>JMIFCFBO>KAFQPOBJLQB

   @LKQOLIJRPQ?BPBQQLQEBP>JBOLLJ@LAB_ 

            4ERP KLQEFKDFK$O3@ELKCBIAaP/MBKFKD2BMLOQ>IQBOPJVLMFKFLKQE>QQEB"LPB

   ,FCBPQVIB3VPQBJAFAKLQE>SB>^@LJMRQFKDABSF@B_TFQE>KVCRK@QFLK>I@>M>?FIFQVCLO@OB>QFKD

   LOFKSLHFKD>^WLKBP@BKB_\IBQ>ILKBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL@>RPBQEB@OB>QFLKLC

   QTLAFCCBOBKQ LSBOI>MMFKD^WLKBP@BKBP_QE>Q>OB?LQE>S>FI>?IBCLOPBIB@QFLK?V>RPBO>KAQEBK

   I>QBO@>RPBPBIB@QBALKBLCQEBQTLAFCCBOBKQ^WLKBP@BKBP_QL?BFKSLHBA

                            7D     &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A   

            7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

   OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

   QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 



                                                           
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 54 of 139
              +!  &%!'$!&&!$ +%O+%! +

              -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
            CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
            LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
              JBAF>FKAFSFAR>IIV
 
                      - . OB@BFSFKD > CFOPQ OBNRBPQ QL @OB>QB > CFOPQ WLKB P@BKB @LJMOFPFKD > CFOPQ
                    MOBABCFKBADOLRMFKDLCWLKBMI>VBOPFK@IRAFKD>QIB>PQQEBCFOPQWLKBMI>VBO>KA>
                      PB@LKAWLKBMI>VBOQE>Q>OBQL?B@LKCFDROBACLOPVK@EOLKLRPMI>V?>@HLCJBAF>
                    TEBKQEBCFOPQWLKBP@BKBFPFKSLHBA
 
               )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ
 
               !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB 0BOPLK>I
 
      -RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLK
 
      PR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB

      ,FCBPQVIB3VPQBJT>PLKIV@>M>?IBLCOB@BFSFKDOBNRBPQPQLCLOJ>A EL@^PE>OBAPLRO@BDOLRMP _

      TEF@E>OBKLQQEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFPOB>PLK 

      QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?B

      OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

      FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL^OB@BFS;B<>/2;<=

      ;.:>.<==8,;.*=.*/2;<=C87.<,.7.@LJMOFPFKD>CFOPQMOBABCFKBADOLRMFKDLC;,FCBPQVIBMI>VBOP<

      FK@IRAFKD >Q IB>PQ QEB CFOPQ ;,FCBPQVIB MI>VBO< >KA > PB@LKA ;,FCBPQVIB MI>VBO< QE>Q >OB QL ?B

      @LKCFDROBACLOPVK@EOLKLRPMI>V?>@HLCJBAF>TEBKQEBCFOPQWLKBP@BKBFPFKSLHBA_

               -LOBLSBO QEBE>OA @LABA^(/53%_LMQFLKLCQEB"LPB,FCBPQVIB3VPQBJQE>Q

      FPOBIFBARMLK?V$O3@ELKCBIAC>FIPQLJBBQQEBPBIFJFQ>QFLKPCLOQEB>AAFQFLK>IOB>PLKQE>Q>3LKLP

      @LKQOLIIBOTLRIAE>SBKBSBOOB@BFSBA>KV^OBNRBPQQL@OB>QB_QEBE>OA @LABA^(/53%_LMQFLK

               $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

      LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

      LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

      KLQE>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP


                                   
      
        !IQELRDERK@IB>O PLJBLC$O3@ELKCBIAaPABJLKPQO>QFSBPQE>QTBOBMOLSFABATFQEEFP/MBKFKD
   2BMLOQ >MMB>O QL J>M QEB @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQFOLLJ OLLJ
      FKQBOC>@BQLQEB^KBQTLOHABSF@B_>KAQEB*BTBI#R?BPMB>HBOPQLQEB^WLKBMI>VBOP_LC!PPBOQBA
   #I>FJLCQEBa0>QBKQ

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 55 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?V

    QEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M2BMLOQ>QYY (LTBSBO )CFKA$O

    3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC

    !PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

    ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

    PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

 

 







































                                                     
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 56 of 139
             +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

    

 







































                                          
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 57 of 139
              +!  &%!'$!&&!$ +%O+%! +


    

             !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAE>PKLQMOLSFABA>KV>K>IVPFPLC

    ELTQEB"LPB,FCBPQVIB3VPQBJ>IIBDBAIVJBBQPQEBPBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

    `)KPQB>A $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB

    3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQTFQEQEBBU@BMQFLKLCQEB

    I>QQBOM>OQLCM>O>DO>ME TEBOBEBAFP@RPPBPABMBKABKQ@I>FJ>KA3LKLPaP^PE>OBAPLRO@B

    DOLRM_ >KA ^0>OQV -LAB_ CRK@QFLK>IFQV  (LTBSBO  QEB !PPBOQBA #I>FJP LC QEB ` 0>QBKQ >OB

    AFOB@QBA QL > AFCCBOBKQ QVMB LC ABSF@B QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD

    ABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKP

   >KALC!PPBOQBA#I>FJLCQEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK

   >P QL ELT EFP MOFLO AFP@RPPFLK LC QEB "LPB ,FCBPQVIB  3VPQBJ FK QEB @LKQBUQ LC QEB @I>FJ

   IFJFQ>QFLKP LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ >MMIFBP QL @I>FJ IFJFQ>QFLKP  >KA  LC

   !PPBOQBA#I>FJLCQEB`0>QBKQ)KC>@Q $O3@ELKCBIAC>FIPQLBSBKPQ>QBTEBQEBOEFPLMFKFLK

   FPQE>Q@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQTBOB>@QR>IIV-2<,58<.-

   ?VQEB"LPB,FCBPQVIB3VPQBJSBOPRPTEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KA

   LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ TBOB LKIV ;.7-.;.- 8+?28>< ?V QEB "LPB ,FCBPQVIB 

   3VPQBJ!KA>ILKDPFJFI>OIFKBP $O3@ELKCBIAKBSBOLK@B>OQF@RI>QBPTE>QEB@LKPFABOPQL?BQEB

   @I>FJBA^CFOPQOBNRBPQQL@OB>QB>CFOPQWLKBP@BKB_FKQEB"LPB,FCBPQVIB3VPQBJ&LOQEBPB

   OB>PLKP )AFP>DOBBQE>Q$O3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC@I>FJIFJFQ>QFLKP>KALC

   !PPBOQBA#I>FJLCQEB`0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKP

   QL?BBUMOBPPBA>KAQEB?>PFP>KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL?BQEBDLSBOKFKDPQ>KA>OA

   CLOBUMBOQOBMLOQP >KAQE>Q?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP 

   >KAOBPMLKAQLEFPLMFKFLKPOBD>OAFKD@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`

   0>QBKQ 

            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 58 of 139
             +!  &%!'$!&&!$ +%O+%! +


    a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

    QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

    KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

    LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

    >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

    >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

    FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

    @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

             ,>PQIV QEBI>QQBOM>OQLCM>O>DO>METEBOBEBAFP@RPPBPABMBKABKQ@I>FJ>KA

   3LKLPaP^WLKBDOLRM_>KA^0>OQV-LAB_CRK@QFLK>IFQV>MMB>OPQL?B>SBO?>QFJ@LMVLCM>O>DO>ME

   COLJQEBPB@QFLKLC$O3@ELKCBIAaP/MBKFKD2BMLOQOBI>QBAQL3LKLPaPPVPQBJ TEF@E)

   >IOB>AV>AAOBPPBA>?LSB)C>FIQLPBBELTQEFPM>O>DO>MEAFP@RPPFKD3LKLPaP^WLKBDOLRM_>KA

   ^0>OQV-LAB_CRK@QFLK>IFQVE>P>KVOBIBS>K@BQLQEB"LPB,FCBPQVIB3VPQBJ TEF@EAFAKLQE>SB

   ^WLKB DOLRMP_ LO > E>OA @LABA ^!II :LKBP 0>OQV -LAB_ LMQFLK  >KA FQ >MMB>OP QL JB QE>Q $O

   3@ELKCBIAaPFK@IRPFLKLCQEFPM>O>DO>MEFKEFPPB@QFLKAFOB@QBAQLQEB"LPB,FCBPQVIB3VPQBJJ>V

   E>SB?BBK>@LMVM>PQBBOOLO

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                            D     &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A   

            7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

   OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

   QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 

           -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
              CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
           LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
              JBAF>FKAFSFAR>IIV


                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 59 of 139
             +!  &%!'$!&&!$ +%O+%! +

                      [
 
                      - . ?>PBA LK QEB CFOPQ OBNRBPQ  F  @>RPFKD @OB>QFLK LC QEB CFOPQ WLKB P@BKB  FF 
 
                      @>RPFKD >K FKAF@>QFLK LC QEB CFOPQ WLKB P@BKB QL ?B QO>KPJFQQBA QL QEB CFOPQ WLKB
                    MI>VBO >KAFFF @>RPFKDPQLO>DBLCQEBCFOPQWLKBP@BKB

 
               )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ
 
               !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB 0BOPLK>I
 
      -RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLK
 
      PR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB
 
      ,FCBPQVIB3VPQBJT>PLKIV@>M>?IBLCCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E>OBKLQ
 
      QEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFPOB>PLK QEB0BOPLK>I

      -RPF@ #BKQBO >KA >KV LQEBO @LKQOLIIBO QE>Q $O 3@ELKCBIA J>V ?B OBIVFKD LK PR@E >P QEB

      @LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB

      3VPQBJAFAKLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL^F @>RP;B<@OB>QFLKLCQEBCFOPQWLKBP@BKB 

      FF @>RP;B<>KFKAF@>QFLKLCQEBCFOPQWLKBP@BKBQL?BQO>KPJFQQBAQLQEBCFOPQ;,FCBPQVIBMI>VBO< >KA

      FFF @>RP;B<PQLO>DBLCQEBCFOPQWLKBP@BKB_

               -LOBLSBO QEBE>OA @LABA^(/53%_LMQFLKLCQEB"LPB,FCBPQVIB3VPQBJQE>Q

      FPOBIFBARMLK?V$O3@ELKCBIA>?LSBC>FIPQLJBBQQEBPBIFJFQ>QFLKPCLOQEB>AAFQFLK>IOB>PLKQE>Q

      QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?B

      OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

      LCQEB"LPB,FCBPQVIB3VPQBJTLRIAE>SBKBSBOOB@BFSBA>KV^OBNRBPQQL@OB>QB_QEBE>OA @LABA

      ^(/53%_ LMQFLK >KA >IPL TLRIA E>SB KBSBO ^@>RP;BA< @OB>QFLK LC_ QEB E>OA @LABA ^(/53%_

      LMQFLK ^@>RP;BA<>KFKAF@>QFLKLC_QEBE>OA @LABA^(/53%_LMQFLKQL?B^QO>KPJFQQBAQLQEBCFOPQ

      ;,FCBPQVIBMI>VBO< _LO^@>RP;BA<PQLO>DBLC_QEBE>OA @LABA^(/53%_LMQFLK

               $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

      LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

      LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

      KLQE>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP

      >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?V


                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 60 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEB "LPB ,FCBPQVIB   !.. 3@ELKCBIA /M 2BMLOQ >Q YY     (LTBSBO  ) CFKA $O

    3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC

    !PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

    ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

    PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

 

 

 

















            !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLO

   AFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa

   0>QBKQ(LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@B

   QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD ABSF@B_ @LKCFDROBA QL ^PBOS;B< >P >

   @LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLC

   QEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa

   0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLK

   LCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

   `0>QBKQ>MMIFBPQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ)KC>@Q 

   $O 3@ELKCBIA C>FIP QL BSBK PQ>QB TEBQEBO EFP LMFKFLK FP QE>Q @I>FJ IFJFQ>QFLKP  >KA  LC

   !PPBOQBA#I>FJLCQEB`0>QBKQTBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRP

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 61 of 139
             +!  &%!'$!&&!$ +%O+%! +


    TEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

    TBOB LKIV ;.7-.;.- 8+?28>< ?V QEB "LPB ,FCBPQVIB  3VPQBJ  !KA >ILKD PFJFI>O IFKBP  $O

    3@ELKCBIAKBSBO>OQF@RI>QBPTE>QEB@LKPFABOPQL?BQEB@I>FJBACRK@QFLKPLC^F @>RPFKD@OB>QFLK

    LCQEBCFOPQWLKBP@BKB FF @>RPFKD>KFKAF@>QFLKLCQEBCFOPQWLKBP@BKBQL?BQO>KPJFQQBAQLQEBCFOPQ

    WLKBMI>VBO >KAFFF @>RPFKDPQLO>DBLCQEBCFOPQWLKBP@BKB_FKQEB"LPB,FCBPQVIB3VPQBJ&LO

    QEBPBOB>PLKP )AFP>DOBBQE>Q$O3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC@I>FJIFJFQ>QFLKP>KA

    LC!PPBOQBA#I>FJLCQEB`0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>II

    LMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL?BQEBDLSBOKFKD

    PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q ?>OB?LKBP AFP@RPPFLK E>P MOBGRAF@BA JV >?FIFQV QL CRIIV

   AFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKPOBD>OAFKD@I>FJIFJFQ>QFLKP>KALC!PPBOQBA

   #I>FJLCQEB`0>QBKQ 

            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

   a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

   QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

   LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

   >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

   FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

   @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            &LO FKPQ>K@B  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ JBBQP

   IFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQRMLKTEF@EEBOBIFBPCLOIFJFQ>QFLKLC

   !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  FP ?>PBA FK M>OQ LK CRK@QFLK>IFQV QE>Q FP KLQ OBI>QBA QL LO

   @LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ>QYY

   )KABBA FK>AAFQFLKQLOBIVFKDLKPBQQFKDRM>^PE>OBAPLRO@BDOLRM_RPFKDQEB^2//-_>KA

   ^(/53%_?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOLCQEB"LPB,FCBPQVIB3VPQBJ2->QY

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 62 of 139
             +!  &%!'$!&&!$ +%O+%! +


    @FQFKD "/3%=35"  >Q     TEF@E ) BUMI>FKBA >?LSB  $O 3@ELKCBIA >IPL OBIFBP LK

    AFP@ILPROBOBI>QBAQLF QEB"LPB&OBBPM>@B%PVPQBJ2->QY@FQFKD"/3%=35" 

    >Q  >KA "/3%=35"  >Q    TEF@E  >P BUMI>FKBA >?LSB  FP KLQ RQFIFWBA ?V LO

    @LJM>QF?IB TFQE QEB "LPB ,FCBPQVIB  3VPQBJ  FF  PBQQFKD RM 3!  >KALO 3!  !JMIFCFBOP FK

    ^>AAFQFLK>IOLLJP_RPFKD"LPBIFKHQB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP)) PBOFBP)) LO

    ELJBBKQBOQ>FKJBKQPVPQBJ_2->QY@FQFKD"/3%=35"  >Q  

    >KA"/3%=35"  >Q  \KLQ>"LPB,FCBPQVIB3VPQBJQE>QALBPKLQE>SB

    "LPB IFKH @>M>?FIFQV >KA FFF  QEB "LPB IFKH @LJJRKF@>QFLK MOLQL@LI 2- >Q Y  @FQFKD

    "/3%=35"   >Q    \ TEF@E  >P BUMI>FKBA >?LSB  FP KLQ RQFIFWBA ?V LO

   @LJM>QF?IBTFQEQEB"LPB,FCBPQVIB3VPQBJ&LOQEBPBOB>PLKP>ILKB $O3@ELKCBIAaPQEBLOVFP

   CI>TBA>KAEBE>PC>FIBAQLMOLSBQE>QQEB>@QR>I"LPB,FCBPQVIB3VPQBJAFP@ILPBPQEB@I>FJBA

   ^WLKBP@BKB_CRK@QFLK>IFQVLC@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

            &ROQEBOBU>JMIBPLCTEV$O3@ELKCBIAaP>K>IVPFPFPCI>TBA>OBPBQCLOQE?BILT 

   TEBOB)E>SBPBM>O>QBAOB>PLKPOBI>QBAQLQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA$O3@ELKCBIAaP

   >IIBDBA"LPB,FCBPQVIB3VPQBJ 

                                      !@QR>I"LPB,FCBPQVIB3VPQBJ

            &FOPQ TEBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAOBIFBPBU@IRPFSBIVLKQEBCRK@QFLK>IFQVFKQEB

   "LPB,FCBPQVIB3VPQBJCLOCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E>OBKLQQEB@I>FJBA

   ^WLKBP@BKBP_CLO>IILCQEBOB>PLKP)E>SBMOBSFLRPIVBUMI>FKBAFK3B@QFLK86#FFF

            3B@LKA TEBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAAFAKLQFABKQFCV>KV^CFOPQFKAF@>QFLKQE>Q

   QEBCFOPQWLKBMI>VBOE>P?BBK>AABAQL>CFOPQWLKBP@BKB_!P)MOBSFLRPIVBUMI>FKBAFKJVa

   2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ QEFPFPKLQPROMOFPFKD?B@>RPBQEB

                                     
      
      .LQB QE>Q TEFIB ) E>SB PLJBQFJBP PBM>O>QBIV >AAOBPPBA QEB PELOQ@LJFKDP LC QEB >@QR>I "LPB
      ,FCBPQVIB  3VPQBJ >KA $O 3@ELKCBIAaP  >IIBDBA "LPB ,FCBPQVIB  3VPQBJ TFQE OBPMB@Q QL
   IFJFQ>QFLKP  FQPELRIA?BRKABOPQLLAQE>QQEBPBPELOQ@LJFKDP@>K?B@LKPFABOBAQLDBQEBO
      ABMBKAFKDLKELT$O3@ELKCBIAFKQBKAPLK@LJ?FKFKDQEBS>OFLRP"LPBMOLAR@QPRMLKTEF@EEB
   OBIFBP TEF@EFP@ROOBKQIVRK@IB>O

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 63 of 139
             +!  &%!'$!&&!$ +%O+%! +


    "LPB,FCBPQVIB3VPQBJALBPKLQAFP@ILPB^>CFOPQFKAF@>QFLKQE>Q;QEB,FCBPQVIBMI>VBO<E>P?BBK

    >AABA QL > CFOPQ WLKB P@BKB _ >P OBNRFOBA ?V IFJFQ>QFLK  LC QEB a 0>QBKQ  !KA CLO PFJFI>O

    OB>PLKPQLQELPBBUMI>FKBAFKJVa2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa

    0>QBKQ QEB"LPB,FCBPQVIB3VPQBJALBPKLQAFP@ILPB>K^FKAF@>QFLK_LC>^CFOPQWLKBP@BKB _>P

    OBNRFOBA?VIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQ

             !P>KFKFQF>IJ>QQBO ?B@>RPB>^PE>OBAPLRO@BDOLRM_FPKLQ>^WLKBP@BKB_CLO>II

    LCQEBOB>PLKPBUMI>FKBA>?LSB QEBOB@>KaQMLPPF?IV?B>K^FKAF@>QFLK_LC>^CFOPQWLKBP@BKB_

             -LOBLSBO BSBKPBQQFKD>PFABQEBCRKA>JBKQ>IAFCCBOBK@BP?BQTBBK>^PE>OBAPLRO@B

    DOLRM_>KA>^WLKBP@BKB _QEB"LPB,FCBPQVIB3VPQBJBSFABK@BQE>Q)E>SBOBSFBTBABPQ>?IFPEBP

   QE>Q TEBK>RPBOPBQRM>^PE>OBAPLRO@BDOLRM_LC,FCBPQVIBMI>VBOPRPFKDQEB0BOPLK>I-RPF@

   #BKQBOLCQEB"LPB,FCBPQVIB3VPQBJ QEB0BOPLK>I-RPF@#BKQBOTLRIA@LJJRKF@>QBTFQEQEB

   @BKQO>IFWBA -RIQF 2LLJ )KQBOC>@B KLQ QL QEB ,FCBPQVIB MI>VBOP  TEF@E TLRIA @>RPB QEB -RIQF

   2LLJ)KQBOC>@BQL@LKCFDROBFQPBICQLAFPQOF?RQBQEBP>JB>RAFLCOLJQEBP>JB>RAFLPLRO@BQLB>@E

   LCQEBOLLJPPLQE>QQEBP>JB>RAFL@LRIA?BMI>VBA?>@HPFJRIQ>KBLRPIVSF>QEB,FCBPQVIBMI>VBOP

   !...0"/3%=35"  >Q     "/3%=35"  >Q 

   )K LQEBO TLOAP  > ,FCBPQVIB MI>VBO TLRIA KLQ OB@BFSB >KV FKCLOJ>QFLK COLJ QEB 0BOPLK>I -RPF@

   #BKQBO?RQFKPQB>ATLRIAJBOBIVOB@BFSB>RAFLCOLJQEB-RIQF 2LLJ)KQBOC>@B?RQ>RAFL>ILKBFP

   KLQ>K^FKAF@>QFLK_LC>^PE>OBAPLRO@BDOLRM_-LOBLSBO )E>SBKLQPBBK>KVBSFABK@B>PQLTE>Q

   FKCLOJ>QFLKTLRIABSBK?B@LJJRKF@>QBACOLJQEB0BOPLK>I-RPF@#BKQBOTLRIA@LJJRKF@>QB

   TFQEQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@B

            $O 3@ELKCBIA AFPMRQBP JV >PPBOQFLK QE>Q QEB 0BOPLK>I -RPF@ #BKQBO TLRIA LKIV

   @LJJRKF@>QBTFQEQEB@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@B>KAKLQQEB,FCBPQVIBMI>VBOP>KAPQ>QBP

   QE>Q QEB AL@RJBKQ>QFLK ) E>SB OBIFBA LK ^OBCBOP QL `O>AFL IFKHPa QE>Q QO>KPJFQP A>Q> QL >KA COLJ

   MI>V?>@H PMB>HBOP_  3BB 3@ELKCBIA /M 2BMLOQ >Q Y   (LTBSBO  ) PBB KL PRMMLOQ FK QEBPB

   AL@RJBKQPCLO$O3@ELKCBIAaP>PPBOQFLK)KPQB>A QEBAL@RJBKQP)@FQBLKIVOBCBOQL>^O>AFLIFKH_

   ?BQTBBK QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ )KQBOC>@B  !.. .0 "/3%=35"

     >Q  ^7EBK ?>QQBOFBP >OB CFOPQ FKPQ>IIBA FK QEB JRPF@ @BKQBO FQ PBQP RM > O>AFL

   COBNRBK@VIFKHTFQEQEB@ILPBPQJRIQF OLLJFKQBOC>@B[)CQEBJRPF@@BKQBO@LKQFKRLRPIVAFPMI>VP

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 64 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ./2%30/.3% VLRKBBAQLQOVQLBPQ>?IFPEFQPIFKHTFQEQEBJRIQF OLLJFKQBOC>@B>D>FK_ 

    ^4L>AA>KBTJRPF@@BKQBOQLVLROPVPQBJ CLIILTQEBPBQRMFKPQOR@QFLKPLKM>DB"BPROBQL

    FKPQ>IIQEB?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEBJRIQF OLLJFKQBOC>@BQL>IILTQEB

    KBTJRPF@@BKQBOQLPBQRM>O>AFLCOBNRBK@VIFKHTFQEVLROPVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFP

    KLQ MIRDDBA FK LO QEB JRPF@ @BKQBO FP LRQ LC O>KDB  QEB AFPMI>V FKAF@>QBP ./ 2%30/.3%_ 

    "/3%=35"  >QABP@OF?FKDQEB^-RIQF OLLJFKQBOC>@B_>P>^;P<J>II EFAB>T>V

    @LKKB@QFLK?LUQO>KPJFQPA>Q>QL >KAOB@BFSBPA>Q>COLJ QEB0BOPLK>IJRPF@@BKQBOSF>>O>AFL

    A>Q>IFKH_ 

             4EFOA  BSBK PBQQFKD >PFAB QEB CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK > ^PE>OBA PLRO@B

   DOLRM_>KA>^WLKBP@BKB _$O3@ELKCBIAE>PKLQFABKQFCFBA>KA)E>SBKLQPBBK >KVBSFABK@BLC

   QEB0BOPLK>I-RPF@#BKQBOLO>KVLQEBOABSF@BFKQEB"LPB,FCBPQVIB3VPQBJ^@>RPFKDPQLO>DB_

   LC>^PE>OBAPLRO@BDOLRM_

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                            $O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJ

            &FOPQ FKEFPPB@QFLKAFP@RPPFKDEFP>IIBDBASBOPFLKLCQEB"LPB,FCBPQVIB3VPQBJ

   >KA @I>FJ IFJFQ>QFLK  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA OBIFBP LK

   CRK@QFLK>IFQVOBI>QBAQLF QEB"LPB&OBBPM>@B%PVPQBJ3@ELKCBIA/M2BMLOQ>QY@FQFKD

   "/3%=35" >Q>KA"/3%=35" >Q  FF PBQQFKDRM3! >KALO

   3! !JMIFCFBOPFK^>AAFQFLK>IOLLJP_RPFKD"LPBIFKHQB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP

   )) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ_2->QY@FQFKD"/3%=35" 

    >Q      >KA "/3%=35"   >Q    >KA FFF  QEB "LPB IFKH

   @LJJRKF@>QFLKMOLQL@LI2->QY@FQFKD"/3%=35"  >Q  (LTBSBO 

   >P)E>SB>IOB>AVBUMI>FKBA>?LSBFK3B@QFLK86#FFF QEBCRK@QFLK>IFQVQE>QEBOBIFBPLKCLOQEBPB

   S>OFLRP"LPBMOLAR@QPALBPKLQAFP@ILPBQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV

                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 65 of 139
             +!  &%!'$!&&!$ +%O+%! +


             3B@LKA  >IQELRDE KLQ @IB>O  $O 3@ELKCBIA >MMB>OP QL ?B >PPBOQBA QE>Q QEB ^CFOPQ

    FKAF@>QFLKQE>QQEBCFOPQWLKBMI>VBOE>P?BBK>AABAQL>CFOPQWLKBP@BKB_OBNRFOBA?VIFJFQ>QFLK

    LCQEBa0>QBKQFPAFP@ILPBA?VQEB"LPB,FKH@LJJRKF@>QFLKMOLQL@LI?>PBALK>QEBLOVQE>Q

    ^QEB "LPB ,FKH @LJJRKF@>QFLK MOLQL@LI >IILTP CLO >K FKAF@>QFLK QE>Q ;,FCBPQVIB MI>VBOP FK<

    >AAFQFLK>IOLLJP[E>SB?BBK>AABAQLQEBJBAF>@BKQBO_!..3@ELKCBIA/M2BMLOQ>QY

    (LTBSBO >P)MOBSFLRPIVBUMI>FKBAFKJVa2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEB

    a0>QBKQ )AFP>DOBBQE>QQEB"LPB,FKH@LJJRKF@>QFLKMOLQL@LIAFP@ILPBP^>CFOPQFKAF@>QFLKQE>Q

    ;QEB,FCBPQVIBMI>VBO<E>P?BBK>AABAQL>CFOPQWLKBP@BKB _>POBNRFOBA?VIFJFQ>QFLKLCQEB

    a0>QBKQ!KACLOPFJFI>OOB>PLKPQLQELPBBUMI>FKBAFKJVa2B?RQQ>I2BMLOQOBD>OAFKD

   !PPBOQBA#I>FJLCQEBa0>QBKQ FQFPJVLMFKFLKQE>QQEB"LPB,FKH@LJJRKF@>QFLKMOLQL@LI

   ALBPKLQAFP@ILPB>K^FKAF@>QFLK_LC>^CFOPQWLKBP@BKB _>POBNRFOBA?VIFJFQ>QFLKLC!PPBOQBA

   #I>FJLCQEBa0>QBKQ

            &LOFKPQ>K@B FKQEB^5KABOPQ>KAFKD"LPBIFKH_AL@RJBKQ@FQBA?V$O3@ELKCBIA 

   QEBLKIVFKCLOJ>QFLKQO>KPJFQQBACOLJ>"LPBIFKHBK>?IBAJBAF>@BKQBOQL>,FCBPQVIBMI>VBOQE>Q

   FP>"LPBIFKHBUM>KPFLKMOLAR@QBD >K3! LO3! !JMIFCFBO FP^LKLCC SLIRJB>KAPLRO@B

   @LJJ>KAP>ILKDTFQE>RAFL_!.."/3%=35"  >Q4EB^5KABOPQ>KAFKD"LPB

   IFKH_ AL@RJBKQ >IPL PQ>QBP QE>Q ^;B<>@E QFJB > PLRO@B @E>KDB LO LKLCC @LJJ>KA FP PBKQ  QEB

   BUM>KPFLKMOLAR@QPBKAPFKCLOJ>QFLK?>@HQLQEBJBAF>@BKQBOIBQQFKDFQHKLTQE>QFQFPPQFIILKLO

   LCC  >KA FK QEB P>JB OLLJ_  -  4EBPB AFP@ILPROBP >OB @LKPFPQBKQ TFQE $O 3@ELKCBIAaP

   @E>O>@QBOFW>QFLK ^4EB "LPB ,FKH @LKKB@QFLK FP BPPBKQF>IIV > @LKSBOP>QFLK ?BQTBBK QEB JBAF>

   @BKQBO >KA QEB BUM>KPFLK ABSF@B 4EB JBAF> @BKQBO PBKAP LKLCC  SLIRJB >KA PLRO@B @E>KDB

   @LJJ>KAP>ILKDTFQE>RAFLQLQEBWLKBP4EBWLKBPQEBKOBPMLKA?VPBKAFKDFKCLOJ>QFLK?>@HQL

   QEB JBAF> @BKQBO QL IBQ FQ HKLT QE>Q QEB WLKB FP PQFII >@QFSB_  3@ELKCBIA /M 2BMLOQ >Q Y 

   (LTBSBO FKJVLMFKFLK KLKBLCQEFPFKCLOJ>QFLKQE>QFP>IIBDBAIVBU@E>KDBA?BQTBBK>"LPBIFKH

   BK>?IBAJBAF>@BKQBO>KA>,FCBPQVIBMI>VBOQE>QFP>"LPBIFKHBUM>KPFLKMOLAR@Q>JLRKQPQL>K

   ^FKAF@>QFLK_LC>KVPLOQLCDOLRMLC,FCBPQVIBMI>VBOP IBQ>ILKB>K^FKAF@>QFLK_LC>^WLKBP@BKB_

            $O 3@ELKCBIAaP >PPBOQFLK QL QEB @LKQO>OV >MMB>OP QL ?B ?>PBA LK >K FK@LOOB@Q

   FKQBOMOBQ>QFLKLCTE>QFPOBNRFOBAQL@LKPQFQRQB>K^FKAF@>QFLK_LC>^WLKBP@BKB_)KM>OQF@RI>O $O

                                                             
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 66 of 139
             +!  &%!'$!&&!$ +%O+%! +


    3@ELKCBIAMLFKQPQLQEB#LROQaPCFKAFKDQE>Q>K^FKAF@>QFLK_LC>^WLKBP@BKB_KBBAKLQFABKQFCVQEB

    LQEBO^WLKBMI>VBOP _TFQEFKQEB^WLKBP@BKB_\TEF@EFPQORB\?RQEBQEBKGRJMPQLQEB@LK@IRPFLK

    QE>Q*7BJBPP>DBPBKQQL>^WLKBMI>VBO_>QQEBQFJBQE>Q>^WLKBP@BKB_FP@OB>QBATLRIA@LKPQFQRQB

    >K^FKAF@>QFLK_LCQEB^WLKBP@BKB_OBD>OAIBPPLCQEB@LKQBKQPLCQE>QJBPP>DB!..3@ELKCBIA/M

    2BMLOQ>QY)KJVLMFKFLK QEFPFPKLQELT>0/3)4!TLRIAFKQBOMOBQQEBMEO>PB^FKAF@>QFLK_

    LC>^WLKBP@BKB_FKSFBTLCQEB#LROQaP*RIV LOABO2>QEBO >0/3)4!TLRIARKABOPQ>KA

    QE>Q  FK LOABO CLO > JBPP>DB QL @LKPQFQRQB >K ^FKAF@>QFLK_ LC > ^WLKB P@BKB _ QEB JBPP>DB JRPQ

    @LKQ>FKPLJBFKCLOJ>QFLK>?LRQQEB^WLKBP@BKB_QE>QBK>?IBPQEB,FCBPQVIBMI>VBOQLOB@LDKFWB

    QE>Q FQ E>P ?BBK >AABA QL QEB ^WLKB P@BKB _ PR@E >P >K FABKQFCFBO LC QEB ^WLKB P@BKB_  /KLCC 

   SLIRJB >KAPLRO@B@E>KDB@LJJ>KAPALBPKLQJBBQQEFPOBNRFOBJBKQ

            -LOBLSBO QLQEBBUQBKQQE>Q$O3@ELKCBIAFP>PPBOQFKDQE>QQEB>IIBDBA^FKAF@>QFLK_

   FPPBKQCOLJQEB,FCBPQVIBMI>VBOQLQEB"LPBIFKHBK>?IBAJBAF>@BKQBO PR@E>QEBLOVTLRIAC>FI

   CLOQEB>AAFQFLK>IOB>PLKQE>QQEB@I>FJOBNRFOBPQEB^FKAF@>QFLK_QL?BQO>KPJFQQBAQLQEB^CFOPQWLKB

   MI>VBO_4EB"LPBIFKHBK>?IBAJBAF>@BKQBO@>KKLQMLPPF?IV?BQEB^CFOPQWLKBMI>VBO_?B@>RPB

   QEBOBFPLKIV>PFKDIB"LPBIFKHBK>?IBAJBAF>@BKQBOFK>KVDFSBKPVPQBJ>KAQERP>"LPBIFKH

   BK>?IBAJBAF>@BKQBO@LRIAKLQ?B>AABAQL>^WLKBP@BKB_TFQE>KLQEBO"LPBIFKHBK>?IBAJBAF>

   @BKQBO  !.. .0 "/3%=35"   >Q  FIIRPQO>QFKD 3!  >KA 3!  >JMIFCFBOP

   @LKKB@QBAQL>PFKDIB"LPBIFKHBK>?IBAJBAF>@BKQBO 

            )>IPLKLQBQE>Q>QM>O>DO>ME $O3@ELKCBIA>IPL>PPBOQPQE>Q^;F<JMLOQ>KQIV [

   QEBJBAF>@BKQBOTFIIKLQ>@HKLTIBADB@LJJ>KAPCOLJ>KVWLKBQE>QFPKLQQ>ODBQBALOFKSLHBA_

   !..3@ELKCBIA/M2BMLOQ>QY)C>FIQLPBBELTQEFPPQ>QBJBKQE>P>KVQEFKDQLALTFQE>

   ,FCBPQVIBMI>VBOOB@BFSFKD>K^FKAF@>QFLK_LC>^WLKBP@BKB_

            4EFOA $O3@ELKCBIAaPAFP@RPPFLKLCIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa

   0>QBKQFK@LKKB@QFLKTFQEF QEB"LPB&OBBPM>@B%PVPQBJ3@ELKCBIA/M2BMLOQ>QY@FQFKD

   "/3%=35" >Q>KA"/3%=35" >Q  FF PBQQFKDRM3! >KALO

   3! !JMIFCFBOPFK^>AAFQFLK>IOLLJP_RPFKD"LPBIFKHQB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP

   )) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ_2->QY@FQFKD"/3%=35" 

    >Q      >KA "/3%=35"   >Q    >KA FFF  QEB "LPB IFKH

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 67 of 139
             +!  &%!'$!&&!$ +%O+%! +


    @LJJRKF@>QFLK MOLQL@LI 2- >Q Y  @FQFKD "/3%=35"   >Q    ALBP KLQ

    FK@IRAB >KVQEFKD >?LRQ > ^@LJMRQFKD ABSF@B_ ^@>RPFKD PQLO>DB_ LC > ^PE>OBA PLRO@B DOLRM_ LO

    PLJBLQEBODOLRMLC,FCBPQVIBMI>VBOP IBQ>ILKB^@>RPFKDPQLO>DB_LC>^WLKBP@BKB_

             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

    OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

    FK$O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA

    ?VIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ

                             D7    &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A   

            7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

   OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

   QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 

           -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
              CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
           LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
              JBAF>FKAFSFAR>IIV

                      [


                   - . OB@BFSFKD > PB@LKA OBNRBPQ QL @OB>QB > PB@LKA WLKB P@BKB @LJMOFPFKD >
                      PB@LKAMOBABCFKBADOLRMFKDLCWLKBMI>VBOPFK@IRAFKD>QIB>PQQEBCFOPQWLKBMI>VBO
                   >KA>QEFOAWLKBMI>VBOQE>Q>OBQL?B@LKCFDROBACLOPVK@EOLKLRPMI>V?>@HLCJBAF>
                      TEBKQEBPB@LKAWLKBP@BKBFPFKSLHBA TEBOBFKQEBQEFOAWLKBMI>VBOFPAFCCBOBKQ
                   QE>KQEBPB@LKAWLKBMI>VBO

               )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ

               !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB 0BOPLK>I

      -RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLK FK

      QEB"LPB,FCBPQVIB3VPQBJT>PLKIV@>M>?IBLCOB@BFSFKDOBNRBPQPQLCLOJ>A EL@^PE>OBAPLRO@B

      DOLRMP _TEF@E>OBKLQQEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFP

      OB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIA

      J>V ?B OBIVFKD LK PR@E >P QEB @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ

      )KQBOC>@B  FK QEB "LPB ,FCBPQVIB  3VPQBJ AFA KLQ E>SB QEB OBNRFOBA CRK@QFLK>I @>M>?FIFQV QL


                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 68 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ^OB@BFS;B<><.,87-;.:>.<==8,;.*=.*<.,87-C87.<,.7.@LJMOFPFKD>PB@LKAMOBABCFKBADOLRMFKD

    LC;,FCBPQVIBMI>VBOP<FK@IRAFKD>QIB>PQQEBCFOPQ;,FCBPQVIBMI>VBO<>KA>QEFOA;,FCBPQVIBMI>VBO<QE>Q

    >OBQL?B@LKCFDROBACLOPVK@EOLKLRPMI>V?>@HLCJBAF>TEBKQEBPB@LKAWLKBP@BKBFPFKSLHBA_

             -LOBLSBO QEBE>OA @LABA^(/53%_LMQFLKLCQEB"LPB,FCBPQVIB3VPQBJQE>Q

    FPOBIFBARMLK?V$O3@ELKCBIAC>FIPQLJBBQQEBPBIFJFQ>QFLKPCLOQEB>AAFQFLK>IOB>PLKQE>Q>3LKLP

    @LKQOLIIBOTLRIAE>SBKBSBOOB@BFSBA>KV^OBNRBPQQL@OB>QB_QEBE>OA @LABA^(/53%_LMQFLK

             &ROQEBO VBQ  @I>FJ IFJFQ>QFLKP  >KA  OBNRFOB QEB ^@LJMRQFKD ABSF@B_ QL

    ^OB@BFS;B<;QEB<PB@LKAOBNRBPQQL@OB>QB;QEB<PB@LKAWLKBP@BKB_>Q>QFJBTEBKQEB^CFOPQWLKB

    MI>VBO_FP^LMBO>QFKDFK>PQ>KA>ILKBJLAB _TEF@EJB>KPQE>QQEB@OB>QBA^CFOPQWLKBP@BKB_JRPQ

   ?BFK>KFK>@QFSBPQ>QB>QQEBQFJBQE>QQEFPCRK@QFLK>IFQVFP@>OOFBALRQLQEBOTFPB QEB^CFOPQWLKB

   MI>VBO_@LRIAKLQ?BFK^PQ>KA>ILKBJLAB_ (LTBSBO FKQEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQ

   MLPPF?IBCLO>K>A EL@^PE>OBAPLRO@BDOLRM_QLBUFPQFK>KFK>@QFSBPQ>QBFKTEF@EQEBJBJ?BOPLC

   QEB^PE>OBAPLRO@BDOLRM_@LRIA?BRPBACLOFKAFSFAR>IMI>V?>@HTEFIBQEB^PE>OBAPLRO@BDOLRM_

   OBJ>FKBA>S>FI>?IBCLOPBIB@QFLK?V>RPBOO>QEBO >K>A EL@^PE>OBAPLRO@BDOLRM_LKIVOBJ>FKBA

   FKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@EFQT>P>@QFS>QBA >KALK@BAB>@QFS>QBA 

   QEB^PE>OBAPLRO@BDOLRM_TLRIA@B>PBQLBUFPQ

            $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

   LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

   LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

   KLQE>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP

   >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?V

   QEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M2BMLOQ>QYY (LTBSBO )CFKA$O

   3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC

   !PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

   PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ



                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 69 of 139
              +!  &%!'$!&&!$ +%O+%! +


 

 

 

 

 

 

 

    
 









   

            !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAE>PKLQMOLSFABA>KV>K>IVPFPLC

   ELTQEB"LPB,FCBPQVIB3VPQBJ>IIBDBAIVJBBQPQEBPBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

   `)KPQB>A $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB

   3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQ(LTBSBO QEB!PPBOQBA

   #I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@BQE>K!PPBOQBA#I>FJLCQEB

   a0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBAQL>^WLKB

   MI>VBO_ @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQRPBAFCCBOBKQ@I>FJ

   I>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQL

   MOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFK

   QEB @LKQBUQ LC QEB @I>FJ IFJFQ>QFLKP LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ >MMIFBP QL @I>FJ

   IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ)KC>@Q $O3@ELKCBIAC>FIPQLBSBK

   PQ>QB TEBQEBOEFPLMFKFLKFPQE>Q @I>FJIFJFQ>QFLKP>KALC !PPBOQBA#I>FJLCQEB `

   0>QBKQTBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRPTEBQEBOEFPLMFKFLKFPQE>Q

   @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQTBOBLKIV;.7-.;.-8+?28><

                                                          
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 70 of 139
              +!  &%!'$!&&!$ +%O+%! +


    ?VQEB"LPB,FCBPQVIB3VPQBJ!KA>ILKDPFJFI>OIFKBP $O3@ELKCBIAKBSBOLK@B>OQF@RI>QBP

    TE>QEB@LKPFABOPQL?BQEB@I>FJBA^PB@LKAOBNRBPQQL@OB>QB>PB@LKAWLKBP@BKB_FKQEB"LPB

    ,FCBPQVIB3VPQBJ&LOQEBPBOB>PLKP )AFP>DOBBQE>Q$O3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC

    @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ>JLRKQPQL>ABQ>FIBA>KA

    @LJMIBQB PQ>QBJBKQ LC >II LMFKFLKP QL ?B BUMOBPPBA >KA QEB ?>PFP >KA OB>PLKP QEBOBCLO  TEF@E )

    RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q ?>OB?LKBP AFP@RPPFLK E>P

    MOBGRAF@BA JV >?FIFQV QL CRIIV AFP@BOK  >PPBPP  >KA OBPMLKA QL EFP LMFKFLKP OBD>OAFKD @I>FJ

    IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

             7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

   a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

   QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

   LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

   >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

   FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

   @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                            D77   &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A   

            7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

   OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

   QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 71 of 139
             +!  &%!'$!&&!$ +%O+%! +

             -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
           CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
           LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
             JBAF>FKAFSFAR>IIV
 
                     [
 
                     - . ?>PBALKQEBPB@LKAOBNRBPQ F @>RPFKD@OB>QFLKLCQEBPB@LKAWLKBP@BKB 
                   FF @>RPFKD>KFKAF@>QFLKLCQEBPB@LKAWLKBP@BKBQL?BQO>KPJFQQBAQLQEBCFOPQWLKB
                     MI>VBO >KAFFF @>RPFKDPQLO>DBLCQEBPB@LKAWLKBP@BKB
 

            )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ
            !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB 0BOPLK>I
    -RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLK
   PR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB
   ,FCBPQVIB3VPQBJT>PLKIV@>M>?IBLCCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E>OBKLQ
   QEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFPOB>PLK QEB0BOPLK>I
   -RPF@ #BKQBO >KA >KV LQEBO @LKQOLIIBO QE>Q $O 3@ELKCBIA J>V ?B OBIVFKD LK PR@E >P QEB
   @LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB
   3VPQBJAFAKLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL^F @>RP;B<@OB>QFLKLCQEBPB@LKAWLKB
   P@BKB FF @>RP;B<>KFKAF@>QFLKLCQEBPB@LKAWLKBP@BKBQL?BQO>KPJFQQBAQLQEBCFOPQ;,FCBPQVIB
   MI>VBO< >KAFFF @>RP;B<PQLO>DBLCQEBPB@LKAWLKBP@BKB_
           -LOBLSBO QEBE>OA @LABA^(/53%_LMQFLKLCQEB"LPB,FCBPQVIB3VPQBJQE>Q
   FPOBIFBARMLK?V$O3@ELKCBIA>?LSBC>FIPQLJBBQQEBPBIFJFQ>QFLKPCLOQEB>AAFQFLK>IOB>PLKQE>Q
   QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?B
   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 
   LCQEB"LPB,FCBPQVIB3VPQBJTLRIAE>SBKBSBOOB@BFSBA>KV^OBNRBPQQL@OB>QB_QEBE>OA @LABA
   ^(/53%_ LMQFLK >KA >IPL TLRIA E>SB KBSBO ^@>RP;BA< @OB>QFLK LC_ QEB E>OA @LABA ^(/53%_
   LMQFLK ^@>RP;BA<>KFKAF@>QFLKLC_QEBE>OA @LABA^(/53%_LMQFLKQL?B^QO>KPJFQQBAQLQEBCFOPQ
   ;,FCBPQVIBMI>VBO< _LO^@>RP;BA<PQLO>DBLC_QEBE>OA @LABA^(/53%_LMQFLK
           &ROQEBO @I>FJIFJFQ>QFLKP>KAOBNRFOBQEB^@LJMRQFKDABSF@B_QL@>OOVLRQ
   QEB@I>FJBA>@QFLKPTFQEOBPMB@QQL>^PB@LKAWLKBP@BKB_>Q>QFJBTEBKQEB^CFOPQWLKBMI>VBO_FP


                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 72 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ^LMBO>QFKDFK>PQ>KA>ILKBJLAB _TEF@EJB>KPQE>QQEB@OB>QBA^CFOPQWLKBP@BKB_JRPQ?BFK>K

    FK>@QFSBPQ>QB>QQEBQFJBQE>QQEFPCRK@QFLK>IFQVFP@>OOFBALRQLQEBOTFPB QEB^CFOPQWLKBMI>VBO_

    @LRIAKLQ?BFK^PQ>KA>ILKBJLAB_ (LTBSBO FKQEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IB

    CLO >K >A EL@ ^PE>OBA PLRO@B DOLRM_ QL BUFPQ FK >K FK>@QFSB PQ>QB FK TEF@E QEB JBJ?BOP LC QEB

    ^PE>OBA PLRO@B DOLRM_ @LRIA ?B RPBA CLO FKAFSFAR>I MI>V?>@H TEFIB QEB ^PE>OBA PLRO@B DOLRM_

    OBJ>FKBA>S>FI>?IBCLOPBIB@QFLK?V>RPBOO>QEBO >K>A EL@^PE>OBAPLRO@BDOLRM_LKIVOBJ>FKBA

    FKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@EFQT>P>@QFS>QBA >KALK@BAB>@QFS>QBA 

    QEB^PE>OBAPLRO@BDOLRM_TLRIA@B>PBQLBUFPQ

             &ROQEBO VBQ  FK QEB @LKQBUQ LC QEB PROOLRKAFKD @I>FJ I>KDR>DB > 0/3)4! TLRIA

   RKABOPQ>KA QE>Q @I>FJ IFJFQ>QFLKP  >KA  OBNRFOB QEB ^@LJMRQFKD ABSF@B_ QL @>OOV LRQ QEB

   @I>FJBA>@QFLKPTFQEOBPMB@QQL>^PB@LKAWLKBP@BKB_QE>QFK@IRABP>QIB>PQLKB@LJJLK^WLKB

   MI>VBO_TFQEQEB^CFOPQWLKBP@BKB_FB QEB@I>FJBA^CFOPQWLKBMI>VBO_ ?RQTFQELRQJLAFCVFKDLO

   ABPQOLVFKDQEB^CFOPQWLKBP@BKB_QE>QT>P@OB>QBA PR@EQE>QQEBLSBOI>MMFKD^CFOPQWLKBP@BKB_>KA

   ^PB@LKAWLKBP@BKB_@>KQEBOB>CQBO?LQE?B^AFPMI>V;BA<_QL>RPBOCLOPBIB@QFLK(LTBSBO FKQEB

   "LPB ,FCBPQVIB  3VPQBJ  FQ T>P KLQ MLPPF?IB QL @OB>QB > KBT >A EL@ ^PE>OBA PLRO@B DOLRM_

   @LJMOFPFKD>,FCBPQVIBMI>VBOQE>QT>P>IOB>AV>JBJ?BOLC>KLQEBOMOBBUFPQFKD^PE>OBAPLRO@B

   DOLRM_ TFQELRQ CFOPQ JLAFCVFKD LO ABPQOLVFKD QE>Q MOBBUFPQFKD ^PE>OBA PLRO@B DOLRM_  &LO QEFP

   >AAFQFLK>IOB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O

   3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF

   2LLJ)KQBOC>@B LCQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQV

   QL^F @>RP;B<@OB>QFLKLCQEBPB@LKAWLKBP@BKB FF @>RP;B<>KFKAF@>QFLKLCQEBCFOPQWLKBP@BKBQL

   ?BQO>KPJFQQBAQLQEBCFOPQ;,FCBPQVIBMI>VBO< >KAFFF @>RP;B<PQLO>DBLCQEBPB@LKAWLKBP@BKB _

   TEBOBQEB^PB@LKAWLKBP@BKB_FK@IRABP>QIB>PQLKB@LJJLK^,FCBPQVIBMI>VBO_TFQEQEB@OB>QBA

   ^CFOPQWLKBP@BKB_

            $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

   LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

   LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

   KLQE>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 73 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?V

    QEB "LPB ,FCBPQVIB   !.. 3@ELKCBIA /M 2BMLOQ >Q YY     (LTBSBO  ) CFKA $O

    3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC

    !PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

    ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

    PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

    

 




















               !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLO

      AFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa

      0>QBKQ(LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@B

      QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD ABSF@B_ @LKCFDROBA QL ^PBOS;B< >P >

      @LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLC

      QEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa

      0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLK

      LCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

      `0>QBKQ>MMIFBPQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ)KC>@Q 


                                                        
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 74 of 139
              +!  &%!'$!&&!$ +%O+%! +


    $O 3@ELKCBIA C>FIP QL BSBK PQ>QB TEBQEBO EFP LMFKFLK FP QE>Q @I>FJ IFJFQ>QFLKP  >KA  LC

    !PPBOQBA#I>FJLCQEB`0>QBKQTBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRP

    TEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

    TBOB LKIV ;.7-.;.- 8+?28>< ?V QEB "LPB ,FCBPQVIB  3VPQBJ  !KA >ILKD PFJFI>O IFKBP  $O

    3@ELKCBIAKBSBO>OQF@RI>QBPTE>QEB@LKPFABOPQL?BQEB@I>FJBACRK@QFLKPLC^F @>RPFKD@OB>QFLK

    LCQEBPB@LKAWLKBP@BKB FF @>RPFKD>KFKAF@>QFLKLCQEBPB@LKAWLKBP@BKBQL?BQO>KPJFQQBAQL

    QEBCFOPQWLKBMI>VBO >KAFFF @>RPFKDPQLO>DBLCQEBPB@LKAWLKBP@BKB_FKQEB"LPB,FCBPQVIB

    3VPQBJ  &LO QEBPB OB>PLKP  ) AFP>DOBB QE>Q $O 3@ELKCBIAaP ?>OB?LKBP AFP@RPPFLK LC @I>FJ

    IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQB

   PQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL

   ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q ?>OB?LKBP AFP@RPPFLK E>P MOBGRAF@BA JV

   >?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKPOBD>OAFKD@I>FJIFJFQ>QFLKP>KA

   LC!PPBOQBA#I>FJLCQEB`0>QBKQ

            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

   a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

   QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

   LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

   >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

   FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

   @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            &LO FKPQ>K@B  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ JBBQP

   IFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQRMLKTEF@EEBOBIFBPCLOIFJFQ>QFLKLC

   !PPBOQBA#I>FJLCQEBa0>QBKQ FP?>PBALKCRK@QFLK>IFQVQE>QFPKLQOBI>QBAQLLO@LJM>QF?IB

   TFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ>QYY )KABBA 

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 75 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >CQBOFK@LOMLO>QFKDEFPAFP@RPPFLKLCIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQTEF@E

    >IPL?>PBALKCRK@QFLK>IFQVQE>QFPKLQOBI>QBAQLLO@LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB

    3VPQBJFQPBIC >PBUMI>FKBA>?LSB $O3@ELKCBIAOBIFBPBU@IRPFSBIVLKCRK@QFLK>IFQVOBI>QBAQLQEB

    "LPBIFKH@LJJRKF@>QFLKMOLQL@LI TEF@E >PBUMI>FKBA>?LSB FPKLQRQFIFWBA?VLO@LJM>QF?IB

    TFQEQEB"LPB,FCBPQVIB3VPQBJ->QY@FQFKD"/3%=35"  >Q &LO

    QEBPBOB>PLKP>ILKB $O3@ELKCBIAaPQEBLOVFPCI>TBA>KAEBE>PC>FIBAQLMOLSBQE>QQEB>@QR>I

    "LPB,FCBPQVIB3VPQBJAFP@ILPBPQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQVLC@I>FJIFJFQ>QFLKP

    >KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

             &ROQEBOBU>JMIBPLCTEV$O3@ELKCBIAaP>K>IVPFPFPCI>TBA>OBPBQCLOQE?BILT 

   TEBOB)E>SBPBM>O>QBAOB>PLKPOBI>QBAQLQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA$O3@ELKCBIAaP

   >IIBDBA"LPB,FCBPQVIB3VPQBJ

                                      !@QR>I"LPB,FCBPQVIB3VPQBJ

            &FOPQ TEBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP

    >KA  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA OBIFBP BU@IRPFSBIV LK QEB

   CRK@QFLK>IFQVFKQEB"LPB,FCBPQVIB3VPQBJCLOCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E

   >OBKLQQEB@I>FJBA^WLKBP@BKBP_CLO>IILCQEBOB>PLKP)E>SBMOBSFLRPIVBUMI>FKBAFK3B@QFLK

   86#FFF

            3B@LKA TEBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQSF>QEBFK@LOMLO>QFLKLCEFPAFP@RPPFLKLCIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAAFAKLQFABKQFCV>KV^PB@LKAFKAF@>QFLKQE>Q

   QEBCFOPQWLKBMI>VBOE>P?BBK>AABAQL>PB@LKAWLKBP@BKB_!KACLOQEBP>JBOB>PLKPQE>Q)

   >IOB>AVBUMI>FKBA>?LSBFK@LKKB@QFLKTFQEQEB^FKAF@>QFLK_LCQEB^CFOPQWLKBP@BKB_LCIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ QEB"LPB,FCBPQVIB3VPQBJALBPKLQAFP@ILPB>K

   ^FKAF@>QFLK_LCQEB^PB@LKAWLKBP@BKB _>POBNRFOBA?VIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB

   a0>QBKQ

            4EFOA  BSBK PBQQFKD >PFAB QEB CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK > ^PE>OBA PLRO@B

   DOLRM_>KA>^WLKBP@BKB _$O3@ELKCBIAE>PKLQFABKQFCFBA>KA)E>SBKLQPBBK >KVBSFABK@BLC

   QEB0BOPLK>I-RPF@#BKQBOLO>KVLQEBOABSF@BFKQEB"LPB,FCBPQVIB3VPQBJ^@>RPFKDPQLO>DB_

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 76 of 139
             +!  &%!'$!&&!$ +%O+%! +


    LC>^PE>OBAPLRO@BDOLRM_

             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

    OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

    FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

    LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                              $O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJ

             &FOPQ )FK@LOMLO>QBJVAFP@RPPFLKLCIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa

    0>QBKQ>PFQOBI>QBPQL$O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJ TEF@EBUMI>FKPQE>Q 

   QEBCRK@QFLK>IFQV$O3@ELKCBIAOBIFBPLKOBI>QBAQLF QEB"LPB&OBBPM>@B%PVPQBJ FF PBQQFKD

   RM 3!  >KALO 3!  !JMIFCFBOP FK ^>AAFQFLK>I OLLJP_ RPFKD "LPB IFKH QB@EKLILDV LC > "LPB

   ^,FCBPQVIBPBOFBP)) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ _>KAFFF QEB"LPBIFKH

   @LJJRKF@>QFLKMOLQL@LIALBPKLQAFP@ILPBQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV QEB"LPB

   ,FKH@LJJRKF@>QFLKMOLQL@LIALBPKLQAFP@ILPBQEBQO>KPJFPPFLKLC>K^FKAF@>QFLK_LC>KVPLOQLC

   DOLRMLC,FCBPQVIBMI>VBOP IBQ>ILKB>K^FKAF@>QFLK_LC>^WLKBP@BKB_>KA QEBCRK@QFLK>IFQV

   QE>Q$O3@ELKCBIAOBIFBPLKOBI>QBAQLF QEB"LPB&OBBPM>@B%PVPQBJ FF PBQQFKDRM3! >KALO

   3! !JMIFCFBOPFK^>AAFQFLK>IOLLJP_RPFKD"LPBIFKHQB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP

   ))   PBOFBP ))   LO  ELJB BKQBOQ>FKJBKQ PVPQBJ _ >KA FFF  QEB "LPB IFKH @LJJRKF@>QFLK

   MOLQL@LIALBPKLQAFP@ILPB>^@LJMRQFKDABSF@B_^@>RPFKDPQLO>DB_LC>^PE>OBAPLRO@BDOLRM_LO

   PLJBLQEBODOLRMLC,FCBPQVIBMI>VBOP IBQ>ILKB^@>RPFKDPQLO>DB_LC>^WLKBP@BKB_

            3B@LKA  >IQELRDE RK@IB>O  $O 3@ELKCBIA >MMB>OP QL >PPBOQ QE>Q EFP >IIBDBA "LPB

   ,FCBPQVIB3VPQBJAFP@ILPBP>^@LJMRQFKDABSF@B_QE>QFPMOLDO>JJBATFQECRK@QFLK>I@>M>?FIFQV

   CLO@>RPFKDQEB@OB>QFLKLCQTLLSBOI>MMFKD^WLKBP@BKBP_QE>Q@L BUFPQTFQELKB>KLQEBO>KA>OB

   ?LQE>S>FI>?IBCLOPBIB@QFLK?V>RPBO>QQEBP>JBQFJB?>PBABU@IRPFSBIVLKQEBCLIILTFKDQEBLOV

   ^;4<EB "LPB ,FCBPQVIB BUMOBPPIV QB>@EBP J>K>DFKD QTL PBM>O>QB PQOB>JFKD PLRO@BP >Q LKB QFJB 

   PR@E QE>Q OLLJ ! @>K LMBO>QB LK PQOB>J   >KA OLLJ " @>K LMBO>QB PQOB>J   CLO BU>JMIB_

   3@ELKCBIA/M2BMLOQ>QY(LTBSBO QEFPQEBLOVFPCI>TBACLO>IIQEBOB>PLKP)BUMI>FKBA

   >?LSBFK3B@QFLK86#FFF

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 77 of 139
             +!  &%!'$!&&!$ +%O+%! +


             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

    OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

    FK$O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA

    ?VIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ

                             D777   &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A   

             7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

    OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

    QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 

           -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
              CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
           LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
              JBAF>FKAFSFAR>IIV

                      [


                   - . AFPMI>VFKD>OBMOBPBKQ>QFLKLCQEBCFOPQWLKBP@BKB>KA>OBMOBPBKQ>QFLKLC
                      QEBPB@LKAWLKBP@BKB>KA


            )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ

            !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB "LPB

   ,FCBPQVIB3VPQBJLKIVMOLSFABARPBOPTFQEQEB>?FIFQVQLCLOJ>KARPB>A EL@^PE>OBAPLRO@B

   DOLRMP _TEF@E>OBKLQQEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFP

   OB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIA

   J>V ?B OBIVFKD LK PR@E >P QEB @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ

   )KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KVCRK@QFLK>I@>M>?FIFQVCLO^AFPMI>VFKD>

   OBMOBPBKQ>QFLK_LC>^WLKBP@BKB_\IBQ>ILKBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVCLO^AFPMI>VFKD>

   OBMOBPBKQ>QFLKLCQEBCFOPQWLKBP@BKB>KA>OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB_FK>J>KKBO

   QE>Q>IILTP>RPBOQLPBIB@Q?BQTBBKQEBJCLOMROMLPBPLCOBNRBPQFKDFKSL@>QFLK

            &ROQEBO >PBUMI>FKBA>?LSB QEB^CFOPQWLKBP@BKB_>KAQEB^PB@LKAWLKBP@BKB_

   CLOTEF@EQEB^OBMOBPBKQ>QFLK;P<_>OB^AFPMI>V;BA<_>OBOBNRFOBAQLLSBOI>MTFQELKB>KLQEBO?V

   FK@IRAFKD>QIB>PQLKB@LJJLK^WLKBMI>VBO_FB QEB@I>FJBA^CFOPQWLKBMI>VBO_ (LTBSBO FK

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 78 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IBCLOQTL>A EL@^PE>OBAPLRO@BDOLRMP_QLLSBOI>M

    TFQELKB>KLQEBOO>QEBO B>@E,FCBPQVIBMI>VBO@LRIALKIV?B>JBJ?BOLC>PFKDIB^PE>OBAPLRO@B

    DOLRM_>Q>KVDFSBKQFJB4ERP CLOQEFP>AAFQFLK>IOB>PLK >3LKLP@LKQOLIIBOFKQEB"LPB,FCBPQVIB

    3VPQBJAFAKLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL^AFPMI>V;<>OBMOBPBKQ>QFLKLCQEBCFOPQ

    WLKBP@BKB>KA>OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB_

             &ROQEBO VBQ  @I>FJ IFJFQ>QFLKP  >KA  OBNRFOB QEB ^@LJMRQFKD ABSF@B_ QL

    ^AFPMI>V;<>OBMOBPBKQ>QFLKLCQEBCFOPQWLKBP@BKB>KA>OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB_

    >Q>QFJBTEBKQEB^CFOPQWLKBMI>VBO_FP^LMBO>QFKDFK>PQ>KA>ILKBJLAB _TEF@EJB>KPQE>QQEB

    ^CFOPQWLKBP@BKB_>KAQEB^PB@LKAWLKBP@BKB_?LQEJRPQ?BFK>KFK>@QFSBPQ>QB>QQEBQFJBQE>Q

   QEB ^OBMOBPBKQ>QFLK;P<_ >OB ^AFPMI>V;BA<_ LQEBOTFPB  QEB ^CFOPQ WLKB MI>VBO_ @LRIA KLQ ?B FK

   ^PQ>KA>ILKBJLAB_ (LTBSBO FKQEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IBCLO>K>A EL@

   ^P>SBA PLRO@B DOLRM_ QL BUFPQ FK >K FK>@QFSB PQ>QB FK TEF@E QEB JBJ?BOP LC QEB ^PE>OBA PLRO@B

   DOLRM_@LRIA?BRPBACLOFKAFSFAR>IMI>V?>@HTEFIBQEB^PE>OBAPLRO@BDOLRM_OBJ>FKBA>S>FI>?IB

   CLOPBIB@QFLK?V>RPBOO>QEBO >K>A EL@^PE>OBAPLRO@BDOLRM_LKIVOBJ>FKBAFKBUFPQBK@BCLOQEB

   QBJMLO>OVMBOFLALCQFJBAROFKDTEF@EFQT>P>@QFS>QBA >KALK@BAB>@QFS>QBA QEB^PE>OBAPLRO@B

   DOLRM_ TLRIA @B>PB QL BUFPQ  -LOBLSBO  TEFIB QEB 0BOPLK>I -RPF@ 3VPQBJ T>P @>M>?IB LC

   AFPMI>VFKDQEBE>OA @LABA^(/53%_LMQFLK>Q>QFJBTEBK>,FCBPQVIBMI>VBOT>PLMBO>QFKDFK

   PQ>KA>ILKB JLAB  F  QEB E>OA @LABA ^(/53%_ LMQFLK T>P KLQ > ^WLKB P@BKB_ CLO QEB OB>PLKP

   BUMI>FKBA>?LSB>KAFF QEBE>OA @LABA^(/53%_LMQFLK>ILKB@>KKLQMLPPF?IVJBBQQEB@I>FJBA

   OBNRFOBJBKQLCAFPMI>VFKD^OBMOBPBKQ>QFLKP_LCJRIQFMIBLSBOI>MMFKD^WLKBP@BKBP_

            $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

   LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

   LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B QEB"LPB,FCBPQVIB3VPQBJAFAKLQ

   E>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP

   >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?VQEB

   "LPB ,FCBPQVIB  3VPQBJ  !.. 3@ELKCBIA /M 2BMLOQ >Q YY     (LTBSBO  ) CFKA $O

   3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC

   !PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 79 of 139
             +!  &%!'$!&&!$ +%O+%! +


             !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

    ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

 

 

 

 

 

 

 







   PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

            !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLO

   AFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa

   0>QBKQ(LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@B

   QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD ABSF@B_ @LKCFDROBA QL ^PBOS;B< >P >

   @LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLC

   QEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa

   0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLK

   LCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

   `0>QBKQ>MMIFBPQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ)KC>@Q 

   $O 3@ELKCBIA C>FIP QL BSBK PQ>QB TEBQEBO EFP LMFKFLK FP QE>Q @I>FJ IFJFQ>QFLKP  >KA  LC

   !PPBOQBA#I>FJLCQEB`0>QBKQTBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRP

   TEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

   TBOB LKIV ;.7-.;.- 8+?28>< ?V QEB "LPB ,FCBPQVIB  3VPQBJ  !KA >ILKD PFJFI>O IFKBP  $O

   3@ELKCBIAKBSBO>OQF@RI>QBPTE>QEB@LKPFABOPQL?BQEBAFPMI>VBA^OBMOBPBKQ>QFLKLCQEBCFOPQWLKB

   P@BKB_LOQEBAFPMI>VBA^OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB_FKQEB"LPB,FCBPQVIB3VPQBJ

                                                           
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 80 of 139
              +!  &%!'$!&&!$ +%O+%! +


    &LOQEBPBOB>PLKP )AFP>DOBBQE>Q$O3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC@I>FJIFJFQ>QFLKP

    >KALC!PPBOQBA#I>FJLCQEB`0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>II

    LMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL?BQEBDLSBOKFKD

    PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q ?>OB?LKBP AFP@RPPFLK E>P MOBGRAF@BA JV >?FIFQV QL CRIIV

    AFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKPOBD>OAFKD@I>FJIFJFQ>QFLKP>KALC!PPBOQBA

    #I>FJLCQEB`0>QBKQ

             7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

    a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

    QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

   LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

   >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

   FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

   @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            &LOFKPQ>K@B >PBUMI>FKBA>?LSB $O3@ELKCBIAaPLMFKFLKQE>QQEB"LPB,FCBPQVIB

   3VPQBJJBBQPIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQRMLKTEF@EEB

   OBIFBPCLOIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQ FP?>PBALKCRK@QFLK>IFQVQE>QFPKLQ

   OBI>QBAQLLO@LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ

   >QYY &LOQEBPBOB>PLKP>ILKB $O3@ELKCBIAaPQEBLOVFPCI>TBA>KAEBE>PC>FIBAQLMOLSB

   QE>QQEB>@QR>I"LPB,FCBPQVIB3VPQBJAFP@ILPBPQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQVLC@I>FJ

   IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

            &ROQEBOBU>JMIBPLCTEV$O3@ELKCBIAaP>K>IVPFPFPCI>TBA>OBPBQCLOQE?BILT 

   TEBOB)E>SBPBM>O>QBAOB>PLKPOBI>QBAQLQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA$O3@ELKCBIAaP

   >IIBDBA"LPB,FCBPQVIB3VPQBJ

                                       !@QR>I"LPB,FCBPQVIB3VPQBJ

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 81 of 139
             +!  &%!'$!&&!$ +%O+%! +


             &FOPQ TEBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP

     >KA  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA OBIFBP BU@IRPFSBIV LK QEB

    CRK@QFLK>IFQVFKQEB"LPB,FCBPQVIB3VPQBJCLOCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E

    >OBKLQQEB@I>FJBA^WLKBP@BKBP_CLO>IILCQEBOB>PLKP)E>SBMOBSFLRPIVBUMI>FKBAFK3B@QFLK

    86#FFF

             3B@LKA BSBKPBQQFKD>PFABQEBCRKA>JBKQ>IAFCCBOBK@BP?BQTBBK>^PE>OBAPLRO@B

    DOLRM_>KA>^WLKBP@BKB _$O3@ELKCBIAE>PKLQFABKQFCFBA>KA)E>SBKLQPBBK >KVBSFABK@BLC

    QEB 0BOPLK>I -RPF@ #BKQBO LO >KV LQEBO ABSF@B FK QEB "LPB ,FCBPQVIB  3VPQBJ AFPMI>VFKD

    OBMOBPBKQ>QFLKPLCQTLAFCCBOBKQ^PE>OBAPLRO@BDOLRMP_E>SFKD>@LJJLKJBJ?BOFK>J>KKBO

   QE>Q>IILTP>RPBOQLPBIB@Q?BQTBBKQEBQTL^PE>OBAPLRO@BDOLRMP_CLOMROMLPBPLCOBNRBPQFKD

   FKSL@>QFLK)KABBA >IQELRDERK@IB>O QLQEBBUQBKQ$O3@ELKCBIAFPOBIVFKDLK>^PE>OBAPLRO@B

   DOLRM_QE>QFP@OB>QBARPFKDQEB^2//-_?RQQLK>PLKBLCQEBQTLLSBOI>MMFKD^WLKBP@BKBP _)

   E>SBKLQPBBK>KVBSFABK@BQE>QQEB^FKAF@>QLOP_CLOPR@E>^PE>OBAPLRO@BDOLRM_BD                    

   QE>Q >OB AFPMI>VBA ?V QEB 0BOPLK>I -RPF@ #BKQBO >OB PBIB@Q>?IB CLO >KV MROMLPB  IBQ >ILKB CLO

   MROMLPBPLCOBNRBPQFKDFKSL@>QFLK!.."/3%=35" >Q

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                             $O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJ

            &FOPQ FKEFPPB@QFLKAFP@RPPFKDEFP>IIBDBASBOPFLKLCQEB"LPB,FCBPQVIB3VPQBJ

   >KA @I>FJ IFJFQ>QFLK  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA OBIFBP LK

   CRK@QFLK>IFQVOBI>QBAQLF QEB"LPB&OBBPM>@B%PVPQBJ3@ELKCBIA/M2BMLOQ>QY@FQFKD

   "/3%=35" >Q>KA"/3%=35" >Q  FF PBQQFKDRM3! >KALO

   3! !JMIFCFBOPFK^>AAFQFLK>IOLLJP_RPFKD"LPBIFKHQB@EKLILDVLC>"LPB^,FCBPQVIBPBOFBP

   )) PBOFBP)) LOELJBBKQBOQ>FKJBKQPVPQBJ_2->QY@FQFKD"/3%=35" 

    >Q      >KA "/3%=35"   >Q    >KA FFF  QEB "LPB IFKH

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 82 of 139
             +!  &%!'$!&&!$ +%O+%! +


    @LJJRKF@>QFLKMOLQL@LI2->QY@FQFKD"/3%=35"  >Q  (LTBSBO 

    >P)E>SB>IOB>AVBUMI>FKBA>?LSBFK3B@QFLK86#FFF QEBCRK@QFLK>IFQVQE>QEBOBIFBPLKCLOQEBPB

    S>OFLRP"LPBMOLAR@QPALBPKLQAFP@ILPBQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV

            3B@LKA $O3@ELKCBIAE>PKLQFABKQFCFBA>KA)E>SBKLQPBBK >KVBSFABK@BLC>

    ^@LJMRQFKD ABSF@B_ FK $O 3@ELKCBIAaP >IIBDBA "LPB ,FCBPQVIB  3VPQBJ AFPMI>VFKD

    OBMOBPBKQ>QFLKPLCQTLAFCCBOBKQ^PE>OBAPLRO@BDOLRMP_E>SFKD>@LJJLKJBJ?BOFK>J>KKBO

    QE>Q>IILTP>RPBOQLPBIB@Q?BQTBBKQEBQTL^PE>OBAPLRO@BDOLRMP_CLOMROMLPBPLCOBNRBPQFKD

    FKSL@>QFLK

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FK$O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA

   ?VIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ

                           7F    &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<A    

           7EBKOB>AQLDBQEBO IFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQ

   OBNRFOBQEB^@LJMRQFKDABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPB

   QEB@LJMRQFKDABSF@BQLMBOCLOJQEBCLIILTFKDCRK@QFLKP 

          -  . TEFIBPBOSFKD>P>@LKQOLIIBOCLO>KBQTLOHBAJBAF>MI>V?>@HPVPQBJ@LJMOFPFKD>
             CFOPQ WLKB MI>VBO >KA >Q IB>PQ QTL LQEBO WLKB MI>VBOP  TEBOBFK QEB CFOPQ WLKB MI>VBO FP
          LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQLMI>V?>@H
             JBAF>FKAFSFAR>IIV

                     [


                  -  . TEFIB AFPMI>VFKD QEB OBMOBPBKQ>QFLK LC QEB CFOPQ WLKB P@BKB >KA QEB
                     OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB OB@BFSFKD>QEFOAOBNRBPQQLFKSLHBQEBCFOPQ
                  WLKBP@BKB>KA


              )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ

              !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB "LPB

      ,FCBPQVIB3VPQBJLKIVMOLSFABARPBOPTFQEQEB>?FIFQVQLCLOJ>KARPB>A EL@^PE>OBAPLRO@B

      DOLRMP _TEF@E>OBKLQQEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFP


                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 83 of 139
             +!  &%!'$!&&!$ +%O+%! +


    OB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIA

    J>V ?B OBIVFKD LK PR@E >P QEB @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ

    )KQBOC>@B  FK QEB "LPB ,FCBPQVIB  3VPQBJ AFA KLQ E>SB >KV CRK@QFLK>I @>M>?FIFQV CLO BFQEBO

    ^AFPMI>VFKD>OBMOBPBKQ>QFLK_LC>^WLKBP@BKB_LOOB@BFSFKD>^OBNRBPQQLFKSLHB_>^WLKBP@BKB_

    \IBQ>ILKBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVCLO^TEFIBAFPMI>VFKDQEBOBMOBPBKQ>QFLKLCQEBCFOPQ

    WLKBP@BKB>KAQEBOBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB OB@BFSFKD>QEFOAOBNRBPQQLFKSLHBQEB

    CFOPQWLKBP@BKB_

             &ROQEBO >PBUMI>FKBA>?LSB QEB^CFOPQWLKBP@BKB_>KAQEB^PB@LKAWLKBP@BKB_CLO

    TEF@E QEB ^OBMOBPBKQ>QFLK;P<_ >OB ^AFPMI>V;BA<_ >OB OBNRFOBA QL LSBOI>M TFQE LKB >KLQEBO ?V

   FK@IRAFKD>QIB>PQLKB@LJJLK^WLKBMI>VBO_FB QEB@I>FJBA^CFOPQWLKBMI>VBO_ (LTBSBO FK

   QEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IBCLOQTL>A EL@^PE>OBAPLRO@BDOLRMP_QLLSBOI>M

   TFQELKB>KLQEBOO>QEBO B>@E,FCBPQVIBMI>VBO@LRIALKIV?B>JBJ?BOLC>PFKDIB^PE>OBAPLRO@B

   DOLRM_>Q>KVDFSBKQFJB4ERP CLOQEFP>AAFQFLK>IOB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KV

   LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

   LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

   KLQE>SBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVQL^TEFIBAFPMI>VFKDQEBOBMOBPBKQ>QFLKLCQEBCFOPQWLKB

   P@BKB>KAQEBOBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB OB@BFSFKD>QEFOAOBNRBPQQLFKSLHBQEBCFOPQ

   WLKBP@BKB_

            &ROQEBOVBQ @I>FJIFJFQ>QFLKP>KAOBNRFOBQEB^@LJMRQFKDABSF@B_QL?B

   ^AFPMI>VFKDQEBOBMOBPBKQ>QFLKLCQEBCFOPQWLKBP@BKB>KAQEBOBMOBPBKQ>QFLKLCQEBPB@LKAWLKB

   P@BKB_>KAQL^OB@BFS;B<>QEFOAOBNRBPQQLFKSLHBQEBCFOPQWLKBP@BKB_>Q>QFJBTEBKQEB^CFOPQ

   WLKBMI>VBO_FP^LMBO>QFKDFK>PQ>KA>ILKBJLAB _TEF@EJB>KPQE>QQEB^CFOPQWLKBP@BKB_>KAQEB

   ^PB@LKAWLKBP@BKB_?LQEJRPQ?BFK>KFK>@QFSBPQ>QB>QQEBQFJBQE>QQEFPCRK@QFLK>IFQVFP@>OOFBA

   LRQLQEBOTFPB QEB^CFOPQWLKBMI>VBO_@LRIAKLQ?BFK^PQ>KA>ILKBJLAB_ (LTBSBO FKQEB"LPB

   ,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IBCLO>K>A EL@^PE>OBAPLRO@BDOLRM_QLBUFPQFK>KFK>@QFSB

   PQ>QBFKTEF@EQEBJBJ?BOPLCQEB^PE>OBAPLRO@BDOLRM_@LRIA?BRPBACLOFKAFSFAR>IMI>V?>@H

   TEFIB QEB ^PE>OBA PLRO@B DOLRM_ OBJ>FKBA >S>FI>?IB CLO PBIB@QFLK ?V > RPBO O>QEBO  >K >A EL@

   ^PE>OBAPLRO@BDOLRM_LKIVOBJ>FKBAFKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@E

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 84 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FQT>P>@QFS>QBA >KALK@BAB>@QFS>QBA QEB^PE>OBAPLRO@BDOLRM_TLRIA@B>PBQLBUFPQ-LOBLSBO 

    TEFIBQEB0BOPLK>I-RPF@#BKQBOT>P@>M>?IBLCAFPMI>VFKDQEBE>OA @LABA^(/53%_LMQFLK>Q>

    QFJB TEBK > ,FCBPQVIB MI>VBO T>P LMBO>QFKD FK PQ>KA>ILKB JLAB  F  QEB E>OA @LABA ^(/53%_

    LMQFLKT>PKLQ>^WLKBP@BKB_CLOQEBOB>PLKPBUMI>FKBA>?LSB>KAFF QEBE>OA @LABA^(/53%_

    LMQFLK >ILKB @>KKLQ MLPPF?IV JBBQ QEB @I>FJBA OBNRFOBJBKQ LC AFPMI>VFKD ^OBMOBPBKQ>QFLKP_ LC

    JRIQFMIBLSBOI>MMFKD^WLKBP@BKBP_

             3QFIICROQEBO FKQEB@LKQBUQLCQEBPROOLRKAFKD@I>FJI>KDR>DB >0/3)4!TLRIA

    RKABOPQ>KA QE>Q @I>FJ IFJFQ>QFLKP  >KA  OBNRFOB QEB ^@LJMRQFKD ABSF@B_ QL OB@BFSB QEB

    ^OBNRBPQQLFKSLHBQEBCFOPQWLKBP@BKB_>QPLJBMLFKQFKQFJBQE>QFPI>QBOQE>KTEBKFQOB@BFSBAQEB

   ^OBNRBPQ QL @OB>QB ;QEB< CFOPQ WLKB P@BKB_ >KA QEB CFOPQ WLKB P@BKB_ T>P @OB>QBA ?>PBA LK QE>Q

   ^OBNRBPQ_)KABBA >Q>JFKFJRJ QEBOBJRPQ?B>QFJBD>M?BQTBBKQEBQFJBTEBKQEB^@LJMRQFKD

   ABSF@B_OB@BFSBAQEB^OBNRBPQQL@OB>QB;QEB<CFOPQWLKBP@BKB_>KAQEBQFJBTEBKQEB^@LJMRQFKD

   ABSF@B_OB@BFSBAQEB^OBNRBPQQLFKSLHBQEBCFOPQWLKBP@BKB_QE>QFPILKDBKLRDEQL>IILTF QEB

   ^CFOPQWLKBP@BKB_QL?B@OB>QBA FF QEB^@LJMRQFKDABSF@B_QLAFPMI>V^OBMOBPBKQ>QFLK;P<_LCQEB

   ^CFOPQ WLKB P@BKB_ >P TBII >P QEB ^PB@LKA WLKB P@BKB _ >KA FFF  > RPBO QL SFBT QEB AFPMI>VBA

   ^OBMOBPBKQ>QFLK;P<_LCQEB^CFOPQWLKBP@BKB_>KA^PB@LKAWLKBP@BKB_>KAQEBKFKMRQQEB^OBNRBPQ

   QLFKSLHBQEBCFOPQWLKBP@BKB_(LTBSBO FKQEB"LPB,FCBPQVIB3VPQBJ QEB0BOPLK>I-RPF@

   #BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>P

   QEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB

    3VPQBJ TLRIA E>SB LKIV OB@BFSBA > PFKDIB OBNRBPQ QE>Q PBOSBA QL ?LQE @OB>QB >KA FKSLHB >

   ^PE>OBAPLRO@BDOLRM_\FQTLRIAE>SBKBSBOOB@BFSBA>KFKFQF>I^OBNRBPQQL@OB>QB_>^PE>OBAPLRO@B

   DOLRM_CLIILTBA?VPLJBI>QBO PBM>O>QB^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_4EFPFP

   ?B@>RPB>K>A EL@^PE>OBAPLRO@BDOLRM_T>P>RQLJ>QF@>IIVFKSLHBA>QQEBQFJBLCFQP@OB>QFLK>KA

   QEBKLKIVOBJ>FKBAFKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@EFQT>PFK>K>@QFSB

   PQ>QB >CQBOTEF@EQFJBQEB^PE>OBAPLRO@BDOLRM_TLRIA@B>PBQLBUFPQ4ERP FKQEB"LPB,FCBPQVIB

   3VPQBJ QEBOBTLRIAE>SBKBSBO?BBK>MBOFLALCQFJBAROFKDTEF@E>^PE>OBAPLRO@BDOLRM_

   T>P@OB>QBA>KAFKBUFPQBK@B?RQT>PFK>KFK>@QFSB RKFKSLHBAPQ>QBPR@EQE>Q>RPBOT>PMOBPBKQBA

   TFQE>KLMQFLKQL^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 85 of 139
             +!  &%!'$!&&!$ +%O+%! +


             $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

    LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

    LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B QEB"LPB,FCBPQVIB3VPQBJAFAKLQ

    E>SB>KV^WLKBP@BKBP_@>M>?FIFQV $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q@I>FJIFJFQ>QFLKP

    >KALC!PPBOQBA#I>FJLCQEBa0>QBKQTBOBBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?VQEB

    "LPB ,FCBPQVIB  3VPQBJ  !.. 3@ELKCBIA /M 2BMLOQ >Q YY     (LTBSBO  ) CFKA $O

    3@ELKCBIAaPLMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KA

    LC!PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEBa0>QBKQFP

   PELTKFKQEBP@OBBKPELQP?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ























           

            !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLO

   AFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa

   0>QBKQ(LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@B

   QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD ABSF@B_ @LKCFDROBA QL ^PBOS;B< >P >

   @LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLC

                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 86 of 139
              +!  &%!'$!&&!$ +%O+%! +


    QEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa

    0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLK

    LCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB

    `0>QBKQ>MMIFBPQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ)K

    C>@Q $O3@ELKCBIAC>FIPQLBSBKPQ>QBTEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KALC

    !PPBOQBA#I>FJLCQEB`0>QBKQTBOB>@QR>IIV-2<,58<.-?VQEB"LPB,FCBPQVIB3VPQBJSBOPRP

    TEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

    TBOB LKIV ;.7-.;.- 8+?28>< ?V QEB "LPB ,FCBPQVIB  3VPQBJ  !KA >ILKD PFJFI>O IFKBP  $O

    3@ELKCBIAKBSBO>OQF@RI>QBPTE>QEB@LKPFABOPQL?BQEBAFPMI>VBA^OBMOBPBKQ>QFLKLCQEBCFOPQWLKB

   P@BKB _QEBAFPMI>VBA^OBMOBPBKQ>QFLKLCQEBPB@LKAWLKBP@BKB _LOQEB^QEFOAOBNRBPQQLFKSLHBQEB

   CFOPQ WLKB P@BKB_ FK QEB "LPB ,FCBPQVIB  3VPQBJ  &LO QEBPB OB>PLKP  ) AFP>DOBB QE>Q $O

   3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`

   0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP

   >KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL?BQEBDLSBOKFKDPQ>KA>OACLOBUMBOQOBMLOQP >KAQE>Q

   ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP

   OBD>OAFKD@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJLCQEB`0>QBKQ

            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

   a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

   QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKP>KALC!PPBOQBA#I>FJ

   LCQEBa0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB

   >@QR>I"LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP

   >PMB@QP LC QEBPB @I>FJ IFJFQ>QFLKP  >KA QE>Q EFP >K>IVPFP FP MOBJFPBA LK ?LQE >K FK@LOOB@Q

   FKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD

   @E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            &LO FKPQ>K@B  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ JBBQP

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 87 of 139
             +!  &%!'$!&&!$ +%O+%! +


    IFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQRMLKTEF@EEBOBIFBPCLOIFJFQ>QFLKLC

    !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  FP ?>PBA FK M>OQ LK CRK@QFLK>IFQV QE>Q FP KLQ OBI>QBA QL LO

    @LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M2BMLOQ>QYY

      )KABBA   $O 3@ELKCBIA OBIFBP LK CRK@QFLK>IFQV OBI>QBA QL QEB "LPB IFKH @LJJRKF@>QFLK

    MOLQL@LI TEF@E >PBUMI>FKBA>?LSB FPKLQRQFIFWBA?VLO@LJM>QF?IBTFQEQEB"LPB,FCBPQVIB

    3VPQBJ->QY@FQFKD"/3%=35"  >Q  &LOQEBPBOB>PLKP>ILKB $O

    3@ELKCBIAaPQEBLOVFPCI>TBA>KAEBE>PC>FIBAQLMOLSBQE>QQEB>@QR>I"LPB,FCBPQVIB3VPQBJ

    AFP@ILPBP QEB @I>FJBA ^WLKB P@BKB_ CRK@QFLK>IFQV LC @I>FJ IFJFQ>QFLKP  >KA  LC !PPBOQBA

    #I>FJLCQEBa0>QBKQ

            &ROQEBOBU>JMIBPLCTEV$O3@ELKCBIAaP>K>IVPFPFPCI>TBA>OBPBQCLOQE?BILT 

   TEBOB)E>SBPBM>O>QBAOB>PLKPOBI>QBAQLQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA$O3@ELKCBIAaP

   >IIBDBA"LPB,FCBPQVIB3VPQBJ

                                        !@QR>I"LPB,FCBPQVIB3VPQBJ

            7EBKAFP@RPPFKDQEB>@QR>I"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKLC

   !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA @FQBP AFP@ILPROB >?LRQ QEB 0BOPLK>I -RPF@

   #BKQBOLCQEB"LPB,FCBPQVIB3VPQBJ>KAPQ>QBPQE>Q^>RPBOJ>VPBIB@Q>PVK@EOLKFW>QFLKDOLRM

   CLOMI>V?>@HRPFKDQEB2LLJ?RQQLK;LCQEB0BOPLK>I-RPF@#BKQBO< >KARPBQEBMI>V?>@H@LKQOLIP

   QL@>RPB"LPB,FCB3QVIBQLLMBO>QB>P>PVK@EOLKLRPMI>V?>@HDOLRM_!..3@ELKCBIA/M2BMLOQ

   >QY@FQFKD"/3%=35"  >Q !IQELRDE RK@IB>O $O3@ELKCBIA>MMB>OPQL?B

   PRDDBPQFKDQE>QQEB0BOPLK>I-RPF@#BKQBOAFP@ILPBPQEB^KBQTLOHABSF@B_LCIFJFQ>QFLK>KA

   QE>Q FKOBPMLKPBQL>PBIB@QFLKJ>ABRPFKDQEB^2LLJ?RQQLK_LOFKOBPMLKPBQL>RPBO^RP;FKD<

   MI>V?>@H @LKQOLIP _ QEB 0BOPLK>I -RPF@ #BKQBO >KALO QEB -RIQF 2LLJ )KQBOC>@B QO>KPJFQP QEB

   @I>FJBA^FKPQOR@QFLKQLLMBO>QBFK>@@LOA>K@BTFQE>DFSBKLKBLCQEBCFOPQ>KAPB@LKAWLKBP@BKBP_

   QL > ,FCBPQVIB MI>VBO FK ^> PVK@EOLKFW>QFLK DOLRM_ QL @>RPB QEB ,FCBPQVIB MI>VBO QL LMBO>QB FK

   >@@LOA>K@BTFQEQEB^PVK@EOLKFW>QFLKDOLRM_(LTBSBO CLOPFJFI>OOB>PLKPQLQELPB)BUMI>FKBA

   FKJVa2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ QEFPQEBLOVFPCI>TBA

   CLOPBSBO>IOB>PLKP

            &FOPQ  QEFP AFP@RPPFLK LC QEB "LPB ,FCBPQVIB  3VPQBJ OBIFBP BU@IRPFSBIV LK QEB

                                                            
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 88 of 139
             +!  &%!'$!&&!$ +%O+%! +


    CRK@QFLK>IFQVFKQEB"LPB,FCBPQVIB3VPQBJCLOCLOJFKD>A EL@^PE>OBAPLRO@BDOLRMP _TEF@E

    >OBKLQQEB@I>FJBA^WLKBP@BKBP_CLO>IILCQEBOB>PLKP)E>SBMOBSFLRPIVBUMI>FKBAFK3B@QFLK

    86#FFF4ERP QEFP>IIBDBACRK@QFLK>IFQV@>KKLQJBBQQEB@I>FJBAOBNRFOBJBKQLCOB@BFSFKD>

    ^OBNRBPQQLFKSLHB_>^WLKBP@BKB_

             3B@LKA  BSBK PBQQFKD >PFAB QEB LQEBO CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK > ^PE>OBA

    PLRO@B DOLRM_ >KA > ^WLKB P@BKB _ KBFQEBO QEB RPBO >@QFLK LC >IIBDBAIV PBIB@QFKD > MOBSFLRPIV

    @OB>QBA ^PE>OBA PLRO@B DOLRM_ SF> QEB 0BOPLK>I -RPF@ #BKQBO KLO QEB RPBO >@QFLK LC RPFKD QEB

    ^MI>V?>@H@LKQOLIP_CLOQEBPBIB@QBA^PE>OBAPLRO@BDOLRM_>JLRKQPQL>^OBNRBPQQLFKSLHB_QEB

    ^PE>OBAPLRO@BDOLRM_4EFPFP?B@>RPB>^PE>OBAPLRO@BDOLRM_T>P>RQLJ>QF@>IIVFKSLHBA>QQEB

   QFJBLCFQP@OB>QFLK>KAQEBKLKIVOBJ>FKBAFKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKD

   TEF@EFQT>PFK>K>@QFSBPQ>QB PLQEBOBTLRIAE>SBKBSBO?BBK>MBOFLALCQFJBAROFKDTEF@E>

   ^PE>OBAPLRO@BDOLRM_T>P@OB>QBA>KAFKBUFPQBK@B?RQT>PFK>KFK>@QFSB RKFKSLHBAPQ>QBPR@E

   QE>Q>RPBOT>PMOBPBKQBATFQE>KLMQFLKQL^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_4ERP 

   >QQEBQFJBQE>Q>^PE>OBAPLRO@BDOLRM_T>P>IIBDBAIVPBIB@QBASF>QEB0BOPLK>I-RPF@#BKQBO PR@E

   >^PE>OBAPLRO@BDOLRM_TLRIAE>SB>IOB>AV?BBK^FKSLHBA_>KAQERPPR@E>PBIB@QFLKT>PKLQ>

   ^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_2>QEBO QEBRPBOTLRIAE>SB?BBKPBIB@QFKD>K

   >IOB>AV FKSLHBA^PE>OBAPLRO@BDOLRM_CLOMROMLPBPLC@LKQOLIIFKDQE>Q>IOB>AV FKSLHBA^PE>OBA

   PLRO@BDOLRM _KLQ^OBNRBPQ;FKD<QLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_!KACLOPFJFI>OOB>PLKP 

   >KVPR?PBNRBKQRPBO>@QFLKFKQEBRPBOFKQBOC>@BTFQEOBPMB@QQLQEB^PE>OBAPLRO@BDOLRM _PR@E>P

   >KFKQBO>@QFLKTFQEQEB^MI>V?>@H@LKQOLIP _>IPLTLRIAKLQ>JLRKQQL>^OBNRBPQQLFKSLHB_QEB

   ^PE>OBAPLRO@BDOLRM_

            $O3@ELKCBIAaPMLPFQFLKQLQEB@LKQO>OV>MMB>OPQL?B?>PBALK>KFKQBOMOBQ>QFLKLC

   QEBQBOJ^FKSLHB_QE>QQFBPQEB>@QLC^FKSLH;FKD<_>^WLKBP@BKB_@LJMOFPFKD>RPBO @RPQLJFWBA 

   MOB P>SBADOLRMLC^WLKBMI>VBOP_QLQEBQFJBTEBKQEBDOLRMLC^WLKBMI>VBOP_FP>@QR>IIV@>RPBA

   QL MI>V ?>@H >RAFL  ?RQ FK JV LMFKFLK  QEFP FP KLQ ELT > 0/3)4! TLRIA RKABOPQ>KA QEB QBOJ

   ^FKSLHB_ FK QEB @LKQBUQ LC QEB @I>FJ I>KDR>DB >KA PMB@FCF@>QFLK LC QEB a 0>QBKQ  2>QEBO  >

   0/3)4! TLRIA RKABOPQ>KA QE>Q QEB >@Q LC ^FKSLH;FKD<_ > ^WLKB P@BKB_ @LJMOFPFKD > RPBO

   @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_OBCBOPQLQEBMLFKQFKQFJBTEBKQEBMOB P>SBADOLRM

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 89 of 139
             +!  &%!'$!&&!$ +%O+%! +


    LC^WLKBMI>VBOP_FP>@QFS>QBACLOPVK@EOLKLRPMI>V?>@HPR@EQE>QQEB^WLKBMI>VBOP_BKQBO>JLAB

    FKTEF@EQEBV>OB@LKQOLIIBA>KARPBA>PM>OQLCQEBDOLRM TEF@EFPAFPQFK@QCOLJQEB>@QLCFKFQF>QFKD

    MI>V?>@HLKQE>QDOLRMLC^WLKBMI>VBOP_>IQELRDEFKPLJBP@BK>OFLPFQFPMLPPF?IBQE>QMI>V?>@H

    @LRIA?B>RQLJ>QF@>IIVFKFQF>QBA>P>OBPRIQLCQEB^WLKBP@BKB_?BFKDFKSLHBA !...0 a

    0OLSFPFLK>I>Q!MMaU! MBUMI>FKFKDQE>QTEBK>^:LKB3@BKB_FPFKSLHBA>Q>QFJBTEBK^KL

    JRPF@FPMI>VFKDFK>KV:LKB\QEBKQEBWLKBPTFIIPFJMIVIFKHFK>DOLRM_TFQELRQMI>VFKD>KV

    JRPF@ ,>J?LROKB$BM4O>Q FKSBKQLOLCQEBa>KAa0>QBKQPQBPQFCVFKD

    QE>Q>^WLKBP@BKB_ALBPKLQE>SBQLPQ>OQ>@QFSBIVMI>VFKD>RAFL^>QQE>QJLJBKQTEBKQEBDOLRM

    FPFKSLHBA_ $)QEB#LROQABP@OF?FKD^PQ>KA>ILKBJLAB_>P>JLABFKTEF@E>^WLKBMI>VBO_

   ^LMBO>QB;P<FKAFSFAR>IIV_>P@LKQO>PQBATFQE>JLABFKTEF@EQEB^WLKBMI>VBO_FP^?BFKD@LKQOLIIBA

   >PM>OQLC;><DOLRM_>KAKBSBOJBKQFLKFKD>@QFSBMI>V?>@H>P>OBNRFOBA>PMB@QLC^PQ>KA>ILKB

   JLAB_ !KA>PBUMI>FKBAMOBSFLRPIV QEB^PE>OBAPLRO@BDOLRMP_FKQEB"LPB,FCBPQVIB3VPQBJ

   TBOB>RQLJ>QF@>IIVFKSLHBA>QQEBQFJBLCQEBFO@OB>QFLK>KAQEBKLKIVOBJ>FKBAFKBUFPQBK@BCLO

   QEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@EQEBVTBOBFK>K>@QFSBPQ>QB PLQEBOBTLRIAE>SBKBSBO

   ?BBK>MBOFLALCQFJBAROFKDTEF@E>^PE>OBAPLRO@BDOLRM_T>P@OB>QBA>KAFKBUFPQBK@B?RQT>P

   FK>KFK>@QFSB RKFKSLHBAPQ>QBPR@EQE>Q>RPBOT>PMOBPBKQBATFQE>KLMQFLKQL^OBNRBPQQLFKSLHB_

   QEB^PE>OBAPLRO@BDOLRM_>POBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQ

            4EFOA  BSBK PBQQFKD >PFAB QEB LQEBO CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK > ^PE>OBA

   PLRO@BDOLRM_LC>RAFL>KA>^WLKBP@BKB _)E>SBKLQPBBK>KVBSFABK@BQE>QQEB0BOPLK>I-RPF@

   #BKQBO>KALO-RIQF 2LLJ)KQBOC>@BLCQEB>@QR>I"LPB,FCBPQVIB3VPQBJQO>KPJFQP>KVPLOQLC

   FKCLOJ>QFLKFKOBPMLKPBQL>RPBOPBIB@QFKDLKBLOJLOBOLLJPRPFKDQEB2//-LO(/53%?RQQLK

   LC QEB 0BOPLK>I -RPF@ #BKQBO  $O 3@ELKCBIAaP LKIV OB?RQQ>I FP QL MLFKQ QL QEB "LPB IFKH

   @LJJRKF@>QFLKMOLQL@LI TEF@EFPKLQRQFIFWBA?VLO@LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB

   3VPQBJ >PBUMI>FKBA>?LSB!..3@ELKCBIA/M2BMLOQ>QY^$O!IJBOLQE@LKQBKAPQE>Q

   `PBBKKLBSFABK@BQE>QQEB0BOPLK>I-RPF@#BKQBOQO>KPJFQP>KVPLOQLCFKCLOJ>QFLKFKOBPMLKPBQL

   > RPBO PBIB@Q FKD LKB LO JLOB OLLJP RPFKD QEB 2LLJ LO (LRPB ?RQQLK LC QEB 0BOPLK>I -RPF@

   #BKQBO_)AFP>DOBB!PPELTK>?LSB QEB"LPBIFKHFPBPPBKQF>IIV>@LKSBOP>QFLK?BQTBBKQEBJBAF>

   @BKQBO>KAQEBMI>V?>@HPMB>HBOPPR@EQE>QQEBJBAF>@BKQBOPBKAP@LJJ>KAP>ILKDTFQE>RAFLQL

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 90 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEBMI>V?>@HPMB>H TEF@EQEBK`OBPMLKAPaTFQEFKCLOJ>QFLK_ 4EFP@LKCFOJPJVMLPFQFLKQE>Q

    QEBOB FP KL BSFABK@B QE>Q QEB 0BOPLK>I -RPF@ #BKQBO >KALO -RIQF 2LLJ )KQBOC>@B LC QEB >@QR>I

    "LPB,FCBPQVIB3VPQBJQO>KPJFQP>KVPLOQLCFKCLOJ>QFLKFKOBPMLKPBQL>RPBOPBIB@QFKDLKBLO

    JLOB OLLJP RPFKD QEB 2//- LO (/53% ?RQQLK LC QEB 0BOPLK>I -RPF@ #BKQBO  ) >AAOBPP $O

    3@ELKCBIAaPOBIF>K@BLKQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI?BILT

             &LROQE  BSBK PBQQFKD >PFAB QEB LQEBO CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK > ^PE>OBA

    PLRO@BDOLRM_LC>RAFL>KA>^WLKBP@BKB _>KA>PPRJFKDQE>QQEB0BOPLK>I-RPF@#BKQBOALBP

    QO>KPJFQ>KFKPQOR@QFLKFKOBPMLKPBQL>RPBO^RP;FKD<QEBMI>V?>@H@LKQOLIP PR@E>P>KFKPQOR@QFLK

    QLMI>V>RAFL )E>SBKLQPBBK>KVBSFABK@BQE>QPR@E>KFKPQOR@QFLKFPQO>KPJFQQBACOLJQEB0BOPLK>I

   -RPF@#BKQBOQL>,FCBPQVIBMI>VBO)KPQB>A ?>PBALKQEBJ>QBOF>IP)E>SBOBSFBTBA QEB0BOPLK>I

   -RPF@#BKQBO@>KLKIVQO>KPJFQFKCLOJ>QFLKQLQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB

   3VPQBJ!...0 "/3%=35"  >Q^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@

   @BKQBOFQPBQPRM>O>AFL COBNRBK@VIFKHTFQEQEB@ILPBPQ-RIQF 2LLJ)KQBOC>@B[(LIAQEBJRPF@

   @BKQBO@ILPBQLQEB-RIQF 2LLJ)KQBOC>@B0OBPP>KAELIA-54%CLO>?LRQPB@LKAPRKQFIVLREB>O

   >?BBM>KAQEBKOBIB>PB!CQBO>?LRQPB@LKAP QEBJRPF@@BKQBOPELRIA?BBMQTF@BQL@LKCFOJ

   QE>QQEBIFKHFPBPQ>?IFPEBA_ ^4L>AA>KBTJRPF@@BKQBOQLVLROPVPQBJ CLIILTQEBPBQRM

   FKPQOR@QFLKPLKM>DB"BPROBQLFKPQ>IIQEB?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEB

   JRIQF OLLJ FKQBOC>@B QL >IILT QEB KBT JRPF@ @BKQBO QL PBQ RM > O>AFL COBNRBK@V IFKH TFQE VLRO

   PVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBAFKLOQEBJRPF@@BKQBOFPLRQLCO>KDB QEBAFPMI>V

   FKAF@>QBP ./ 2%30/.3%_  "/3%=35"   >Q  ABP@OF?FKD QEB ^-RIQF OLLJ

   FKQBOC>@B_>P>^;P<J>II EFAB>T>V@LKKB@QFLK?LUQO>KPJFQPA>Q>QL >KAOB@BFSBPA>Q>COLJ QEB

   0BOPLK>I JRPF@ @BKQBO SF> > O>AFL A>Q> IFKH_   4ERP  QL QEB BUQBKQ QEB 0BOPLK>I -RPF@ #BKQBO

   QO>KPJFQP>KFKPQOR@QFLKQLMI>V>RAFLLKLKBLOJLOBPBIB@QBAOLLJPB>@EE>SFKD>,FCBPQVIBMI>VBO 

   FQFPJVRKABOPQ>KAFKDQE>QQEBFKPQOR@QFLKTLRIA?BQO>KPJFQQBAQLQEB-RIQF 2LLJ)KQBOC>@B TEF@E

   TLRIAQEBK@LKCFDROBFQPBICQLPQ>OQQLAFPQOF?RQB>RAFLQLQEBLKBLOJLOBPBIB@QBAOLLJPSF>QEB

   2LLJ! $>RAFLLRQMRQ@LKKB@QLOP-<..*5<82->Q"/3%=35"  >Q^4EB"LPB

   JRIQF OLLJ FKQBOC>@B  TFQE CLRO FKABMBKABKQ >RAFL LRQMRQP QE>Q>IILT VLR QL BKGLV "LPB PLRKA

   QEOLRDELRQ VLRO ELJB_   FIIRPQO>QFKD > "LPB ,FCBPQVIB  3VPQBJ @LKCFDRO>QFLK TFQE > #$

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 91 of 139
             +!  &%!'$!&&!$ +%O+%! +


    MI>VBO>KA>K!@LRPQFJ>PPJLARIB@LKKB@QBAQEBJRIQF OLLJFKQBOC>@B &ROQEBO )E>SBPBBKKL

    BSFABK@B QEB -RIQF 2LLJ )KQBOC>@B @>K OBI>V LO QO>KPJFQ PR@E >K FKPQOR@QFLK QL MI>V JRPF@ QL

    ,FCBPQVIBMI>VBO

             &ROQEBO VBQ  BSBK FC >K FKPQOR@QFLK T>P PBKQ COLJ QEB -RIQF 2LLJ )KQBOC>@B QL >

    ,FCBPQVIBMI>VBOTEF@E)E>SBPBBKKLBSFABK@BLC PR@E>KFKPQOR@QFLKTLRIAKLQ?BOB@BFSBA

    LSBO>A>Q>KBQTLOH!PBUMI>FKBA>?LSB >0/3)4!TLRIAKLQ@LKPFABOQEB-RIQF 2LLJ)KQBOC>@B

    >KAQEB,FCBPQVIBMI>VBOPQL?BLMBO>QFKDLK>A>Q>KBQTLOH?B@>RPBQEBE>OA TFOBA@LKKB@QFLK

    QEBOB?BQTBBKFPKLQ>JBAFRJQE>QFKQBO@LKKB@QPABSF@BP BK>?IFKDQEBJQLPBKAAFDFQ>IA>Q>M>@HBQP

    QL>KAOB@BFSBAFDFQ>IA>Q>M>@HBQPCOLJB>@ELQEBO

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLKP

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                                $O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJ

            7EBKAFP@RPPFKDEFP>IIBDBA"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKLC

   !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA @FQBP AFP@ILPROB >?LRQ QEB "LPB IFKH

   @LJJRKF@>QFLKMOLQL@LI>KAPQ>QBPQEBCLIILTFKD^"LPB,FKHFPRPBA>PMOLQL@LIQL@LJJRKF@>QB

   ?BQTBBK>KA>JLKDPQQEBS>OFLRPWLKBPFKLOABOQLFKSLHB CLOBU>JMIB QEBMI>V@LJJ>KAQE>Q

   PFJRIQ>KBLRPIVMI>VP>RAFLFKJRIQFMIBWLKBP-LOBPMB@FCF@>IIV "LPB,FKHFK@LKGRK@QFLKTFQE

   QEBJBAF>@BKQBOLMBO>QBPLSBO>KBQTLOH>KA>IILTPCLO>RPBOaPMOB ABCFKBAWLKBPQL>IPLMI>V

   AFCCBOBKQ >RAFL FK PFJRIQ>KBLRPIV_  !.. 3@ELKCBIA /M 2BMLOQ >Q Y  @FQFKD "/3%=35"

    >Q  !IQELRDE RK@IB>O $O3@ELKCBIA>MMB>OPQL?BPRDDBPQFKDQE>Q>^MI>V

   @LJJ>KA_ PBKQ RPFKD QEB "LPB IFKH @LJJRKF@>QFLK MOLQL@LI JBBQP QEB @I>FJBA ^FKPQOR@QFLK QL

   LMBO>QBFK>@@LOA>K@BTFQE>DFSBKLKBLCQEBCFOPQ>KAPB@LKAWLKBP@BKBP_(LTBSBO CLOPFJFI>O

   OB>PLKPQLQELPB)BUMI>FKBAFKJVa2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa

   0>QBKQ QEFPQEBLOVFPCI>TBACLOPBSBO>IOB>PLKP

            &FOPQ FKEFPPB@QFLKAFP@RPPFKDEFP>IIBDBASBOPFLKLCQEB"LPB,FCBPQVIB3VPQBJ

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 92 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >KA @I>FJ IFJFQ>QFLK  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  $O 3@ELKCBIA OBIFBP LK

    CRK@QFLK>IFQVOBI>QBAQLQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI!..3@ELKCBIA/M2BMLOQ>QY

    @FQFKD"/3%=35"  >Q  (LTBSBO >P)E>SB>IOB>AVBUMI>FKBA>?LSBFK

    3B@QFLK86#FFF QEBCRK@QFLK>IFQVQE>QEBOBIFBPLKCLOQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI

    ALBPKLQAFP@ILPBQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV

            3B@LKA QLQEBBUQBKQ)RKABOPQ>KATE>Q$O3@ELKCBIAFPP>VFKD $O3@ELKCBIAaP

    MLPFQFLKQE>Q>^MI>V@LJJ>KA_JBBQPQEB@I>FJBA^FKPQOR@QFLKQLLMBO>QBFK>@@LOA>K@BTFQE>

    DFSBKLKBLCQEBCFOPQ>KAPB@LKAWLKBP@BKBP_LCIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa

    0>QBKQ>MMB>OPQL?B?>PBALK>KFKQBOMOBQ>QFLKLCQEBQBOJ^FKSLHB_QE>QQFBPQEB>@QLC^FKSLH;FKD<_

   >^WLKBP@BKB_@LJMOFPFKD>RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_QLQEBQFJBTEBK

   QEBDOLRMLC^WLKBMI>VBOP_FP>@QR>IIV@>RPBAQLMI>V?>@H>RAFL ?RQFKJVLMFKFLK QEFPFPKLQ

   ELT > 0/3)4! TLRIA RKABOPQ>KA QEB QBOJ ^FKSLHB_ FK QEB @LKQBUQ LC QEB @I>FJ I>KDR>DB >KA

   PMB@FCF@>QFLKLCQEBa0>QBKQ2>QEBO >0/3)4!TLRIARKABOPQ>KAQE>QQEB>@QLC^FKSLH;FKD<_

   >^WLKBP@BKB_@LJMOFPFKD>RPBO @RPQLJFWBA MOB P>SBADOLRMLC^WLKBMI>VBOP_OBCBOPQLQEBMLFKQ

   FKQFJBTEBKQEBMOB P>SBADOLRMLC^WLKBMI>VBOP_FP>@QFS>QBACLOPVK@EOLKLRPMI>V?>@HPR@E

   QE>QQEB^WLKBMI>VBOP_BKQBO>JLABFKTEF@EQEBV>OB@LKQOLIIBA>KARPBA>PM>OQLCQEBDOLRM 

   TEF@EFPAFPQFK@QCOLJQEB>@QLCFKFQF>QFKDMI>V?>@HLKQE>QDOLRMLC^WLKBMI>VBOP_>IQELRDEFK

   PLJBP@BK>OFLPFQFPMLPPF?IBQE>QMI>V?>@H@LRIA?B>RQLJ>QF@>IIVFKFQF>QBA>P>OBPRIQLCQEB^WLKB

   P@BKB_?BFKDFKSLHBA !...0 a0OLSFPFLK>I>Q!MMaU! MBUMI>FKFKDQE>QTEBK>^:LKB

   3@BKB_FPFKSLHBA>Q>QFJBTEBK^KLJRPF@FPMI>VFKDFK>KV:LKB\QEBKQEBWLKBPTFIIPFJMIV

   IFKHFK>DOLRM_TFQELRQMI>VFKD>KVJRPF@ ,>J?LROKB$BM4O>Q FKSBKQLO

   LCQEBa>KAa0>QBKQPQBPQFCVFKDQE>Q>^WLKBP@BKB_ALBPKLQE>SBQLPQ>OQ>@QFSBIVMI>VFKD

   >RAFL^>QQE>QJLJBKQTEBKQEBDOLRMFPFKSLHBA_ $)QEB#LROQABP@OF?FKD^PQ>KA>ILKB

   JLAB_>P>JLABFKTEF@E>^WLKBMI>VBO_^LMBO>QB;P<FKAFSFAR>IIV_>P@LKQO>PQBATFQE>JLABFK

   TEF@EQEB^WLKBMI>VBO_FP^?BFKD@LKQOLIIBA>PM>OQLC;><DOLRM_>KAKBSBOJBKQFLKFKD>@QFSB

   MI>V?>@H>P>OBNRFOBA>PMB@QLC^PQ>KA>ILKBJLAB_ !KA>PBUMI>FKBAMOBSFLRPIV QEB^PE>OBA

   PLRO@BDOLRMP_FKQEB"LPB,FCBPQVIB3VPQBJTBOB>RQLJ>QF@>IIVFKSLHBA>QQEBQFJBLCQEBFO

   @OB>QFLK>KAQEBKLKIVOBJ>FKBAFKBUFPQBK@BCLOQEBQBJMLO>OVMBOFLALCQFJBAROFKDTEF@EQEBV

                                                       
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 93 of 139
             +!  &%!'$!&&!$ +%O+%! +


    TBOBFK>K>@QFSBPQ>QB PLQEBOBTLRIAE>SBKBSBO?BBK>MBOFLALCQFJBAROFKDTEF@E>^PE>OBA

    PLRO@BDOLRM_T>P@OB>QBA>KAFKBUFPQBK@B?RQT>PFK>KFK>@QFSB RKFKSLHBAPQ>QBPR@EQE>Q>RPBO

    T>P MOBPBKQBA TFQE >K LMQFLK QL ^OBNRBPQ QL FKSLHB_ QEB ^PE>OBA PLRO@B DOLRM_ >P OBNRFOBA ?V

    !PPBOQBA#I>FJLCQEBa0>QBKQ

             4EFOA @LKQO>OVQL$O3@ELKCBIAaP>PPBOQFLK )E>SBKLQPBBK>KVBSFABK@BLC>^MI>V

    @LJJ>KAQE>QPFJRIQ>KBLRPIVMI>VP>RAFLFKJRIQFMIBWLKBP_FKQEB^5KABOPQ>KAFKD"LPBIFKH_

    AL@RJBKQ @FQBA ?V $O 3@ELKCBIA  !.. "/3%=35"    )KPQB>A  >@@LOAFKD QL QEB

    ^5KABOPQ>KAFKD "LPB IFKH_ AL@RJBKQ @FQBA ?V $O 3@ELKCBIA  QEB LKIV FKCLOJ>QFLK QO>KPJFQQBA

    COLJ>"LPBIFKHBK>?IBAJBAF>@BKQBOQL>"LPBIFKHBUM>KPFLKMOLAR@QBD >K3! LO3! 

   !JMIFCFBO  FP ^LKLCC  SLIRJB >KA PLRO@B @LJJ>KAP >ILKD TFQE >RAFL_  !.. "/3%=35"

    >Q)KJVLMFKFLK KLKBLCQEFPFKCLOJ>QFLK>JLRKQPQL^>KFKPQOR@QFLKQLLMBO>QB

   FK>@@LOA>K@BTFQE_>DOLRMLC,FCBPQVIBMI>VBOP >KA$O3@ELKCBIAALBPKLQ>PPBOQLQEBOTFPB

            -LOBLSBO >PBUMI>FKBA>?LSB FK>"LPBIFKHPVPQBJ B>@E3! LO3! >JMIFCFBO

   FP > "LPB IFKH BUM>KPFLK MOLAR@Q FK B>@E OLLJ KBBAP FQP LTK ABAF@>QBA "LPB IFKH BUM>KPFLK

   @LKQOLIIBO  PR@E >P QEB 2# 3 2BJLQB #LKQOLI  2# 3 2BJLQB #LKQOLI  >KA 0BOPLK>I -RPF@

   #BKQBO)) >KAPR@E@LKQOLIIBOP@>KLKIV?BPBQRMQL@LKQOLI>PFKDIBOLLJ>Q>QFJB?VPBQQFKDQEB

   ^OLLJ@LAB_LCQEBOBJLQB@LKQOLIQLJ>Q@EQEB^OLLJ@LAB_LCQEB3! LO3! !JMIFCFBO!..

   "/3%=35"   >Q   <.. *5<8 "/3%=35"   >Q  ^"LQE QEB

   BUM>KPFLK MOLAR@Q >KA QEB OBJLQB JRPQ ?B @LKCFDROBA QL LMBO>QB LK QEB P>JB OLLJ_   4ERP 

   @LKQO>OVQL$O3@ELKCBIAaP>PPBOQFLK QEBOBFPKLT>VQLPBKA>^MI>V@LJJ>KAQE>QPFJRIQ>KBLRPIV

   MI>VP>RAFLFKJRIQFMIBWLKBP_RPFKDQEB"LPBIFKH@LJJRKF@>QFLKMOLQL@LI

            &ROQEBO >P)BUMI>FKBAFKJVa2B?RQQ>I2BMLOQ >0/3)4!TLRIARKABOPQ>KA

   QE>Q QEB ^FKPQOR@QFLK QL LMBO>QB FK >@@LOA>K@B TFQE_ QEB PBIB@QBA ^WLKB P@BKB_ OBNRFOBP >K

   FKPQOR@QFLKQE>Q@>RPBPQEBPBIB@QBA^WLKBP@BKB_QL?B@LJB^FKSLHBA_PR@EQE>QQEBDOLRMLC^WLKB

   MI>VBOP_?B@LJBP>@QFS>QBA(LTBSBO >KV>IIBDBA^MI>V@LJJ>KA_TLRIA?BPBKQ>CQBO>DOLRM

   LC"LPBIFKHBUM>KPFLKMOLAR@QPT>PPBQQLQEBP>JB>RAFLPQOB>J>KAT>P>IOB>AV>@QFS>QBACLO

   PVK@EOLKLRPMI>V?>@H >PBUMI>FKBA>?LSB

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 94 of 139
             +!  &%!'$!&&!$ +%O+%! +


    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

    OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

    FK$O3@ELKCBIAaP>IIBDBA"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA

    ?VIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ

                            F      &63=A3743ABG:3 %GAB3;72 =B33B7;7B/B7=<               

             ,FJFQ>QFLK  LC !PPBOQBA #I>FJ  LC QEB a 0>QBKQ OBNRFOBP QEB ^@LJMRQFKD

    ABSF@B_QL?BBK@LABATFQEBUB@RQ>?IB^MOLDO>JFKPQOR@QFLKP_QE>Q@>RPBQEB@LJMRQFKDABSF@BQL

    MBOCLOJQEBCLIILTFKDCRK@QFLKP 

            -  . ?>PBALKQEBQEFOAOBNRBPQ @>RPFKDQEBCFOPQWLKBMI>VBOQLQO>KPFQFLKCOLJLMBO>QFKD
              FKQEBPQ>KA>ILKBJLABQLLMBO>QFKDFK>@@LOA>K@BTFQEQEBCFOPQMOBABCFKBADOLRMFKDLC
           WLKBMI>VBOPPR@EQE>QQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQL@LLOAFK>QBTFQE>QIB>PQQEB
              PB@LKA WLKB MI>VBO QL LRQMRQ JBAF> FK PVK@EOLKV TFQE LRQMRQ LC JBAF> ?V >Q IB>PQ QEB
           PB@LKAWLKBMI>VBO

               )KJVLMFKFLK QEB"LPB,FCBPQVIB3VPQBJAFAKLQJBBQQEFPOBNRFOBJBKQ

               !P BUMI>FKBA >?LSB  QEB BSFABK@B ) E>SB OBSFBTBA BPQ>?IFPEBP QE>Q QEB "LPB

      ,FCBPQVIB3VPQBJLKIVMOLSFABARPBOPTFQEQEB>?FIFQVQLCLOJ>KARPB>A EL@^PE>OBAPLRO@B

      DOLRMP _TEF@E>OBKLQQEB@I>FJBA^WLKBP@BKBP_CLOQEBOB>PLKPBUMI>FKBA>?LSB4ERP CLOQEFP

      OB>PLK QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIA

      J>V ?B OBIVFKD LK PR@E >P QEB @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ

                                        
      
      &FK>IIV >IQELRDERK@IB>O FKEFPPB@QFLKAFP@RPPFKDQEB"LPB,FCBPQVIB3VPQBJ>KAIFJFQ>QFLK
      LC!PPBOQBA#I>FJLCQEBa0>QBKQTEF@E$O3@ELKCBIAALBPKLQOBIVLKCLOIFJFQ>QFLK
   LC!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIA>MMB>OPQL?BPRDDBPQFKDQE>QJRIQFMIB
      "LPBIFKHBK>?IBA,FCBPQVIBMI>VBOPBD 3! LO3! >JMIFCFBOP FK>"LPBIFKH@LKCFDRO>QFLK
   E>SB QEB CRK@QFLK>I @>M>?FIFQV LC IFJFQ>QFLK  ?B@>RPB QEBV @>K ?B ^LCCIFKB_ >CQBO QEBV >OB
   @LKKB@QBAQL>"LPBIFKHBK>?IBAJBAF>@BKQBO>KAQEBK?OLRDEQ^LKIFKB_TEBK>RPBOFKSLHBPQEB
      JRIQFMIB"LPBIFKHBK>?IBA,FCBPQVIBMI>VBOPRPFKD>OBJLQB@LKQOLI!..3@ELKCBIA/M2BMLOQ>Q
   YY 4LQEBBUQBKQ$O3@ELKCBIAFPOBIVFKDLKQEFP^LCCIFKB_^LKIFKB_>ODRJBKQFKQEB
      P>JB J>KKBO QE>Q EB OBIFBA LK EFP ^MLTBOBA LCC_ QEBLOV CLO 3NRBBWB?LU  FQ C>FIP CLO QEB P>JB
   OB>PLKP >P ) BUMI>FKBA >?LSB FK @LKKB@QFLK TFQE 3NRBBWB?LU  -LOBLSBO  ) E>SB OBSFBTBA QEB
      J>QBOF>IP@FQBA?V$O3@ELKCBIA>KA)C>FIQLPBB>KVAFP@RPPFLKLC,FCBPQVIBI>VBOP?BFKD^LCCIFKB_
   >KAQEBK?BFKD?OLRDEQ^LKIFKB_!PPR@E FQFPKLQ@IB>OTE>QCRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB
   3VPQBJQE>Q$O3@ELKCBIAFPBSBKOBCBOOFKDQL2BD>OAIBPP FKJVLMFKFLK >0/3)4!TLRIA
      KLQ@LKPFABO>PMB>HBOQE>QFP^LCCIFKB_QL?B^LMBO>QFKDFK>PQ>KA>ILKBJLABFKTEF@EQEBCFOPQ
   WLKB MI>VBO FP @LKCFDROBA QL MI>V ?>@H JBAF> FKAFSFAR>IIV_  !AAFQFLK>IIV  FK JV LMFKFLK  >
      0/3)4!TLRIA@LKPFABOQEBRPBO>@QFLKLC?OFKDFKD>PMB>HBO^LKIFKB_QL?BAFPQFK@QIVAFCCBOBKQ
   COLJQEB@I>FJBAOBNRFOBJBKQLC>^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 95 of 139
             +!  &%!'$!&&!$ +%O+%! +


    )KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KVCRK@QFLK>I@>M>?FIFQVCLOFKSLHFKD>

    ^WLKBP@BKB_\IBQ>ILKBQEBOBNRFOBACRK@QFLK>I@>M>?FIFQVCLO^?>PBALKQEBQEFOAOBNRBPQ;QLFKSLHB

    QEBCFOPQWLKBP@BKB< @>RPFKDQEBCFOPQWLKBMI>VBOQLQO>KPFQFLKCOLJLMBO>QFKDFKQEBPQ>KA>ILKB

    JLABQLLMBO>QFKDFK>@@LOA>K@BTFQEQEBCFOPQMOBABCFKBADOLRMFKDLCWLKBMI>VBOPPR@EQE>QQEB

    CFOPQWLKBMI>VBOFP@LKCFDROBAQL@LLOAFK>QBTFQE>QIB>PQQEBPB@LKAWLKBMI>VBOQLLRQMRQJBAF>

    FKPVK@EOLKVTFQELRQMRQLCJBAF>?V>QIB>PQQEBPB@LKAWLKBMI>VBO_

             &ROQEBO  FK QEB @LKQBUQ LC QEB PROOLRKAFKD @I>FJ I>KDR>DB  > 0/3)4! TLRIA

    RKABOPQ>KAQE>QQEB^@LJMRQFKDABSF@B_FPOBNRFOBAQL@>OOVLRQQEBCRK@QFLK>IFQVLCIFJFQ>QFLK

    >Q>QFJBTEBKF QEB^CFOPQWLKBP@BKB_>KA^PB@LKAWLKBP@BKB_E>SB?BBK@OB>QBA>KA>OB?LQE

   FKBUFPQBK@B>KAFF QEB^CFOPQWLKBMI>VBO_FP^LMBO>QFKDFK>PQ>KA>ILKBJLAB _TEF@EJB>KPQE>Q

   QEB^CFOPQWLKBP@BKB_>KAQEB^PB@LKAWLKBP@BKB_?LQEJRPQ?BFK>KFK>@QFSBPQ>QB>QQEBQFJB

   QE>QQEFPCRK@QFLK>IFQVFP@>OOFBALRQLQEBOTFPB QEB^CFOPQWLKBMI>VBO_@LRIAKLQ?BFK^PQ>KA>ILKB

   JLAB_ (LTBSBO FKQEB"LPB,FCBPQVIB3VPQBJ FQT>PKLQMLPPF?IBCLO>K>A EL@^PE>OBA

   PLRO@BDOLRM_QLBUFPQFK>KFK>@QFSBPQ>QBFKTEF@EQEBJBJ?BOPLCQEB^PE>OBAPLRO@BDOLRM_@LRIA

   ?BRPBACLOFKAFSFAR>IMI>V?>@HTEFIBQEB^PE>OBAPLRO@BDOLRM_OBJ>FKBA>S>FI>?IBCLOPBIB@QFLK

   ?V>RPBOO>QEBO >K>A EL@^PE>OBAPLRO@BDOLRM_LKIVOBJ>FKBAFKBUFPQBK@BCLOQEBQBJMLO>OV

   MBOFLA LC QFJB AROFKD TEF@E FQ T>P >@QFS>QBA  >KA LK@B AB>@QFS>QBA  QEB ^PE>OBA PLRO@B DOLRM_

   TLRIA@B>PBQLBUFPQ

            &ROQEBO VBQ  FK QEB @LKQBUQ LC QEB PROOLRKAFKD @I>FJ I>KDR>DB > 0/3)4! TLRIA

   RKABOPQ>KAQE>QQEB^@LJMRQFKDABSF@B_FPOBNRFOBAQL@>OOVLRQQEBCRK@QFLK>IFQVLCIFJFQ>QFLK

   >QPLJBMLFKQFKQFJBQE>QFPI>QBOQE>KTEBKFQOB@BFSBAQEB^OBNRBPQQL@OB>QB;QEB<CFOPQWLKBP@BKB_

   >KAQEB^CFOPQWLKBP@BKB_T>P@OB>QBA?>PBALKQE>Q^OBNRBPQ_)KABBA >Q>JFKFJRJ QEBOBJRPQ

   ?B>QFJBD>M?BQTBBKQEBQFJBTEBKQEB^@LJMRQFKDABSF@B_OB@BFSBAQEB^OBNRBPQQL@OB>QB;QEB<

   CFOPQ WLKB P@BKB_ >KA QEB QFJB TEBK QEB ^@LJMRQFKD ABSF@B_ @>OOFBP LRQ QEB CRK@QFLK>IFQV LC

   IFJFQ>QFLK  QE>Q FP ILKD BKLRDE QL >IILT F  QEB ^CFOPQ WLKB P@BKB_ QL ?B @OB>QBA  FF  QEB

   ^@LJMRQFKDABSF@B_QLAFPMI>V^OBMOBPBKQ>QFLK;P<_LCQEB^CFOPQWLKBP@BKB_>PTBII>PQEB^PB@LKA

   WLKBP@BKB _>KAFFF >RPBOQLSFBTQEBAFPMI>VBA^OBMOBPBKQ>QFLK;P<_LCQEB^CFOPQWLKBP@BKB_>KA

   ^PB@LKAWLKBP@BKB_>KAQEBKFKMRQQEB^OBNRBPQQLFKSLHBQEBCFOPQWLKBP@BKB_(LTBSBO FKQEB

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 96 of 139
             +!  &%!'$!&&!$ +%O+%! +


    "LPB,FCBPQVIB3VPQBJ QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_

    QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KA

    QEB-RIQF 2LLJ)KQBOC>@B TLRIAE>SBLKIVOB@BFSBA>PFKDIBOBNRBPQQE>QPBOSBAQL?LQE@OB>QB

    >KAFKSLHB>^PE>OBAPLRO@BDOLRM _>KAQEFPPFKDIBOBNRBPQFPTE>QTLRIAE>SBQOFDDBOBAQEB-RIQF

    2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJQL@LKCFDROBFQPBICQLAFPQOF?RQB>RAFLCOLJQEB

    PBIB@QBA>RAFLPLRO@BQLQEBPBIB@QBA,FCBPQVIBMI>VBOFKQEB^PE>OBAPLRO@BDOLRM_FKLOABOQL@>RPB

    QELPB,FCBPQVIBMI>VBOPQLMI>V?>@HQEBP>JBJRPF@PFJRIQ>KBLRPIV\QEB0BOPLK>I-RPF@#BKQBO

    >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B OBIVFKD LK PR@E >P QEB

    @LJ?FK>QFLK LC QEB 0BOPLK>I -RPF@ #BKQBO >KA QEB -RIQF 2LLJ )KQBOC>@B  TLRIA E>SB KBSBO

   OB@BFSBA>KFKFQF>I^OBNRBPQQL@OB>QB_>^PE>OBAPLRO@BDOLRM_CLIILTBA?VPLJBI>QBO PBM>O>QB

   ^OBNRBPQQLFKSLHB_QEB^PE>OBAPLRO@BDOLRM_4EFPFP?B@>RPB>K>A EL@^PE>OBAPLRO@BDOLRM_

   T>P>RQLJ>QF@>IIVFKSLHBA>QQEBQFJBLCFQP@OB>QFLK>KAQEBKLKIVOBJ>FKBAFKBUFPQBK@BCLOQEB

   QBJMLO>OVMBOFLALCQFJBAROFKDTEF@EFQT>PFK>K>@QFSBPQ>QB >CQBOTEF@EQFJBQEB^PE>OBAPLRO@B

   DOLRM_TLRIA@B>PBQLBUFPQ4ERP FKQEB"LPB,FCBPQVIB3VPQBJ QEBOBTLRIAE>SBKBSBO?BBK

   >MBOFLALCQFJBAROFKDTEF@E>^PE>OBAPLRO@BDOLRM_T>P@OB>QBA>KAFKBUFPQBK@B?RQT>PFK>K

   FK>@QFSB RKFKSLHBAPQ>QBPR@EQE>Q>RPBOT>PMOBPBKQBATFQE>KLMQFLKQL^OBNRBPQQLFKSLHB_QEB

   ^PE>OBAPLRO@BDOLRM_QE>QTLRIAPR?PBNRBKQIVQOFDDBOQEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO

   >IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB

   0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B QL@>RPBQEB,FCBPQVIBMI>VBOPFK>^PE>OBA

   PLRO@BDOLRM_QL?B@LJB@LKCFDROBAQLMI>VQEBP>JBJRPF@PFJRIQ>KBLRPIV

            3QFIICROQEBO QEBBSFABK@B)E>SBOBSFBTBABPQ>?IFPEBPQE>Q>,FCBPQVIBMI>VBOAFAKLQ

   E>SB QEB @>M>?FIFQV QL ^QO>KPFQFLK;< COLJ LMBO>QFKD FK ;>< PQ>KA>ILKB JLAB QL LMBO>QFKD FK

   >@@LOA>K@B TFQE_ > ^PE>OBA PLRO@B DOLRM_ PR@E QE>Q QEB ,FCBPQVIB MI>VBO TLRIA E>SB ?BBK

   ^@LKCFDROBAQL@LLOAFK>QBTFQE>QIB>PQ;LKBLQEBO,FCBPQVIBMI>VBO<QLLRQMRQJBAF>FKPVK@EOLKV

   TFQELRQMRQLCJBAF>?V>QIB>PQ;QEBLKBLQEBO,FCBPQVIBMI>VBO<_)KC>@Q QEBBSFABK@B)E>SB

   OBSFBTBABPQ>?IFPEBP>,FCBPQVIBMI>VBOAFAKLQE>SBQEB@>M>?FIFQVQL^@LLOAFK>QB_TFQE>KLQEBO

   ,FCBPQVIBMI>VBOCLO>KVMROMLPB\IBQ>ILKBCLOMROMLPBPLCLRQMRQQFKD>RAFLFKPVK@EOLKV KLO

   AFA > ,FCBPQVIB MI>VBO E>SB QEB @>M>?FIFQV QL @E>KDB FQP ^@LKCFDRO;>QFLK<_ >P FQ OBI>QBA QL >RAFL

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 97 of 139
             +!  &%!'$!&&!$ +%O+%! +


    MI>V?>@H4LQEB@LKQO>OV QEBBSFABK@B)E>SBOBSFBTBAPELTPQE>QQEB-RIQF 2LLJ)KQBOC>@BLC

    QEB "LPB ,FCBPQVIB  3VPQBJ T>P BU@IRPFSBIV OBPMLKPF?IB CLO QEB ^PE>OBA PLRO@B DOLRM_

    CRK@QFLK>IFQV >KAQEB,FCBPQVIBMI>VBOPKBSBO@E>KDBAFKQL>AFCCBOBKQ^JLAB_CLODOLRMMI>V?>@H

    LOBSBKE>A>KV>T>OBKBPPLCTEBQEBOLOKLQQEBVTBOBM>OQLC>^PE>OBAPLRO@BDOLRM_!...0

    "/3%=35"   >Q  ^4EB "LPB -RIQF 2LLJ )KQBOC>@B  TFQE CLRO FKABMBKABKQ >RAFL

    LRQMRQP QE>Q >IILT VLR QL BKGLV "LPB PLRKA QEOLRDELRQ VLRO ELJB_   FIIRPQO>QFKD > "LPB

    ,FCBPQVIB3VPQBJ@LKCFDRO>QFLKTFQE>#$MI>VBO>KA>K!@LRPQFJ>PPJLARIB@LKKB@QBAQEB

    -RIQF 2LLJ)KQBOC>@B FIIRPQO>QFKDS>OFLRP>RAFLPLRO@BP@LKKB@QBAQL-RIQF 2LLJ)KQBOC>@B

    SF>>RAFLFKMRQ@>?IBP ^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@@BKQBOFQPBQPRM>O>AFL

   COBNRBK@VIFKHTFQEQEB@ILPBPQJRIQF OLLJFKQBOC>@B[)CQEBJRPF@@BKQBO@LKQFKRLRPIVAFPMI>VP

   ./2%30/.3% VLRKBBAQLQOVQLBPQ>?IFPEFQPIFKHTFQEQEBJRIQF OLLJFKQBOC>@B>D>FK_ 

   &FDROB  PELTFKD ^!5$)/ /54054_ G>@HP CLO B>@E OLLJ    BUMI>FKFKD ELT QL RPB

   2//->KA(/53%?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOQLPBQRM>K>RAFLPLRO@BCLOLKBLO

   JLOB OLLJP @LKKB@QBA QL QEB -RIQF 2LLJ )KQBOC>@B   ^4L >AA > KBT JRPF@ @BKQBO QL VLRO

   PVPQBJ CLIILTQEBPBQRMFKPQOR@QFLKPLKM>DB"BPROBQLFKPQ>IIQEB?>QQBOFBP>KAQROKFQLKCLO

   QEBCFOPQQFJB@ILPBQLQEBJRIQF OLLJFKQBOC>@BQL>IILTQEBKBTJRPF@@BKQBOQLPBQRM>O>AFL

   COBNRBK@VIFKHTFQEVLROPVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBAFKLOQEBJRPF@@BKQBO

   FPLRQLCO>KDB QEBAFPMI>VFKAF@>QBP./2%30/.3%_ 

            $BPMFQBQEFP@IB>OBSFABK@BBPQ>?IFPEFKDQE>QQEB0BOPLK>I-RPF@#BKQBO>KA>KV

   LQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLK

   LCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFA

   KLQ E>SB >KV ^WLKB P@BKBP_ @>M>?FIFQV  $O 3@ELKCBIA KBSBOQEBIBPP LMFKBP QE>Q @I>FJ IFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQT>PBFQEBOAFP@ILPBALOOBKABOBAL?SFLRP?VQEB"LPB

   ,FCBPQVIB  3VPQBJ  !.. 3@ELKCBIA /M 2BMLOQ >Q Y   (LTBSBO  ) CFKA $O 3@ELKCBIAaP

   LMFKFLKPOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLC

   QEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQFPPELTKFK

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 98 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QEBP@OBBKPELQ?BILTCOLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

    

 

 

 

 

 

             !PQEBPBP@OBBKPELQPABJLKPQO>QB $O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPMOFLO

    AFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa

   0>QBKQ(LTBSBO QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@B

   QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ > ^@LJMRQFKD ABSF@B_ @LKCFDROBA QL ^PBOS;B< >P >

   @LKQOLIIBO_>PLMMLPBAQL>^WLKBMI>VBO_ @I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB`

   0>QBKQRPBPAFCCBOBKQ@I>FJI>KDR>DBQE>KQEBIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEBa0>QBKQ 

   >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELTEFPMOFLOAFP@RPPFLKLCQEB

   "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB`

   0>QBKQ >MMIFBP QL @I>FJ IFJFQ>QFLK  LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ  )K C>@Q  $O

   3@ELKCBIAC>FIPQLBSBKPQ>QBTEBQEBOEFPLMFKFLKFPQE>Q@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJ

   LC QEB ` 0>QBKQ T>P >@QR>IIV -2<,58<.- ?V QEB "LPB ,FCBPQVIB  3VPQBJ SBOPRP TEBQEBO EFP

   LMFKFLKFPQE>Q@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB`0>QBKQT>PLKIV;.7-.;.-

   8+?28><?VQEB"LPB,FCBPQVIB3VPQBJ!KA>ILKDPFJFI>OIFKBP $O3@ELKCBIAKBSBO>OQF@RI>QBP

   TE>QEB@LKPFABOPQL?BQEB^QEFOAOBNRBPQQLFKSLHBQEBCFOPQWLKBP@BKB_LOTE>QCRK@QFLK>IFQV

   P>QFPCFBPQEB^@>RPFKD_IFJFQ>QFLKFKQEB"LPB,FCBPQVIB3VPQBJ&LOQEBPBOB>PLKP )AFP>DOBB

   QE>Q$O3@ELKCBIAaP?>OB?LKBPAFP@RPPFLKLC@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB`

   0>QBKQ>JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP

   >KAOB>PLKPQEBOBCLO TEF@E)RKABOPQ>KAQL?BQEBDLSBOKFKDPQ>KA>OACLOBUMBOQOBMLOQP >KAQE>Q

   ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP





                                                           
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 99 of 139
              +!  &%!'$!&&!$ +%O+%! +


    OBD>OAFKD@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB`0>QBKQ

             7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#FFF>PTBII>PFKJV

    a2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLC

    QEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

    KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEB

    a0>QBKQ>PTBII\FK@IRAFKDQE>QEBOBIFBPLKCRK@QFLK>IFQVQE>QFPKLQBSBKM>OQLCQEB>@QR>I

    "LPB,FCBPQVIB3VPQBJ QE>QEBC>FIPQLFABKQFCVTE>QEBFP>IIBDFKDQLJBBQQEBS>OFLRP>PMB@QP

    LCQEBPB@I>FJIFJFQ>QFLKP >KAQE>QEFP>K>IVPFPFPMOBJFPBALK?LQE>KFK@LOOB@QFKQBOMOBQ>QFLKFC

    TE>QFPOBNRFOBAQLNR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKLC

   QEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

            &LO FKPQ>K@B  $O 3@ELKCBIAaP LMFKFLK QE>Q QEB "LPB ,FCBPQVIB  3VPQBJ JBBQP

   IFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQRMLKTEF@EEBOBIFBPCLOIFJFQ>QFLKLC

   !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  FP ?>PBA LK EFP >K>IVPFP LC ^MOBSFLRP @I>FJ BIBJBKQP_ LC

   !PPBOQBA#I>FJLCQEBa0>QBKQ TEF@E >PBUMI>FKBA>?LSB >OB?>PBALKCRK@QFLK>IFQVQE>QFP

   KLQOBI>QBAQLLO@LJM>QF?IBTFQEQEB>@QR>I"LPB,FCBPQVIB3VPQBJFQPBIC!..3@ELKCBIA/M

   2BMLOQ>QYY &LOQEBPBOB>PLKP>ILKB $O3@ELKCBIAaPQEBLOVFPCI>TBA>KAEBE>PC>FIBA

   QLMOLSBQE>QQEB>@QR>I"LPB,FCBPQVIB3VPQBJAFP@ILPBPQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQV

   LC@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQ

            &ROQEBO FKEFPPB@QFLKAFP@RPPFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJIFJFQ>QFLK

    LC !PPBOQBA #I>FJ  LC QEBa 0>QBKQ  $O 3@ELKCBIAaP BKQFOB >K>IVPFP FP QEB CLIILTFKD

   PQ>QBJBKQ ^;><P ABP@OF?BA FK QEB MOBSFLRP @I>FJ BIBJBKQP  > RPBO J>V PBIB@Q > PVK@EOLKFW>QFLK

   DOLRM CLO MI>V?>@H RPFKD QEB 0I>VBO PBIB@QLO ?LU  >KA RPB QEB MI>V?>@H @LKQOLIP QL @>RPB "LPB

   ,FCB3QVIBQLLMBO>QB>P>PVK@EOLKLRPMI>V?>@HDOLRM_!..3@ELKCBIA/M2BMLOQ>QYY 

   4EFPQEBLOVFPCI>TBACLOKRJBOLRPOB>PLKP

            &FOPQ $O3@ELKCBIAOBCBOBK@BPEFP>K>IVPFPLC^MOBSFLRP@I>FJBIBJBKQP _TEF@E

   >OBCI>TBACLO>IILCQEBOB>PLKPPQ>QBA>?LSB

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 100 of 139
             +!  &%!'$!&&!$ +%O+%! +


             3B@LKA $O3@ELKCBIAOBCBOBK@BP>^0I>VBOPBIB@QLO?LU _?RQ)>JKLQ>T>OBLC

    PR@E>CB>QROBFKQEB"LPB,FCBPQVIB3VPQBJ)KPQB>A QEFP>MMB>OPQL?BOBCBOBK@FKDQEB^0I>VBO

    PBIB@QLO?LU_LC3NRBBWB?LU TEF@E)>AAOBPPBA>?LSBFKJVAFP@RPPFLKLC3NRBBWB?LU

             4EFOA  KLTEBOB FK QEFP ^>K>IVPFP_ ALBP $O 3@ELKCBIA JBKQFLK >KVQEFKD >?LRQ

    ,FCBPQVIB MI>VBOP ?BFKD ^@LKCFDROBA QL @LLOAFK>QB_ CLO PVK@EOLKLRP MI>V?>@H  TEF@E FP >

    OBNRFOBJBKQLCIFJFQ>QFLKLC!PPBOQBA#I>FJLCQEBa0>QBKQ>PTBII>PIFJFQ>QFLKLC

    !PPBOQBA#I>FJLCQEBa0>QBKQ

             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?VIFJFQ>QFLK

   LC!PPBOQBA#I>FJLCQEBa0>QBKQ

                           F7    AA3@B32:/7; )=C:2 =B/D333<!0D7=CA/A32=<&63

                                   =A3 743ABG:3   %GAB3; 7< D73E =4 B63 %31=<2/@G $343@3<13A

                                   23<B747320G@%16=<43:2

            )K EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA ALBP KLQ LCCBO >KV LMFKFLK QE>Q !PPBOQBA

   #I>FJLCQEB`0>QBKQFP>KQF@FM>QBA?VQEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M

   2BMLOQ>Q3B@QFLK8))# YY )KPQB>A $O3@ELKCBIALKIVLMFKBPQE>Q!PPBOQBA#I>FJ

   LCQEB`0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJ-

            )KM>OQF@RI>O $O3@ELKCBIAaPPB@QFLKCLOQEBa0>QBKQ>P@LJM>OBAQLQEB"LPB

   ,FCBPQVIB3VPQBJFPBKQFQIBA^`#I>FJP!OB/?SFLRP">PBA/K"LPB,FCBPQVIBFKSFBTLC

   'BKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP  .LROPB  2>G>M>HPB LO -FIIFKDQLK_

   3@ELKCBIA/M2BMLOQ>Q3B@QFLK8))#$O3@ELKCBIAQEBKFK@IRABP>PR? PB@QFLKBKQFQIBA^#I>FJ

    )P )KS>IFA ">PBA /K "LPB ,FCBPQVIB FK SFBT LC 'BKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

   &LORJP .LROPB 2>G>M>HPBLO-FIIFKDQLK_TEBOBEBIFPQPLRQB>@EIFJFQ>QFLKLC!PPBOQBA#I>FJ

   LCQEB`0>QBKQ >IQELRDE$O3@ELKCBIAALBPKLQMOLSFAB>KV>K>IVPFPLCELTQEBIFJFQ>QFLKPLC

   !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ >OB >IIBDBAIV AFP@ILPBA LO OBKABOBA L?SFLRP ?V QEB "LPB

   ,FCBPQVIB  3VPQBJ FK SFBT LC 'BKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP  .LROPB 

                                                         
      
           Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 101 of 139
              +!  &%!'$!&&!$ +%O+%! +


    2>G>M>HPBLO-FIIFKDQLK->Q3B@QFLK8# YY )KPQB>A $O3@ELKCBIAJBOBIV

    OBCBOP?>@HQLQEBIFJFQ>QFLK ?V IFJFQ>QFLK>K>IVPFPQE>QEBPBQCLOQEFK@LKKB@QFLKTFQEEFPLMFKFLK

    QE>Q !PPBOQBA #I>FJ  LC QEB a 0>QBKQ FP OBKABOBA L?SFLRP ?>PBA LK QEB "LPB ,FCBPQVIB 

    3VPQBJ-

              (LTBSBOQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLC

    ABSF@BQE>K!PPBOQBA#I>FJLCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P

    > @LKQOLIIBO_ >P LMMLPBA QL > ^WLKB MI>VBO_  !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ OBNRFOBP >

    AFCCBOBKQ @LJ?FK>QFLK LC @I>FJ IFJFQ>QFLKP QE>K !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  >KA $O

    3@ELKCBIA C>FIP QL MOLSFAB >KV CROQEBO BUMI>K>QFLK >P QL ELT EFP MOFLO L?SFLRPKBPP >K>IVPFP LC

   !PPBOQBA#I>FJLCQEBa0>QBKQ>MMIFBPQL!PPBOQBA#I>FJLCQEB`0>QBKQ!P>OBPRIQ 

   $O3@ELKCBIAC>FIPQL>OQF@RI>QBELTLOTEVBSBK>PFKDIB@I>FJIFJFQ>QFLKLC!PPBOQBA#I>FJLC

   QEB`0>QBKQTLRIA?BOBKABOBAL?SFLRP?>PBALK^"LPB,FCBPQVIBFKSFBTLC'BKBO>IHKLTIBADB

   LC>0/3)4! QEB3LKLP&LORJP .LROPB 2>G>M>HPBLO-FIIFKDQLK_>PEBPQ>QBP\IBQ>ILKBELTLO

   TEVQEBBKQFOB@LJ?FK>QFLKLC@I>FJIFJFQ>QFLKPLC!PPBOQBA#I>FJLCQEB`0>QBKQTLRIA?B

   OBKABOBAL?SFLRP?>PBALK^"LPB,FCBPQVIBFKSFBTLC'BKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP

   &LORJP .LROPB 2>G>M>HPBLO-FIIFKDQLK_&LOQEBPBOB>PLKP )AFP>DOBBQE>Q$O3@ELKCBIAE>P

   MOLSFABA > ABQ>FIBA >KA @LJMIBQB PQ>QBJBKQ LC >II LMFKFLKP QL ?B BUMOBPPBA >KA QEB ?>PFP >KA

   OB>PLKP QEBOBCLO  TEF@E ) RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA $O

   3@ELKCBIAaPC>FIROBQLALPLE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFP

   L?SFLRPKBPPLMFKFLKPOBD>OAFKD!PPBOQBA#I>FJLCQEB`0>QBKQ

             .BSBOQEBIBPP FKQEBPR? PB@QFLKP?BILT )E>SBJ>ABJV?BPQBCCLOQQL>PPBPP>KA

   OBPMLKAQL$O3@ELKCBIAaPRKPRMMLOQBA>KA@LK@IRPLOVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEB`

   0>QBKQFPOBKABOBAL?SFLRP?>PBALK^"LPB,FCBPQVIBFKSFBTLC'BKBO>IHKLTIBADBLC>0/3)4! 

   QEB3LKLP&LORJP .LROPB 2>G>M>HPBLO-FIIFKDQLK_





                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 102 of 139
             +!  &%!'$!&&!$ +%O+%! +


                                    /    &63=A3743ABG:3 %GAB3;7<D73E=4B633<3@/:

                                            <=E:3253=4/"!%&

             !Q 3B@QFLK 8))# LC EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA PQ>QBP EFP LMFKFLK QE>Q

    !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

    SFBTLCQEB^DBKBO>IHKLTIBADBLC>0/3)4!_3@ELKCBIA/M2BMLOQ>Q3B@QFLK8))# YY

    )AFP>DOBB\FKJVLMFKFLK @I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB

    ,FCBPQVIB3VPQBJFKSFBTLCQEB^DBKBO>IHKLTIBADBLC>0/3)4! _>KA$O3@ELKCBIAaPLMFKFLK

    QLQEB@LKQO>OVFPCI>TBACLOPBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO $O3@ELKCBIAC>FIPQLPBQCLOQE>KV?>PBPLOOB>PLKFKDCLOEFP

   PQ>QBALMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB

   ,FCBPQVIB3VPQBJFKSFBTLCQEB^DBKBO>IHKLTIBADBLC>0/3)4!_!..3@ELKCBIA/M2BMLOQ

   >QYY )KPQB>A $O3@ELKCBIAOBIFBPBU@IRPFSBIVLKQEBL?SFLRPKBPP>K>IVPFPQE>QEBPBQ

   CLOQEFK@LKKB@QFLKTFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP

   ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB ^DBKBO>I HKLTIBADB LC > 0/3)4! _ TFQELRQ

   MOLSFAFKD>KVBUMI>K>QFLK>PQLELTQE>QMOFLOL?SFLRPKBPP>K>IVPFPLC!PPBOQBA#I>FJLCQEB

   a0>QBKQ>MMIFBPQL!PPBOQBA#I>FJLCQEB`0>QBKQ-&LOQEFPOB>PLK>ILKB )CFKA$O

   3@ELKCBIAaPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB

   "LPB,FCBPQVIB3VPQBJFKSFBTLCQEB^DBKBO>IHKLTIBADBLC>0/3)4!_QL?BABCF@FBKQ

            !AAFQFLK>IIV $O3@ELKCBIAaPL?SFLRPKBPP>K>IVPFPQE>QEBMOLSFABPFK@LKKB@QFLK

   TFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

   3VPQBJFKSFBTLCQEB^DBKBO>IHKLTIBADBLC>0/3)4!_PRCCBOPCOLJ>KRJ?BOLCCI>TP J>KV

   LCTEF@E>OB>MMIF@>?IBQLQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ>PTBII

            &FOPQ BSBKFCQEB"LPB,FCBPQVIB3VPQBJTBOBQL?BJLAFCFBAFKQEBS>OFLRPT>VP

   MOLMLPBA?V$O3@ELKCBIA PR@E>EVMLQEBQF@>IPVPQBJPQFIITLRIAKLQ>@EFBSBBFQEBOQEBPMB@FCF@

   MI>VBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEB

   PMB@FCF@ @LKQOLIIBO PFAB ^WLKB P@BKBP_ CRK@QFLK>IFQV OBNRFOBA ?V !PPBOQBA #I>FJ  LC QEB a

   0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL>K>IVWB

            3B@LKA $O3@ELKCBIAaPMOLMLPBAJLAFCF@>QFLKPQLQEB"LPB,FCBPQVIB3VPQBJ

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 103 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >OB>IIKLQEFKDJLOBEFDE IBSBIPRDDBPQFLKP\PR@E>P^>AA;FKD<LSBOI>MMFKDDOLRMP_\>KA$O

    3@ELKCBIAE>PC>FIBAQLMOLSFAB>KVBUMI>K>QFLK>PQLELTQEBPBMOLMLPBAJLAFCF@>QFLKPQL>QEB

    "LPB ,FCBPQVIB  3VPQBJ TLRIA E>SB >@QR>IIV ?BBK FJMIBJBKQBA  IBQ >ILKB ELT QEB MOLMLPBA

    JLAFCF@>QFLKP TLRIA E>SB >@EFBSBA BFQEBO QEB PMB@FCF@ MI>VBO PFAB ^WLKB P@BKBP_ CRK@QFLK>IFQV

    OBNRFOBA ?V !PPBOQBA #I>FJ  LC QEB a 0>QBKQ LO QEB PMB@FCF@ @LKQOLIIBO PFAB ^WLKB P@BKBP_

    CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL>K>IVWB

    -LOBLSBO  FK JV LMFKFLK  FJMIBJBKQFKD $O 3@ELKCBIAaP EFDE IBSBI PRDDBPQFLKP TLRIA E>SB

    OBNRFOBAPR?PQ>KQF>I KLK L?SFLRPJLAFCF@>QFLKPQLQEB^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVLCQEB

    "LPB,FCBPQVIB3VPQBJ>QQEBQFJB

            4EFOA )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJLAFCV

   QEB"LPB,FCBPQVIB3VPQBJFK>KVLKBLCQEBT>VPMOLMLPBA?V$O3@ELKCBIA\IBQ>ILKB>IILC

   QEBAFCCBOBKQT>VPMOLMLPBA?V$O3@ELKCBIA!PAFP@RPPBA>?LSB QEB"LPB,FCBPQVIB3VPQBJ

   >IOB>AV FK@IRABA >A EL@ ^PE>OBA PLRO@B DOLRM_ CRK@QFLK>IFQV QE>Q >IILTBA ,FCBPQVIB MI>VBOP QL ?B

   DOLRMBAQLDBQEBOLKABJ>KAQLMI>VQEBP>JB>RAFLPLRO@BPFJRIQ>KBLRPIV>I?BFQFK>AFCCBOBKQT>V

   QE>KQEB@I>FJBA^WLKBP@BKBP_CRK@QFLK>IFQV >KA)E>SBKLQPBBK>KVBSFABK@BPRDDBPQFKDQE>Q>

   0/3)4! FK   TLRIA E>SB OB@LDKFWBA >KV M>OQF@RI>O MOL?IBJ TFQE QEB "LPB ,FCBPQVIB 

   3VPQBJaP>A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVQE>QTLRIAE>SBIBAPR@E>0/3)4!QL@LKPFABO

   > AFCCBOBKQ JB@E>KFPJ CLO DOLRMFKD ,FCBPQVIB MI>VBOP QLDBQEBO \ IBQ >ILKB TLRIA E>SB IBA PR@E >

   0/3)4!QLFJMIBJBKQQEBPMB@FCF@^WLKBP@BKBP_CRK@QFLK>IFQVQE>QFP@I>FJBAFKQEBa>KAa

   0>QBKQP&LO>QIB>PQQEBPBOB>PLKP )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBA

   QLOBMI>@BQEBBUFPQFKD>A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB3VPQBJ

   TFQEQEB@I>FJBA^WLKBP@BKBP_CRK@QFLK>IFQV M>OQF@RI>OIVFKSFBTLCQEBQFJB BCCLOQ >KA@LPQQE>Q

   TLRIAE>SB?BBKOBNRFOBAQLLSBOE>RIQEB"LPB,FCBPQVIB3VPQBJaPDOLRMFKDJB@E>KFPJ

            .BSBOQEBIBPP  FK EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA LCCBOP PBSBO>I RKPRMMLOQBA 

   @LK@IRPLOVQEBLOFBP>PQLTEVFQ>0/3)4!FK TLRIAE>SB>IIBDBAIVCLRKAFQL?SFLRPQL

   JLAFCVQEB"LPB,FCBPQVIB3VPQBJFKQEBS>OFLRPT>VPMOLMLPBA?V$O3@ELKCBIA(LTBSBO 

   FK>AAFQFLKQLQEBC>@QQE>Q$O3@ELKCBIAC>FIBAQL>OQF@RI>QB>KVOB>PLKFKD>PQLTEV>0/3)4!

   TLRIA E>SB ?BBK JLQFS>QBA QL JLAFCV QEB "LPB ,FCBPQVIB  3VPQBJ QL >@EFBSB QEB PMB@FCF@

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 104 of 139
             +!  &%!'$!&&!$ +%O+%! +


    @LKQOLIIBO PFAB ^WLKB P@BKBP_ CRK@QFLK>IFQV OBNRFOBA ?V !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ  )

    AFP>DOBBTFQE$O3@ELKCBIAaPQEBLOFBPCLOQEBOB>PLKPBUMI>FKBA?BILT

             3Q>OQFKDTFQEM>O>DO>MELCEFP/MBKFKD2BMLOQ $O3@ELKCBIAPQ>QBP>PCLIILTP

    TFQEOBPMB@QQLEFPMOLMLPBAJLAFCF@>QFLKQL^>AALSBOI>MMFKDDOLRMP_

            !0/3)4!TLRIAE>SB?BBKJLQFS>QBAQL>AALSBOI>MMFKDDOLRMP?B@>RPB"LPB
              ,FCB3QVIBaP LTK J>OHBQFKD J>QBOF>IP QLRQBA QEB CIBUF?FIFQV LC FQP PVPQBJ QL >IILT
            RPBOPQLMI>V?>@HJBAF>QEOLRDELRQQEBFOELRPBELIA!>9;*
    3@ELKCBIA/M2BMLOQ>QY)AFP>DOBB"LPBaPJ>OHBQFKDJ>QBOF>IPQLRQFKDQEB>?FIFQV^QEB

    CIBUF?FIFQV LC FQP PVPQBJ QL >IILT RPBOP QL MI>V ?>@H JBAF> QEOLRDELRQ QEBFO ELRPBELIA_ T>P >

    ABP@OFMQFLKLC@>M>?FIFQFBPQE>QMROMLOQBAIV*5;.*-B.A2<=.-FKQEB"LPB,FCBPQVIB3VPQBJ4EFP

   PQ>QBJBKQ FKCLOJFKD MLQBKQF>I @RPQLJBOP >?LRQ >K BUFPQFKD @>M>?FIFQV LC QEB "LPB ,FCBPQVIB 

   3VPQBJTLRIAKLQE>SBJLQFS>QBA>0/3)4!FK QLJLAFCVQEB"LPB,FCBPQVIB3VPQBJ

   FK >KV T>V \ IBQ >ILKB > JLQFS>QFLK QL JLAFCV QEB "LPB ,FCBPQVIB  3VPQBJ FK QEB J>KV T>VP

   OBNRFOBAQL>@EFBSBQEBPMB@FCF@@LKQOLIIBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA

   #I>FJLCQEB`0>QBKQ

            4ROKFKDKBUQQLM>O>DO>MELCEFP/MBKFKD2BMLOQ $O3@ELKCBIA>IPLPQ>QBP>P

   CLIILTPTFQEOBPMB@QQLEFPMOLMLPBAJLAFCF@>QFLKQL^>AALSBOI>MMFKDDOLRMP_

          !MBOPLKLCPHFIIFKQEB>OQTLRIAE>SBOB@LDKFWBAQE>Q?V>IILTFKD>RPBOQL@OB>QB
             PMB>HBODOLRMP QELPBDOLRMPJ>VBFQEBO >IILTLSBOI>MMFKDDOLRMJBJ?BOPEFM
          LO KLQ>IILTLSBOI>MMFKDDOLRMJBJ?BOPEFM'FSBKQE>Q>IILTFKDLSBOI>MMFKD
             DOLRMJBJ?BOPEFMJ>V?B>QQO>@QFSBQL@BOQ>FKRPBOP?B@>RPBQEBOBT>P>OB@LDKFWBA
          ^KBBA CLO AVK>JF@ @LKQOLI LC QEB >RAFL MI>VBOP >P > DOLRM _ FQ TLRIA E>SB ?BBK
             L?SFLRP QL PBIB@Q >IILTFKD LSBOI>MMFKD DOLRM JBJ?BOPEFM TEBK FJMIBJBKQFKD

             PMB>HBODOLRMPa0>Q>Q 
   3@ELKCBIA/M2BMLOQ>QY)AFP>DOBBCLOQEBP>JBOB>PLKPAFP@RPPBA>?LSBTFQEOBPMB@QQL
   3LKLPaPPVPQBJ
            3MB@FCF@>IIV >P>KFKFQF>IJ>QQBO )AFP>DOBBTFQE$O3@ELKCBIAaPPRDDBPQFLKQE>Q
   QEFPTLRIAE>SBPFJMIV?BBK>J>QQBOLCTEBQEBOLOKLQQL^>IILTLSBOI>MMFKDDOLRMJBJ?BOPEFM_
   4EBBSFABK@B)E>SBOBSFBTBAPELTPQE>QQEB"LPB,FCBPQVIB3VPQBJT>PBJMILVFKD>AFPQFK@QIV
   AFCCBOBKQ QVMB LC DOLRMFKD QB@EKLILDV QE>Q TLRIA KLQ BSBK >IILT CLO ^LSBOI>MMFKD DOLRM
   JBJ?BOPEFM_ ?B@>RPB ^PE>OBA PLRO@B DOLRMP_ TBOB QBJMLO>OV  >A EL@ DOLRMP QE>Q TBOB


                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 105 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >RQLJ>QF@>IIV>@QFS>QBA>QQEBQFJBQEBVTBOB@OB>QBA!PPR@E FQTLRIAKLQE>SB?BBKMLPPF?IBQL

    PFJMIV JLAFCV QEB BUFPQFKD DOLRMFKD QB@EKLILDV LC QEB "LPB ,FCBPQVIB  3VPQBJ QL ^>IILT

    LSBOI>MMFKDDOLRMJBJ?BOPEFM_\>@LJMIBQBIVAFCCBOBKQDOLRMFKDQB@EKLILDVTLRIAE>SB?BBK

    OBNRFOBA!KAFK>KVBSBKQ JLAFCVFKDQEB"LPB,FCBPQVIB3VPQBJQL^>AALSBOI>MMFKDDOLRMP_

    TLRIAKLQE>SB>@EFBSBAQEBPMB@FCF@^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?VBFQEBO!PPBOQBA#I>FJ

    LCQEBa0>QBKQLO!PPBOQBA#I>FJLCQEBa0>QBKQ

             &ROQEBO QEBC>@QQE>QQEBFKSBKQLOLCQEBa0>QBKQOB@LDKFWBA>^KBBACLOAVK>JF@

    @LKQOLILCQEB>RAFLMI>VBOP>P>DOLRM_ALBPKLQBPQ>?IFPEQE>Q>0/3)4!FK TLRIAE>SB

    OB@LDKFWBAQE>QP>JBKBBA >KA$O3@ELKCBIAC>FIPQLFABKQFCV>KVLQEBOBSFABK@BQLPRMMLOQEFP

   PQ>QBJBKQQE>QQEFPKBBATLRIAE>SB?BBKOB@LDKFWBA?V>0/3)4!FK !KAOBD>OAIBPP 

   BSBKFC>0/3)4!FK TBOBQLE>SBOB@LDKFWBAQEFPKBBA )C>FIQLPBBELTQE>QTLRIAE>SB

   JLQFS>QBA>0/3)4!FK QLJLAFCVQEB"LPB,FCBPQVIB3VPQBJaP>A EL@^PE>OBAPLRO@B

   DOLRM_CRK@QFLK>IFQV>Q>IIDFSBKQE>QFQ>IOB>AV>IILTBA,FCBPQVIBMI>VBOPQL?B@LKQOLIIBA>P>DOLRM\

   IBQ>ILKBTLRIAE>SBJLQFS>QBA>0/3)4!FK QLOBMI>@BQEB"LPB,FCBPQVIB3VPQBJaP

   >A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVTFQEQEBPMB@FCF@^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA

   ?VBFQEBO!PPBOQBA#I>FJLCQEBa0>QBKQLO!PPBOQBA#I>FJLCQEBa0>QBKQ

            &ROQEBOVBQ $O3@ELKCBIAC>FIPQLFABKQFCV>KVBSFABK@BFKPRMMLOQLCEFPPQ>QBJBKQ

   QE>Q^>IILTFKDLSBOI>MMFKDDOLRMJBJ?BOPEFMJ>V?B>QQO>@QFSBQL@BOQ>FKRPBOP _?RQBSBKFCQEFP

   TBOB QORB  $O 3@ELKCBIA C>FIP QL BUMI>FK ELT LO TEV QEFP TLRIA E>SB JLQFS>QBA > 0/3)4! FK

    QLOBMI>@BQEB"LPB,FCBPQVIB3VPQBJaP>A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVTFQE

   QEBPMB@FCF@^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?VBFQEBO!PPBOQBA#I>FJLCQEBa0>QBKQLO

   !PPBOQBA#I>FJLCQEBa0>QBKQ

            4ROKFKDKBUQQLM>O>DO>MEP LCEFP/MBKFKD2BMLOQ $O3@ELKCBIA>D>FK

   @FQBP QL QEB PB@QFLK LC -O ,>J?LROKBaP ^:LKB 3@BKBP_ ABPFDK PMB@FCF@>QFLK BKQFQIBA ^7E>Q

   E>MMBKPQLQEB-RPF@QE>QaP>IOB>AVMI>VFKDTEBK>:LKB3@BKBFP3Q>OQBA_>KAOBMB>QPEFPP>JB

   >ODRJBKQQE>Q^;><MBOPLKLCPHFIIFKQEB>OQTLRIAE>SBCLRKAFQL?SFLRPQL@ELLPBCOLJLKBLC

   QEBPBMLPPF?FIFQFBP]PQLMJRPF@ @ELLPBJRPF@ >ALMQQEBJRPF@LCQEBLKIVMI>VFKDPMB>HBO >KA

   @LKQFKRBMI>VFKDQEB`PQ>KA>ILKBaJRPF@]TEBK>AAFKD>PMB>HBOQL>DOLRM_?B@>RPB^;Q<EBPB>OB

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 106 of 139
             +!  &%!'$!&&!$ +%O+%! +


    >IFJFQBAKRJ?BOLCL?SFLRPABPFDKLMQFLKP_3@ELKCBIA/M2BMLOQ>QYY (LTBSBO $O

    3@ELKCBIAaP OBIF>K@B LK QEFP PB@QFLK LC QEB ^:LKB 3@BKBP_ ABPFDK PMB@FCF@>QFLK QL PRMMLOQ QEFP

    LMFKFLK FP CI>TBA CLO >II LC QEB P>JB OB>PLKP BUMI>FKBA >?LSB  >KA ) >IPL AFP>DOBB TFQE $O

    3@ELKCBIAaP PRDDBPQFLK QE>Q @LKCFDROFKD > ,FCBPQVIB MI>VBO QL ^@LKQFKRB MI>VFKD `PQ>KA>ILKBa

    JRPF@_>CQBO?BFKD>AABAQL>^PE>OBAPLRO@BDOLRM_TLRIAE>SB?BBKOB@LDKFWBA>P>K^L?SFLRP

    ABPFDKLMQFLK;<_?V>0/3)4!FK \QEBBSFABK@B)E>SBOBSFBTBAPELTPQE>QQEB"LPB

    ,FCBPQVIB3VPQBJT>PBJMILVFKD>AFPQFK@QIVAFCCBOBKQQVMBLCDOLRMFKDQB@EKLILDVQE>QLKIV

    >IILTBA > RPBO QL @OB>QB QBJMLO>OV  >A EL@ ^PE>OBA PLRO@B DOLRMP_ QE>Q TBOB >RQLJ>QF@>IIV

    >@QFS>QBA >KA @LRIA KBSBO BUFPQ FK >K FK>@QFS>QB PQ>QB  >KA  @LKCFDROFKD > ,FCBPQVIB MI>VBO QL

   ^@LKQFKRBMI>VFKD`PQ>KA>ILKBaJRPF@_>CQBO?BFKD>AABAQL>^PE>OBAPLRO@BDOLRM_TLRIAE>SB

   ?BBK AFOB@QIV @LKQO>OV QL QEB MOFK@FMIB LC LMBO>QFLK LC QE>Q >A EL@ ^PE>OBA PLRO@B DOLRM_

   CRK@QFLK>IFQV&LOQEFPOB>PLK >0/3)4!FK TLRIAKLQE>SBBSBK@LKPFABOBA@LKCFDROFKD

   >,FCBPQVIBMI>VBOQL^@LKQFKRBMI>VFKD`PQ>KA>ILKBaJRPF@_>CQBO?BFKD>AABAQL>^PE>OBAPLRO@B

   DOLRM_>P>MLPPF?IBLMQFLK KLOTLRIA>0/3)4!FK E>SB?BBKJLQFS>QBAQLJLAFCVQEB

   "LPB ,FCBPQVIB  3VPQBJ QL FJMIBJBKQ QEFP @E>KDB  >P QE>Q TLRIA E>SB OBNRFOBA > @LJMIBQBIV

   AFCCBOBKQDOLRMFKDQB@EKLILDV

            &LROQE ?B@>RPBQEBOBFPKLBSFABK@BQE>Q>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBAQLJLAFCVQEB"LPB,FCBPQVIB3VPQBJFKQEBJ>KVT>VPMOLMLPBA?V$O3@ELKCBIA 

   FQ>MMB>OPQE>Q$O3@ELKCBIAE>PRPBAQEB>PPBOQBA@I>FJP>P>OL>AJ>MQLOB>@EEFP@LK@IRPFLK

   QE>Q>0/3)4!TLRIAE>SBCLRKAQEB@I>FJBAFKSBKQFLKL?SFLRP?>PBALKQEB"LPB,FCBPQVIB

   3VPQBJ TEF@E)RKABOPQ>KAQL?BFJMOLMBO

            4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP

   KLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ>ILKB

                                    0     &63=A3743ABG:3 %GAB3;7<D73E=4B63%=<=A

                                             =@C;A

            !Q 3B@QFLK 8))# LC EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA PQ>QBP EFP LMFKFLK QE>Q

   !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

   SFBTLCQEB3LKLP&LORJP3@ELKCBIA/M2BMLOQ>QYY )AFP>DOBB\FKJVLMFKFLK 

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 107 of 139
             +!  &%!'$!&&!$ +%O+%! +


    !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFK

    SFBT LC QEB 3LKLP &LORJP  >KA $O 3@ELKCBIAaP >MM>OBKQ LMFKFLK QL QEB @LKQO>OV FP CI>TBA CLO

    PBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO QLQEBBUQBKQQE>Q$O3@ELKCBIAFPLCCBOFKD>KLMFKFLKQE>QQE>Q

    !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

    SFBT LC QEB 3LKLP &LORJP  $O 3@ELKCBIA C>FIP QL PBQ CLOQE >KV ?>PBP LO OB>PLKFKD CLO PR@E >K

    LMFKFLK!..3@ELKCBIA/M2BMLOQ>QYY )KPQB>A $O3@ELKCBIAOBIFBPBU@IRPFSBIVLK

    QEBL?SFLRPKBPP>K>IVPFPQE>QEBPBQCLOQEFK@LKKB@QFLKTFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLC

    QEBa0>QBKQFPOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ ?RQ$O3@ELKCBIA>IPLC>FIP

   QLMOLSFAB>KV>K>IVPFPLCQEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEB3LKLP&LORJPFKQE>QPB@QFLK

   LCEFP/MBKFKD2BMLOQ-&LOQEFPOB>PLK>ILKB )CFKA$O3@ELKCBIAaPLMFKFLKQE>Q!PPBOQBA

   #I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC

   QEB3LKLP&LORJPQL?BABCF@FBKQ

            -LOBLSBO  QL QEB BUQBKQ QE>Q $O 3@ELKCBIA ALBP FKQBKA QL LCCBO >K LMFKFLK QE>Q

   !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

   SFBTLCQEB3LKLP&LORJP )AFP>DOBBTFQEPR@E>KLMFKFLKCLO>QIB>PQQEBP>JBOB>PLKPBUMI>FKBA

   FKJVLQEBOPB@QFLKPOBD>OAFKD$O3@ELKCBIAaPL?SFLRPKBPPLMFKFLKPQE>Q>OB?>PBALKQEB"LPB

   ,FCBPQVIB3VPQBJ>KAQEB3LKLP&LORJP FK@IRAFKDQE>QKBFQEBOQEB"LPB,FCBPQVIB3VPQBJ

   KLO QEB 3LKLP &LORJP AFP@ILPB LO PRDDBPQ QEB @LKQOLIIBO PFAB ^WLKB P@BKBP_ CRK@QFLK>IFQV LC

   !PPBOQBA #I>FJ  LC QEB a 0>QBKQ  4ERP  BSBK FC QEB "LPB ,FCBPQVIB  3VPQBJ TBOB QL ?B

   JLAFCFBA>KA@LJ?FKBATFQEQEB3LKLP&LORJP PR@E>EVMLQEBQF@>IPVPQBJPQFIITLRIAKLQ>@EFBSB

   BFQEBOQEBPMB@FCF@MI>VBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa

   0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLC

   QEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL>K>IVWB

            )K>AAFQFLKQLQEBPBABCF@FBK@FBP $O3@ELKCBIA>IPLC>FIPQLMOLSFAB>KVBUMI>K>QFLK

   >P QL ELT QEB "LPB ,FCBPQVIB  3VPQBJ TLRIA E>SB >@QR>IIV ?BBK JLAFCFBA QL FK@LOMLO>QB QEB

   CRK@QFLK>IFQVLCQEB3LKLP&LORJP TEV>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQL

   JLAFCVQEB"LPB,FCBPQVIB3VPQBJQLFK@LOMLO>QBQEBCRK@QFLK>IFQVLCQEB3LKLP&LORJP LOELT

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 108 of 139
             +!  &%!'$!&&!$ +%O+%! +


    PR@E > EVMLQEBQF@>I PVPQBJ TLRIA E>SB >@EFBSBA BFQEBO QEB PMB@FCF@ MI>VBO PFAB ^WLKB P@BKBP_

    CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKB

    P@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQ

             4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP

    KLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEB3LKLP&LORJP

                                     1     &63=A3743ABG:3 %GAB3;7<D73E=4 =C@A3

             !Q 3B@QFLK 6))# LC EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA PQ>QBP EFP LMFKFLK QE>Q

    !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

    SFBTLC.LROPB3@ELKCBIA/M2BMLOQ>Q3B@QFLK8))# YY )AFP>DOBB\FKJVLMFKFLK 

   !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFK

   SFBTLC.LROPB >KA$O3@ELKCBIAaPLMFKFLKQLQEB@LKQO>OVFPCI>TBACLOPBSBO>IOB>PLKP

            !P >K FKFQF>I J>QQBO  $O 3@ELKCBIA C>FIP QL PBQ CLOQE >KV ?>PBP LO OB>PLKFKD QE>Q

   TLRIAPRMMLOQ>KLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALK

   QEB"LPB,FCBPQVIB3VPQBJFKSFBTLC.LROPB!..3@ELKCBIA/M2BMLOQ>Q3B@QFLK6))# YY

    )KPQB>A $O3@ELKCBIALKIVAFP@RPPBP.LROPBFKQEB@LKQBUQLC@BOQ>FKIFJFQ>QFLKPLC

   !PPBOQBA#I>FJLCQEBa0>QBKQ TFQELRQMOLSFAFKD>KVBUMI>K>QFLK>PQLELTQE>QAFP@RPPFLK

   >MMIFBPQL!PPBOQBA#I>FJLCQEB`0>QBKQ

            !AAFQFLK>IIV >P)MOBSFLRPIVBUMI>FKBAFKJVa2B?RQQ>I2BMLOQ $O3@ELKCBIAaP

   AFP@RPPFLKLC.LROPBQE>QEBFK@IRABPFKEFP>K>IVPFPLC!PPBOQBA#I>FJLCQEBa0>QBKQ>P

   @LJM>OBAQLQEB"LPB,FCBPQVIB3VPQBJPRCCBOPCOLJ>KRJ?BOLCCI>TP J>KVLCTEF@E>OB

   >MMIF@>?IBQLQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ>PTBII

            &FOPQ .LROPBT>P@FQBALKQEBC>@BLCQEBa0>QBKQ TEF@EPELTPQE>Q.LROPB

   T>P @LKPFABOBA ?V QEB 5304/ AROFKD MOLPB@RQFLK LC QEB a 0>QBKQ >KA QE>Q QEB a 0>QBKQ

   FK@IRAFKD!PPBOQBA#I>FJ T>P>IILTBAQLFPPRBLSBO.LROPB!..a0>QBKQ>Q3FK@BQEB

   5304/>IOB>AV@LKPFABOBA.LROPB )RKABOPQ>KAQE>Q$O3@ELKCBIA>KA'LLDIBE>SBQEB>AABA

   ?ROABK LC LSBO@LJFKD QEB ABCBOBK@B QE>Q FP ARB QL > NR>IFCFBA DLSBOKJBKQ >DBK@V  PR@E >P QEB

   5304/  QE>Q FP MOBPRJBA QL E>SB MOLMBOIV ALKB FQP GL? ?>PBA LK FQP BUMBOQFPB FK FKQBOMOBQFKD

   OBCBOBK@BP FQPRKABOPQ>KAFKDLCQEBIBSBILCLOAFK>OVPHFIIFKQEB>OQ >KAFQPARQVQLFPPRBLKIVS>IFA

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 109 of 139
             +!  &%!'$!&&!$ +%O+%! +


    M>QBKQP(LTBSBO FQFPJVLMFKFLKQE>Q$O3@ELKCBIAC>FIBAQLP>QFPCVQEFP>AABA?ROABK

             3B@LKA CLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE3LKLPaP

    PVPQBJ .LROPBC>FIPQLAFP@ILPBLOPRDDBPQQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQVQE>QT>P

    JFPPFKDCOLJ>3NRBBWB?LUPVPQBJ!>9;*3B@QFLK86!FU@4ERP BSBKFC>0/3)4!FK

    TBOBQLJLAFCV>KA@LJ?FKBQEB"LPB,FCBPQVIB3VPQBJTFQEQEBFABKQFCFBACRK@QFLK>IFQVLC

    .LROPBaP ^@BKQO>IFWBA PMB>HBO PVPQBJ_ FK QEB J>KKBO MOLMLPBA ?V $O 3@ELKCBIA  PR@E >

    EVMLQEBQF@>I PVPQBJ PQFII TLRIA KLQ >@EFBSB BFQEBO QEB PMB@FCF@ MI>VBO PFAB ^WLKB P@BKBP_

    CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKB

    P@BKBP_CRK@QFLK>IFQVOBNRFOBA?VQEB!PPBOQBA#I>FJPLCQEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBA

   QL>K>IVWB

            4EFOA  $O 3@ELKCBIA E>P C>FIBA QL MOLSFAB >KV BUMI>K>QFLK >P QL ELT QEB "LPB

   ,FCBPQVIB  3VPQBJ TLRIA E>SB >@QR>IIV ?BBK JLAFCFBA QL @LJ?FKB FQ TFQE QEB FABKQFCFBA

   CRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBAPMB>HBOPVPQBJ_\IBQ>ILKBELTQE>Q>IIBDBA@LJ?FK>QFLK

   TLRIAE>SB>@EFBSBAQEB@I>FJBAFKSBKQFLK

            &LROQE )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJLAFCV

   QEB"LPB,FCBPQVIB3VPQBJQLFK@LOMLO>QBQEBFABKQFCFBACRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBA

   PMB>HBOPVPQBJ_!PAFP@RPPBA>?LSB QEB"LPB,FCBPQVIB3VPQBJ>IOB>AVFK@IRABA>A EL@^PE>OBA

   PLRO@BDOLRM_CRK@QFLK>IFQVQE>Q>IILTBA,FCBPQVIBMI>VBOPQL?BDOLRMBAQLDBQEBOLKABJ>KAQLMI>V

   QEB P>JB >RAFL PLRO@B PFJRIQ>KBLRPIV >I?BFQ FK > AFCCBOBKQ T>V QE>K QEB @I>FJBA ^WLKB P@BKBP_

   CRK@QFLK>IFQV >KA)E>SBKLQPBBK>KVBSFABK@BPRDDBPQFKDQE>Q>0/3)4!FK TLRIAE>SB

   OB@LDKFWBA>KVM>OQF@RI>OMOL?IBJTFQEQEB"LPB,FCBPQVIB3VPQBJaP>A EL@^PE>OBAPLRO@BDOLRM_

   CRK@QFLK>IFQV QE>Q TLRIA E>SB IBA PR@E > 0/3)4! QL @LKPFABO > AFCCBOBKQ JB@E>KFPJ CLO DOLRMFKD

   ,FCBPQVIBMI>VBOP\IBQ>ILKBTLRIAE>SBIBAPR@E>0/3)4!QLFJMIBJBKQQEBFABKQFCFBACRK@QFLK>IFQV

   LC.LROPBaP^@BKQO>IFWBAPMB>HBOPVPQBJ_&LO>QIB>PQQEBPBOB>PLKP )AFP>DOBBQE>Q>0/3)4!FK

    TLRIAE>SB?BBKJLQFS>QBAQLOBMI>@BQEBBUFPQFKD>A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQV

   LCQEB"LPB,FCBPQVIB3VPQBJTFQEQEBFABKQFCFBACRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBAPMB>HBO

   PVPQBJ _M>OQF@RI>OIVFKSFBTLCQEBQFJB BCCLOQ >KA@LPQQE>QTLRIAE>SB?BBKOBNRFOBAQLLSBOE>RI

   QEBDOLRMFKDJB@E>KFPJLCQEB"LPB,FCBPQVIB3VPQBJ

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 110 of 139
             +!  &%!'$!&&!$ +%O+%! +


             .BSBOQEBIBPP  FK EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA LCCBOP PBSBO>I RKPRMMLOQBA 

    @LK@IRPLOVQEBLOFBP>PQLTEVFQ>0/3)4!FK TLRIAE>SB>IIBDBAIVCLRKAFQL?SFLRPQL

    @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJTFQE QEBFABKQFCFBACRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBA

    PMB>HBOPVPQBJ_FKQEBPMB@FCF@J>KKBOMOLMLPBA?V$O3@ELKCBIA(LTBSBO FK>AAFQFLKQLQEBC>@Q

    QE>Q$O3@ELKCBIAC>FIBAQLMOLSFAB>KV>K>IVPFP>PQLELTLOTEVQEB@LJ?FK>QFLKLCQEB"LPB

    ,FCBPQVIB3VPQBJ>KA.LROPB>@EFBSBPQEBPMB@FCF@@LKQOLIIBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQV

    OBNRFOBA?V!PPBOQBA#I>FJLCQEB`0>QBKQ )AFP>DOBBTFQE$O3@ELKCBIAaPQEBLOFBPCLOQEB

    OB>PLKPBUMI>FKBA?BILT

             &LOFKPQ>K@B >QM>O>DO>MELCEFP/MBKFKD2BMLOQ $O3@ELKCBIAP>VPQE>Q>

   0/3)4! TLRIA E>SB ?BBK JLQFS>QBA QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE .LROPB

   ?B@>RPB.LROPBFP^>K>ILDLRPQLQEBaM>QBKQ_>KA^OB>PLK>?IVMBOQFKBKQQLQEBMOL?IBJQL?B

   PLISBA?VQEBaM>QBKQ_3@ELKCBIA/M2BMLOQ>QY(LTBSBO QEBPBDBKBOF@PQ>QBJBKQP

   C>FIQLBPQ>?IFPETEV>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJ>HB>KVJLAFCF@>QFLK

   QLQEB"LPB,FCBPQVIB3VPQBJ>Q>II\IBQ>ILKBTEV>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBAQL@LJ?FKBQEB"LPB,FCBPQVIB3VPQBJTFQE.LROPBFKQEBPMB@FCF@J>KKBOMOLMLPBA

   ?V$O3@ELKCBIA

            !QM>O>DO>MELCEFP/MBKFKD2BMLOQ $O3@ELKCBIA>IPLPQ>QBP>PCLIILTP

           .LROPBQB>@EBP>AAFQFLK>IJB>KPCLOFJMOLSFKDQEBRPBOBUMBOFBK@B?V>IILTFKD>
              RPBOQL>AA>MI>V?>@HABSF@BQLJRIQFMIBDOLRMP.LROPB>Q )QTLRIAE>SB
           ?BBKABPFO>?IBQL>IILT>RPBOQLE>SB>M>OQF@RI>OWLKBMI>VBOGLFKJRIQFMIBDOLRMP
              BD  QEB HFQ@EBK >KA M>QFL @LRIA ?B DOLRMBA CLO LRQPFAB BKQBOQ>FKJBKQ  >KA QEB
           HFQ@EBK >KA IFSFKD OLLJ @LRIA ?B DOLRMBA CLO FKPFAB BKQBOQ>FKJBKQ  (>SFKD >
           PMB>HBO GLFK JRIQFMIB DOLRMP TLRIA FK@OB>PB QEB KRJ?BO LC @RPQLJFWBA
              @LJ?FK>QFLKP>RPBO@LRIA@LKCFDROBFKQEBFOELJB >PQEB"LPB,FCBPQVIBOB@LDKFWBP
           >P>KFJMLOQ>KQCB>QROB

   3@ELKCBIA/M2BMLOQ>QY$O3@ELKCBIAC>FIPQLPRMMLOQQEFPPQ>QBJBKQQE>Q^;F<QTLRIAE>SB

   ?BBK ABPFO>?IB QL >IILT > RPBO QL E>SB > M>OQF@RI>O WLKB MI>VBO GLFK JRIQFMIB DOLRMP_ TFQE >KV

   BSFABK@B ?RQBSBKFC>0/3)4!FK TBOBQLE>SBOB@LDKFWBAQE>QQEFPCRK@QFLK>IFQVT>P

   ^ABPFO>?IB _)C>FIQLPBB>KVBSFABK@BQE>QQEFPOB@LDKFQFLKTLRIAE>SBJLQFS>QBAPR@E>0/3)4!

   QLOBMI>@BQEBBUFPQFKD>A EL@^PVK@DOLRM_CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB3VPQBJTFQEQEB

   FABKQFCFBACRK@QFLK>IFQVLC.LROPB\M>OQF@RI>OIVDFSBKQE>QF QEBBUFPQFKD>A EL@^PE>OBAPLRO@B

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 111 of 139
             +!  &%!'$!&&!$ +%O+%! +


    DOLRM_CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB3VPQBJ>IOB>AVMOLSFABA>JB@E>KFPJCLODOLRMFKD

    ,FCBPQVIBMI>VBOPQLDBQEBO>KAFF QEB"LPB,FCBPQVIB3VPQBJE>A>AFPQFK@QIVAFCCBOBKQPVPQBJ

    >O@EFQB@QROB >KA @LJJRKF@>QFLK MOLQL@LI QE>K .LROPBaP @LKSBKQFLK>I ^@BKQO>IFWBA PMB>HBO

    PVPQBJ_-LOBLSBO BSBKFC>0/3)4!FK TBOBQLE>SBOB@LDKFWBAQE>QFQT>P^ABPFO>?IB_

    QL JLAFCV QEB "LPB ,FCBPQVIB  3VPQBJQL ^>IILT > RPBO QL E>SB > M>OQF@RI>O WLKB MI>VBO GLFK

    JRIQFMIB DOLRMP_ >P $O 3@ELKCBIA @LKQBKAP  QEFP PQFII TLRIA KLQ E>SB JLQFS>QBA > 0/3)4! QL

    @LJ?FKBQEB"LPB,FCBPQVIB3VPQBJTFQEQEBFABKQFCFBACRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBA

    PMB>HBOPVPQBJ_LOLQEBOTFPBJLAFCVQEB"LPB,FCBPQVIB3VPQBJFKQEBPMB@FCF@T>VPQE>QTLRIA

    E>SB?BBKOBNRFOBAFKLOABOQL>@EFBSBBFQEBOQEBPMB@FCF@MI>VBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQV

   OBNRFOBA ?V !PPBOQBA #I>FJ  LC QEB a 0>QBKQ LO QEB PMB@FCF@ @LKQOLIIBO PFAB ^WLKB P@BKBP_

   CRK@QFLK>IFQV OBNRFOBA ?V QEB !PPBOQBA #I>FJP LC QEB a 0>QBKQ QE>Q $O 3@ELKCBIA C>FIBA QL

   >K>IVWB

            )E>SB>IPLPBBKBSFABK@BLC>CCFOJ>QFSBOB>PLKPTEV>0/3)4!TLRIAKLQE>SB

   ?BBK JLQFS>QBA QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE QEB FABKQFCFBA CRK@QFLK>IFQV LC

   .LROPBaP^@BKQO>IFWBAPMB>HBOPVPQBJ&LOFKPQ>K@B >PBUMI>FKBA>?LSB QEB"LPB,FCBPQVIB

   3VPQBJ E>A > AFPQFK@QIV AFCCBOBKQ PVPQBJ >O@EFQB@QROB QE>K .LROPBaP @LKSBKQFLK>I ^@BKQO>IFWBA

   PMB>HBO PVPQBJ _ TEF@E OBNRFOBP  >JLKD LQEBO QEFKDP  > ^@BKQO>I PQ>QFLK_ TFQE > ^@LIIL@>QBA_

   >JMIFCFBO!AAFQFLK>IIV >PBUMI>FKBA>?LSB .LROPBaP^@BKQO>IFWBAPMB>HBOPVPQBJ_T>PMOFJ>OV

   ABPFDKBAQLPBOSB>P>MR?IF@>AAOBPPPVPQBJ TEBOB>PQEB"LPB,FCBPQVIB3VPQBJT>PMOFJ>OV

   ABPFDKBAQLPBOSB>PELJB>RAFLPVPQBJ&ROQEBO >PBUMI>FKBA>?LSB QEB0BOPLK>I-RPF@#BKQBO

   >KA-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB3VPQBJ TEF@E>OBRPBAQLPBQRM>^PE>OBA

   PLRO@B DOLRM_ LC ,FCBPQVIB MI>VBOP  @LJJRKF@>QB RPFKD > MOLMOFBQ>OV O>AFL COBNRBK@V

   @LJJRKF@>QFLKMOLQL@LIQE>QT>PPMB@FCF@>IIVABSBILMBACLOQEB"LPB,FCBPQVIB3VPQBJ>KAQE>Q

   FP^KLQ@LJM>QF?IB_TFQEMOLQL@LIPRPBAFKLQEBO"LPBPVPQBJP JR@EIBPP>KVQEFOA M>OQVPVPQBJ

   IFHBQEBLKBFK.LROPB!.."/3%=35"  >Q'FSBKQEBPBAFCCBOBK@BP FQFPJV

   LMFKFLKQE>Q>0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKDQEB"LPB,FCBPQVIB3VPQBJ

   QL@LJ?FKBFQTFQEQEBFABKQFCFBACRK@QFLK>IFQVLC.LROPBaP^@BKQO>IFWBAPMB>HBOPVPQBJ_

            &FK>IIV ?B@>RPBQEBOBFPKLBSFABK@BQE>Q>0/3)4!FK TLRIAE>SB?BBK

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 112 of 139
             +!  &%!'$!&&!$ +%O+%! +


    JLQFS>QBAQLJLAFCVQEB"LPB,FCBPQVIB3VPQBJQL@LJ?FKBFQTFQEQEBFABKQFCFBACRK@QFLK>IFQV

    LC.LROPB FQ>MMB>OPQE>Q$O3@ELKCBIAE>PRPBAQEB>PPBOQBA@I>FJP>P>OL>AJ>MQLOB>@EEFP

    @LK@IRPFLKQE>Q>0/3)4!TLRIAE>SBCLRKAQEB@I>FJBAFKSBKQFLKL?SFLRP?>PBALKQEB"LPB

    ,FCBPQVIB3VPQBJFK@LJ?FK>QFLKTFQE.LROPB TEF@E)RKABOPQ>KAQL?BFJMOLMBO869*;.

    3@ELKCBIA/M2BMLOQ Y^)QTLRIAE>SB?BBKABPFO>?IBQL>IILT>RPBOQLE>SB>M>OQF@RI>O

    WLKB MI>VBO GLFK JRIQFMIB DOLRMP BD  QEB HFQ@EBK >KA M>QFL @LRIA ?B DOLRMBA CLO LRQPFAB

    BKQBOQ>FKJBKQ >KAQEBHFQ@EBK>KAIFSFKDOLLJ@LRIA?BDOLRMBACLOFKPFABBKQBOQ>FKJBKQ (>SFKD

    >PMB>HBOGLFKJRIQFMIBDOLRMPTLRIAFK@OB>PBQEBKRJ?BOLC@RPQLJFWBA@LJ?FK>QFLKP>RPBO@LRIA

    @LKCFDROB FK QEBFO ELJB  >P QEB "LPB ,FCBPQVIB OB@LDKFWBP >P >K FJMLOQ>KQ CB>QROB_  @2=1 a

   0>QBKQ  ^%UM>KAFKDQEFPFAB>CROQEBO >:LKB3@BKB@>K?BPBQQL@OB>QBJRIQFMIBPBQPLC

   IFKHBAWLKBP&LOBU>JMIB >P@BKB@OB>QBPPBM>O>QBDOLRMPLCWLKBP QEBALTKPQ>FOPWLKBPTLRIA

   ?BIFKHBAQLDBQEBO QEBRMPQ>FOPWLKBPTLRIA?BIFKHBAQLDBQEBOFKQEBFOLTKDOLRM >KAQEBLRQPFAB

   WLKBPFKQEFP@>PBQEBM>QFL TLRIAJLSBFKQL>DOLRMLCFQPLTK_  ^4EBOBFP>KBBACLO

   AVK>JF@@LKQOLILCQEB>RAFLMI>VBOP>P>DOLRM7FQE>JFKFJRJJ>KFMRI>QFLK QEB>RAFLMI>VBOP

   J>V?BOB>AFIVDOLRMBA)K>QO>AFQFLK>IJRIQF WLKB>RAFLPVPQBJ QEB>RAFLMI>VBOPE>SBQL?B

   >AGRPQBALKB>Q>QFJB OBPRIQFKDFK>KFK@LKSBKFBKQ>KAKLK ELJLDBKLRP>RAFLBKSFOLKJBKQ_ 

            4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP

   KLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFK@LJ?FK>QFLKTFQE.LROPB

                                    2     &63=A3743ABG:3 %GAB3;7<D73E=4$/8/>/9A3

            !Q 3B@QFLK 6))# LC EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA PQ>QBP EFP LMFKFLK QE>Q

   !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

   SFBTLC2>G>M>HPB3@ELKCBIA/M2BMLOQ>Q3B@QFLK8))# YY )AFP>DOBB\FKJV

   LMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

   3VPQBJFKSFBTLC2>G>M>HPB >KA$O3@ELKCBIAaPLMFKFLKQLQEB@LKQO>OVFPCI>TBACLOPBSBO>I

   OB>PLKP

            !P >K FKFQF>I J>QQBO  $O 3@ELKCBIA C>FIP QL PBQ CLOQE >KV ?>PBP LO OB>PLKFKD QE>Q

   TLRIAPRMMLOQ>KLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALK

   QEB"LPB,FCBPQVIB3VPQBJFKSFBTLC2>G>M>HPB!..3@ELKCBIA/M2BMLOQ>Q3B@QFLK6))# 

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 113 of 139
             +!  &%!'$!&&!$ +%O+%! +


    YY )KPQB>A $O3@ELKCBIALKIVAFP@RPPBP2>G>M>HPBFKQEB@LKQBUQLC@BOQ>FKIFJFQ>QFLKP

    LC!PPBOQBA#I>FJLCQEBa0>QBKQ TFQELRQMOLSFAFKD>KVBUMI>K>QFLK>PQLELTQE>QAFP@RPPFLK

    >MMIFBPQL!PPBOQBA#I>FJLCQEB`0>QBKQ

             !AAFQFLK>IIV >P)MOBSFLRPIVBUMI>FKBAFKJVa2B?RQQ>I2BMLOQ $O3@ELKCBIAaP

    AFP@RPPFLKLC2>G>M>HPBQE>QEBFK@IRABPFKEFP>K>IVPFPLC!PPBOQBA#I>FJLCQEBa0>QBKQ>P

    @LJM>OBAQLQEB"LPB,FCBPQVIB3VPQBJPRCCBOPCOLJ>KRJ?BOLCCI>TP J>KVLCTEF@E>OB

    >MMIF@>?IBQLQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ>PTBII

             &FOPQ  >P BUMI>FKBA >?LSB  $O 3@ELKCBIA E>P C>FIBA QL BPQ>?IFPE QE>Q 2>G>M>HPB

    NR>IFCFBP>PMOFLO>OQQL@I>FJLCQEBa0>QBKQ!>9;*3B@QFLK8))))

            3B@LKA KLQLKIVT>P2>G>M>HPB@FQBALKQEBC>@BLCPBSBO>ILQEBO3LKLPM>QBKQP>P

   >@HKLTIBADBA?V$O3@ELKCBIA3@ELKCBIA/M2BMLOQ>QY 2>G>M>HPBT>P>IPL@FQBALKQEB

   C>@BLCQEBa0>QBKQa0>QBKQ>Q4EFPPELTPQE>Q2>G>M>HPBT>P@LKPFABOBA?VQEB5304/

   AROFKDMOLPB@RQFLKLCQEBa0>QBKQ>KAQE>QQEBa0>QBKQFK@IRAFKD!PPBOQBA#I>FJ T>P

   >IILTBAQLFPPRBLSBO2>G>M>HPB3FK@BQEB5304/>IOB>AV@LKPFABOBA2>G>M>HPB )RKABOPQ>KA

   QE>Q$O3@ELKCBIA>KA'LLDIBE>SBQEB>AABA?ROABKLCLSBO@LJFKDQEBABCBOBK@BQE>QFPARBQL

   >NR>IFCFBADLSBOKJBKQ>DBK@V PR@E>PQEB5304/ QE>QFPMOBPRJBAQLE>SBMOLMBOIVALKBFQPGL?

   ?>PBALKFQPBUMBOQFPBFKFKQBOMOBQFKDOBCBOBK@BP FQPRKABOPQ>KAFKDLCQEBIBSBILCLOAFK>OVPHFIIFK

   QEB>OQ >KAFQPARQVQLFPPRBLKIVS>IFAM>QBKQP(LTBSBO FQFPJVLMFKFLKQE>Q$O3@ELKCBIAC>FIBA

   QLP>QFPCVQEFP>AABA?ROABK

            4EFOA CLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE3LKLPaP

   PVPQBJ  2>G>M>HPB C>FIP QL AFP@ILPB LO PRDDBPQ QEB @I>FJBA ^WLKB P@BKB_ CRK@QFLK>IFQV QE>Q T>P

   JFPPFKDCOLJQEB"LPB,FCBPQVIB3VPQBJ!>9;*3B@QFLK86!FUE4ERP BSBKFC>0/3)4!FK

     TBOB QL JLAFCV >KA @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE QEB FABKQFCFBA

   CRK@QFLK>IFQVLC2>G>M>HPBaPPVPQBJFKQEBJ>KKBOMOLMLPBA?V$O3@ELKCBIA PR@E>EVMLQEBQF@>I

   PVPQBJPQFIITLRIAKLQ>@EFBSBBFQEBOQEBPMB@FCF@MI>VBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA

   ?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQV

   OBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL>K>IVWB

            &LROQE  $O 3@ELKCBIA E>P C>FIBA QL MOLSFAB >KV BUMI>K>QFLK >P QL ELT QEB "LPB

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 114 of 139
             +!  &%!'$!&&!$ +%O+%! +


    ,FCBPQVIB3VPQBJTLRIAE>SB>@QR>IIV?BBKJLAFCFBAQLFK@LOMLO>QBQEBFABKQFCFBACRK@QFLK>IFQV

    LC2>G>M>HPBaPPVPQBJ\IBQ>ILKBELTQE>Q>IIBDBA@LJ?FK>QFLKTLRIAE>SB>@EFBSBAQEB@I>FJBA

    FKSBKQFLK

             &FCQE )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJLAFCV

    QEB"LPB,FCBPQVIB3VPQBJQLFK@LOMLO>QBQEBFABKQFCFBACRK@QFLK>IFQVLC2>G>M>HPBaPPVPQBJ!P

    AFP@RPPBA >?LSB  QEB "LPB ,FCBPQVIB  3VPQBJ >IOB>AV FK@IRABA >A EL@ ^PE>OBA PLRO@B DOLRM_

    CRK@QFLK>IFQVQE>Q>IILTBA,FCBPQVIBMI>VBOPQL?BDOLRMBAQLDBQEBOLKABJ>KAQLMI>VQEBP>JB>RAFL

    PLRO@BPFJRIQ>KBLRPIV>I?BFQFK>AFCCBOBKQT>VQE>KQEB@I>FJBA^WLKBP@BKBP_CRK@QFLK>IFQV >KA)

    E>SB KLQ PBBK >KV BSFABK@B PRDDBPQFKD QE>Q > 0/3)4! FK   TLRIA E>SB OB@LDKFWBA >KV

   M>OQF@RI>OMOL?IBJTFQEQEB"LPB,FCBPQVIB3VPQBJaP>A EL@^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQV

   QE>QTLRIAE>SBIBAPR@E>0/3)4!QL@LKPFABO>AFCCBOBKQJB@E>KFPJCLODOLRMFKD,FCBPQVIBMI>VBOP

   QLDBQEBO \ IBQ >ILKB TLRIA E>SB IBA PR@E > 0/3)4! QL FJMIBJBKQ QEB FABKQFCFBA CRK@QFLK>IFQV LC

   2>G>M>HPBaPPVPQBJ&LO>QIB>PQQEBPBOB>PLKP )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBAQLOBMI>@BQEBBUFPQFKD>A EL@^PVK@DOLRM_CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB3VPQBJ

   TFQEQEBFABKQFCFBACRK@QFLK>IFQVLC2>G>M>HPBaPPVPQBJ M>OQF@RI>OIVFKSFBTLCQEBQFJB BCCLOQ >KA

   @LPQQE>QTLRIAE>SB?BBKOBNRFOBAQLLSBOE>RIQEBDOLRMFKDJB@E>KFPJLCQEB "LPB ,FCBPQVIB 

   3VPQBJ

            )K EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA P>VP QE>Q > 0/3)4! TLRIA E>SB CLRKA FQ

   L?SFLRP QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE 2>G>M>HPB CLO QEB PLIB OB>PLK QE>Q

   ^2>G>M>HPBT>P@FQBA?VJ>KV3LKLPM>QBKQPOBD>OAFKDPMB>HBODOLRMFKD FK@IRAFKDM>QBKQPCOLJ

   QEBP>JBC>JFIV>PQEBaM>QBKQ_>PTBII>PQEFOA M>OQVM>QBKQP FK@IRAFKD'LLDIBaPLTKM>QBKQP 

   QE>Q >OB ^@ILPBIV OBI>QBA QL QEB a M>QBKQ_  3@ELKCBIA /M 2BMLOQ >Q Y   (LTBSBO  QEBPB

   DBKBOF@PQ>QBJBKQPC>FIQLBPQ>?IFPETEV>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJ>HB

   >KVJLAFCF@>QFLKQLQEB"LPB,FCBPQVIB3VPQBJ>Q>II\IBQ>ILKBTEV>0/3)4!FK 

   TLRIA E>SB ?BBK JLQFS>QBA QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE 2>G>M>HPB FK QEB

   PMB@FCF@J>KKBOMOLMLPBA?V$O3@ELKCBIA

            )E>SB>IPLPBBKBSFABK@BLC>CCFOJ>QFSBOB>PLKPTEV>0/3)4!TLRIAKLQE>SB

   ?BBK JLQFS>QBA QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE QEB FABKQFCFBA CRK@QFLK>IFQV LC

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 115 of 139
             +!  &%!'$!&&!$ +%O+%! +


    2>G>M>HPBaPPVPQBJ

             &LO BU>JMIB  ?B@>RPB QEB "LPB ,FCBPQVIB  3VPQBJ E>A > AFCCBOBKQ PVPQBJ

    >O@EFQB@QROB QE>K 2>G>M>HPBaP PVPQBJ  TEF@E OBNRFOBP > KRJ?BO LC AFCCBOBKQ @LJMLKBKQP QL

    C>@FIFQ>QBFQP^WLKB_CRK@QFLK>IFQV FK@IRAFKD>^?OFADBOBKABOBO _>^AFPQOF?RQFLKPBOSBO _

    >KA>^WLKBJ>K>DBO _>JLKDLQEBOP<..2>G>M>HPB>Q&)'P <..*5<82->Q  FQ

    FPJVLMFKFLKQE>Q>0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKDQEB"LPB,FCBPQVIB

    3VPQBJQL@LJ?FKBFQTFQEQEBFABKQFCFBACRK@QFLK>IFQVLC2>G>M>HPBaPPVPQBJ?B@>RPB CLOBU>JMIB 

    >AAFKD2>G>M>HPBaP^WLKB_CRK@QFLK>IFQVTLRIAE>SBOBNRFOBA>AAFKD>AAFQFLK>I@LJMLKBKQPQLQEB

    "LPB,FCBPQVIB3VPQBJ>KAQEBOB?V>IQBOBAQEBLMBO>QFLKLCQEB"LPB,FCBPQVIB3VPQBJ

            !P>KLQEBOBU>JMIB QEB0BOPLK>I-RPF@#BKQBO>KA-RIQF 2LLJ)KQBOC>@BLCQEB

   "LPB,FCBPQVIB3VPQBJ TEF@E>OBRPBAQLPBQRM>^PE>OBAPLRO@B_LC>RAFLCLOJRIQFMIB,FCBPQVIB

   MI>VBOP  @LJJRKF@>QB RPFKD > MOLMOFBQ>OV O>AFL COBNRBK@V @LJJRKF@>QFLK MOLQL@LI QE>Q T>P

   PMB@FCF@>IIVABSBILMBACLOQEB"LPB,FCBPQVIB3VPQBJ>KAQE>QFP^KLQ@LJM>QF?IB_TFQEMOLQL@LIP

   RPBA FK LQEBO "LPB PVPQBJP  JR@E IBPP >KV QEFOA M>OQV PVPQBJ IFHB QEB LKB FK 2>G>M>HPB  !..

   "/3%=35"   >Q   !P PR@E  > 0/3)4! TLRIA E>SB ?BBK AFPPR>ABA COLJ

   JLAFCVFKD QEB "LPB ,FCBPQVIB  3VPQBJ QL @LJ?FKB FQ TFQE QEB FABKQFCFBA CRK@QFLK>IFQV LC

   2>G>M>HPB

            4EBPBBU>JMIBPPELTQE>Q>0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKD

   QEB"LPB,FCBPQVIB3VPQBJ?B@>RPB QLQEBBUQBKQFQT>PBSBKMLPPF?IB FQTLRIAE>SBOBNRFOBA

   TELIBP>IB@E>KDBPQLQEBPVPQBJ>O@EFQB@QROB>KA@LJJRKF@>QFLKMOLQL@LILCQEB"LPB,FCBPQVIB

   3VPQBJFKLOABOQL CLOBU>JMIB BK>?IBQEB0BOPLK>I-RPF@#BKQBO>KALO-RIQF 2LLJ)KQBOC>@B

   LCQEB"LPB,FCBPQVIB3VPQBJQL@LJJRKF@>QBTFQEQEB>AAFQFLK>I@LJMLKBKQPCOLJ2>G>M>HPB

   QE>Q>OBOBNRFOBAQLC>@FIFQ>QB2>G>M>HPBaP^WLKB_CRK@QFLK>IFQV

            &FK>IIV ?B@>RPBQEBOBFPKLBSFABK@BQE>Q>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBAQLJLAFCVQEB"LPB,FCBPQVIB3VPQBJQL@LJ?FKBFQTFQEQEBFABKQFCFBACRK@QFLK>IFQV

   LC2>G>M>HPB FQ>MMB>OPQE>Q$O3@ELKCBIAE>PRPBAQEB>PPBOQBA@I>FJP>P>OL>AJ>MQLOB>@EEFP

   @LK@IRPFLKQE>Q>0/3)4!TLRIAE>SBCLRKAQEB@I>FJBAFKSBKQFLKL?SFLRP?>PBALKQEB"LPB

   ,FCBPQVIB  3VPQBJ FK @LJ?FK>QFLK TFQE 2>G>M>HPB  TEF@E ) RKABOPQ>KA QL ?B FJMOLMBO  !..

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 116 of 139
             +!  &%!'$!&&!$ +%O+%! +


    3@ELKCBIA /M 2BMLOQ  Y  ^2>G>M>HPB T>P @FQBA ?V J>KV 3LKLP M>QBKQP OBD>OAFKD PMB>HBO

    DOLRMFKD FK@IRAFKDM>QBKQPCOLJQEBP>JBC>JFIV>PQEBaM>QBKQ FKAF@>QFKDQE>QMBOPLKPLC

    PHFIIFKQEB>OQOB@LDKFWBAQE>Q2>G>M>HPBT>PEFDEIVOBIBS>KQQLQEB@I>FJBACB>QROBP_ 

             4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQ

    FPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFK@LJ?FK>QFLKTFQE2>G>M>HPB

                                    3    &63=A3743ABG:3 %GAB3;7<D73E=47::7<5B=<

             !Q 3B@QFLK 6))# LC EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA PQ>QBP EFP LMFKFLK QE>Q

    !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

    SFBTLC-FIIFKDQLK3@ELKCBIA/M2BMLOQ>Q3B@QFLK8))# YY )AFP>DOBB\FKJV

   LMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

   3VPQBJFKSFBTLC-FIIFKDQLK >KA$O3@ELKCBIAaPLMFKFLKQLQEB@LKQO>OVFPCI>TBACLOPBSBO>I

   OB>PLKP

            !P>KFKFQF>IJ>QQBO $O3@ELKCBIAC>FIPQLPBQCLOQE>KV?>PBPLOOB>PLKFKDCLOQEFP

   LMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB

    3VPQBJ FK SFBT LC -FIIFKDQLK  !.. 3@ELKCBIA /M 2BMLOQ >Q 3B@QFLK 6))"  YY  

   )KPQB>A $O3@ELKCBIAOBIFBPBU@IRPFSBIVLKQEBL?SFLRPKBPP>K>IVPFPQE>QEBPBQCLOQEFK@LKKB@QFLK

   TFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

    3VPQBJ FK SFBT LC -FIIFKDQLK  TFQELRQ MOLSFAFKD >KV BUMI>K>QFLK >P QL ELT QE>Q MOFLO

   L?SFLRPKBPP>K>IVPFPLC!PPBOQBA#I>FJLCQEBa0>QBKQ>MMIFBPQL!PPBOQBA#I>FJLCQEB

   `0>QBKQ-&LOQEFPOB>PLK>ILKB )CFKA$O3@ELKCBIAaPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEB

   a0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC-FIIFKDQLKQL

   ?BABCF@FBKQ

            !AAFQFLK>IIV >P)MOBSFLRPIVBUMI>FKBAFKJVa2B?RQQ>I2BMLOQ $O3@ELKCBIAaP

   L?SFLRPKBPP>K>IVPFPQE>QEBMOLSFABPFK@LKKB@QFLKTFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEB

   a0>QBKQFPOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC-FIIFKDQLKPRCCBOP

   COLJ>KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQLQEB!PPBOQBA#I>FJPLCQEBa0>QBKQ

   >PTBII

            &FOPQ  -FIIFKDQLK T>P @FQBA LK QEB C>@B LC QEB a 0>QBKQ  TEF@E PELTP QE>Q

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 117 of 139
             +!  &%!'$!&&!$ +%O+%! +


    -FIIFKDQLKT>P@LKPFABOBA?VQEB5304/AROFKDMOLPB@RQFLKLCQEBa0>QBKQ>KAQE>QQEBa

    0>QBKQFK@IRAFKD!PPBOQBA#I>FJ T>P>IILTBAQLFPPRBLSBO-FIIFKDQLK!..a0>QBKQ>Q

    @FQFKDQL530>Q.L   TEF@EFP>53@LRKQBOM>OQQLQEB-FIIFKDQLK#>K>AF>KM>QBKQ

    OBIFBARMLK?V$O3@ELKCBIA 3FK@BQEB5304/>IOB>AV@LKPFABOBA-FIIFKDQLK )RKABOPQ>KAQE>Q

    $O3@ELKCBIA>KA'LLDIBE>SBQEB>AABA?ROABKLCLSBO@LJFKDQEBABCBOBK@BQE>QFPARBQL>

    NR>IFCFBADLSBOKJBKQ>DBK@V PR@E>PQEB5304/ QE>QFPMOBPRJBAQLE>SBMOLMBOIVALKBFQPGL?

    ?>PBALKFQPBUMBOQFPBFKFKQBOMOBQFKDOBCBOBK@BP FQPRKABOPQ>KAFKDLCQEBIBSBILCLOAFK>OVPHFIIFK

    QEB>OQ >KAFQPARQVQLFPPRBLKIVS>IFAM>QBKQP(LTBSBO FQFPJVLMFKFLKQE>Q$O3@ELKCBIA

    C>FIBAQLP>QFPCVQEFP>AABA?ROABK

            3B@LKA CLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE3LKLPaP

   PVPQBJ -FIIFKDQLKC>FIPQLAFP@ILPBLOPRDDBPQQEB@I>FJBA^WLKBP@BKB_CRK@QFLK>IFQVQE>Q

   T>P JFPPFKD COLJ QEB "LPB ,FCBPQVIB  3VPQBJ   !>9;* 3B@QFLK 86!FUA  4ERP  BSBK FC >

   0/3)4!FK TBOBQLJLAFCV>KA@LJ?FKBQEB"LPB,FCBPQVIB3VPQBJTFQEQEBFABKQFCFBA

   CRK@QFLK>IFQVLC-FIIFKDQLKaP^KBQTLOH>RAFLPVPQBJ_FKQEBJ>KKBOMOLMLPBA?V$O3@ELKCBIA 

   PR@E>EVMLQEBQF@>IPVPQBJPQFIITLRIAKLQ>@EFBSBBFQEBOQEBPMB@FCF@MI>VBO PFAB^WLKBP@BKBP_

   CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKB

   P@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL

   >K>IVWB

            4EFOA  $O 3@ELKCBIA E>P C>FIBA QL MOLSFAB >KV BUMI>K>QFLK >P QL ELT QEB "LPB

   ,FCBPQVIB3VPQBJTLRIAE>SB>@QR>IIV?BBKJLAFCFBAQLFK@LOMLO>QBQEBFABKQFCFBACRK@QFLK>IFQV

   LC -FIIFKDQLKaP ^KBQTLOH >RAFL PVPQBJ_ \ IBQ >ILKB ELT QE>Q >IIBDBA @LJ?FK>QFLK TLRIA E>SB

   >@EFBSBAQEB@I>FJBAFKSBKQFLK

            &LROQE )AFP>DOBBQE>Q>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJLAFCV

   QEB"LPB,FCBPQVIB3VPQBJQLFK@LOMLO>QBQEBFABKQFCFBADOLRMFKDCRK@QFLK>IFQVLC-FIIFKDQLKaP

   ^KBQTLOH>RAFLPVPQBJ_!PAFP@RPPBA>?LSB QEB"LPB,FCBPQVIB3VPQBJ>IOB>AVFK@IRABA>A

   EL@ ^PE>OBA PLRO@B DOLRM_ CRK@QFLK>IFQV QE>Q >IILTBA ,FCBPQVIB MI>VBOP QL ?B DOLRMBA QLDBQEBO LK

   ABJ>KAQLMI>VQEBP>JB>RAFLPLRO@BPFJRIQ>KBLRPIV>I?BFQFK>AFCCBOBKQT>VQE>KQEB@I>FJBA^WLKB

   P@BKBP_CRK@QFLK>IFQV >KA)E>SBKLQPBBK>KVBSFABK@BPRDDBPQFKDQE>Q>0/3)4!FK TLRIA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 118 of 139
             +!  &%!'$!&&!$ +%O+%! +


    E>SBOB@LDKFWBA>KVM>OQF@RI>OMOL?IBJTFQEQEB"LPB,FCBPQVIB3VPQBJaP>A EL@^PE>OBAPLRO@B

    DOLRM_ CRK@QFLK>IFQV QE>Q TLRIA E>SB IBA PR@E > 0/3)4! QL @LKPFABO > AFCCBOBKQ JB@E>KFPJ CLO

    DOLRMFKD,FCBPQVIBMI>VBOP\IBQ>ILKBTLRIAE>SBIBAPR@E>0/3)4!QLFJMIBJBKQQEBFABKQFCFBA

    CRK@QFLK>IFQVLC-FIIFKDQLKaP^KBQTLOH>RAFLPVPQBJ_&LO>QIB>PQQEBPBOB>PLKP )AFP>DOBBQE>Q>

    0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLOBMI>@BQEBBUFPQFKD>A EL@^PE>OBAPLRO@BDOLRM_

    CRK@QFLK>IFQV LC QEB "LPB ,FCBPQVIB  3VPQBJ TFQE QEB FABKQFCFBA CRK@QFLK>IFQV LC -FIIFKDQLKaP

    ^KBQTLOH >RAFL PVPQBJ _ M>OQF@RI>OIV FK SFBT LC QEB QFJB  BCCLOQ  >KA @LPQ QE>Q TLRIA E>SB ?BBK

    OBNRFOBAQLLSBOE>RIQEBDOLRMFKDJB@E>KFPJLCQEB"LPB,FCBPQVIB3VPQBJ

             )K EFP /MBKFKD 2BMLOQ  $O 3@ELKCBIA P>VP QE>Q > 0/3)4! TLRIA E>SB ?BBK

   JLQFS>QBA QL @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE -FIIFKDQLK ?B@>RPB ^-O -FIIFKDQLK

   TLOHBA LK 3LKLP MOLAR@QP QE>Q >OB FK QEB P>JB CFBIA LC BKAB>SLO >P QEB "LPB ,FCBPQVIB  >KA

   QEBOBCLOB FQ TLRIA E>SB ?BBK >K L?SFLRP @ELF@B QL ILLH QL CLO DRFA>K@B >?LRQ MLQBKQF>I

   JLAFCF@>QFLKPQLQE>QPVPQBJ _>KAQE>Q^>0/3)4!TLRIAE>SBILLHBAQL-FIIFKDQLKQLRKABOPQ>KA

   QEB 3LKLP 3VPQBJ LO FQP @LJMBQFQLOP  IFHB "LPB ,FCB3QVIB_ 3@ELKCBIA /M 2BMLOQ >Q Y 

   (LTBSBO QEBPBDBKBOF@PQ>QBJBKQPC>FIQLBPQ>?IFPETEV>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBA QL J>HB >KV JLAFCF@>QFLK QL QEB "LPB ,FCBPQVIB  3VPQBJ >Q >II \ IBQ >ILKB TEV >

   0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLOBMI>@BQEB"LPB,FCBPQVIB3VPQBJaP>A EL@

   ^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQVTFQEQEBDOLRMFKDCRK@QFLK>IFQVLC-FIIFKDQLKaP^KBQTLOHBA

   >RAFLPVPQBJ_-LOBLSBO FQFPRK@IB>OTEV$O3@ELKCBIAPQ>QBPQE>Q>0/3)4!^TLRIAE>SBILLHBA

   QL-FIIFKDQLKQLRKABOPQ>KAQEB["LPB,FCB3QVIB_?B@>RPB-FIIFKDQLKALBPKLQABP@OF?BQEB"LPB

   ,FCB3QVIBPVPQBJ-&ROQEBO $O3@ELKCBIAaPPQ>QBJBKQQE>Q^-FIIFKDQLKT>P>IPL>PPFDKBAQL

   3LKLP>KAT>PCFIBAFKQEBP>JBQFJBCO>JB>PQEB3LKLP3VPQBJT>POBIB>PBA_E>PKL?B>OFKDLK

   TEBQEBO>0/3)4!TLRIAE>SB?BBKJLQFS>QBAQL@LJ?FKBQEB"LPB,FCBPQVIB3VPQBJTFQE

   -FIIFKDQLK-

            )KEFP/MBKFKD2BMLOQ $O3@ELKCBIA>IPLPQ>QBP>PCLIILTP

           ;!<MBOPLKLCPHFIIFKQEB>OQTLRIAE>SB?BBKJLQFS>QBAQL@LJ?FKB"LPB,FCB3QVIB
              TFQE-FIIFKDQLK4EBV>OB?LQEFKQEBP>JBCFBIALCBKAB>SLO]@LKQOLILCPMB>HBO
           PVPQBJP  PMB>HBO DOLRMP  PVK@EOLKLRP MI>V?>@H LC PMB>HBOP  >KA ELJB >RAFL
              PVPQBJP]>KA QEBV ?LQE ABP@OF?B QEB P>JB CB>QROBP >KA ABSF@BP BD  ^WLKB


                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 119 of 139
             +!  &%!'$!&&!$ +%O+%! +

              MI>VBOP_ FKQEBP>JBI>KDR>DB
 
      3@ELKCBIA/M2BMLOQ>QY
 
               (LTBSBO QEFPPQ>QBJBKQ>MMB>OPQL?B@>OOFBALSBOCOLJQEB3LKLPMOFLO>OQPB@QFLK
 
      LC$O3@ELKCBIAaP/MBKFKD2BMLOQ>KAALBPKLQ>MMIVQLQEB>IIBDBA@LJ?FK>QFLKLCQEB"LPB
 
      ,FCBPQVIB3VPQBJTFQE-FIIFKDQLK4EB"LPB,FCBPQVIB3VPQBJ>KA-FIIFKDQLKALKLQ^ABP@OF?B
 
      QEBP>JBCB>QROBP>KAABSF@BPBD ^WLKBMI>VBOP_ FKQEBP>JBI>KDR>DB_-
 
               )E>SB>IPLPBBKBSFABK@BLC>CCFOJ>QFSBOB>PLKPTEV>0/3)4!TLRIAKLQE>SB
 
      ?BBK JLQFS>QBA QL OBMI>@B QEB "LPB ,FCBPQVIB  3VPQBJaP >A EL@ ^PE>OBA PLRO@B DOLRM_
 
      CRK@QFLK>IFQVTFQEQEBDOLRMFKDCRK@QFLK>IFQVLC-FIIFKDQLKaP^KBQTLOHBA>RAFLPVPQBJ_
 
               &LO BU>JMIB  QEB "LPB ,FCBPQVIB  3VPQBJ E>A > AFCCBOBKQ AFPQFK@QIV PVPQBJ

      >O@EFQB@QROBQE>K-FIIFKDQLKaP^KBQTLOHBA>RAFLPVPQBJ_?B@>RPBFQOBIFBALK>@BKQO>IFWBAABSF@B

      @>IIBA > -RIQF 2LLJ )KQBOC>@B QE>Q T>P BU@IRPFSBIV OBPMLKPF?IB CLO QEB ^PE>OBA PLRO@B DOLRM_

      CRK@QFLK>IFQVLCQEB"LPB,FCBPQVIB3VPQBJ'FSBKQEFPAFCCBOBK@BFKQEBPVPQBJ>O@EFQB@QROBP >

      0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKDQEB"LPB,FCBPQVIB3VPQBJQLOBMI>@BFQP

      >A EL@ ^PE>OBA PLRO@B DOLRM_ CRK@QFLK>IFQV TFQE QEB DOLRMFKD CRK@QFLK>IFQV LC -FIIFKDQLKaP

      ^KBQTLOHBA>RAFLPVPQBJ_

               !ILKD PFJFI>O IFKBP  >P BUMI>FKBA >?LSB  -FIIFKDQLK AFP@ILPBP > ^KBQTLOH >RAFL

      PVPQBJ_ QE>Q FK@IRABP ^WLKB MI>VBOP_ QE>Q >OB @>M>?IB LC ?BFKD >AABA QL > ^PVK@EOLKV DOLRM_

      @LJMOFPFKD > PBQ LC ^WLKB MI>VBOP_ QE>Q >OB @LKCFDROBA QL ^MI>V QEB P>JB >RAFL MOLDO>J

      PVK@EOLKLRPIV_?V@LLOAFK>QFKDTFQELKB>KLQEBOLSBO>A>Q>KBQTLOH!>9;*3B@QFLK8)))%)K

      @LKQO>PQ QEB"LPB,FCBPQVIB3VPQBJT>P>@LKSBKQFLK>I@BKQO>IFWBA>RAFLPVPQBJTFQE,FCBPQVIB

      MI>VBOPQE>QTBOBE>OATFOBASF>>RAFL@>?IBQL>@BKQO>IFWBA-RIQF 2LLJ)KQBOC>@B>KAAFAKLQE>SB

      QEB@>M>?FIFQVQL@LLOAFK>QBTFQELKB>KLQEBOLSBO>A>Q>KBQTLOHCLOPVK@EOLKLRP>RAFLMI>V?>@H

      !.. "/3%=35"   >Q    'FSBK QEBPB CRKA>JBKQ>I AFCCBOBK@BP ?BQTBBK QEB

      @BKQO>IFWBA"LPB,FCBPQVIB3VPQBJ>KA-FIIFKDQLKaP^KBQTLOH>RAFLPVPQBJ_FQFPJVLMFKFLK

      QE>Q>0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKD3LKLPaPPVPQBJQL@LJ?FKBFQ

      TFQEQEBFABKQFCFBACRK@QFLK>IFQVLC-FIIFKDQLKaPKBQTLOH>RAFLPVPQBJ

               !P>KLQEBOBU>JMIB QEB0BOPLK>I-RPF@#BKQBO>KA-RIQF 2LLJ)KQBOC>@BLCQEB


                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 120 of 139
             +!  &%!'$!&&!$ +%O+%! +


    "LPB,FCBPQVIB3VPQBJ TEF@E>OBRPBAQLPBQRM>^PE>OBAPLRO@B_LC>RAFLCLOJRIQFMIB,FCBPQVIB

    MI>VBOP  @LJJRKF@>QB RPFKD > MOLMOFBQ>OV O>AFL COBNRBK@V @LJJRKF@>QFLK MOLQL@LI QE>Q T>P

    PMB@FCF@>IIVABSBILMBACLOQEB"LPB,FCBPQVIB3VPQBJ>KAQE>QFP^KLQ@LJM>QF?IB_TFQEMOLQL@LIP

    RPBA FK LQEBO "LPB PVPQBJP  JR@E IBPP >KV QEFOA M>OQV PVPQBJ IFHB QEB LKB FK -FIIFKDQLK  !..

    "/3%=35"   >Q   !P PR@E  > 0/3)4! TLRIA E>SB ?BBK AFPPR>ABA COLJ

    JLAFCVFKD QEB "LPB ,FCBPQVIB  3VPQBJ QL @LJ?FKB FQ TFQE QEB FABKQFCFBA CRK@QFLK>IFQV LC

    -FIIFKDQLK

             4EBPBBU>JMIBPPELTQE>Q>0/3)4!TLRIAE>SB?BBKAFPPR>ABACOLJJLAFCVFKD

    QEB"LPB,FCBPQVIB3VPQBJ?B@>RPB QLQEBBUQBKQFQT>PBSBKMLPPF?IB FQTLRIAE>SBOBNRFOBA

   TELIBP>IB@E>KDBPQLQEBPVPQBJ>O@EFQB@QROB>KA@LJJRKF@>QFLKMOLQL@LILCQEB"LPB,FCBPQVIB

   3VPQBJ

            &FK>IIV ?B@>RPBQEBOBFPKLBSFABK@BQE>Q>0/3)4!FK TLRIAE>SB?BBK

   JLQFS>QBAQLJLAFCVQEB"LPB,FCBPQVIB3VPQBJQL@LJ?FKBFQTFQEQEBFABKQFCFBACRK@QFLK>IFQV

   LC-FIIFKDQLK FQ>MMB>OPQE>Q$O3@ELKCBIAE>PRPBAQEB>PPBOQBA@I>FJP>P>OL>AJ>MQLOB>@EEFP

   @LK@IRPFLKQE>Q>0/3)4!TLRIAE>SBCLRKAQEB@I>FJBAFKSBKQFLKL?SFLRP?>PBALKQEB"LPB

   ,FCBPQVIB3VPQBJFK@LJ?FK>QFLKTFQE-FIIFKDQLK TEF@E)RKABOPQ>KAQL?BFJMOLMBO

            4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP

   KLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFK@LJ?FK>QFLKTFQE-FIIFKDQLK

                                    4     &63=A3743ABG:3 %GAB3;7<D73E=4%?C33H30=F

            !Q3B@QFLK8))#LCEFP/MBKFKD2BMLOQ BKQFQIBA^`#I>FJP!OB/?SFLRP">PBA

   /K "LPB ,FCBPQVIB FK SFBT LC 'BKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP  .LROPB 

   2>G>M>HPBLO-FIIFKDQLK _$O3@ELKCBIAALBPKLQFABKQFCVQEB"LPB,FCBPQVIB3VPQBJFKSFBT

   LC3NRBBWB?LU>P>KL?SFLRPKBPP@LJ?FK>QFLKCLO!PPBOQBA#I>FJLCQEBa0>QBKQ3@ELKCBIA

   /M 2BMLOQ >Q YY   (LTBSBO  FK EFP B>OIFBO ^3RJJ>OV LC /MFKFLKP_ PB@QFLK  $O

   3@ELKCBIAFK@IRABP>?RIIBQPQ>QFKDQE>Q^"LPBFK@LJ?FK>QFLKTFQE3LKLP&LORJP !:>..C.+8A 

   -FIIFKDQLK  >KALO .LROPB OBKABOP QEB >PPBOQBA @I>FJP L?SFLRP_  - >Q Y   )K SFBT LC QEFP

   FK@LKPFPQBK@V FQFPKLQ@IB>OTEBQEBO$O3@ELKCBIAFPLCCBOFKD>KLMFKFLKQE>Q!PPBOQBA#I>FJ

   LC QEBa 0>QBKQ FP OBKABOBA L?SFLRP ?>PBA LK QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 121 of 139
             +!  &%!'$!&&!$ +%O+%! +


    3NRBBWB?LU ?RQQLQEBBUQBKQEBFPLCCBOFKDPR@E>KLMFKFLK )AFP>DOBB\FKJVLMFKFLK !PPBOQBA

    #I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC

    3NRBBWB?LU >KA$O3@ELKCBIAaP>MM>OBKQLMFKFLKQLQEB@LKQO>OVFPCI>TBACLOPBSBO>IOB>PLKP

             !P>KFKFQF>IJ>QQBO QLQEBBUQBKQQE>Q$O3@ELKCBIAFPLCCBOFKD>KLMFKFLKQE>QQE>Q

    !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

    SFBTLC3NRBBWB?LU $O3@ELKCBIAC>FIPQLPBQCLOQE>KV?>PBPLOOB>PLKFKDCLOPR@E>KLMFKFLK

    !.. 3@ELKCBIA /M 2BMLOQ >Q YY    )KPQB>A  $O 3@ELKCBIA OBIFBP BU@IRPFSBIV LK QEB

    L?SFLRPKBPP>K>IVPFPQE>QEBPBQCLOQEFK@LKKB@QFLKTFQEEFPLMFKFLKQE>Q!PPBOQBA#I>FJLCQEB

    a0>QBKQFPOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ ?RQ$O3@ELKCBIA>IPLC>FIPQL

   MOLSFAB>KV>K>IVPFPLCQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC3NRBBWB?LUFKQE>QPB@QFLKLCEFP

   /MBKFKD2BMLOQ-&LOQEFPOB>PLK>ILKB )CFKA$O3@ELKCBIAaPLMFKFLKQE>Q!PPBOQBA#I>FJ

   LC QEB a 0>QBKQ FP OBKABOBA L?SFLRP ?>PBA LK QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC

   3NRBBWB?LUQL?BABCF@FBKQ

            -LOBLSBO  QL QEB BUQBKQ QE>Q $O 3@ELKCBIA ALBP FKQBKA QL LCCBO >K LMFKFLK QE>Q

   !PPBOQBA#I>FJLCQEBa0>QBKQFPOBKABOBAL?SFLRP?>PBALKQEB"LPB,FCBPQVIB3VPQBJFK

   SFBTLC3NRBBWB?LU )AFP>DOBBTFQEPR@E>KLMFKFLKCLO>QIB>PQQEBP>JBOB>PLKPBUMI>FKBAFKJV

   LQEBOPB@QFLKPOBD>OAFKD$O3@ELKCBIAaPL?SFLRPKBPPLMFKFLKPQE>Q>OB?>PBALKQEB"LPB,FCBPQVIB

   3VPQBJ>KA3NRBBWB?LU FK@IRAFKDQE>QKBFQEBOQEB"LPB,FCBPQVIB3VPQBJKLO3NRBBWB?LU

   FK@IRABA>KV^WLKBP@BKBP_CRK@QFLK>IFQV>Q>II4ERP BSBKFCQEB"LPB,FCBPQVIB3VPQBJTBOB

   QL?BJLAFCFBA>KA@LJ?FKBATFQE3NRBBWB?LU PR@E>EVMLQEBQF@>IPVPQBJPQFIITLRIAKLQ>@EFBSB

   BFQEBOQEBPMB@FCF@MI>VBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa

   0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKBP@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLC

   QEBa0>QBKQQE>Q$O3@ELKCBIAC>FIBAQL>K>IVWB

            )K>AAFQFLKQLQEBPBABCF@FBK@FBP $O3@ELKCBIA>IPLC>FIPQLMOLSFAB>KVBUMI>K>QFLK

   >P QL ELT QEB "LPB ,FCBPQVIB  3VPQBJ TLRIA E>SB >@QR>IIV ?BBK JLAFCFBA QL FK@LOMLO>QB QEB

   CRK@QFLK>IFQVLC3NRBBWB?LU TEV>0/3)4!FK TLRIAE>SB?BBKJLQFS>QBAQLJLAFCV

   QEB "LPB ,FCBPQVIB  3VPQBJ QL FK@LOMLO>QB QEB CRK@QFLK>IFQV LC 3NRBBWB?LU  LO ELT PR@E >

   EVMLQEBQF@>I PVPQBJ TLRIA E>SB >@EFBSBA BFQEBO QEB PMB@FCF@ MI>VBO PFAB ^WLKB P@BKBP_

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 122 of 139
             +!  &%!'$!&&!$ +%O+%! +


    CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQLOQEBPMB@FCF@@LKQOLIIBO PFAB^WLKB

    P@BKBP_CRK@QFLK>IFQVOBNRFOBA?V!PPBOQBA#I>FJLCQEBa0>QBKQ

             4ERP CLOQEBPBOB>PLKP FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP

    KLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLC3NRBBWB?LU

                            F77    %C;;/@G

             !PAFP@RPPBA>?LSB QEBOB>OB>KRJ?BOLCAFCCBOBKQIFJFQ>QFLKPLC!PPBOQBA#I>FJ

     LC QEB a 0>QBKQ QE>Q >OB KBFQEBO AFP@ILPBA ?V QEB "LPB ,FCBPQVIB  3VPQBJ KLO OBKABOBA

    L?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJBFQEBOFKSFBTLCQEBDBKBO>IHKLTIBADBLC>0/3)4! 

    QEB 3LKLP &LORJP  .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP

   FABKQFCFBA?V$O3@ELKCBIA!KVLKBLCQEBPB@I>FJIFJFQ>QFLKPPBOSBP>P>PBM>O>QB?>PFPCLOJV

   LMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

   3VPQBJFKSFBTLCQEBDBKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP&LORJP .LROPB 2>G>M>HPB LO

   -FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V$O3@ELKCBIA >KATEBKQ>HBK

   @LIIB@QFSBIV  QEBPB @I>FJ IFJFQ>QFLKP MOLSFAB BSBK CROQEBO PRMMLOQ CLO JV LMFKFLK QE>Q !PPBOQBA

   #I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEB

   DBKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP&LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLC

   QEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V$O3@ELKCBIA

            &ROQEBO )KLQBQE>Q$O3@ELKCBIA>MMB>OPQLE>SBLKIVMBOCLOJBAEFPL?SFLRPKBPP

   >K>IVPFPCLO!PPBOQBA#I>FJLCQEBa0>QBKQLK>IFJFQ>QFLK ?V IFJFQ>QFLK?>PFP >KAE>PKLQ

   MBOCLOJBA>KV>K>IVPFPLOLCCBOBA>KVLMFKFLKP>PQLTEBQEBO!PPBOQBA#I>FJLCQEBa0>QBKQ

   >P>TELIBTLRIAE>SB?BBKL?SFLRPKBPP TEF@E)RKABOPQ>KAQL?BFJMOLMBO

            &ROQEBOVBQ )KLQBQE>Q$O3@ELKCBIAE>PLKIVLCCBOBAL?SFLRPKBPPLMFKFLKPTFQE

   OBPMB@Q QL QEB "LPB ,FCBPQVIB  3VPQBJ >P @LJ?FKBA TFQE LKB LQEBO OBCBOBK@B  >KA E>P KLQ

   MBOCLOJBA>KV>K>IVPFPLOLCCBOBA>KVLMFKFLKP>PQLTEBQEBO>0/3)4!FK TLRIAE>SB

   ?BBK JLQFS>QBA QL JLAFCV >KA @LJ?FKB QEB "LPB ,FCBPQVIB  3VPQBJ TFQE JRIQFMIB AFCCBOBKQ

   OBCBOBK@BP

            !@@LOAFKDIV CLO>IILCQEBOB>PLKPBUMI>FKBA>?LSB FQFPJVLMFKFLKQE>Q!PPBOQBA

   #I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEB

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 123 of 139
             +!  &%!'$!&&!$ +%O+%! +


    DBKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP&LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLC

    QEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V$O3@ELKCBIA

                          AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                             %GAB3;

             !PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJLCQEBa

    0>QBKQ>KAOBNRFOBPQEBCLIILTFKD

            -  . 4EB@LJMRQFKDABSF@BLC@I>FJ CROQEBO@LJMOFPFKDMOLDO>JFKPQOR@QFLKPPQLOBA
              LKQEBKLK QO>KPFQLOV@LJMRQBO OB>A>?IBJBAFRJQE>Q TEBKBUB@RQBA?VQEBLKBLOJLOB
            MOL@BPPLOP @>RPBQEB@LJMRQFKDABSF@BQLMBOCLOJCRK@QFLKP@LJMOFPFKD
                    -  . TEFIB QEB CFOPQ WLKB MI>VBO FP @LKCFDROBA QL @LLOAFK>QB TFQE >Q IB>PQ QEB
                      PB@LKAWLKBMI>VBOQLMI>V?>@HJBAF>FKPVK@EOLKVTFQE>QIB>PQQEBPB@LKAWLKB
                   MI>VBO OB@BFSFKD>CLROQEOBNRBPQQLFKSLHBQEBPB@LKAWLKBP@BKB>KA
                   -  . ?>PBA LK QEB CLROQE OBNRBPQ  @>RPFKD QEB CFOPQ WLKB MI>VBO QL>  @B>PB QL
                      LMBO>QBFK>@@LOA>K@BTFQEQEBCFOPQMOBABCFKBADOLRMFKDLCWLKBMI>VBOPPR@EQE>Q
                   QEBCFOPQWLKBMI>VBOFPKLILKDBO@LKCFDROBAQL@LLOAFK>QBTFQE>QIB>PQQEBPB@LKA
                      WLKB MI>VBO QL LRQMRQ JBAF> FK PVK@EOLKV TFQE LRQMRQ LC JBAF> ?V >Q IB>PQ QEB
                   PB@LKA WLKB MI>VBO >KA ?  ?BDFK QL LMBO>QB FK >@@LOA>K@B TFQE QEB PB@LKA
                      MOBABCFKBADOLRMFKDLCWLKBMI>VBOPPR@EQE>QQEBCFOPQWLKBMI>VBOFP@LKCFDROBAQL

                      @LLOAFK>QBTFQE>QIB>PQQEBQEFOAWLKBMI>VBOQLLRQMRQJBAF>FKPVK@EOLKVTFQE
                   LRQMRQLCJBAF>?V>QIB>PQQEBQEFOAWLKBMI>VBO

            4ERP !PPBOQBA#I>FJLCQEBa0>QBKQOBNRFOBPQEB@I>FJBA^@LJMRQFKDABSF@B_

   QL?BMOLDO>JJBATFQECRK@QFLK>IFQVCLOFKSLHFKDQEB@I>FJBA^PB@LKAWLKBP@BKB_>Q>QFJBTEBK

   QEB^CFOPQWLKBP@BKB_FP@ROOBKQIVFKSLHBA>KAQEBCFOPQ>KAPB@LKA^WLKBMI>VBOP_>OB^@LKCFDROBA

   QL @LLOAFK>QB_ TFQE LKB >KLQEBO CLO PVK@EOLKLRP MI>V?>@H FK >@@LOA>K@B TFQE QEB ^CFOPQ WLKB

   P@BKB_

            )KJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?>PBA

   QEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEBDBKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP&LORJP 

   .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O

   3@ELKCBIA

            )KABBA ?B@>RPB!PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBA

   L?SFLRP ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB

   3LKLP &LORJP  .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 124 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FABKQFCFBA ?V $O 3@ELKCBIA CLO >Q IB>PQ QEB P>JB OB>PLKP AFP@RPPBA >?LSB FK @LKKB@QFLK TFQE

    !PPBOQBA#I>FJLCQEBa0>QBKQ

             -LOBLSBO FQFPJVLMFKFLKQE>QQEB>AAFQFLK>IIFJFQ>QFLKPLC!PPBOQBA#I>FJLC

    QEBa0>QBKQ>OBKBFQEBOAFP@ILPBA?VQEB"LPB,FCBPQVIB3VPQBJKLOOBKABOBAL?SFLRP?VQEB

    "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP 

    .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O

    3@ELKCBIACLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQEIFJFQ>QFLKP  

    TEF@E>OBAFOB@QBAQLCRK@QFLK>IFQVCLOFKSLHFKDQEB@I>FJBA^CFOPQWLKBP@BKB_&LOBU>JMIB >P

    AFP@RPPBA>?LSB >^PE>OBAPLRO@BDOLRM_FKQEB"LPB,FCBPQVIB3VPQBJFPKLQ>^WLKBP@BKB _

   >KAQEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V

   ?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KVCRK@QFLK>IFQV@>M>?FIFQVCLOOB@BFSFKD>^OBNRBPQ

   QLFKSLHB_>^WLKBP@BKB_LO@>RPFKD,FCBPQVIBMI>VBOPQLLMBO>QBFK>@@LOA>K@BTFQE>^WLKBP@BKB_

   \IBQ>ILKBQEBCRK@QFLK>I@>M>?FIFQVCLOMBOCLOJFKDQEBPBLMBO>QFLKPTFQEOBPMB@QQLQTLAFCCBOBKQ 

   LSBOI>MMFKD^WLKBP@BKBP_\KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB

   ,FCBPQVIB3VPQBJ!KACLOPFJFI>OOB>PLKP QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA

   ^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I

   -RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KV

   CRK@QFLK>IFQV @>M>?FIFQV CLO OB@BFSFKD > ^OBNRBPQ QL FKSLHB_ > ^PB@LKA WLKB P@BKB_ LO @>RPFKD

   ,FCBPQVIBMI>VBOPQLLMBO>QBFK>@@LOA>K@BTFQE>^PB@LKAWLKBP@BKB_>Q>QFJBTEBK>^CFOPQWLKB

   P@BKB_E>SFKD>@LJJLKJBJ?BOFP@ROOBKQIVFKSLHBA KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFP

   CRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB3VPQBJ

            $BPMFQBQEBPB@IB>OABCF@FBK@FBP $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q!PPBOQBA

   #I>FJLCQEBa0>QBKQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M

   2BMLOQ>QY(LTBSBO )CFKA$O3@ELKCBIAaPLMFKFLKOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ

   >KA!PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA!PPBOQBA#I>FJLCQEBa0>QBKQFPPELTKFKQEBP@OBBKPELQ?BILT

                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 125 of 139
             +!  &%!'$!&&!$ +%O+%! +


    COLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

    

 

 

 

 

 

 

 


























               4EFPPELTPQE>Q$O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPAFP@RPPFLKLC!PPBOQBA

      #I>FJLCEFP`0>QBKQ ?RQ>PBUMI>FKBA>?LSB $O3@ELKCBIAE>PKLQPBQCLOQE>KV>K>IVPFP

      CLO!PPBOQBA#I>FJLCEFP`0>QBKQFKPQB>A $O3@ELKCBIAOBIFBPLKEFPMOFLOAFP@RPPFLKLCQEB

      "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQ(LTBSBO 

      QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@BQE>K!PPBOQBA

      #I>FJLCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBA


                                                      
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 126 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QL > ^WLKB MI>VBO_  QEB !PPBOQBA #I>FJP LC QEB ` 0>QBKQ RPB AFCCBOBKQ @I>FJ I>KDR>DB QE>K

    !PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>P

    QLELTEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKP

    LC!PPBOQBA#I>FJLCQEB`0>QBKQ>MMIFBPQLQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ&LOQEBPB

    OB>PLKP  ) AFP>DOBB QE>Q QEB $O 3@ELKCBIAaP AFP@RPPFLK LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ

    >JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KA

    OB>PLKP QEBOBCLO  TEF@E ) RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q

    ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP

    OBD>OAFKD!PPBOQBA#I>FJLCQEB`0>QBKQ 

            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#>PTBII>PFKJVa

   2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLCQEB

   "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

   KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL!PPBOQBA#I>FJLCQEBa0>QBKQ>PTBII\

   FK@IRAFKDQE>QEFP>K>IVPFPFPMOBJFPBALK?LQE>KFK@LOOB@QFKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQL

   NR>IFCV>P>^WLKBP@BKB _>KFK@LOOB@QFKQBOMOBQ>QFLKLCTE>QFQJB>KPQL^FKSLHB_>^WLKBP@BKB _

   >KA>KFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB3VPQBJCRK@QFLK>IFQV

   >KAQEBBSFABK@BOBI>QBAQEBOBQL

            4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?V!PPBOQBA#I>FJ

   LCQEBa0>QBKQ KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB

   3VPQBJ

                          AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                             %GAB3;

            !PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ@I>FJLCQEBa0>QBKQ TEF@E

                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 127 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FKQROKABMBKAPCOLJ!PPBOQBA#I>FJLCQEBa0>QBKQ#I>FJP>KALCQEBa0>QBKQ

    OBNRFOB>PCLIILTP

            -  . 4EB@LJMRQFKDABSF@BLC@I>FJ -  .TEBOBFK@>RPFKDPQLO>DBLCQEBCFOPQ
              WLKBP@BKB@LJMOFPBP@>RPFKDPQLO>DBLCQEBCFOPQWLKBP@BKB>Q>IL@>QFLKLQEBOQE>K
            QEB@LJMRQFKDABSF@B >KA-  .TEBOBFK@>RPFKDPQLO>DBLCQEBPB@LKAWLKBP@BKB
              @LJMOFPBP@>RPFKDPQLO>DBLCQEBPB@LKAWLKBP@BKB>QQEBIL@>QFLKLQEBOQE>KQEB
            @LJMRQFKDABSF@B
            -  . 4EB@LJMRQFKDABSF@BLC@I>FJ -  .TEBOBFKQEBIL@>QFLKLQEBOQE>KQEB
              @LJMRQFKDABSF@B@LJMOFPBP>WLKBMI>VBOLCQEBCFOPQMOBABCFKBADOLRMFKDLCWLKB
            MI>VBOP
             4ERP !PPBOQBA#I>FJLCQEBa0>QBKQOBNRFOBPQEB@I>FJBA^@LJMRQFKDABSF@B_
    QL@>RPBQEB@I>FJBA^WLKBP@BKBP_QL?BPQLOBA>Q>^WLKBMI>VBO_TFQEFKQEB^MOBABCFKBADOLRMFKD_
   LCQEB^CFOPQWLKBP@BKB _PR@E>PQEB^CFOPQWLKBMI>VBO_QE>QFPFK@IRABAFK?LQEQEBCFOPQ>KAPB@LKA
   ^WLKBP@BKBP_
            )KJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?>PBA
   LK QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP
   &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V
   $O3@ELKCBIA
            )KABBA ?B@>RPB!PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJ
   LCQEBa0>QBKQQEOLRDE@I>FJ FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFP
   KLQ OBKABOBA L?SFLRP ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC >
   0/3)4!  QEB 3LKLP &LORJP  .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV
   OBCBOBK@BPFABKQFCFBA?V$O3@ELKCBIAFABKQFCFBA?V$O3@ELKCBIACLO>QIB>PQQEBP>JBOB>PLKP
   AFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJLCQEBa0>QBKQ
            -LOBLSBO FQFPJVLMFKFLKQE>QQEB>AAFQFLK>IIFJFQ>QFLKPLC!PPBOQBA#I>FJLC
   QEBa0>QBKQ>OBKBFQEBOAFP@ILPBA?VQEB"LPB,FCBPQVIB3VPQBJKLOOBKABOBAL?SFLRP?VQEB
   "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP 
   .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O
   3@ELKCBIACLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQEIFJFQ>QFLKP>KA 
   TEF@EOBNRFOBQEB@I>FJBA^@LJMRQFKDABSF@B_QLE>SBQEBCRK@QFLK>I@>M>?FIFQVQL@>RPBPQLO>DB


                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 128 of 139
             +!  &%!'$!&&!$ +%O+%! +


    LCQEB^CFOPQWLKBP@BKB_>KAQEB^PB@LKAWLKBP@BKB_&LOBU>JMIB >PAFP@RPPBA>?LSB >^PE>OBA

    PLRO@B DOLRM_ FK QEB "LPB ,FCBPQVIB  3VPQBJ FP KLQ > ^WLKB P@BKB _ >KA QEB 0BOPLK>I -RPF@

    #BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>P

    QEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB

    3VPQBJAFAKLQE>SB>KVCRK@QFLK>IFQV@>M>?FIFQVCLO@>RPFKDPQLO>DBLC>^WLKBP@BKB_\IBQ

    >ILKBQEBCRK@QFLK>I@>M>?FIFQVCLO@>RPFKDPQLO>DBLCQTLAFCCBOBKQ LSBOI>MMFKD^WLKBP@BKBP_\

    KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB3VPQBJ!KACLO

    PFJFI>OOB>PLKP QEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB

    3VPQBJAFAKLQE>SB>KVCRK@QFLK>IFQV@>M>?FIFQVCLO@>RPFKD>^WLKBP@BKB_QL?BPQLOBA>Q>

   ,FCBPQVIBMI>VBO KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB

   3VPQBJ

            &ROQEBOBSBKPBQQFKD>PFABQEBCRKA>JBKQ>IAFCCBOBK@BP?BQTBBK>^PE>OBAPLRO@B

   DOLRM_LC,FCBPQVIBMI>VBOP>KA>^WLKBP@BKB _)E>SBKLQPBBK>KVBSFABK@BQE>QQEB0BOPLK>I

   -RPF@#BKQBOLO>KVLQEBOABSF@BFKQEB"LPB,FCBPQVIB3VPQBJ^@>RP;BA<PQLO>DB_LC>^PE>OBA

   PLRO@BDOLRM_LK>,FCBPQVIBMI>VBOFKQEB^PE>OBAPLRO@BDOLRM_4LQEB@LKQO>OV >P)BUMI>FKBA

   >?LSB QEBBSFABK@B)E>SBOBSFBTBAPELTPQEB-RIQF 2LLJ)KQBOC>@BLCQEB"LPB,FCBPQVIB

   3VPQBJT>PBU@IRPFSBIVOBPMLKPF?IBCLOQEB^PE>OBAPLRO@BDOLRM_CRK@QFLK>IFQV >KAQEB,FCBPQVIB

   MI>VBOPKBSBO@E>KDBAFKQL>AFCCBOBKQ^JLAB_CLODOLRMMI>V?>@HLOBSBKE>A>KV>T>OBKBPPLC

   TEBQEBOLOKLQQEBVTBOBM>OQLC>^PE>OBAPLRO@BDOLRM_!...0"/3%=35"  >Q

   ^4EB"LPB-RIQF 2LLJ)KQBOC>@B TFQECLROFKABMBKABKQ>RAFLLRQMRQPQE>Q>IILTVLRQLBKGLV

   "LPBPLRKAQEOLRDELRQVLROELJB_ FIIRPQO>QFKD>"LPB,FCBPQVIB3VPQBJ@LKCFDRO>QFLK

   TFQE > #$ MI>VBO >KA >K !@LRPQFJ>PP JLARIB @LKKB@QBA QEB -RIQF 2LLJ )KQBOC>@B  

   FIIRPQO>QFKDS>OFLRP>RAFLPLRO@BP@LKKB@QBAQL-RIQF 2LLJ)KQBOC>@BSF>>RAFLFKMRQ@>?IBP 

   ^7EBK?>QQBOFBP>OBCFOPQFKPQ>IIBAFKQEBJRPF@@BKQBOFQPBQPRM>O>AFL COBNRBK@VIFKHTFQEQEB

   @ILPBPQJRIQF OLLJFKQBOC>@B[)CQEBJRPF@@BKQBO@LKQFKRLRPIVAFPMI>VP./2%30/.3% VLR

   KBBA QL QOV QL BPQ>?IFPE FQP IFKH TFQE QEB JRIQF OLLJ FKQBOC>@B >D>FK_   &FDROB  PELTFKD

   ^!5$)/ /54054_ G>@HP CLO B>@E OLLJ    BUMI>FKFKD ELT QL RPB 2//- >KA (/53%

   ?RQQLKPLCQEB0BOPLK>I-RPF@#BKQBOQLPBQRM>K>RAFLPLRO@BCLOLKBLOJLOBOLLJP@LKKB@QBA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 129 of 139
             +!  &%!'$!&&!$ +%O+%! +


    QLQEB-RIQF 2LLJ)KQBOC>@B ^4L>AA>KBTJRPF@@BKQBOQLVLROPVPQBJ CLIILTQEBPBQRM

    FKPQOR@QFLKPLKM>DB"BPROBQLFKPQ>IIQEB?>QQBOFBP>KAQROKFQLKCLOQEBCFOPQQFJB@ILPBQLQEB

    JRIQF OLLJ FKQBOC>@B QL >IILT QEB KBT JRPF@ @BKQBO QL PBQ RM > O>AFL COBNRBK@V IFKH TFQE VLRO

    PVPQBJ)CQEBJRIQF OLLJFKQBOC>@BFPKLQMIRDDBAFKLOQEBJRPF@@BKQBOFPLRQLCO>KDB QEBAFPMI>V

    FKAF@>QBP./2%30/.3%_ )KSFBTLCQEFP FQFPJVLMFKFLKQE>QQEB0BOPLK>I-RPF@#BKQBO>KA

    >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B OBIVFKD LK PR@E >P QEB

    @LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B TLRIAKLQ?B@LKCFDROBA

    QL@>RPB>,FCBPQVIBMI>VBOFK>^PE>OBAPLRO@BDOLRM_QLPQLOBQEB^PE>OBAPLRO@BDOLRM_

             $BPMFQBQEBPB@IB>OABCF@FBK@FBP $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>QFKQBOSBKFKD

   @I>FJ>KA!PPBOQBA#I>FJLCQEBa0>QBKQ>OB?LQEOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB

   3VPQBJ!..3@ELKCBIA/M2BMLOQ>QYY (LTBSBO )CFKA$O3@ELKCBIAaPLMFKFLK

   OBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ>KA@I>FJP LCQEBa0>QBKQQL?BCI>TBACLOPBSBO>I

   OB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA@I>FJP LCQEBa0>QBKQFPPELTKFKQEBP@OBBKPELQP?BILTCOLJ$O

   3@ELKCBIAaP/MBKFKD2BMLOQ



















   





                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 130 of 139
             +!  &%!'$!&&!$ +%O+%! +


    

 

 

 

 

 

 

 

    
            4EFPPELTPQE>Q$O3@ELKCBIAFPMOFJ>OFIVOBIVFKDLKEFPAFP@RPPFLKLC!PPBOQBA
   #I>FJLCEFP`0>QBKQ ?RQ>PBUMI>FKBA>?LSB $O3@ELKCBIAE>PKLQPBQCLOQE>KV>K>IVPFP
   CLO!PPBOQBA#I>FJLCEFP`0>QBKQFKPQB>A $O3@ELKCBIAOBIFBPLKEFPMOFLOAFP@RPPFLKLC
   3LKLPaPPVPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQ(LTBSBO QEB
   !PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@BQE>K!PPBOQBA#I>FJ
   LCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBAQL>
   ^WLKBMI>VBO_ QEB!PPBOQBA#I>FJPLCQEB`0>QBKQRPBAFCCBOBKQ@I>FJI>KDR>DBQE>K!PPBOQBA
   #I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>PQLELT
   EFP MOFLO AFP@RPPFLK LC QEB "LPB ,FCBPQVIB  3VPQBJ FK QEB @LKQBUQ LC QEB @I>FJ IFJFQ>QFLKP LC
   !PPBOQBA#I>FJLCQEB`0>QBKQ>MMIFBPQLQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ&LOQEBPB
   OB>PLKP  ) AFP>DOBB QE>Q QEB $O 3@ELKCBIAaP AFP@RPPFLK LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ
   >JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KA
   OB>PLKP QEBOBCLO  TEF@E ) RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q
   ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP
   OBD>OAFKD!PPBOQBA#I>FJLCQEB`0>QBKQ 
            7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#>PTBII>PFKJVa
   2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLCQEB
                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 131 of 139
             +!  &%!'$!&&!$ +%O+%! +


    "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

    KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL!PPBOQBA#I>FJLCQEBa0>QBKQ>PTBII\

    FK@IRAFKDQE>QEFP>K>IVPFPFPMOBJFPBALK?LQE>KFK@LOOB@QFKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQL

    NR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB

    3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

    OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

    FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?V!PPBOQBA#I>FJ

   LCQEBa0>QBKQ KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB

   3VPQBJ

                         AA3@B32:/7;7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                            %GAB3;

            !PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJLCQEBa

   0>QBKQ>KAOBNRFOBPQEBCLIILTFKD

           - . 4EB@LJMRQFKDABSF@BLC@I>FJ - .TEBOBFKQEBCFOPQMOBABCFKBADOLRMFKDLC
              WLKB MI>VBOP ALBP KLQ FK@IRAB QEB QEFOA WLKB MI>VBO  >KA - . TEBOBFK QEB PB@LKA
           MOBABCFKBADOLRMFKDLCWLKBMI>VBOPALBPKLQFK@IRABQEBPB@LKAWLKBMI>VBO
            4ERP !PPBOQBA#I>FJLCQEBa0>QBKQOBNRFOBPQEB@I>FJBA^@LJMRQFKDABSF@B_

   QL?BMOLDO>JJBATFQECRK@QFLK>IFQVCLO@OB>QFKDQTLLSBOI>MMFKD^WLKBP@BKBP_TEBOBB>@E^WLKB

   P@BKB_FK@IRABP>QIB>PQLKB^WLKBMI>VBO_QE>QFPKLQFK@IRABAFKQEBLQEBO^WLKBP@BKB_

            )KJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?>PBA

   LK QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

   &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V

   $O3@ELKCBIA

            )KABBA ?B@>RPB!PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBA

   L?SFLRP ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB

   3LKLP &LORJP  .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP

                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 132 of 139
             +!  &%!'$!&&!$ +%O+%! +


    FABKQFCFBA ?V $O 3@ELKCBIA CLO >Q IB>PQ QEB P>JB OB>PLKP AFP@RPPBA >?LSB FK @LKKB@QFLK TFQE

    !PPBOQBA#I>FJLCQEBa0>QBKQ

             -LOBLSBO FQFPJVLMFKFLKQE>QQEB>AAFQFLK>IIFJFQ>QFLKPLC!PPBOQBA#I>FJLC

    QEBa0>QBKQ>OBKBFQEBOAFP@ILPBA?VQEB"LPB,FCBPQVIB3VPQBJKLOOBKABOBAL?SFLRP?VQEB

    "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP 

    .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O

    3@ELKCBIA&LOBU>JMIB >PAFP@RPPBA>?LSB >^PE>OBAPLRO@BDOLRM_FKQEB"LPB,FCBPQVIB

    3VPQBJFPKLQ>^WLKBP@BKB _>KAQEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKD

    ABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO

   >KA QEB -RIQF 2LLJ )KQBOC>@B  FK QEB "LPB ,FCBPQVIB  3VPQBJ AFA KLQ E>SB >KV CRK@QFLK>IFQV

   @>M>?FIFQV CLO @OB>QFKD > ^WLKB P@BKB_ \ IBQ >ILKB QEB CRK@QFLK>I @>M>?FIFQV CLO @OB>QFKD QTL

   AFCCBOBKQ LSBOI>MMFKD^WLKBP@BKBP_\KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQL

   3LKLPaPPVPQBJ!KACLOPFJFI>OOB>PLKP QEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA

   ^@LJMRQFKDABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I

   -RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KV

   CRK@QFLK>IFQV @>M>?FIFQV CLO @OB>QFKD QTL LSBOI>MMFKD ^WLKB P@BKBP_ TEBOB B>@E ^WLKB P@BKB_

   FK@IRABP>QIB>PQLKB^WLKBMI>VBO_QE>QFPKLQFK@IRABAFKQEBLQEBO^WLKBP@BKB _KLOTLRIAFQE>SB

   ?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB3VPQBJ

            $BPMFQBQEBPB@IB>OABCF@FBK@FBP $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q!PPBOQBA

   #I>FJLCQEBa0>QBKQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M

   2BMLOQ>QY(LTBSBO )CFKA$O3@ELKCBIAaPLMFKFLKOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ

   >KA!PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA!PPBOQBA#I>FJLCQEBa0>QBKQFPPELTKFKQEBP@OBBKPELQ?BILT

   COLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ







                                                         
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 133 of 139
             +!  &%!'$!&&!$ +%O+%! +


    

 

 

 

 

 

 

 

 


      

               4EFPPELTPQE>Q$O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPAFP@RPPFLKLC!PPBOQBA

      #I>FJLCEFP`0>QBKQ ?RQ>PBUMI>FKBA>?LSB $O3@ELKCBIAE>PKLQPBQCLOQE>KV>K>IVPFP

      CLO!PPBOQBA#I>FJLCEFP`0>QBKQFKPQB>A $O3@ELKCBIAOBIFBPLKEFPMOFLOAFP@RPPFLKLCQEB

      "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQ(LTBSBO 

      QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@BQE>K!PPBOQBA

      #I>FJLCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBA

      QL > ^WLKB MI>VBO_  QEB !PPBOQBA #I>FJP LC QEB ` 0>QBKQ RPB AFCCBOBKQ @I>FJ I>KDR>DB QE>K

      !PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>P

      QLELTEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKP

      LC!PPBOQBA#I>FJLCQEB`0>QBKQ>MMIFBPQLQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ&LOQEBPB

      OB>PLKP  ) AFP>DOBB QE>Q QEB $O 3@ELKCBIAaP AFP@RPPFLK LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ

      >JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KA

      OB>PLKP QEBOBCLO  TEF@E ) RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q

      ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP

      OBD>OAFKD!PPBOQBA#I>FJLCQEB`0>QBKQ 


                                 
      
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 134 of 139
             +!  &%!'$!&&!$ +%O+%! +


             7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#>PTBII>PFKJVa

    2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLCQEB

    "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

    KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL!PPBOQBA#I>FJLCQEBa0>QBKQ>PTBII\

    FK@IRAFKDQE>QEFP>K>IVPFPFPMOBJFPBALK?LQE>KFK@LOOB@QFKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQL

    NR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB

    3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

             4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

    0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?V!PPBOQBA#I>FJ

   LCQEBa0>QBKQ KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB

   3VPQBJ

                        AA3@B32:/7;7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                            %GAB3;

            !PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJLCQEBa

   0>QBKQ>KAOBNRFOBPQEBCLIILTFKD

           - . 4EB @LJMRQFKD ABSF@B LC @I>FJ   - . TEBOBFK OB@BFSFKD QEB CFOPQ OBNRBPQ
              @LJMOFPBPOB@BFSFKD>CFOPQPBQLCLKBLOJLOBFKMRQPSF>>RPBOFKQBOC>@BLCQEB@LJMRQFKD
           ABSF@B - .TEBOBFKOB@BFSFKDQEBPB@LKAOBNRBPQ@LJMOFPBPOB@BFSFKD>PB@LKAPBQLCLKB
              LO JLOB FKMRQP SF> QEB RPBO FKQBOC>@B  >KA - . TEBOBFK OB@BFSFKD QEB QEFOA OBNRBPQ
           @LJMOFPBPOB@BFSFKD>QEFOAPBQLCLKBLOJLOBFKMRQPSF>QEBRPBOFKQBOC>@B
            4ERP !PPBOQBA#I>FJLCQEBa0>QBKQOBNRFOBPQEB@I>FJBA^@LJMRQFKDABSF@B_
   QL?BMOLDO>JJBATFQEQEBCRK@QFLK>I@>M>?FIFQVQLOB@BFSB^OBNRBPQP_CLO@OB>QFKD>KAFKSLHFKD
   ^WLKBP@BKBP_QE>QQ>HBQEBCLOJLC^LKBLOJLOBFKMRQP_OB@BFSBA^SF>>RPBOFKQBOC>@B_
            )KJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?>PBA
   LK QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP
   &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V
   $O3@ELKCBIA


                                                        
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 135 of 139
             +!  &%!'$!&&!$ +%O+%! +


             )KABBA ?B@>RPB!PPBOQBA#I>FJLCQEBa0>QBKQABMBKAPCOLJ!PPBOQBA#I>FJ

    LCQEBa0>QBKQ FQFPJVLMFKFLKQE>Q!PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBA

    L?SFLRP ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB

    3LKLP &LORJP  .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP

    FABKQFCFBA ?V $O 3@ELKCBIA CLO >Q IB>PQ QEB P>JB OB>PLKP AFP@RPPBA >?LSB FK @LKKB@QFLK TFQE

    !PPBOQBA#I>FJLCQEBa0>QBKQ

             -LOBLSBO FQFPJVLMFKFLKQE>QQEB>AAFQFLK>IIFJFQ>QFLKPLC!PPBOQBA#I>FJLC

    QEBa0>QBKQ>OBKBFQEBOAFP@ILPBA?VQEB"LPB,FCBPQVIB3VPQBJKLOOBKABOBAL?SFLRP?VQEB

    "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP &LORJP 

   .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O

   3@ELKCBIACLOPFJFI>OOB>PLKPQLQELPBAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJLCQEB

   a0>QBKQ&LOBU>JMIB >PAFP@RPPBA>?LSB >^PE>OBAPLRO@BDOLRM_FKQEB"LPB,FCBPQVIB

   3VPQBJFPKLQ>^WLKBP@BKB _>KAQEB0BOPLK>I-RPF@#BKQBO>KA>KVLQEBO>IIBDBA^@LJMRQFKD

   ABSF@B_QE>Q$O3@ELKCBIAJ>V?BOBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO

   >KA QEB -RIQF 2LLJ )KQBOC>@B  FK QEB "LPB ,FCBPQVIB  3VPQBJ AFA KLQ E>SB >KV CRK@QFLK>IFQV

   @>M>?FIFQV CLO OB@BFSFKD OBNRBPQP QL @OB>QB LO FKSLHB > ^WLKB P@BKB_ \ IBQ >ILKB QEB CRK@QFLK>I

   @>M>?FIFQV CLO OB@BFSFKD OBNRBPQP QL @OB>QB QTL AFCCBOBKQ  LSBOI>MMFKD ^WLKB P@BKBP_ >KA QEBK

   OB@BFSFKD>OBNRBPQQLFKSLHBLKBLCQEB^WLKBP@BKBP_\KLOTLRIAFQE>SB?BBKL?SFLRPQL>AA

   QEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB3VPQBJ!KACLOPFJFI>OOB>PLKP QEB@LKQOLIIBOPFKQEB

   "LPB,FCBPQVIB3VPQBJAFAKLQE>SB>KVCRK@QFLK>IFQV@>M>?FIFQVCLOOB@BFSFKDOBNRBPQPQL@OB>QB

   LOFKSLHB^WLKBP@BKBP_QE>QQ>HBQEBCLOJLC^LKBLOJLOBFKMRQP_OB@BFSBA^SF>>RPBOFKQBOC>@B _

   KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB3VPQBJ

            $BPMFQBQEBPB@IB>OABCF@FBK@FBP $O3@ELKCBIAKBSBOQEBIBPPLMFKBPQE>Q!PPBOQBA

   #I>FJLCQEBa0>QBKQOBKABOBAL?SFLRP?VQEB"LPB,FCBPQVIB3VPQBJ!..3@ELKCBIA/M

   2BMLOQ>QY(LTBSBO )CFKA$O3@ELKCBIAaPLMFKFLKOBD>OAFKDQEB"LPB,FCBPQVIB3VPQBJ

   >KA!PPBOQBA#I>FJLCQEBa0>QBKQQL?BCI>TBACLOPBSBO>IOB>PLKP

            !P>KFKFQF>IJ>QQBO QEBBKQFOBQVLC$O3@ELKCBIAaPAFP@RPPFLKOBD>OAFKDQEB"LPB

   ,FCBPQVIB3VPQBJ>KA!PPBOQBA#I>FJLCQEBa0>QBKQFPPELTKFKQEBP@OBBKPELQ?BILT

                                                           
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 136 of 139
             +!  &%!'$!&&!$ +%O+%! +


    COLJ$O3@ELKCBIAaP/MBKFKD2BMLOQ

            

 

 

 

 

 

 

 






               4EFPPELTPQE>Q$O3@ELKCBIAFPOBIVFKDBU@IRPFSBIVLKEFPAFP@RPPFLKLC!PPBOQBA

      #I>FJLCEFP`0>QBKQ ?RQ>PBUMI>FKBA>?LSB $O3@ELKCBIAE>PKLQPBQCLOQE>KV>K>IVPFP

      CLO!PPBOQBA#I>FJLCEFP`0>QBKQFKPQB>A $O3@ELKCBIAOBIFBPLKEFPMOFLOAFP@RPPFLKLCQEB

      "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC@BOQ>FK@I>FJIFJFQ>QFLKPLCQEBa0>QBKQ(LTBSBO 

      QEB!PPBOQBA#I>FJPLCQEB`0>QBKQ>OBAFOB@QBAQL>AFCCBOBKQQVMBLCABSF@BQE>K!PPBOQBA

      #I>FJLCQEBa0>QBKQ>^@LJMRQFKDABSF@B_@LKCFDROBAQL^PBOS;B<>P>@LKQOLIIBO_>PLMMLPBA

      QL > ^WLKB MI>VBO_  QEB !PPBOQBA #I>FJP LC QEB ` 0>QBKQ RPB AFCCBOBKQ @I>FJ I>KDR>DB QE>K

      !PPBOQBA#I>FJLCQEBa0>QBKQ >KA$O3@ELKCBIAC>FIPQLMOLSFAB>KVCROQEBOBUMI>K>QFLK>P

      QLELTEFPMOFLOAFP@RPPFLKLCQEB"LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLCQEB@I>FJIFJFQ>QFLKP

      LC!PPBOQBA#I>FJLCQEB`0>QBKQ>MMIFBPQLQEB!PPBOQBA#I>FJPLCQEB`0>QBKQ&LOQEBPB

      OB>PLKP  ) AFP>DOBB QE>Q QEB $O 3@ELKCBIAaP AFP@RPPFLK LC !PPBOQBA #I>FJ  LC QEB ` 0>QBKQ

      >JLRKQPQL>ABQ>FIBA>KA@LJMIBQBPQ>QBJBKQLC>IILMFKFLKPQL?BBUMOBPPBA>KAQEB?>PFP>KA

      OB>PLKP QEBOBCLO  TEF@E ) RKABOPQ>KA QL ?B QEB DLSBOKFKD PQ>KA>OA CLO BUMBOQ OBMLOQP  >KA QE>Q

      ?>OB?LKBPAFP@RPPFLKE>PMOBGRAF@BAJV>?FIFQVQLCRIIVAFP@BOK >PPBPP >KAOBPMLKAQLEFPLMFKFLKP






                                                          
      
              Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 137 of 139
                 +!  &%!'$!&&!$ +%O+%! +


    OBD>OAFKD!PPBOQBA#I>FJLCQEB`0>QBKQ 

                 7FQEQE>QP>FA >P)E>SBAFP@RPPBA>?LSBFK3B@QFLK86#>PTBII>PFKJVa

    2B?RQQ>I2BMLOQOBD>OAFKD!PPBOQBA#I>FJLCQEBa0>QBKQ $O3@ELKCBIAaP>K>IVPFPLCQEB

    "LPB,FCBPQVIB3VPQBJFKQEB@LKQBUQLC!PPBOQBA#I>FJLCQEBa0>QBKQPRCCBOPCOLJ>

    KRJ?BOLCCI>TP J>KVLCTEF@E>OB>MMIF@>?IBQL!PPBOQBA#I>FJLCQEBa0>QBKQ>PTBII\

    FK@IRAFKDQE>QEFP>K>IVPFPFPMOBJFPBALK?LQE>KFK@LOOB@QFKQBOMOBQ>QFLKFCTE>QFPOBNRFOBAQL

    NR>IFCV>P>^WLKBP@BKB_>KA>KFK>@@RO>QB>KAJFPIB>AFKD@E>O>@QBOFW>QFLKLCQEB"LPB,FCBPQVIB

    3VPQBJCRK@QFLK>IFQV>KAQEBBSFABK@BOBI>QBAQEBOBQL

                 4ERP  KLQEFKD FK $O 3@ELKCBIAaP /MBKFKD 2BMLOQ >IQBOP JV LMFKFLK QE>Q QEB

   0BOPLK>I -RPF@ #BKQBO >KA >KV LQEBO >IIBDBA ^@LJMRQFKD ABSF@B_ QE>Q $O 3@ELKCBIA J>V ?B

   OBIVFKDLKPR@E>PQEB@LJ?FK>QFLKLCQEB0BOPLK>I-RPF@#BKQBO>KAQEB-RIQF 2LLJ)KQBOC>@B 

   FKQEB"LPB,FCBPQVIB3VPQBJAFAKLQE>SBQEBCRK@QFLK>I@>M>?FIFQVOBNRFOBA?V!PPBOQBA#I>FJ

   LCQEBa0>QBKQ KLOTLRIAFQE>SB?BBKL?SFLRPQL>AAQEFPCRK@QFLK>IFQVQLQEB"LPB,FCBPQVIB

   3VPQBJ

                           AA3@B32:/7;7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                               %GAB3;

                &LOQEBP>JBOB>PLKP>IOB>AVAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP?V

   QEB"LPB,FCBPQVIB3VPQBJFKSFBTLCQEBDBKBO>IHKLTIBADBLC>0/3)4! QEB3LKLP&LORJP 

   .LROPB  2>G>M>HPB  LO -FIIFKDQLK  LO >KV LC QEB LQEBO PB@LKA>OV OBCBOBK@BP FABKQFCFBA ?V $O

   3@ELKCBIA

                           AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                               %GAB3;

                &LOQEBP>JBOB>PLKP>IOB>AVAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP

   ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

                                 
          
        4LQEBBUQBKQQE>Q$O3@ELKCBIAI>QBO>QQBJMQPQL>KAFPMBOJFQQBAQL>AAOBPPQEBPBABCF@FBK@FBP
   FKEFP/MBKFKD2BMLOQ )BUMOBPPIVOBPBOSBJVOFDEQQLOBPMLKA

                                                          
      
          Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 138 of 139
             +!  &%!'$!&&!$ +%O+%! +


    &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V

    $O3@ELKCBIA

                          AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                              %GAB3;

             &LOQEBP>JBOB>PLKP>IOB>AVAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJ

    LCQEBa0>QBKQ FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP

    ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

    &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V

    $O3@ELKCBIA

                         AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                             %GAB3;

            &LOQEBP>JBOB>PLKP>IOB>AVAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP

   ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

   &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V

   $O3@ELKCBIA

                          AA3@B32:/7; 7A =B$3<23@32!0D7=CA/A32=<B63=A3743ABG:3

                             %GAB3;

            &LOQEBP>JBOB>PLKP>IOB>AVAFP@RPPBA>?LSBFK@LKKB@QFLKTFQE!PPBOQBA#I>FJ

   LCQEBa0>QBKQ FKJVLMFKFLK !PPBOQBA#I>FJLCQEBa0>QBKQFPKLQOBKABOBAL?SFLRP

   ?V QEB "LPB ,FCBPQVIB  3VPQBJ FK SFBT LC QEB DBKBO>I HKLTIBADB LC > 0/3)4!  QEB 3LKLP

   &LORJP .LROPB 2>G>M>HPB LO-FIIFKDQLK LO>KVLCQEBLQEBOPB@LKA>OVOBCBOBK@BPFABKQFCFBA?V

   $O3@ELKCBIA

               !0D7=CA<3AA&G>3=C0:3"/B3<B7<5!D3@'%"/B3<B =                

            )KEFP/MBKFKD2BMLOQ $O3@ELKCBIALMFKBPQE>QB>@E!PPBOQBA#I>FJLCQEBa

   0>QBKQFPL?SFLRP?>PBALKL?SFLRPKBPP QVMBALR?IBM>QBKQFKDLSBO@I>FJLC3LKLPaPaM>QBKQ

   )AFP>DOBBTFQE$O3@ELKCBIAaPLMFKFLK TEF@EFPCI>TBACLOQEBJ>KVOB>PLKP)E>SBLRQIFKBA

   ?BILT

                                                       
      
      Case 3:20-cv-06754-WHA Document 862-34 Filed 09/04/23 Page 139 of 139
         HIGHLY CONFIDENTIAL - SOURCE CODE - ATTORNEYS’ EYES ONLY


 1   the ‘966 Patent. The new functionality is also not commercially acceptable for the same reasons

 2   as already discussed.

 3          To the extent Dr. Schonfeld expands on his opinions concerning NIA 1 or the new software

 4   update, I reserve my right to respond

 5   XVIII. DEMONSTRATIVES

 6          1656. To help assist in my testimony at trial, I have prepared a number of demonstratives

 7   that are attached hereto as Exhibit 5. These demonstratives are exemplary and I reserve the right

 8   to create additional demonstratives and/or to modify the demonstratives in Exhibit 5 based on the

 9   material in this report. For example, I reserve the right to create additional demonstratives and/or

10   to modify the demonstratives in Exhibit 5 based on the images I included in this report as well as

11   the evidence cited in this report. I also incorporate by reference the demonstratives I prepared for

12   my opening report.

13          1657. I have also reviewed Sonos’s Technology Tutorial that provides an overview of the

14   ’885 and ’966 Patents, which I understand was submitted to the court in February 2022. I

15   incorporate by reference herein Sonos’s Technology Tutorial and expressly reserve the right to use

16   the Technology Tutorial in whole or in part as a demonstrative to assist in my testimony.

17   Additionally, I have attached a pdf version of Sonos’s Technology Tutorial hereto as Exhibit 6

18   and expressly reserve the right to use the images contained therein as demonstratives to assist in

19   my testimony.

20   XIX. RESERVATION OF RIGHT

21          1658. I reserve the right to further expound on my rebuttal opinions, including the validity

22   of the Asserted Claims of the ’966 Patent, in subsequent declarations, reports, and/or at trial.

23

24
     Dated: January 13, 2023                        By:
25
                                                           Kevin C. Almeroth
26

27

28

                                                     690
